Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                Desc: Main
                           Document Page 1 of 75


                                     UNITED STATES BANKRUPTCY COURT
                                     THE DISTRICT OF PUERTO RICO




IN RE:    SKYTEC, INC.                        }    CASE NUMBER 18-05288-EAG11
                                              }
                                              }
                                              }
                                              }    JUDGE HON. EDWARD A. GODOY
                                              }
                                              }
                                              }
                                              }    CHAPTER 11
                                              }
DEBTOR.                                       }
                                              }




                        DEBTOR'S MONTHLY OPERATING REPORTS (BUSINESS)
                                       FOR THE PERIOD
                    BEGINNING ON MARCH 01, 2020 AND ENDING ON MARCH 31, 2020


Comes now the above-named debtor and files its Monthly Operating Reports in accordance with the Guidelines established by
the United States Trustee and FRBP 2015.




                                                                      ALEXIS FUENTES-HERNANDEZ, ESQ.
                                                                      Attorney for Debtor's Signature


Debtor's Address                                                      Attorney's Address
and Phone Number:                                                     and Phone Number:      PO BOX 9022726
                                                                                            SAN JUAN, PR 00902-2726


SKYTEC, INC.                                                          HENRY L. BARREDA
500 CARR. 869                                                         500 CARR. 869
SUITE 501                                                             SUITE 501
CATAÑO, PR 00962                                                      CATAÑO, PR 00962




                                                     MOR-1
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                                                                             Desc: Main
                           Document Page 2 of 75
                                                      SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                                                   FOR THE PERIOD OF MARCH 01, 2020 TO MARCH 31, 2020

          Name of Debtor: SKYTEC, INC.
          Date of Petition: 09/12/2018
          Case Number: 18-05288-ESL11
                                                                                                                      CURRENT             CUMMULATIVE
                                                                                                                       MONTH            PETITION TO DATE
          1. CASH AT BEGINNING OF PERIOD                                                                          $      674,690.48     $        433,621.70
          2. RECEIPTS:                                                                                                           -                         -
           A. Cash and Credit Card Sales                                                                                         -                         -
              Less: Cash Refunds                                                                                                 -                         -
              Net Cash Sales                                                                                                     -                         -
           B. Accounts Receivable Collections                                                                             426,978.99               7,583,878.00
           C. Other Receipts and Accounting Adjustments(see MOR-3)                                                        241,804.37                502,597.42
             (If you receive rental income, you must attach a rent roll.)
           D. Returned Checks
          3. TOTAL RECEIPTS                                                                                       `
             (2A+2B+2C+2D )                                                                                               668,783.36               8,086,475.42
          4. TOTAL CASH AVAILABLE FROM
            OPERATIONS (Line 1 + Line 3)                                                                                1,343,473.84               8,520,097.12
          5. DISBURSEMENTS
           A. Advertising                                                                                                        -                     2,780.92
           B. Bank Charges                                                                                                   728.37                  13,727.51
           C. Contract Labor                                                                                               54,802.74                806,761.59
           D. Fixed Asset Payments (not included in "N" )                                                                        -                    31,082.08
           E. Insurance                                                                                                          -                    55,234.22
           F. Inventory Purchases                                                                                          18,056.78               2,168,728.99
           G. Leases                                                                                                             -                         -
           H. Audits                                                                                                             -                   18,912.40
           I. Office Supplies                                                                                                 210.78                   8,719.37
           J. Payroll Net                                                                                                  93,471.35               1,778,943.13
           K. Professional Fees                                                                                            20,436.40                195,277.62
           L. Rent                                                                                                          8,587.50                149,590.45
           M. Repair and Maintenance                                                                                             -                   12,101.81
           N. Secured Creditors Payments (see attachment 2 )                                                               13,789.49                266,464.39
           O. Taxes Paid - Payroll (see attachments 4B and 5D )                                                            15,065.48                333,437.49
           P. Taxes Paid - Sales and Use                                                                                     652.54                 106,321.07
           Q. Taxes Paid - Other                                                                                                 -                   85,053.56
           R. Telephone                                                                                                          -                   66,805.72
           S. Travel                                                                                                         739.29                    6,486.35
           T. US Trustee Quarterly Fees                                                                                          -                   59,678.00
           U. Utilities                                                                                                     4,478.72                 83,554.34
           V. Vehicles                                                                                                       721.44                  45,941.00
           W. Other Operating Expenses (see MOR-3 )                                                                        32,574.43               1,145,336.58
          6. TOTAL CASH DISBURSEMENTS                                                                                     264,315.31               7,440,938.59
          7. ENDING CASH BALANCE                                                                                  $     1,079,158.53    $          1,079,158.53
            (Line 4 - Line 6)
          I declare under penalty of perjury that this statement and the accompanying documents and reports are
          true and correct to the best of my knowledge and belief.

          This 20 th of April, 2020
                                                                                                                                       Signature




                                                                                 MOR -2
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                          Desc: Main
                           Document Page 3 of 75

                               MONTHLY SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                                     Detail of Other Receipts and Other Disbursements
                                FOR THE PERIOD OF MARCH 01, 2020 TO MARCH 31, 2020

          Date of Petition: 09/12/2018
          Name of Debtor: SKYTEC, INC.
          Case Number: 18-05288-ESL11

          OTHER RECEIPTS:

                                                                                             Cummulative
          Description                                                    Current Month      Petition to Date
           TOTAL OTHER RECEIPTS:
          Auto Insurance Claim Payments                              $               -      $      1,385.22
          Insurance Payment                                                          -               551.92
          Coffee Machine Revenue                                                     -                43.02
          Petty Cash Reimbursement                                                   -               230.01
           Insurance Reimbursement                                                   -             6,697.90
           Vending Machine                                                         40.49             285.43
           Credit Reimbursement                                                11,200.00          11,200.00
           Difference                                                                -                 0.01
           Deposit Receipt                                                    230,000.00         479,019.00
           Interest Depotsit Receipt                                              563.88           2,806.66
           Travel Advance Reimbursement                                              -               321.20
           Dissability Reimbursement                                                 -                14.28
           Utility Rent                                                              -                42.77
           Total                                                              241,804.37         502,597.42

          OTHER DISBURSEMENTS
                                                                                             Cummulative
          Description                                                    Current Month      Petition to Date

          Data Lines Clients                                         $         16,034.38    $    220,282.91
          Postage and delivery                                                    165.00           3,569.30
          Field Project Expenses                                                  931.10          48,960.16
          Office Equipment                                                           -             1,623.88
          Cleaning and Waste Services                                             114.75           7,349.24
          Asume                                                                   344.66           6,376.25
          Payroll Fees - ADP                                                    2,328.34          20,279.47
          Licenses & Subscriptions                                                   -            48,191.99
          Medical Insurance                                                    10,404.94         190,102.60
          Interest expense                                                           -                  -
          Freight expense                                                         359.73          45,935.82
          Chapter 11 Legal and Accounting Fees                                       -             7,630.00
          Computer Services                                                     1,000.00          20,800.00
          Internet                                                                  9.99          22,651.77
          Fixed Assets Repairs                                                       -             1,698.84
          Over and Short                                                           (1.85)            (31.54)
          Bid Bond Expense                                                         50.00           2,376.00
          Uniforms Expenses                                                          -             3,619.48
          Representation Expenses                                                 833.39         14,901.41
          Collateral Deposit With Bonding Company                                    -          479,019.00
                                                                     $         32,574.43    $ 1,145,336.58




                                                       MOR-3
     Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                                 Desc: Main
                                Document Page 4 of 75

                                                             ATTACHMENT 1


                           MONTHLY ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

Date of Petition: 09/12/2018
Name of Debtor: SKYTEC, INC.
Case Number: 18-05288-ESL11
Reporting Period: From March 01, 2020 to March 31, 2020



ACCOUNTS RECEIVABLE AT PETITION DATE:                                                      $ 1,650,228.00

                                            ACCOUNTS RECEIVABLE RECONCILIATION
(Include all accounts receivable, pre petition and post petition, including charge card sales which have not been received):

              Beginning of Month Balance                                                   $ 1,021,932.83
        PLUS: Current Month Billing                                                            379,278.97
        LESS: Collections During The Month                                                    (426,978.99)
              Advance to Employee Net                                                              (12.08)
              Adjustment to Invoice                                                                   -
              Allowance Accrual                                                                 (5,000.00)
              Payments in Transit
        PLUS: Returned Checks - NSF
              End of Month Balance                                                         $      969,220.73




Explanation and supporting documentation attached for any adjustments or write-offs:




                                         POST PETITION ACCOUNTS RECEIVABLE AGING
                                      (Show the total for each aging category for all accounts receivable)

                                                NOT APPLICABLE - SEE NOTE ABOVE

                   0-30 Days           31-60 Days                 61-90 Days                   Over 90 Days                  Total

                 $ 148,589.01     $       122,825.04    $                    83,843.39     $      613,963.29      $               969,220.73

For any receivables in the "over 90 days" category, please provide the following:

                                                                                          Status (Collection Efforts Taken, Estimate of
Customer                                               Receivable Date                        Collectibility, writeoff, disputed account, ect)




                                                                     MOR-4
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                               Desc: Main
                           Document Page 5 of 75

 ATTACHMENT 1

                      MONTHLY ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

 Date of Petition: 09/12/2018
 Name of Debtor: SKYTEC, INC.
 Case Number: 18-05288-ESL11
 Reporting Period: From March 01, 2020 to March 31, 2020



 Accounts Receivable Aging Reconciliation

                                0-30            31-60            61-90           OVER 90          TOTAL
 Trade Skytec Portfolio    $   148,589.01   $   122,825.04   $     83,843.39   $   917,589.07 $    1,272,846.51
 Prodetec                                                                          107,544.29        107,544.29
 Stockholder                                                                        43,829.93         43,829.93
 Employees                                                                                -                 -
 Subtotal                      148,589.01       122,825.04         83,843.39     1,068,963.29      1,424,220.73
 Less (Allowance)                                                                 (455,000.00)      (455,000.00)
 Total                     $   148,589.01   $   122,825.04   $     83,843.39   $   613,963.29 $      969,220.73




                                                       MOR-4
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                                  Desc: Main
                                    Document Page 6 of 75

                                MONTHLY ACCOUNTS PAYABLE AND SECURED PAYMENTS REPORT

Date of Petition: 09/12/2018
Name of Debtor: SKYTEC, INC.
Case Number: 18-05288-ESL11
Reporting Period: From March 01, 2020 to March 31, 2020

 In the space below list all invoices or bills incurred and not paid since the filling of the petition.Do not include amounts
owed prior to filing the petition.In the alternative, a computer generated list of payables may be attached provided all
information requested below is included.

                                                    POST PETITION ACCOUNTS PAYABLE
                           Days
Date Incurred           Outstanding                 Vendor                                    Description                              Amount
      11/27/2019            114        Autoridad De Energía Eléctrica      Utility                                                $          (97.48)
      12/16/2019            104        Autoridad De Energía Eléctrica      Utility                                                           336.85
        1/15/2020            74        Mvs Leading Satellite Communic      Purchases Of Equipment For Sale                                   714.12
        1/15/2020            74        Mvs Leading Satellite Communic      Purchases Of Equipment For Sale                                   714.12
         2/1/2020            58        Lincoln Financial Group             Insurance                                                         200.00
         2/1/2020            58        Lincoln Financial Group             Insurance                                                         300.00
         2/1/2020            58        Mvs Leading Satellite Communic      Purchases Of Equipment For Sale                                   449.89
         2/3/2020            56        Comtelco                            Purchases Of Equipment For Sale                                   530.20
         2/3/2020            56        Ef Johnson Company                  Purchases Of Equipment For Sale                                 2,462.40
         2/5/2020            54        Richcom Power                       Purchases Of Equipment For Sale                                   113.20
        2/20/2020            39        At&T                                Communication Data For Client                                   1,245.44
        2/29/2020            31        Alfredo J. López Jimenez, Cpa       Audit Service                                                   6,484.40
        2/29/2020            31        Republic Services                   Waste                                                             299.08
        2/29/2020            31        At&T                                Communication Data For Client                                   2,340.36
        2/29/2020            31        At&T                                Communication Data For Client                                   3,903.85
        2/29/2020            31        Darwin Services                     Cleaning And Waste                                                 65.00
        2/29/2020            31        Claro                               Internet                                                          357.92
         3/1/2020            30        Comtelco                            Purchases Of Equipment For Sale                                   275.00
         3/1/2020            30        Comtelco                            Purchases Of Equipment For Sale                                   490.30
         3/1/2020            30        Dx Engineering                      Purchases Of Equipment For Sale                                   925.88
         3/1/2020            30        Ef Johnson Company                  Purchases Of Equipment For Sale                                   377.82
         3/1/2020            30        Liberty Cablevision Of Pr           Communication Data For Client                                     995.00
         3/1/2020            30        Lincoln Financial Group             Insurance                                                         200.00
         3/1/2020            30        Lincoln Financial Group             Insurance                                                         300.00
         3/1/2020            30        Otto Engineering                    Purchases Of Equipment For Sale                                   669.60
         3/1/2020            30        The Site Store Llc                  Purchases Of Equipment For Sale                                 1,100.34
         3/1/2020            30        Tessco                              Purchases Of Equipment For Sale                                 5,776.66
         3/1/2020            30        Tessco                              Purchases Of Equipment For Sale                                   115.98
         3/1/2020            30        Tessco                              Purchases Of Equipment For Sale                                 1,240.17
         3/2/2020            29        Best Buy Computers                  Purchases Of Equipment For Sale                                   668.99
         3/2/2020            29        Mvs Leading Satellite Communic      Purchases Of Equipment For Sale                                   714.12
         3/2/2020            29        Mvs Leading Satellite Communic      Purchases Of Equipment For Sale                                   714.12
         3/2/2020            29        Mvs Leading Satellite Communic      Purchases Of Equipment For Sale                                   714.12
         3/4/2020            27        Allied Electronics                  Purchases Of Equipment For Sale                                   285.78
        3/15/2020            16        Claro                               Internet                                                          309.35
        3/22/2020             9        At&T                                Communication Data For Client                                   4,515.00
        3/23/2020             8        Liberty Cablevision Of Pr           Communication Data For Client                                     995.00
        3/31/2020             0        Credit Card                         Purchases Of Equipment For Sale                         $      18,563.71
        3/31/2020             0        Credit Card                         Purchases Of Equipment For Sale                                19,215.00
        3/31/2020             0        At&T                                Communication Data For Client                                   1,263.59
        3/31/2020             0        Essential Trading Systems Corp      Purchases Of Equipment For Sale                                   550.00
        3/31/2020             0        Henry Barreda Díaz                  Purchases Of Equipment For Sale                                 4,642.32
        3/31/2020             0        Neptuno                             Communication Data For Client                                     221.89
                                                                           Total Petition Accounts Payable                         $     86,259.09

                                                                        MOR-5
        Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                                Desc: Main
                                   Document Page 7 of 75


◘ Check here if prepetition debts have been paid.Attach an explaination and copies of supporting documentation.
    CHECK                CHECK                                                                                                        CHECK
   NUMBER                 DATE                    PAYEE                                     PURPOSE                                  AMOUNT
None

Payments of inventory purchases of merchandise received during the 45 days before the filing date, claimed by the
vendors under the Section 546 of the Bankruptcy Code.

                             ACCOUNTS PAYABLE RECONCILIATION (Post Petition Unsecured Debt Only )

                   Opening Balance                                        $                                        60,465.99
            PLUS: New Indebtedness Incurred This Month                                                            641,798.76
             LESS: Amount Paid on Post Petition                                                                  (616,005.66)
                   Accounts Payable This Month
      PLUS / LESS: Adjustments
                   End of Month Balance                                   $                                        86,259.09

Explaination and supporting documentation attached for any adjustments or writeoffs:




                                                       SECURED PAYMENTS REPORT
List the status ofpaymentsto securedcreditors and leasors(post petition only).If you have entered into a modification
agreementwith a secured creditor / lessor,consultwithyourattorney and theUnitedStatesTrustee. Programpriorto
completing this section.

                                                                          Number of Post                                        Total Amount of
Secured Creditor /  Date Payment                 Amout Paid               Petition Payments                                     Post Petition
Lessor              Due This Month               This Month               Delinquent                                            Payments Delinquent
Oriental Bank         3/31/2019      $                        12,786.49                                                  -                      -
First Bank            3/31/2019                                1,003.00                                                  -                      -
                    Current Month $                           13,789.49
                  (MOR-2 Line 5N)
                    (Vehicles leases)




                                                                      MOR-5
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                                                                 Desc: Main
                           Document Page 8 of 75
                                                                          ATTACHMENT 3

                                                       INVENTORY AND FIXED ASSETS REPORT

   Date of Petition: 09/12/2018
   Name of Debtor: SKYTEC, INC.
   Case Number: 18-05288-ESL11
   Reporting Period: From March 01, 2020 to March 31, 2020

                                                                     INVENTORY REPORT

   INVENTORY BALANCE AT PETITION DATE:                                                                        $      486,874.00

   INVENTORY RECONCILIATION:

                                 Inventory Balance at Beginning of Month                                      $      624,374.00
                        PLUS:    Inventory Purchased During Month                                                     93,946.47
                        LESS:    Inventory Used and Sold                                                            (163,934.26)
                        LESS:    Scrap
                 PLUS / LESS:    Inventory Adjustments
                                 Inventory on Hand at End of Month                                            $      554,386.21

   METHOD OF COSTING INVENTORY :                               Cost- FIFO

   For any adjustments or writedowns provide explaination and supporting documentations:



                                                                      INVENTORY AGING

                   Less than 6               6 Months to                    Greater Than                          Considered                      Total
                   Months old                2 Years Old                    2 Years Old                           Obsolete                      Inventory
                    $ 253,603               $         91,031          $                 52,684                $         157,068          $              554,386
                           46%                          16%                               10%                              28%                            100%
   ◘ Check here if any inventory contains perishable.

   Description of Obsolete Inventory: Most of the obsolete inventory represents excess parts previously used in manufacturing, now used as replacement
   parts for repairs only. Most are discontinued parts. There are also some radios of old frequencies.


                                                                    FIXED ASSET REPORT
   FIXED ASSETS FAIR MARKET VALUE AT PETITION DATE :                                                          $      129,040.00
   (Includes Property, Plant and Equipment)
   BRIEF DESCRIPTION (First Report Only) :                     Fair market value reported at petition date was of vehicles, before loans associated
                                                               with the vehicles.
                                                                                                                  Fair Value                   Book Value

   Vehicles                                                                                                   $        129,040           $              124,800
   Office Furniture & Fixtures                                                                                              -                          51,185.24
   Office Equipment                                                                                                         -                          91,705.93
   Accum Depreciation and Amortization                                                                                      -                                -
                                                                                                              $      129,040.00          $            267,690.97

   FIXED ASSETS RECONCILIATION:

                  Fixed Asset Book Value at Beginning of Month - Net Book Value                               $      252,481.96
          LESS:   Depreciation Expense                                                                                (5,054.54)
          PLUS:   New Purchases
          PLUS:   Fixed Assets Repairs                                                                                         -
   PLUS / LESS:   Disposals :
                  Fixed Asset Ending Monthly Balance                                                          $      247,427.42

   For any adjustments or writedowns provide explaination and supporting documentations:




   BRIEF DESCRIPTION OF FIXED ASSETS PURCHASED OR DISPOSED OF DURING THE REPORTING




                                                                              MOR-6
       Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                              Desc: Main
                                  Document Page 9 of 75

                                                        ATTACHMENT 4A

                         MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Date of Petition: 09/12/2018
Name of Debtor: SKYTEC, INC.
Case Number: 18-05288-ESL11
Reporting Period: From March 01, 2020 to March 31, 2020

Attach a copy of current month bank statement and bank reconciliation to this summary of bank activity. If bank
accounts other than the three requiered by the United States Trustee program are necessary, permission must be
obtained from the United States Trustee prior to opening the accounts

NAME OF BANK :                Banco Santander                                   BRANCH: Hato Rey

ACCOUNT NAME :                OPERATING ACCOUNT - DIP                           ACCOUNT NUMBER:                       3004965123

PURPOSE OF ACCOUNT : OPERATING ACCOUNT

               Ending Bank Balance per Bank Statement                                        $   1,077,540.24
         PLUS: Total Amount of Outstanding Credit and Deposits                                       3,878.32
         LESS: Total Amount of Outstanding Checks and other debits                                  (7,988.36)
         LESS: Service Charges And Others                                                             (462.19)
               Ending Balance per Check Register                                             $   1,072,968.01

Debit cards used by:          None

If closing balance is negative, provide explanation :    N/A


The Following Disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment 4D)
◘ Check here if cash disbursements were authorized by United States Trustee

Date    AmountPayee                       Purpose                               Reason for Cash Disbursements
        None

                            TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
Total Amount of Outstanding Checks and Other Debits, listed above, includes:

        Transferred to DIP Payroll Account: From Operating Account 5123                                           $     126,819.21
        Transferred to DIP Tax Account: From Operating Account 5123                                                      18,884.16
        Transferred to DIP Operating Account: From Tax Account 5107                                                            -
        Transferred to DIP Operating Account: From Payroll Account 5115                                                        -
        Total Transfers Between Bank Accounts during October:                                                     $     145,703.37




                                                           MOR-7
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                                                                             Desc: Main
                          Document Page 10 of 75

                                                                                  ATTACHMENT 5A

                                                            CHECK REGISTER - OPERATING ACCOUNT

       Date of Petition: 09/12/2018
       Name of Debtor: SKYTEC, INC.
       Case Number: 18-05288-ESL11
       Reporting Period: From March 01, 2020 to March 31, 2020

       NAME OF BANK :                   Banco Santander

       ACCOUNT NAME
                 OPERATING
                    :      ACCOUNT - DIP

       ACCOUNT NUMBER:                        3004965123

       PURPOSE OF ACCOUNT
                     OPERATING
                          :    ACCOUNT


       Account for all disbursements, including void, lost checks, stop payments, etc. In the alternative, a computer generated check
       register can be attached to this report, provided all the information requested below is included.

               CHECK                      CHECK                                                                                                              CHECK
              NUMBER                       DATE                            PAYEE                                            PURPOSE                         AMOUNT
               997260                   3/20/2020           Asume                                   Asume                                                 $      172.33
               997263                   3/30/2020           Asume                                   Asume                                                       172.33
               997268                   3/31/2020           Firstbank Credit Card                   Auto Expense                                                410.00
                 824                    3/1/2020            Firstbank                               Auto Loan Payment                                         1,003.00
                 835                    3/10/2020           Wilma Padilla                           Bid Bond,Office Supply,Postage Andmantainance Expense       509.92
                                                            Representation Expense                  119.64
                                                            Postage And Shipping                    165
                                                            Office Supplies                         60.53
                                                            Cleaning And Maintenance                114.75
                                                            Bid Bonds                               50
                                                            Total                                   509.92
               997259                   3/20/2020           At&T Mobility-Eod                       Communication Data For Client                             7,902.79
               997266                   3/31/2020           At&T Mobility-Eod                       Communication Data For Client                             7,963.59
                 832                    3/4/2020            Cpa Luis R. Carrasquillo & Co.          Finantial Expense                                        13,679.05
               997254                   3/30/2020           United Parcel Service                   Freight                                                     359.73
                 820                    3/1/2020            Ana Colon Ortiz                         Health Insurance Premiun                                    279.15
                 825                    3/1/2020            Gerardo Rivera                          Health Insurance Premiun                                    150.00
                 828                    3/1/2020            Mcs Life Insurance                      Health Insurance Premiun                                  7,924.19
                 829                    3/1/2020            Nadja Gonzalez Conde                    Health Insurance Premiun                                    191.90
               997265                   3/30/2020           Aflac                                   Health Insurance Premiun                                  1,859.70
               997270                   3/31/2020           Oriental Credit Card                    Internet ,Alarm Auto And Representation Expense           1,203.18
                                                            Auto Expense                            311.44
                                                            Communications Expense                  168
                                                            Representation Expense                  713.75
                                                            Internet Service                        9.99
                                                            Total                                   1203.18
                 831                    3/3/2020            Fuentes Law Offices ,Llc                Legal Expenses                                           20,436.40
                 822                    3/1/2020            Oriental Bank                           Loan Payment                                             12,786.49
                 834                    3/10/2020           Jose Manuel Fernandez                   Office Supplies,Material And Auto Expense                 1,081.29
                                                            Auto Expense                            810.47
                                                            Materials                               120.63
                                                            Office Supplies                         150.19
                                                            Total                                   1081.29
                 826                    3/1/2020            Hugo Hernandez                          Programing Service                                        1,000.00
                 833                    3/10/2020           Henry Barreda Díaz                      Purchases Equiptment For Skytec And For Sale              2,509.37
                                                            Travel Expense                          419.32
                                                            Purchase Of Inventory For Sale          11.85
                                                            Purchase Of Inventory For Sale          1059.24
                                                            Purchase Of Inventory For Sale          698.99
                                                            Travel Expense                          319.97
                                                            Total                                   2509.37
              997267                    3/31/2020           Amex Credit Card                        Purchase Of Equipment For Sale                           12,008.65
              997269                    3/31/2020           Banco Popular Credit Card               Purchase Of Equipment For Sale                            4,278.05
                823                     3/1/2020            Comsite                                 Salary Payroll                                           10,104.17
             JE-003897                  3/30/2020           Santander Bank                          Service Fee                                                211.29
             JE-003897                  3/30/2020           Santander Bank                          Service Fee                                                517.08
                827                     3/1/2020            José Dávila                             Site Rent                                                  900.00
                821                     3/1/2020            Royal Properties Inc.                   Skytec Rent                                              7,687.50
                836                     3/12/2020           Fabian Nevarez Heredia                  Utility                                                    200.00
              997261                    3/25/2020           Autoridad De Energía Eléctrica          Utility                                                  4,278.71
              997262                    3/25/2020           Autoridad De Energía Eléctrica          Utility                                                       0.01
                                        3/31/2020           Diferencia No Localizada                                                                             (1.79)
                                                                                                     Total Amount From Checks and Debits:                   121,778.08

                                                                                                     Transfers From This Account:
                997252                          3/5/2020    Transfer To Payroll                     Transfer To Payroll                                          364.47
                927254                          3/6/2020    Transfer To Taxes                       Transfer To Taxes                                        10,710.17
                927253                          3/6/2020    Transfer To Payroll                     Transfer To Payroll                                      61,136.63
                927255                         3/13/2020    Transfer To Payroll                     Transfer To Payroll                                         459.60




                                                                                        MOR-8                                                                             Page 10
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                                             Desc: Main
                          Document Page 11 of 75

           CHECK      CHECK                                                                                                 CHECK
          NUMBER       DATE                         PAYEE                                       PURPOSE                    AMOUNT
           927256        3/13/2020   Transfer To Payroll                 Transfer To Payroll                                    16.41
          JE-003872      3/20/2020   Transfer Taxes                      Transfer Taxes                                        114.91
          JE-003871      3/20/2020   Transfer Taxes Payroll Ss /Itax     Transfer Taxes Payroll Ss /Itax                     5,589.67
          JE-003871      3/20/2020   Transfer Taxes Payroll Ss /Itax     Transfer Taxes Payroll Ss /Itax                     1,816.87
          JE-003873      3/20/2020   Transfer To Payroll                 Transfer To Payroll                                   703.54
          JE-003873      3/20/2020   Transfer To Payroll                 Transfer To Payroll                                22,370.52
          JE-003873      3/20/2020   Transfer To Payroll                 Transfer To Payroll                                40,748.13
          JE-003870      3/20/2020   Transfer To Payroll Adp             Transfer To Payroll Adp                               425.39
          JE-003876      3/25/2020   Transfer Taxe Ivu ,Catano           Transfer Taxe Ivu ,Catano                             634.82
          JE-003876      3/25/2020   Transfer Taxe Ivu ,Catano           Transfer Taxe Ivu ,Catano                                0.01
          JE-003876      3/25/2020   Transfer Taxe Ivu ,Catano           Transfer Taxe Ivu ,Catano                              17.71
          JE-003879      3/30/2020   Transfer To Payroll                 Transfer To Payroll                                    85.65
          JE-003879      3/30/2020   Transfer To Payroll                 Transfer To Payroll                                   508.87
                                                                         Total Amount of Transfers:                         145,703.37


                                                                         Total Amount From Checks and Debits, and after
                                                                                                                          $ 267,481.45
                                                                         Transfers:




                                                                 MOR-8                                                                   Page 11
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                                   Desc: Main
                                   Document Page 12 of 75
                                                                  ATTACHMENT 4B

                                      MONTHLY SUMMARY OF BANK ACTIVITY - PAYROLL ACCOUNT

Date of Petition: 09/12/2018
Name of Debtor: SKYTEC, INC.
Case Number: 18-05288-ESL11
Reporting Period: From March 01, 2020 to March 31, 2020


Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity.


NAME OF BANK:                 Banco Santander                                                        BRANCH:                     Hato Rey

ACCOUNT NAME:                 PAYROLL ACCOUNT - DIP                                                  ACCOUNT NUMBER:                  3004965115

PURPOSE OF ACCOUNT: PAYROLL ACCOUNT

                            Ending Bank Balance per Bank Statement                                    $                502.93
                      PLUS: Total Amount of Outstanding Deposits
                      LESS: Total Amount of Outstanding Checks and other debits                                        (61.24)
                       ADD: Service Charges Not In Books                                                              (441.69)
                            Ending Balance per Check Register                                         $                   -

Debit cards must not be issued on this account




The following disbursements were paid in cash (do not includes items reported as petty cash on attachment 4D)
◘ Check here if cash disbursements were authorized by United States Trustee

Date        Amount            Payee                                                  Purpose         Reason for cash disbursements
            None

The Following non-payroll disbursements were made from this account:
                                                                                                              Reason for
Number            Date                                Payee                           Amount              cash disbursements




                                                                         MOR-9
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                                    Desc: Main
                          Document Page 13 of 75

                                                          ATTACHMENT 5B

      CHECK REGISTER- PAYROLL ACCOUNT

Date of Petition: 09/12/2018
Name of Debtor: SKYTEC, INC.
Case Number: 18-05288-ESL11
Reporting Period: From March 01, 2020 to March 31, 2020


NAME OF BANK :                  Banco Santander                                                             BRANCH:         Hato Rey

ACCOUNT NAME :                  PAYROLL ACCOUNT - DIP

ACCOUNT NUMBER:                 3004965115

PURPOSE OF ACCOUNT : PAYROLL ACCOUNT


Account for all disbursements, including void, lost checks, stop payments, etc. In the alternative, a computer generated check
register can be attached to this report, provided all the information requested below is included.

  CHECK            CHECK                                                                                                     CHECK
 NUMBER             DATE                   PAYEE                                     PURPOSE                                AMOUNT
 JE-003870        3/20/2020     Adp                                                      Adp                              $      425.39
  ap-5844         3/13/2020     Adp                                                    Adp Fee                                   347.74
 JE-003879        3/30/2020     Adp                                                    Adp Fee                                   594.52
 JE-003881        3/30/2020     Adp                                                    Adp Fee                                  459.60
                  3/20/2020     Adp                                                   Adp Fee                                    501.09
                  3/10/2020     Abiezer Reyes                                      Contract Services                           1,170.00
                  3/10/2020     John Ramos                                         Contract Services                             439.76
                  3/10/2020     Karl Wagner                                        Contract Services                           1,343.35
                  3/10/2020     Ma Cpa Advisor                                     Contract Services                           6,960.31
                  3/10/2020     Ramon Corretger                                    Contract Services                             585.00
                  3/10/2020     Sakura                                             Contract Services                           3,024.00
                  3/10/2020     Victor Maldonado                                   Contract Services                           5,230.75
                  3/20/2020     Abiezer Reyes                                      Contract Services                           1,845.00
                  3/20/2020     Elier Cardona                                      Contract Services                           2,520.00
                  3/20/2020     Francisco Martinez                                 Contract Services                             376.20
                  3/20/2020     John Ramos                                         Contract Services                             917.91
                  3/20/2020     Karl Wagner                                        Contract Services                             911.35
                  3/20/2020     Ma Cpa Advisor                                     Contract Services                           6,960.31
                  3/20/2020     Ramon Corretger                                    Contract Services                             585.00
                  3/20/2020     Sakura                                             Contract Services                           3,024.00
                  3/20/2020     Victor Maldonado                                   Contract Services                           5,230.75
                  3/10/2020     Abiezer Reyes                                       Salary Payroll                             1,102.76
                  3/10/2020     Ana Colon                                           Salary Payroll                             1,726.39
                  3/10/2020     Barreda Henry Louis                                 Salary Payroll                             2,419.00
                  3/10/2020     Caballero Manuel                                    Salary Payroll                             1,999.10
                  3/10/2020     Dianmarie Rivera                                    Salary Payroll                             1,197.45
                  3/10/2020     Elizabeth Rivera                                    Salary Payroll                               524.75
                  3/10/2020     Fabian Nevarez                                      Salary Payroll                               716.96
     8997         3/10/2020     Federico Guzman                                     Salary Payroll                             1,123.81
                  3/10/2020     George M.Mayorga                                    Salary Payroll                               414.28
                  3/10/2020     Henry Barreda                                       Salary Payroll                             4,393.73
                  3/10/2020     Irving Izquierdo                                    Salary Payroll                             1,367.15
                  3/10/2020     Jessica Diaz                                        Salary Payroll                             1,327.44
                  3/10/2020     Jose Manuel Fernandez                               Salary Payroll                             1,232.22
     8956         3/10/2020     Josue Corretger                                     Salary Payroll                               538.05



                                                                MOR-10
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                               Desc: Main
                          Document Page 14 of 75

             3/10/2020   Juan Marin                                  Salary Payroll                         639.62
             3/10/2020   Keila Rivera                                Salary Payroll                       1,166.37
             3/10/2020   Laura Cortes                                Salary Payroll                       1,493.50
             3/10/2020   Leopoldo Castro                             Salary Payroll                       2,453.95
             3/10/2020   Luis Reyes                                  Salary Payroll                       3,037.59
             3/10/2020   Marinil Astor                               Salary Payroll                       1,435.21
             3/10/2020   Maritza Collazo                             Salary Payroll                       1,378.88
             3/10/2020   Nadja Gonzalez                              Salary Payroll                       4,465.57
             3/10/2020   Nerihobet Roman                             Salary Payroll                         903.31
   8996      3/10/2020   Ramon Corretger                             Salary Payroll                         896.92
             3/10/2020   Reynaldo Acevedo                            Salary Payroll                       1,230.89
             3/10/2020   Rivera Gerardo                              Salary Payroll                       1,146.03
             3/10/2020   Wilma Padilla                               Salary Payroll                         921.61
             3/10/2020   Yamil Ortiz                                 Salary Payroll                         629.83
             3/20/2020   Abiezer Reyes                               Salary Payroll                       1,102.76
             3/20/2020   Ana Colon                                   Salary Payroll                       1,726.37
             3/20/2020   Barreda Henry Louis                         Salary Payroll                       2,422.00
             3/20/2020   Caballero Manuel                            Salary Payroll                       1,999.70
             3/20/2020   Elizabeth Rivera                            Salary Payroll                         696.02
             3/20/2020   Fabian Nevarez                              Salary Payroll                         722.69
   8999      3/20/2020   Federico Guzman                             Salary Payroll                       1,123.81
             3/20/2020   George M.Mayorga                            Salary Payroll                         414.28
             3/20/2020   Henry Barreda                               Salary Payroll                       4,393.72
             3/20/2020   Irving Izquierdo                            Salary Payroll                       1,367.15
   9000      3/20/2020   Jamil Ortiz                                 Salary Payroll                         703.54
             3/20/2020   Jessica Diaz                                Salary Payroll                       1,910.62
             3/20/2020   Jose Manuel Fernandez                       Salary Payroll                       1,232.23
   8998      3/20/2020   Josue Corretger                             Salary Payroll                         531.39
             3/20/2020   Juan Marin                                  Salary Payroll                         773.21
             3/20/2020   Keila Rivera                                Salary Payroll                       1,166.38
             3/20/2020   Laura Cortes                                Salary Payroll                         931.67
             3/20/2020   Leopoldo Castro                             Salary Payroll                       2,572.42
             3/20/2020   Luis Reyes                                  Salary Payroll                       3,042.90
             3/20/2020   Marinil Astor                               Salary Payroll                       1,675.59
             3/20/2020   Maritza Collazo                             Salary Payroll                       1,378.87
             3/20/2020   Nadja Gonzalez                              Salary Payroll                       4,465.57
             3/20/2020   Nerihobet Roman                             Salary Payroll                         903.32
             3/20/2020   Ramon Corretger                             Salary Payroll                         896.93
             3/20/2020   Reynaldo Acevedo                            Salary Payroll                       1,230.89
             3/20/2020   Rivera Gerardo                              Salary Payroll                       1,146.02
             3/20/2020   Wilma Padilla                               Salary Payroll                         921.62
  ap-5844    3/13/2020   Santander                                    Service Fee                            16.73
 JE-003881   3/30/2020   Santander                                    Service Fee                           16.41


                                                   Total Amount From Checks And Debits, Before
                                                                                                        126,819.21
                                                   Transfers:




                                                             Transfers From This Account:



                                                                                                      $ 126,819.21
                                                 Total Amount From Checks And Debits, After Transfers:




                                                   MOR-10
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                                                                Desc: Main
                          Document     Page
                                ATTACHMENT 4C 15 of 75

                                             MONTHLY SUMMARY OF BANK ACTIVITY - TAX ACCOUNT

Date of Petition: 09/12/2018
Name of Debtor: SKYTEC, INC.
Case Number: 18-05288-ESL11
Reporting Period: From March 01, 2020 to March 31, 2020


Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity.

NAME OF BANK :                  Banco Santander                                                                     BRANCH:                        Hato Rey

ACCOUNT NAME :                  TAX ACCOUNT - DIP                                                                   ACCOUNT NUMBER:               3004965107


PURPOSE OF ACCOUNT : TAX ACCOUNT

                              Ending Bank Balance per Bank Statement                                                 $            3,166.14
                        PLUS: Total Amount of Outstanding Deposits                                                                     -
                        LESS: Total Amount of Outstanding Checks and other debits                                                      -
                        LESS: Service Charges                                                                                          -
                              Ending Balance per Check Register                                                      $            3,166.14


If closing balance is negative, provide explanation :                         Various taxes transfed to tax account and pending to be collected by agencies as of
month end.

The following disbursements were paid in cash (do not includes items reported as petty cash on attachment 4D)
◘ Check here if cash disbursements were authorized by United States Trustee

   Check           Check
  Number           Date                            Payee                              Purpose            Amount Reason for cash disbursements
                   None




                                                                               MOR-11
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                                           Desc: Main
                          Document Page 16 of 75

                                                          ATTACHMENT 5C

                                             CHECK REGISTER - TAXES ACCOUNT

   Date of Petition: 09/12/2018
   Name of Debtor: SKYTEC, INC.
   Case Number: 18-05288-ESL11
   Reporting Period: From March 01, 2020 to March 31, 2020


   NAME OF BANK:                          Banco Santander                                               BRANCH:          Hato Rey

   ACCOUNT NAME:                          TAX ACCOUNT - DIP

   ACCOUNT NUMBER:                        3004965107

   PURPOSE OF ACCOUNT :                   TAX ACCOUNT

   Account for all disbursements, including void, lost checks, stop payments, etc. In the alternative, a computer generated check
   register can be attached to this report, provided all the information requested below is included.

   Sequencia 1:

       CHECK              CHECK                                                                                   CHECK
      NUMBER               DATE                       PAYEE                             PURPOSE                  AMOUNT
        997128                3/25/2020   Secretario De Hacienda                        Itax Payroll            $ 1,816.87
        997133                3/31/2020   Secretario De Hacienda                        Itax Payroll               1,755.82
        997129                3/25/2020   Secretario De Hacienda                            Ivu                      634.82
        997130                3/25/2020   Secretario De Hacienda                            Ivu                        0.01
        997131                3/25/2020   Munic. De Cataño                                  Ivu                       17.71
        997126                3/25/2020   Internal Revenue Services                   Social Security              5,704.58
        997132                3/31/2020   Internal Revenue Services                   Social Security              5,788.21
                                                                           Total Amount From Checks and Debits:   15,718.02

                                                                           Transfers From This Account:
                                                                                                                                    -
                                                                           Total Amount From Checks And
                                                                                                                       $ 15,718.02
                                                                           Debits, After Transfers:




                                                                      MOR-12
   Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                                                          Desc: Main
                             Document Page 17 of 75
                                                                        ATTACHMENT 4D

                                                 INVESTMENT ACCOUNTS AND PETTY CASH REPORT

Date of Petition: 09/12/2018
Name of Debtor: SKYTEC, INC.
Case Number: 18-05288-ESL11
Reporting Period: From March 01, 2020 to March 31, 2020

                                                                     INVESTMENT ACCOUNT
Each savings and investment account, i.e. certificates of deposits, money market accounts, stocks and bonds, etc. should be
listed separately. Attach copies of account statements.

         Type of Negotiable                                                             Purchase                             Date of                 Current
         Instrument                                 Face Value                Price                                          Purchase              Market Value


None                                                                                                                                              $         -

                                                                                                                                                            -

                                                                                                                                                            -

TOTAL                                                                                                                                             $         -


                                                                       PETTY CASH REPORT
The following petty cash drawers / accounts are maintained




                                                    Column 2                          Column 3                             (Disbursement)
Location of                                   Maximum amount of                  Amount of petty cash                    Difference between
box/account                                  cash in drawer/account             on hand at end of month                column 2 and 3

Operating Department                     $                       1,600.00      $                  1,600.00
Administrative Office                                              500.00                           500.00
                                                                      -                                -                                      -
                                                                      -                                -                                      -
Totals                                   $                       2,100.00      $                  2,100.00         $                          -

TOTAL INVESTMENT ACCOUNTS AND PETTY CASH                                       $                  2,100.00




For any petty cash disbursements over $100 per transaction, attach copies of receipts. If there are no receipts,
provide an explanation:




                                                                                MOR-13
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                                            Desc: Main
                          Document Page 18 of 75

                                                                 ATTACHMENT 6

                                                            MONTHLY TAX REPORT

    Date of Petition: 09/12/2018
    Name of Debtor: SKYTEC, INC.
    Case Number: 18-05288-ESL11
    Reporting Period: From March 01, 2020 to March 31, 2020

                                                            TAXES OWED AND DUE

    Report all unpaid post petition taxes including Federal and State withholding FICA, State sales tax, property tax,
    unemployment tax, State workmen's compensation, etc.

    Name of                           Date                                                               Date Last Tax   Tax Return
    Taxing Authority                  Payment Due        Description                  Amount             Return Filed    Period



    P.R. Treasury                        04/10/20        Sales Tax                     $    1,143.82         03/10/20         02/29/20
    Municipio de Cataño                  04/10/20        Sales Tax                            108.06         03/10/20         02/29/20
    P.R. Treasury                        04/10/20        Professional Service               8,207.54         03/10/20         02/29/20
    P.R. Treasury                        04/10/20        Payroll Income Tax                 1,717.02         01/31/20    Fourth Quarter 2019
    U.S. Treasury                        04/10/20        Payroll FICA Tax                   5,564.49         01/31/20    Fourth Quarter 2019
    P.R. Treasury                        04/30/20        SINOT                                932.27         01/31/20    Fourth Quarter 2019
    P.R. Treasury                        04/30/20        SUTA                               6,303.64         01/31/20    Fourth Quarter 2019
    U.S. Treasury                        04/30/20        FUTA                                 896.52         01/31/20    Fourth Quarter 2019
    TOTAL                                                                              $   24,873.36




                                                                     MOR-14
      Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                                                                      Desc: Main
                                Document Page 19 of 75
                                                                                     ATTACHMENT 7

                                                             SUMMARY OF OFFICER OR OWNER COMPENSATION

Date of Petition: 09/12/2018
Name of Debtor: SKYTEC, INC.
Case Number: 18-05288-ESL11
Reporting Period: From March 01, 2020 to March 31, 2020

Report all forms of compensation received by or paid on behalf of the Officer or Owner during the month, Include car allowances,
payments to retirement plans, loan repayments, payments of Officer/Owner's personal expenses, insurance premium payments, etc.
Do not include reimbursement for business expenses Officer or Owner incurred and for which detailed receipts are maintained in
the accounting records.

         Name of Officer or Owner                          Title                    Payment description                       Amount Paid
Henry L. Barreda                                         President
                                                                           Salary                                    $                        7,490.46
                                                                           Auto Expense                                                       2,272.00
                                                                           Insurance premiium (Aflac/MCS)                                     1,231.14
                                                                           Additional - Site's Rent                                          10,104.17


M&A CPA ADVISOR INC (Annie Astor)                  Financial Consultant Professional Services                        $                       13,613.78
                                                   Acting CFO           Auto Expense                                                          1,668.22
                                                                        Insurance premiium (Aflac/MCS)                                        1,379.13


                                                                                  PERSONNEL REPORT

                                                                                                                                 Full Time               Part Time       Total
                                                   Number of employees at beginning of period                                        27                       0           27
                                                   Number hired during the period                                                     1                       0            1
                                                   Number terminated or resigned during period                                       -1                       0           -1
                                                   Number of employees on payroll at end of period                                   27                       0           27


                                                                            CONFIRMATION OF INSURANCE
List all polices of insurances in effect, including but not limited to workers' compensation, liability, fire, theft, comprehensive, vehicle, health
and life. For the first report, attach copy of the declaration sheet for each type of insurance. For subsequent reports, attach a certificate of
insurance for any policy in which a change occurs during the month (new carrier, increased policy limits, renewal, etc.).

                                                                                                                                                         Expiration   Date premium
Agent and / or carrier                         Phone Number                           Policy Number                         Coverage Type                   Date           due
Corporación Fondo del Seguro del Estado (CFSE) 787-782-8250                              112000907                  Workers' Compensation                 6/30/2020      7/1/2020
Eastern America/Universal Insurance Agency      787-725-8881                            5150582185                  General Liability                    10/17/2020    10/17/2020
Eastern America/Universal Insurance Agency      787-725-8881                           51800572830                  Automobile Liability                  6/13/2020     6/13/2020
Eastern America/Universal Insurance Agency      787-725-8881                             509908272                  Excess Liability                     10/17/2020    10/17/2020
Eastern America/Universal Insurance Agency      787-725-8881                            5150582185                  Workers Compensation and
                                                                                                                    Employee Liability (Gap)             10/17/2020    10/17/2020
Eastern America/Universal Insurance Agency             787-725-8881                      5180581023                 Garagekeeper                         10/17/2020    10/17/2020
Cooperativa Seguros Múltiples                          787-604-9489                       CA750844                  Automobile Liability                  6/18/2020     6/18/2020

The following lapse in insurance coverage occurred this month:
Policy type                                  Date lapse                    Date reinstated                          Reason for lapse
n/a


◘ Check here if US Trustee has been listed a Certificate Holder for all insurance polices.




                                                                                            MOR-15
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                                                       Desc: Main
                          Document Page 20 of 75
                                                                  ATTACHMENT 8

                                    SIGNIFICANT DEVELOPMENTS DURING REPORTING PERIOD

 Date of Petition: 09/12/2018
 Name of Debtor: SKYTEC, INC.

 Case Number: 18-05288-ESL11
 Reporting Period: From March 01, 2020 to March 31, 2020




 Information to be provided on this page, includes, but not limited to: (1) financial transactions that are not reported on this
 report, such as the sale of real estate ( attach closing statement ); (2) non financial transactions, such as the substitution of assets
 or collateral; (3) modifications to loan agreements; (4) change in senior management, etc.
 Attach any relevant documents:

 NONE




                                                                        MOR-16
 Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19        Desc: Main
                           Document Page 21 of 75

SKYTEC, INC.                                                     EXHIBIT I
CASE NO. 18-05288-ESL11




                                                                  Balance
         Bank                 Name of Account     Branch         3/31/2020
Banco Santander            PAYROLL ACCOUNT-DIP    Hato Rey   $          -
Banco Santander              TAX ACCOUNT-DIP      Hato Rey         3,166.14
First Bank                OPERATING ACCOUNT-DIP   Hato Rey     1,073,892.39
PETTY CASH                                                         2,100.00
Total Cash                                                   $ 1,079,158.53
          Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                             Desc: Main
Sorted by Customer Number           Document Page 22 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                           Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates            Job              Discount                                                                                                                         Days
Invoice Date   Number            Invoice           Discount     Number           Amount             Balance          Current          30 Days          60 Days           90 Days                120 Days          Delq



0000000        Leaseway de P.R.Inc.                                   Contact:   Jesus Torres                              Phone:     787-999-8888          Extension:   806    Credit Limit:                      0.00
  3/12/2020    AAA123-IN         3/12/2020                                               0.00              17.76           17.76                0.00             0.00              0.00                0.00         19
                                                 Customer 0000000 Totals:                0.00              17.76           17.76                0.00             0.00              0.00                    0.00

A PLUS         A Plus Ambulance Services Inc.                         Contact:   Jose Gotay                                Phone:     787-771-3443                              Credit Limit:                      0.00
  7/2/2019     0023390-IN        7/2/2019                                                0.00              17.88            0.00                0.00             0.00              0.00               17.88        273
  8/5/2019     0023700-IN        8/5/2019                                                0.00             612.47            0.00                0.00             0.00              0.00              612.47        239
  9/3/2019     0024020-IN        9/3/2019                                                0.00              89.97            0.00                0.00             0.00              0.00               89.97        210
  10/3/2019    0024337-IN        10/3/2019                                               0.00              89.97            0.00                0.00             0.00              0.00               89.97        180
  11/5/2019    0024651-IN        11/5/2019                                               0.00             612.47            0.00                0.00             0.00              0.00              612.47        147
  3/3/2020     0025966-IN        3/3/2020                                                0.00             612.47          612.47                0.00             0.00              0.00                0.00         28
                                                  Customer A PLUS Totals:                0.00            2,035.23         612.47                0.00             0.00              0.00             1,422.76

AAMB           Angeles Ambulance                                      Contact:   Omar Aponte                               Phone:     787-469 1313                              Credit Limit:                1,000.00
  3/3/2020     0025967-IN        3/3/2020                                                0.00             199.92          199.92                0.00             0.00              0.00                0.00         28
                                                   Customer AAMB Totals:                 0.00             199.92          199.92                0.00             0.00              0.00                    0.00

ACT            Aut. de Carr. y Transportacion                         Contact:                                             Phone:     787-721-8787                              Credit Limit:                      0.00
  3/2/2020     1009685-IN        3/2/2020                                                0.00              900.00         900.00                0.00             0.00              0.00                0.00         29
  3/9/2020     1009712-IN        3/9/2020                                                0.00            7,072.50       7,072.50                0.00             0.00              0.00                0.00         22
  3/11/2020    1009724-IN        3/11/2020                                               0.00           27,708.58      27,708.58                0.00             0.00              0.00                0.00         20
                                                     Customer ACT Totals:                0.00           35,681.08      35,681.08                0.00             0.00              0.00                    0.00

ADMTERR        Administracion de Terrenos                             Contact:                                             Phone:     787-753-9409                              Credit Limit:                      0.00
  10/3/2016    0015143-IN        10/3/2016                                               0.00              51.48               0.00             0.00             0.00              0.00               51.48       1,275
  6/1/2017     0016677-IN        6/1/2017                                                0.00             149.94               0.00             0.00             0.00              0.00              149.94       1,034
  7/3/2017     0016880-IN        7/3/2017                                                0.00             134.94               0.00             0.00             0.00              0.00              134.94       1,002
                                                Customer ADMTERR Totals:                 0.00             336.36               0.00             0.00             0.00              0.00               336.36

AEIC           AEI Corporation                                        Contact:   Aixa Garcia                               Phone:     787-287-5192                              Credit Limit:                      0.00
  3/2/2020     1009682-IN        3/2/2020                                                0.00             124.95          124.95                0.00             0.00              0.00                0.00         29
  3/3/2020     0025968-IN        3/3/2020                                                0.00             424.83          424.83                0.00             0.00              0.00                0.00         28
                                                    Customer AEIC Totals:                0.00             549.78          549.78                0.00             0.00              0.00                    0.00

AEME           Agencia Estatal Manejo Emergen                         Contact:                                             Phone:     787-724-0124                              Credit Limit:                      0.00
  10/5/2017    1008133-IN        10/5/2017                                               0.00            7,995.00           0.00              0.00               0.00              0.00            7,995.00        908
  10/5/2017    1008134-IN        10/5/2017                                               0.00           24,995.00           0.00              0.00               0.00              0.00           24,995.00        908
  10/31/2017   1008239-IN        10/31/2017                                              0.00            4,920.00           0.00              0.00               0.00              0.00            4,920.00        882
  11/23/2017   1008260-IN        11/23/2017                                              0.00           15,000.00           0.00              0.00               0.00              0.00           15,000.00        859
  5/14/2018    1008472-IN        5/14/2018                                               0.00                0.01           0.00              0.00               0.00              0.00                0.01        687
  2/27/2020    1009679-IN        2/27/2020                                               0.00            2,600.00           0.00          2,600.00               0.00              0.00                0.00         33
  3/3/2020     0025969-IN        3/3/2020                                                0.00              881.51         881.51              0.00               0.00              0.00                0.00         28
  3/9/2020     1009716-IN        3/9/2020                                                0.00            1,105.00       1,105.00              0.00               0.00              0.00                0.00         22
                                                   Customer AEME Totals:                 0.00           57,496.52       1,986.51          2,600.00               0.00              0.00            52,910.01

AEROSTA        AEROSTAR Airport Holdings LLC                          Contact:                                             Phone:     787-289-7240                              Credit Limit:                      0.00
  2/2/2017     1007795-IN        2/2/2017                                                0.00               94.94           0.00             0.00             0.00               0.00                 94.94       1,153
  4/18/2017    1007887-IN        4/18/2017                                               0.00            1,259.94           0.00             0.00             0.00               0.00              1,259.94       1,078
  5/3/2017     0016478-IN        5/3/2017                                                0.00               10.50           0.00             0.00             0.00               0.00                 10.50       1,063
  6/19/2017    1007961-IN        6/19/2017                                               0.00              231.27           0.00             0.00             0.00               0.00                231.27       1,016
  8/5/2019     0023704-IN        8/5/2019                                                0.00               17.49           0.00             0.00             0.00               0.00                 17.49         239
  9/3/2019     0024024-IN        9/3/2019                                                0.00               17.49           0.00             0.00             0.00               0.00                 17.49         210
  11/5/2019    0024655-IN        11/5/2019                                               0.00                5.00-          0.00             0.00             0.00               0.00                  5.00-
  12/4/2019    0024970-IN        12/4/2019                                               0.00              174.93           0.00             0.00             0.00             174.93                  0.00        118
  12/31/2019   1009580-IN        12/31/2019                                              0.00              395.83           0.00             0.00             0.00             395.83                  0.00         91
  1/9/2020     0025293-IN        1/9/2020                                                0.00              199.92           0.00             0.00           199.92               0.00                  0.00         82
  2/4/2020     0025627-IN        2/4/2020                                                0.00              199.92           0.00           199.92             0.00               0.00                  0.00         56
  2/10/2020    PREPR-PP          2/10/2020                                               0.00              531.93-          0.00           531.93-            0.00               0.00                  0.00
  3/3/2020     0025970-IN        3/3/2020                                                0.00              199.92         199.92             0.00             0.00               0.00                  0.00         28
                                                Customer AEROSTA Totals:                 0.00            2,265.22         199.92           332.01-          199.92             570.76               1,626.63

AGR LI         AGR Life Team                                          Contact:   Asiris Rodriguez                          Phone:     787-248-0081                              Credit Limit:                      0.00
  3/3/2020     0025971-IN        3/3/2020                                                0.00              74.97           74.97                0.00             0.00              0.00                0.00         28
                                                   Customer AGR LI Totals:               0.00              74.97           74.97                0.00             0.00              0.00                    0.00

AGROV          Agro-Vet Inc.                                          Contact:                                             Phone:     787-268-0300                              Credit Limit:                      0.00
  11/1/2018    0021023-IN        11/1/2018                                               0.00              19.99            0.00                0.00             0.00              0.00               19.99        516
  1/2/2019     0021596-IN        1/2/2019                                                0.00              24.99            0.00                0.00             0.00              0.00               24.99        454
  3/3/2020     0025972-IN        3/3/2020                                                0.00              44.98           44.98                0.00             0.00              0.00                0.00         28
                                                  Customer AGROV Totals:                 0.00              89.96           44.98                0.00             0.00              0.00                44.98

ALBAR          Alfredo Barreto Andino                                 Contact:                                             Phone:     787-361-2068                              Credit Limit:                      0.00
  3/2/2020     3022020-PP        3/2/2020                                                0.00               0.21-           0.21-               0.00             0.00              0.00                0.00
  3/3/2020     0025973-IN        3/3/2020                                                0.00              24.99           24.99                0.00             0.00              0.00                0.00         28
                                                   Customer ALBAR Totals:                0.00              24.78           24.78                0.00             0.00              0.00                    0.00

ALCOMI         Alexis J Cordero Miranda                               Contact:   Marcos Juarbe Torres                      Phone:     787-239-5082                              Credit Limit:                      0.00
  3/3/2020     0025974-IN        3/3/2020                                                0.00              24.99           24.99                0.00             0.00              0.00                0.00         28
                                                  Customer ALCOMI Totals:                0.00              24.99           24.99                0.00             0.00              0.00                    0.00


  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                                  Page: 1
  A/R Date: 4/7/2020                                                                                                                                                                               User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                          Desc: Main
Sorted by Customer Number          Document Page 23 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                       Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                       Days
Invoice Date   Number            Invoice           Discount   Number           Amount             Balance          Current          30 Days          60 Days          90 Days               120 Days          Delq



ALEFRA         Alexis Franceschini                                  Contact:                                             Phone:     787-479-4186                            Credit Limit:                      0.00
  3/3/2020     0025975-IN        3/3/2020                                              0.00              99.96           99.96                0.00             0.00             0.00               0.00         28
                                                Customer ALEFRA Totals:                0.00              99.96           99.96                0.00             0.00             0.00                   0.00

ALEHOR         Alex Hornedo Robles                                  Contact:   Alex Hornedo                              Phone:     (787) 315-9216                          Credit Limit:                      0.00
  2/4/2020     0025633-IN        2/4/2020                                              0.00              24.99            0.00             24.99               0.00             0.00               0.00         56
  3/3/2020     0025976-IN        3/3/2020                                              0.00              24.99           24.99              0.00               0.00             0.00               0.00         28
                                                Customer ALEHOR Totals:                0.00              49.98           24.99             24.99               0.00             0.00                   0.00

ALLCA          All Categories Inc.                                  Contact:   Miguel Lozada                             Phone:     787-732-3300                            Credit Limit:                      0.00
  1/9/2020     0025300-IN        1/9/2020                                              0.00              74.97            0.00              0.00           74.97                0.00               0.00         82
  2/4/2020     0025634-IN        2/4/2020                                              0.00              74.97            0.00             74.97            0.00                0.00               0.00         56
  3/3/2020     0025977-IN        3/3/2020                                              0.00              74.97           74.97              0.00            0.00                0.00               0.00         28
                                                  Customer ALLCA Totals:               0.00             224.91           74.97             74.97           74.97                0.00                   0.00

ALLITEC        Allied Technology Group                              Contact:   Leticia Perez                             Phone:     787-705-0555                            Credit Limit:                      0.00
  3/3/2020     0025978-IN        3/3/2020                                              0.00              49.98           49.98                0.00             0.00             0.00               0.00         28
                                                Customer ALLITEC Totals:               0.00              49.98           49.98                0.00             0.00             0.00                   0.00

ALOMAC         ALOMAC Distributions                                 Contact:   Sandra Santiago                           Phone:     787-744-9696                            Credit Limit:                      0.00
  10/3/2016    0015148-IN        10/3/2016                                             0.00              19.24-              0.00             0.00             0.00             0.00              19.24-
  5/3/2019     0022788-IN        5/3/2019                                              0.00              24.99               0.00             0.00             0.00             0.00              24.99        333
                                               Customer ALOMAC Totals:                 0.00                 5.75             0.00             0.00             0.00             0.00                   5.75

ALV            Angel Luis Villanueva                                Contact:   Angel Luis Villanueva                     Phone:     787-449-8538                            Credit Limit:                      0.00
  4/1/2015     0012464-IN        4/1/2015                                              0.00              38.27               0.00             0.00             0.00             0.00              38.27       1,826
  5/5/2015     0012598-IN        5/5/2015                                              0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,792
  6/3/2015     0012737-IN        6/3/2015                                              0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,763
  7/1/2015     0012877-IN        7/1/2015                                              0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,735
  8/3/2015     0013026-IN        8/3/2015                                              0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,702
  9/3/2015     0013168-IN        9/3/2015                                              0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,671
  10/2/2015    0013309-IN        10/2/2015                                             0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,642
  11/3/2015    0013450-IN        11/3/2015                                             0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,610
  12/3/2015    0013589-IN        12/3/2015                                             0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,580
  1/8/2016     0013727-IN        1/8/2016                                              0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,544
  2/5/2016     0013868-IN        2/5/2016                                              0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,516
  3/3/2016     0014008-IN        3/3/2016                                              0.00              59.98               0.00             0.00             0.00             0.00              59.98       1,489
                                                    Customer ALV Totals:               0.00             698.05               0.00             0.00             0.00             0.00              698.05

ALVINE         Alberto Villafañe Negrón                             Contact:                                             Phone:     939-644-2568                            Credit Limit:                      0.00
  3/3/2020     0025980-IN        3/3/2020                                              0.00             277.61          277.61                0.00             0.00             0.00               0.00         28
                                                 Customer ALVINE Totals:               0.00             277.61          277.61                0.00             0.00             0.00                   0.00

AMA            Aut. Metro. de Autobuses                             Contact:   Janesa Gonzalez                           Phone:     787-294-0500                            Credit Limit:                      0.00
  8/15/2019    1009320-IN        8/15/2019                                             0.00             314.50               0.00             0.00             0.00             0.00             314.50        229
                                                    Customer AMA Totals:               0.00             314.50               0.00             0.00             0.00             0.00              314.50

AMC            AMC Engineering Inc                                  Contact:   Angel Cruz                                Phone:     787-745-4340                            Credit Limit:                      0.00
  11/3/2014    0011766-IN        11/3/2014                                             0.00             408.57               0.00             0.00             0.00             0.00             408.57       1,975
  12/3/2014    0011905-IN        12/3/2014                                             0.00             414.85               0.00             0.00             0.00             0.00             414.85       1,945
  1/12/2015    0012043-IN        1/12/2015                                             0.00             414.85               0.00             0.00             0.00             0.00             414.85       1,905
  2/3/2015     0012184-IN        2/3/2015                                              0.00             414.85               0.00             0.00             0.00             0.00             414.85       1,883
  3/3/2015     0012323-IN        3/3/2015                                              0.00             414.85               0.00             0.00             0.00             0.00             414.85       1,855
  4/1/2015     0012465-IN        4/1/2015                                              0.00             414.85               0.00             0.00             0.00             0.00             414.85       1,826
  5/5/2015     0012599-IN        5/5/2015                                              0.00             414.85               0.00             0.00             0.00             0.00             414.85       1,792
  6/3/2015     0012738-IN        6/3/2015                                              0.00             414.85               0.00             0.00             0.00             0.00             414.85       1,763
  7/1/2015     0012878-IN        7/1/2015                                              0.00             414.85               0.00             0.00             0.00             0.00             414.85       1,735
  8/3/2015     0013027-IN        8/3/2015                                              0.00             264.90               0.00             0.00             0.00             0.00             264.90       1,702
  9/3/2015     0013169-IN        9/3/2015                                              0.00             264.90               0.00             0.00             0.00             0.00             264.90       1,671
  10/2/2015    0013310-IN        10/2/2015                                             0.00             264.90               0.00             0.00             0.00             0.00             264.90       1,642
                                                   Customer AMC Totals:                0.00            4,522.07              0.00             0.00             0.00             0.00            4,522.07

AMELAW         American Lawn Maintainace Inc.                       Contact:   Carmina Díaz                              Phone:     787-753-1730                            Credit Limit:                      0.00
  3/3/2020     0025981-IN        3/3/2020                                              0.00              24.99           24.99                0.00             0.00             0.00               0.00         28
                                               Customer AMELAW Totals:                 0.00              24.99           24.99                0.00             0.00             0.00                   0.00

ANGEL R        Angel Rosado Collazo                                 Contact:   Angienid Rosado                           Phone:     787-242-2966                            Credit Limit:                      0.00
  2/1/2019     0021900-IN        2/1/2019                                              0.00              20.00               0.00             0.00             0.00             0.00              20.00        424
  3/4/2019     0022193-IN        3/4/2019                                              0.00             174.93               0.00             0.00             0.00             0.00             174.93        393
  4/1/2019     0022490-IN        4/1/2019                                              0.00             174.93               0.00             0.00             0.00             0.00             174.93        365
  5/3/2019     0022790-IN        5/3/2019                                              0.00             174.93               0.00             0.00             0.00             0.00             174.93        333
  6/4/2019     0023096-IN        6/4/2019                                              0.00             174.93               0.00             0.00             0.00             0.00             174.93        301
                                               Customer ANGEL R Totals:                0.00             719.72               0.00             0.00             0.00             0.00              719.72

ANGELO         Angelo Medina                                        Contact:   Angelo Medina                             Phone:     787-501-5692                            Credit Limit:                      0.00
  3/3/2020     0025982-IN        3/3/2020                                              0.00              74.97           74.97                0.00             0.00             0.00               0.00         28
                                               Customer ANGELO Totals:                 0.00              74.97           74.97                0.00             0.00             0.00                   0.00

ANHURI         Angel Huertas Rivera                                 Contact:                                             Phone:     787-420-6958                            Credit Limit:                      0.00
  8/15/2017    1008024-IN        8/15/2017                                             0.00             164.37               0.00             0.00             0.00             0.00             164.37        959

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                              Page: 2
  A/R Date: 4/7/2020                                                                                                                                                                           User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                             Desc: Main
Sorted by Customer Number          Document Page 24 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                             Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job               Discount                                                                                                                             Days
Invoice Date   Number            Invoice           Discount   Number            Amount                Balance        Current          30 Days          60 Days           90 Days                  120 Days           Delq


  9/4/2017     0017330-IN        9/4/2017                                               0.00                24.99              0.00             0.00             0.00              0.00                 24.99         939
  10/5/2017    0017575-IN        10/5/2017                                              0.00                24.99              0.00             0.00             0.00              0.00                 24.99         908
  11/3/2017    0017822-IN        11/3/2017                                              0.00                24.99              0.00             0.00             0.00              0.00                 24.99         879
  12/1/2017    0018085-IN        12/1/2017                                              0.00                24.99              0.00             0.00             0.00              0.00                 24.99         851
  1/5/2018     0018335-IN        1/5/2018                                               0.00                24.99              0.00             0.00             0.00              0.00                 24.99         816
  2/1/2018     0018582-IN        2/1/2018                                               0.00                24.99              0.00             0.00             0.00              0.00                 24.99         789
  3/2/2018     0018844-IN        3/2/2018                                               0.00                24.99              0.00             0.00             0.00              0.00                 24.99         760
  4/1/2018     0019100-IN        4/1/2018                                               0.00                24.99              0.00             0.00             0.00              0.00                 24.99         730
  5/1/2018     0019382-IN        5/1/2018                                               0.00                24.99              0.00             0.00             0.00              0.00                 24.99         700
                                                Customer ANHURI Totals:                 0.00               389.28              0.00             0.00             0.00              0.00                 389.28

ANIBA          .                                                     Contact:                                              Phone:     787-548-8808                                Credit Limit:                       0.00
  8/20/2019    0023905-PP        8/20/2019                                              0.00                86.10-          0.00              0.00               0.00              0.00                 86.10-
  2/4/2020     0025640-IN        2/4/2020                                               0.00                49.98-          0.00             49.98-              0.00              0.00                  0.00
  3/3/2020     0025983-IN        3/3/2020                                               0.00                49.98          49.98              0.00               0.00              0.00                  0.00          28
                                                  Customer ANIBA Totals:                0.00                86.10-         49.98             49.98-              0.00              0.00                  86.10-

ANIRGU         Angel Irrizarry Guardiola                             Contact:                                              Phone:     (787) 244-7910                              Credit Limit:                       0.00
  11/1/2016    0015335-IN        11/1/2016                                              0.00                25.02-             0.00             0.00             0.00              0.00                 25.02-
  4/4/2017     0016289-IN        4/4/2017                                               0.00                25.00-             0.00             0.00             0.00              0.00                 25.00-
  5/3/2017     0016486-IN        5/3/2017                                               0.00                 0.05-             0.00             0.00             0.00              0.00                  0.05-
                                                Customer ANIRGU Totals:                 0.00                50.07-             0.00             0.00             0.00              0.00                  50.07-

ANTOAV         Angel L Torres Avilés                                 Contact:                                              Phone:     787-363-0974                                Credit Limit:                       0.00
  11/1/2018    0021034-IN        11/1/2018                                              0.00                 0.17-          0.00                0.00             0.00              0.00                  0.17-
  11/15/2019   0151119-PP        11/15/2019                                             0.00                 0.01-          0.00                0.00             0.00              0.00                  0.01-
  3/3/2020     0025985-IN        3/3/2020                                               0.00                24.99          24.99                0.00             0.00              0.00                  0.00          28
                                                Customer ANTOAV Totals:                 0.00                24.81          24.99                0.00             0.00              0.00                      0.18-

ANTRIVE        Antonio Rivera                                        Contact:   Antoriobn J. Rivera                        Phone:     787-314-5748                                Credit Limit:                       0.00
  3/3/2020     0025986-IN        3/3/2020                                               0.00                19.99          19.99                0.00             0.00              0.00                  0.00          28
                                               Customer ANTRIVE Totals:                 0.00                19.99          19.99                0.00             0.00              0.00                      0.00

APC            American Paper Corp                                   Contact:   Eva Lassale                                Phone:     787-999-0888          Extension:   237      Credit Limit:                       0.00
  2/4/2020     0025644-IN        2/4/2020                                               0.00               144.93           0.00            144.93               0.00              0.00                  0.00          56
  3/3/2020     0025987-IN        3/3/2020                                               0.00               144.93         144.93              0.00               0.00              0.00                  0.00          28
                                                    Customer APC Totals:                0.00               289.86         144.93            144.93               0.00              0.00                      0.00

APEX           Apex Global                                           Contact:   Jose Barreda                               Phone:     787-728-0724                                Credit Limit:                       0.00
  8/5/2019     0023722-IN        8/5/2019                                               0.00                49.98           0.00                0.00             0.00              0.00                 49.98         239
  11/8/2019    0081119-PP        11/8/2019                                              0.00                24.99-          0.00                0.00             0.00              0.00                 24.99-
  3/3/2020     0025988-IN        3/3/2020                                               0.00                24.99          24.99                0.00             0.00              0.00                  0.00          28
  3/3/2020     3032020-PP        3/3/2020                                               0.00                74.97-         74.97-               0.00             0.00              0.00                  0.00
                                                   Customer APEX Totals:                0.00                24.99-         49.98-               0.00             0.00              0.00                  24.99

APOLO          Apolo Express                                         Contact:                                              Phone:     787-982-2334                                Credit Limit:                       0.00
  10/3/2019    0024359-IN        10/3/2019                                              0.00               259.87           0.00                0.00             0.00              0.00                259.87         180
  3/3/2020     0025989-IN        3/3/2020                                               0.00               319.84         319.84                0.00             0.00              0.00                  0.00          28
                                                 Customer APOLO Totals:                 0.00               579.71         319.84                0.00             0.00              0.00                 259.87

APSH           APS Healthcare Puerto Rico Inc                        Contact:                                              Phone:     787-641-0774                                Credit Limit:                       0.00
  3/3/2020     0025990-IN        3/3/2020                                               0.00                19.99          19.99                0.00             0.00              0.00                  0.00          28
                                                  Customer APSH Totals:                 0.00                19.99          19.99                0.00             0.00              0.00                      0.00

ARIMAR         ARIMAR Inc DBA PCShield                               Contact:                                              Phone:     787-755-5381                                Credit Limit:                       0.00
  8/29/2016    1007555-IN        8/29/2016                                              0.00             4,660.09              0.00             0.00             0.00              0.00              4,660.09        1,310
  8/29/2016    1007564-IN        8/29/2016                                              0.00             1,040.00              0.00             0.00             0.00              0.00              1,040.00        1,310
                                                Customer ARIMAR Totals:                 0.00             5,700.09              0.00             0.00             0.00              0.00               5,700.09

ASEM           ADM SERVICIOS MEDICOS DE P.R.                         Contact:   Anna o Myriam                              Phone:     787-777-3535          Extension:   2930     Credit Limit:                       0.00
  10/12/2017   1008140-IN        10/12/2017                                             0.00               500.00              0.00             0.00             0.00              0.00                500.00         901
  10/22/2019   1009457-IN        10/22/2019                                             0.00               650.00              0.00             0.00             0.00              0.00                650.00         161
  12/13/2019   1009549-IN        12/13/2019                                             0.00             1,710.00              0.00             0.00             0.00          1,710.00                  0.00         109
  12/26/2019   1009561-IN        12/26/2019                                             0.00             4,951.20              0.00             0.00             0.00          4,951.20                  0.00          96
                                                  Customer ASEM Totals:                 0.00             7,811.20              0.00             0.00             0.00          6,661.20               1,150.00

ASI            Agroservicios                                         Contact:                                              Phone:     787-756-8181                                Credit Limit:                       0.00
  3/11/2020    1009725-IN        3/11/2020                                              0.00                99.96          99.96                0.00             0.00              0.00                  0.00          20
                                                     Customer ASI Totals:               0.00                99.96          99.96                0.00             0.00              0.00                      0.00

ASP            Auto Servicios Padilla                                Contact:   Francisco Padilla                          Phone:     787-249-9314                                Credit Limit:                       0.00
  2/4/2020     0025650-IN        2/4/2020                                               0.00               111.15           0.00            111.15               0.00              0.00                  0.00          56
  3/3/2020     0025993-IN        3/3/2020                                               0.00               124.95         124.95              0.00               0.00              0.00                  0.00          28
                                                    Customer ASP Totals:                0.00               236.10         124.95            111.15               0.00              0.00                      0.00

ATI            Alternativa de Transporte                             Contact:                                              Phone:     787-765-0927          Extension:   1289     Credit Limit:                       0.00
  4/3/2018     1008421-IN        4/3/2018                                               0.00             5,437.50              0.00             0.00             0.00              0.00              5,437.50         728
                                                     Customer ATI Totals:               0.00             5,437.50              0.00             0.00             0.00              0.00               5,437.50

ATMAEN         Atlantic Master Enterprises                           Contact:                                              Phone:     (787) 795-1052                              Credit Limit:                       0.00
  1/5/2018     0018344-IN        1/5/2018                                               0.00                24.99              0.00             0.00             0.00              0.00                 24.99         816

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                                    Page: 3
  A/R Date: 4/7/2020                                                                                                                                                                                 User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                                Desc: Main
Sorted by Customer Number          Document Page 25 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                               Skytec, Inc. (ST2)

Customer/      Invoice                       Due Dates           Job              Discount                                                                                                                            Days
Invoice Date   Number              Invoice           Discount    Number           Amount              Balance        Current          30 Days             60 Days           90 Days                 120 Days          Delq


                                                 Customer ATMAEN Totals:                  0.00              24.99              0.00             0.00                0.00              0.00                 24.99

AZCMET         AZC Metropolitan Distributor                            Contact:   Evelyn Sanchez                           Phone:     (787) 775-1717                                Credit Limit:                      0.00
  1/9/2020     0025318-IN          1/9/2020                                               0.00              99.96           0.00              0.00              99.96                 0.00                 0.00         82
  1/29/2020    1009593-IN          1/29/2020                                              0.00              24.99           0.00              0.00              24.99                 0.00                 0.00         62
  2/4/2020     0025652-IN          2/4/2020                                               0.00              24.99           0.00             24.99               0.00                 0.00                 0.00         56
  3/3/2020     0025995-IN          3/3/2020                                               0.00              24.99          24.99              0.00               0.00                 0.00                 0.00         28
                                                  Customer AZCMET Totals:                 0.00             174.93          24.99             24.99             124.95                 0.00                     0.00

B&BC           B & B Communications                                    Contact:                                            Phone:     787-760-2698                                  Credit Limit:                      0.00
  4/1/2015     0012471-IN          4/1/2015                                               0.00              65.40              0.00             0.00                0.00              0.00                65.40       1,826
  5/5/2015     0012605-IN          5/5/2015                                               0.00              79.98              0.00             0.00                0.00              0.00                79.98       1,792
  6/3/2015     0012744-IN          6/3/2015                                               0.00              79.98              0.00             0.00                0.00              0.00                79.98       1,763
  7/1/2015     0012884-IN          7/1/2015                                               0.00              79.98              0.00             0.00                0.00              0.00                79.98       1,735
  8/3/2015     0013033-IN          8/3/2015                                               0.00              79.98              0.00             0.00                0.00              0.00                79.98       1,702
  9/3/2015     0013175-IN          9/3/2015                                               0.00              79.98              0.00             0.00                0.00              0.00                79.98       1,671
  10/2/2015    0013316-IN          10/2/2015                                              0.00              79.98              0.00             0.00                0.00              0.00                79.98       1,642
  11/3/2015    0013456-IN          11/3/2015                                              0.00              79.98              0.00             0.00                0.00              0.00                79.98       1,610
  12/3/2015    0013595-IN          12/3/2015                                              0.00              79.98              0.00             0.00                0.00              0.00                79.98       1,580
  1/8/2016     0013733-IN          1/8/2016                                               0.00              79.98              0.00             0.00                0.00              0.00                79.98       1,544
  2/5/2016     0013874-IN          2/5/2016                                               0.00              79.98              0.00             0.00                0.00              0.00                79.98       1,516
  3/3/2016     0014014-IN          3/3/2016                                               0.00              79.98              0.00             0.00                0.00              0.00                79.98       1,489
  4/4/2016     0014156-IN          4/4/2016                                               0.00              79.98              0.00             0.00                0.00              0.00                79.98       1,457
                                                   Customer B & B C Totals:               0.00           1,025.16              0.00             0.00                0.00              0.00              1,025.16

BALREN         Baldorioty Rental                                       Contact:                                            Phone:     787-757-0125                                  Credit Limit:                      0.00
  2/4/2020     0025653-IN          2/4/2020                                               0.00              99.96           0.00             99.96                  0.00              0.00                 0.00         56
  3/3/2020     0025996-IN          3/3/2020                                               0.00             199.92         199.92              0.00                  0.00              0.00                 0.00         28
                                                  Customer BALREN Totals:                 0.00             299.88         199.92             99.96                  0.00              0.00                     0.00

BANCOPO        Banco Popular                                           Contact:                                            Phone:     723-0777,722-8945        Extension:   3148    Credit Limit:                      0.00
  11/30/2017   1008668-IN          11/30/2017                                             0.00             485.88-             0.00             0.00                0.00              0.00               485.88-
                                                Customer BANCOPO Totals:                  0.00             485.88-             0.00             0.00                0.00              0.00                485.88-

BARSAN         Empresas Barsan                                         Contact:   Luis Sanchez                             Phone:     (787) 788-6070                                Credit Limit:                      0.00
  3/3/2020     0025997-IN          3/3/2020                                               0.00             174.93         174.93                0.00                0.00              0.00                 0.00         28
                                                  Customer BARSAN Totals:                 0.00             174.93         174.93                0.00                0.00              0.00                     0.00

BAX            Baxter Health Corp.                                     Contact:   Lester González                          Phone:     787-735-8021             Extension:   2418    Credit Limit:                      0.00
  12/23/2014   1006692-IN          12/23/2014                                             0.00             403.42              0.00           0.00                  0.00              0.00               403.42       1,925
  2/4/2020     0025943-IN          2/4/2020                                               0.00           3,598.56              0.00       3,598.56                  0.00              0.00                 0.00          56
  2/17/2020    1009643-IN          2/17/2020                                              0.00              99.96              0.00          99.96                  0.00              0.00                 0.00          43
  2/25/2020    0025955-IN          2/25/2020                                              0.00             299.88              0.00         299.88                  0.00              0.00                 0.00          35
                                                      Customer BAX Totals:                0.00           4,401.82              0.00       3,998.40                  0.00              0.00                403.42

BD             Bego Designs                                            Contact:                                            Phone:     787-268-5100                                  Credit Limit:                      0.00
  3/3/2020     0025998-IN          3/3/2020                                               0.00              84.97          84.97                0.00                0.00              0.00                 0.00         28
                                                       Customer BD Totals:                0.00              84.97          84.97                0.00                0.00              0.00                     0.00

BEMEAM         Best Medical Ambulance                                  Contact:   Carmen Couvertier                        Phone:     787-985-0850                                  Credit Limit:                      0.00
  10/3/2019    0024369-IN          10/3/2019                                              0.00             144.96           0.00              0.00               0.00                0.00                144.96        180
  11/5/2019    0024683-IN          11/5/2019                                              0.00             572.48           0.00              0.00               0.00                0.00                572.48        147
  12/4/2019    0024999-IN          12/4/2019                                              0.00             572.48           0.00              0.00               0.00              572.48                  0.00        118
  1/9/2020     0025322-IN          1/9/2020                                               0.00             572.48           0.00              0.00             572.48                0.00                  0.00         82
  2/4/2020     0025656-IN          2/4/2020                                               0.00             572.48           0.00            572.48               0.00                0.00                  0.00         56
  3/3/2020     0025999-IN          3/3/2020                                               0.00             572.48         572.48              0.00               0.00                0.00                  0.00         28
                                                 Customer BEMEAM Totals:                  0.00           3,007.36         572.48            572.48             572.48              572.48                 717.44

BFER           B Fernández & Co.                                       Contact:                                            Phone:     787-288-7272                                  Credit Limit:                      0.00
  2/1/2017     0015915-IN          2/1/2017                                               0.00              21.08-             0.00             0.00                0.00              0.00                21.08-
                                                     Customer BFER Totals:                0.00              21.08-             0.00             0.00                0.00              0.00                 21.08-

BIN            Bin Contractors                                         Contact:   Cesar Acevedo                            Phone:     939-717-0794                                  Credit Limit:                      0.00
  3/3/2020     0026001-IN          3/3/2020                                               0.00              24.99          24.99                0.00                0.00              0.00                 0.00         28
                                                       Customer BIN Totals:               0.00              24.99          24.99                0.00                0.00              0.00                     0.00

BIO            Biomet Orthopedics PR Inc.                              Contact:                                            Phone:     787-751-0650                                  Credit Limit:                      0.00
  2/3/2015     0012194-IN          2/3/2015                                               0.00              74.85              0.00             0.00                0.00              0.00                74.85       1,883
  3/3/2015     0012333-IN          3/3/2015                                               0.00              74.85              0.00             0.00                0.00              0.00                74.85       1,855
  4/1/2015     0012475-IN          4/1/2015                                               0.00              74.85              0.00             0.00                0.00              0.00                74.85       1,826
  5/5/2015     0012609-IN          5/5/2015                                               0.00              74.85              0.00             0.00                0.00              0.00                74.85       1,792
  6/3/2015     0012748-IN          6/3/2015                                               0.00              74.85              0.00             0.00                0.00              0.00                74.85       1,763
  7/1/2015     0012888-IN          7/1/2015                                               0.00              74.85              0.00             0.00                0.00              0.00                74.85       1,735
  9/3/2015     0013179-IN          9/3/2015                                               0.00              74.85              0.00             0.00                0.00              0.00                74.85       1,671
  10/2/2015    0013320-IN          10/2/2015                                              0.00              74.85              0.00             0.00                0.00              0.00                74.85       1,642
  11/3/2015    0013460-IN          11/3/2015                                              0.00              74.85              0.00             0.00                0.00              0.00                74.85       1,610
  12/3/2015    0013599-IN          12/3/2015                                              0.00              74.85              0.00             0.00                0.00              0.00                74.85       1,580
  1/8/2016     0013737-IN          1/8/2016                                               0.00              74.85              0.00             0.00                0.00              0.00                74.85       1,544
  2/5/2016     0013878-IN          2/5/2016                                               0.00              74.85              0.00             0.00                0.00              0.00                74.85       1,516
  3/3/2016     0014018-IN          3/3/2016                                               0.00              74.85              0.00             0.00                0.00              0.00                74.85       1,489
  4/4/2016     0014160-IN          4/4/2016                                               0.00              74.85              0.00             0.00                0.00              0.00                74.85       1,457

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                                      Page: 4
  A/R Date: 4/7/2020                                                                                                                                                                                   User Logon: laura
        Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                          Desc: Main
Sorted by Customer Number         Document Page 26 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                          Skytec, Inc. (ST2)

Customer/      Invoice                      Due Dates          Job              Discount                                                                                                                         Days
Invoice Date   Number             Invoice           Discount   Number           Amount             Balance        Current          30 Days          60 Days           90 Days                  120 Days          Delq


                                                     Customer BIO Totals:               0.00           1,047.90             0.00             0.00             0.00              0.00               1,047.90

BLASANG        Blanca D Sánchez Gómez                                Contact:   Kevin García                            Phone:     787-564-1441                                Credit Limit:                      0.00
  10/16/2017   1008156-IN         10/16/2017                                            0.00             80.74              0.00             0.00             0.00              0.00                 80.74        897
  11/3/2017    0017836-IN         11/3/2017                                             0.00             24.99              0.00             0.00             0.00              0.00                 24.99        879
  12/1/2017    0018100-IN         12/1/2017                                             0.00             24.99              0.00             0.00             0.00              0.00                 24.99        851
  1/5/2018     0018349-IN         1/5/2018                                              0.00             24.99              0.00             0.00             0.00              0.00                 24.99        816
  2/1/2018     0018596-IN         2/1/2018                                              0.00             24.99              0.00             0.00             0.00              0.00                 24.99        789
  3/2/2018     0018861-IN         3/2/2018                                              0.00             24.99              0.00             0.00             0.00              0.00                 24.99        760
  4/1/2018     0019117-IN         4/1/2018                                              0.00             24.99              0.00             0.00             0.00              0.00                 24.99        730
  5/1/2018     0019400-IN         5/1/2018                                              0.00             24.99              0.00             0.00             0.00              0.00                 24.99        700
                                               Customer BLASANG Totals:                 0.00            255.67              0.00             0.00             0.00              0.00                 255.67

BOMET          Borinquen Metals                                      Contact:                                           Phone:     787-747-5850                                Credit Limit:                      0.00
  11/3/2015    0013461-IN         11/3/2015                                             0.00             14.70-          0.00                0.00             0.00              0.00                 14.70-
  12/3/2015    0013600-IN         12/3/2015                                             0.00            104.96-          0.00                0.00             0.00              0.00                104.96-
  3/3/2020     0026002-IN         3/3/2020                                              0.00            259.91         259.91                0.00             0.00              0.00                  0.00         28
                                                  Customer BOMET Totals:                0.00            140.25         259.91                0.00             0.00              0.00                 119.66-

BOTRS          Back On Track Services Inc.                           Contact:                                           Phone:     939-338-2115                                Credit Limit:                      0.00
  9/4/2017     0017346-IN         9/4/2017                                              0.00            149.94              0.00             0.00             0.00              0.00                149.94        939
  10/5/2017    0017590-IN         10/5/2017                                             0.00            149.94              0.00             0.00             0.00              0.00                149.94        908
  11/3/2017    0017838-IN         11/3/2017                                             0.00            149.94              0.00             0.00             0.00              0.00                149.94        879
  12/1/2017    0018102-IN         12/1/2017                                             0.00            149.94              0.00             0.00             0.00              0.00                149.94        851
  1/5/2018     0018351-IN         1/5/2018                                              0.00            149.94              0.00             0.00             0.00              0.00                149.94        816
  2/1/2018     0018598-IN         2/1/2018                                              0.00            149.94              0.00             0.00             0.00              0.00                149.94        789
  3/2/2018     0018863-IN         3/2/2018                                              0.00            149.94              0.00             0.00             0.00              0.00                149.94        760
  4/1/2018     0019119-IN         4/1/2018                                              0.00            149.94              0.00             0.00             0.00              0.00                149.94        730
                                                  Customer BOTRS Totals:                0.00           1,199.52             0.00             0.00             0.00              0.00               1,199.52

BRAMAR         v                                                     Contact:   Idalia Rivera Gaetán                    Phone:     787-626-5303                                Credit Limit:                      0.00
  3/2/2018     0018864-IN         3/2/2018                                              0.00             49.98              0.00             0.00             0.00              0.00                 49.98        760
                                                Customer BRAMAR Totals:                 0.00             49.98              0.00             0.00             0.00              0.00                  49.98

BSBBV          Bridge Security Services- BBVA                        Contact:   Roque Rosario                           Phone:     787-787-7125                                Credit Limit:                      0.00
  5/2/2008     0004355-IN         5/2/2008                                              0.00             30.00-             0.00             0.00             0.00              0.00                 30.00-
                                                  Customer BSBBV Totals:                0.00             30.00-             0.00             0.00             0.00              0.00                  30.00-

BUBON          Bull Bond MFG Corp                                    Contact:   Frances Colón                           Phone:     787-653-4900                                Credit Limit:                      0.00
  3/3/2020     0026004-IN         3/3/2020                                              0.00             24.99          24.99                0.00             0.00              0.00                  0.00         28
                                                  Customer BUBON Totals:                0.00             24.99          24.99                0.00             0.00              0.00                      0.00

BVP            Buena Vista Press Inc                                 Contact:                                           Phone:     787-740-3333                                Credit Limit:                      0.00
  11/3/2015    0013462-IN         11/3/2015                                             0.00             19.99              0.00             0.00             0.00              0.00                 19.99       1,610
  12/3/2015    0013601-IN         12/3/2015                                             0.00             19.99              0.00             0.00             0.00              0.00                 19.99       1,580
  1/8/2016     0013739-IN         1/8/2016                                              0.00             19.99              0.00             0.00             0.00              0.00                 19.99       1,544
  2/5/2016     0013880-IN         2/5/2016                                              0.00             19.99              0.00             0.00             0.00              0.00                 19.99       1,516
  3/3/2016     0014020-IN         3/3/2016                                              0.00             19.99              0.00             0.00             0.00              0.00                 19.99       1,489
  4/4/2016     0014162-IN         4/4/2016                                              0.00             19.99              0.00             0.00             0.00              0.00                 19.99       1,457
                                                     Customer BVP Totals:               0.00            119.94              0.00             0.00             0.00              0.00                 119.94

BVRAMB         BVR Ambulance Best Care LLC                           Contact:                                           Phone:     787-501-9383                                Credit Limit:                      0.00
  12/4/2019    0025006-IN         12/4/2019                                             0.00           1,076.82          0.00              0.00            0.00             1,076.82                  0.00        118
  12/9/2019    0025284-IN         12/9/2019                                             0.00              99.75          0.00              0.00            0.00                99.75                  0.00        113
  1/9/2020     0025329-IN         1/9/2020                                              0.00           1,076.82          0.00              0.00        1,076.82                 0.00                  0.00         82
  1/15/2020    0025618-IN         1/15/2020                                             0.00             356.90          0.00              0.00          356.90                 0.00                  0.00         76
  2/4/2020     0025663-IN         2/4/2020                                              0.00           1,076.82          0.00          1,076.82            0.00                 0.00                  0.00         56
  3/3/2020     0026006-IN         3/3/2020                                              0.00           1,206.30      1,206.30              0.00            0.00                 0.00                  0.00         28
                                                Customer BVRAMB Totals:                 0.00           4,893.41      1,206.30          1,076.82        1,433.72             1,176.57                      0.00

CABRERA        CABRERA HERMANOS                                      Contact:                                           Phone:     787-880-8080                                Credit Limit:                      0.00
  1/29/2020    1009600-IN         1/29/2020                                             0.00             49.90              0.00             0.00         49.90                 0.00                  0.00         62
                                               Customer CABRERA Totals:                 0.00             49.90              0.00             0.00         49.90                 0.00                      0.00

CAGUAS         Caguas Expressway Motors                              Contact:                                           Phone:     787-641-4242          Extension:   431      Credit Limit:                      0.00
  3/6/2020     1009707-IN         3/6/2020                                              0.00           3,556.85      3,556.85                0.00             0.00              0.00                  0.00         25
                                                Customer CAGUAS Totals:                 0.00           3,556.85      3,556.85                0.00             0.00              0.00                      0.00

CAMMUN         Camera-Mundi Inc.                                     Contact:                                           Phone:     787-743-4876                                Credit Limit:                      0.00
  10/6/2015    0013300-IN         10/6/2015                                             0.00           2,882.33             0.00             0.00             0.00              0.00              2,882.33       1,638
                                                Customer CAMMUN Totals:                 0.00           2,882.33             0.00             0.00             0.00              0.00               2,882.33

CANOCO         Carmen Noris Collazo                                  Contact:   Luis Torres                             Phone:     787-529-9849                                Credit Limit:                      0.00
  5/1/2018     0019404-IN         5/1/2018                                              0.00            224.91              0.00             0.00             0.00              0.00                224.91        700
  6/1/2018     0019692-IN         6/1/2018                                              0.00             24.99              0.00             0.00             0.00              0.00                 24.99        669
  7/6/2018     0019957-IN         7/6/2018                                              0.00             24.99              0.00             0.00             0.00              0.00                 24.99        634
  8/2/2018     0020229-IN         8/2/2018                                              0.00             24.99              0.00             0.00             0.00              0.00                 24.99        607
  9/4/2018     0020500-IN         9/4/2018                                              0.00             24.99              0.00             0.00             0.00              0.00                 24.99        574
                                                Customer CANOCO Totals:                 0.00            324.87              0.00             0.00             0.00              0.00                 324.87

CAPRO          Caribbean Produce                                     Contact:   Andrés Fournier                         Phone:     787-671-8686                                Credit Limit:                      0.00

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                                 Page: 5
  A/R Date: 4/7/2020                                                                                                                                                                              User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                       Desc: Main
Sorted by Customer Number          Document Page 27 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                    Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                    Days
Invoice Date   Number            Invoice           Discount   Number           Amount          Balance          Current          30 Days          60 Days          90 Days               120 Days          Delq


  10/8/2018    1008735-IN        10/8/2018                                            0.00        1,594.63             0.00             0.00             0.00            0.00               1,594.63        540
  8/5/2019     0023741-IN        8/5/2019                                             0.00          250.00             0.00             0.00             0.00            0.00                 250.00        239
  9/3/2019     0024060-IN        9/3/2019                                             0.00          125.00             0.00             0.00             0.00            0.00                 125.00        210
  12/4/2019    0025007-IN        12/4/2019                                            0.00          950.00             0.00             0.00             0.00          950.00                   0.00        118
  1/9/2020     0025330-IN        1/9/2020                                             0.00          950.00             0.00             0.00           950.00            0.00                   0.00         82
  2/4/2020     0025664-IN        2/4/2020                                             0.00          950.00             0.00           950.00             0.00            0.00                   0.00         56
  3/3/2020     0026007-IN        3/3/2020                                             0.00          950.00           950.00             0.00             0.00            0.00                   0.00         28
                                                 Customer CAPRO Totals:               0.00        5,769.63           950.00           950.00           950.00           950.00               1,969.63

CARC           Car Caribbean Cooling Systems                        Contact:                                          Phone:     787-759-6356                            Credit Limit:                      0.00
  10/31/2012   1005547-IN        10/31/2012                                           0.00           83.19             0.00             0.00             0.00            0.00                  83.19       2,708
  2/1/2013     0008619-IN        2/1/2013                                             0.00           79.96             0.00             0.00             0.00            0.00                  79.96       2,615
  5/3/2016     0014301-IN        5/3/2016                                             0.00           20.29             0.00             0.00             0.00            0.00                  20.29       1,428
  9/2/2016     0014983-IN        9/2/2016                                             0.00           59.97             0.00             0.00             0.00            0.00                  59.97       1,306
  10/3/2016    0015163-IN        10/3/2016                                            0.00           79.96             0.00             0.00             0.00            0.00                  79.96       1,275
  1/24/2017    1007769-IN        1/24/2017                                            0.00          105.73             0.00             0.00             0.00            0.00                 105.73       1,162
  11/5/2019    0024692-IN        11/5/2019                                            0.00          109.95             0.00             0.00             0.00            0.00                 109.95         147
  12/4/2019    0025008-IN        12/4/2019                                            0.00          109.95             0.00             0.00             0.00          109.95                   0.00         118
  1/9/2020     0025331-IN        1/9/2020                                             0.00          109.95             0.00             0.00           109.95            0.00                   0.00          82
  2/4/2020     0025665-IN        2/4/2020                                             0.00          109.95             0.00           109.95             0.00            0.00                   0.00          56
  3/3/2020     0026008-IN        3/3/2020                                             0.00          109.95           109.95             0.00             0.00            0.00                   0.00          28
                                                  Customer CARC Totals:               0.00          978.85           109.95           109.95           109.95           109.95                 539.05

CARENTE        Caribbean Engineering & Techno                       Contact:                                          Phone:     787-884-0497                            Credit Limit:                      0.00
  3/3/2020     0026009-IN        3/3/2020                                             0.00           74.97            74.97                0.00             0.00             0.00               0.00         28
                                              Customer CARENTE Totals:                0.00           74.97            74.97                0.00             0.00             0.00                   0.00

CARLOSH        Carlos Herrera Perez                                 Contact:                                          Phone:     787-6355292                             Credit Limit:                      0.00
  2/4/2020     0025667-IN        2/4/2020                                             0.00           24.99-            0.00            24.99-               0.00             0.00               0.00
  3/3/2020     0026010-IN        3/3/2020                                             0.00           24.99            24.99             0.00                0.00             0.00               0.00         28
                                              Customer CARLOSH Totals:                0.00               0.00         24.99            24.99-               0.00             0.00                   0.00

CARMINI        Carminia Tello Santini                               Contact:                                          Phone:     787-370-4824                            Credit Limit:                      0.00
  7/4/2016     0014637-IN        7/4/2016                                             0.00           44.59                0.00             0.00             0.00             0.00              44.59       1,366
  8/3/2016     0014805-IN        8/3/2016                                             0.00           44.59                0.00             0.00             0.00             0.00              44.59       1,336
  9/2/2016     0014985-IN        9/2/2016                                             0.00           44.59                0.00             0.00             0.00             0.00              44.59       1,306
  10/3/2016    0015165-IN        10/3/2016                                            0.00           44.59                0.00             0.00             0.00             0.00              44.59       1,275
  11/1/2016    0015350-IN        11/1/2016                                            0.00           44.59                0.00             0.00             0.00             0.00              44.59       1,246
                                               Customer CARMINI Totals:               0.00          222.95                0.00             0.00             0.00             0.00              222.95

CARRIV         Carlos Rivera                                        Contact:                                          Phone:     787-234-5532                            Credit Limit:                      0.00
  12/5/2017    1008261-IN        12/5/2017                                            0.00           50.00-               0.00             0.00             0.00             0.00              50.00-
                                                Customer CARRIV Totals:               0.00           50.00-               0.00             0.00             0.00             0.00               50.00-

CARSAN         Carmen G Sánchez                                     Contact:   Robert Suárez                          Phone:     787-246-8750                            Credit Limit:                      0.00
  6/4/2019     0023123-IN        6/4/2019                                             0.00           24.99             0.00                0.00             0.00             0.00              24.99        301
  3/3/2020     0026011-IN        3/3/2020                                             0.00           24.99            24.99                0.00             0.00             0.00               0.00         28
  3/3/2020     3032020-PP        3/3/2020                                             0.00            0.09-            0.09-               0.00             0.00             0.00               0.00
                                               Customer CARSAN Totals:                0.00           49.89            24.90                0.00             0.00             0.00               24.99

CAS            CASH                                                 Contact:                                          Phone:                                             Credit Limit:                      0.00
  6/8/2012     1005332-IN        6/8/2012                                             0.00          919.61             0.00             0.00                0.00             0.00             919.61       2,853
  11/5/2019    1009480-IN        11/5/2019                                            0.00           19.95             0.00             0.00                0.00             0.00              19.95         147
  2/6/2020     2072020-PP        2/6/2020                                             0.00          150.00-            0.00           150.00-               0.00             0.00               0.00
  3/9/2020     1009715-IN        3/9/2020                                             0.00           35.68            35.68             0.00                0.00             0.00               0.00         22
  3/9/2020     1009720-IN        3/9/2020                                             0.00          149.85           149.85             0.00                0.00             0.00               0.00         22
  3/20/2020    1009732-IN        3/20/2020                                            0.00          486.00           486.00             0.00                0.00             0.00               0.00         11
                                                    Customer CAS Totals:              0.00        1,461.09           671.53           150.00-               0.00             0.00              939.56

CAVAAM         Carlos A Vázquez Amaro                               Contact:                                          Phone:     787-445-4212                            Credit Limit:                      0.00
  2/4/2020     0025671-IN        2/4/2020                                             0.00           24.99             0.00            24.99                0.00             0.00               0.00         56
  3/3/2020     0026014-IN        3/3/2020                                             0.00           24.99            24.99             0.00                0.00             0.00               0.00         28
                                               Customer CAVAAM Totals:                0.00           49.98            24.99            24.99                0.00             0.00                   0.00

CAVASU         Carlos Vázquez Suárez                                Contact:                                          Phone:     787-241-6078                            Credit Limit:                      0.00
  3/3/2020     0026015-IN        3/3/2020                                             0.00           24.99            24.99                0.00             0.00             0.00               0.00         28
                                                Customer CAVASU Totals:               0.00           24.99            24.99                0.00             0.00             0.00                   0.00

CCLLP          Carbonell & Co. LLp                                  Contact:                                          Phone:     787-300-3777                            Credit Limit:                      0.00
  11/1/2016    0015351-IN        11/1/2016                                            0.00           29.99-               0.00             0.00             0.00             0.00              29.99-
  9/4/2017     0017354-IN        9/4/2017                                             0.00           24.99                0.00             0.00             0.00             0.00              24.99        939
  10/5/2017    0017598-IN        10/5/2017                                            0.00           24.99                0.00             0.00             0.00             0.00              24.99        908
  11/3/2017    0017846-IN        11/3/2017                                            0.00           24.99                0.00             0.00             0.00             0.00              24.99        879
  12/1/2017    0018110-IN        12/1/2017                                            0.00           24.99                0.00             0.00             0.00             0.00              24.99        851
  1/5/2018     0018359-IN        1/5/2018                                             0.00           24.99                0.00             0.00             0.00             0.00              24.99        816
  2/1/2018     0018606-IN        2/1/2018                                             0.00           24.99                0.00             0.00             0.00             0.00              24.99        789
  3/2/2018     0018874-IN        3/2/2018                                             0.00           24.99                0.00             0.00             0.00             0.00              24.99        760
                                                 Customer CCLLP Totals:               0.00          144.94                0.00             0.00             0.00             0.00              144.94

CDPR           Centro de Diabetes para PR                           Contact:                                          Phone:     787-773-8282                            Credit Limit:                      0.00
  9/28/2016    1007587-IN        9/28/2016                                            0.00           18.00                0.00             0.00             0.00             0.00              18.00       1,280

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                           Page: 6
  A/R Date: 4/7/2020                                                                                                                                                                        User Logon: laura
        Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                       Desc: Main
Sorted by Customer Number         Document Page 28 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                      Skytec, Inc. (ST2)

Customer/      Invoice                      Due Dates          Job              Discount                                                                                                                     Days
Invoice Date   Number             Invoice           Discount   Number           Amount          Balance        Current          30 Days          60 Days           90 Days                 120 Days          Delq


                                                   Customer CDPR Totals:                0.00          18.00              0.00             0.00             0.00              0.00                 18.00

CEAL           CEAL Fast Food                                        Contact:                                        Phone:     787-396-0766                               Credit Limit:                      0.00
  9/4/2018     0020511-IN         9/4/2018                                              0.00          62.95           0.00             0.00                0.00              0.00                62.95        574
  2/4/2020     0025675-IN         2/4/2020                                              0.00         119.97           0.00           119.97                0.00              0.00                 0.00         56
  3/3/2020     0026017-IN         3/3/2020                                              0.00         119.97         119.97             0.00                0.00              0.00                 0.00         28
                                                    Customer CEAL Totals:               0.00         302.89         119.97           119.97                0.00              0.00                 62.95

CEME           Cuerpo De Emergencias Estatal                         Contact:   Sra. Martínez                        Phone:     787-775-0330          Extension:   1034    Credit Limit:                      0.00
  10/1/2014    0011646-IN         10/1/2014                                             0.00       6,807.22           0.00                0.00             0.00              0.00             6,807.22 2,008
  7/2/2019     0023442-IN         7/2/2019                                              0.00       2,940.60           0.00                0.00             0.00              0.00             2,940.60   273
  7/2/2019     0023443-IN         7/2/2019                                              0.00      26,019.28-          0.00                0.00             0.00              0.00            26,019.28-
  8/5/2019     0023755-IN         8/5/2019                                              0.00      11,242.98           0.00                0.00             0.00              0.00            11,242.98   239
  8/5/2019     0024014-IN         8/5/2019                                              0.00         548.36           0.00                0.00             0.00              0.00               548.36   239
  9/3/2019     0024074-IN         9/3/2019                                              0.00       1,124.28           0.00                0.00             0.00              0.00             1,124.28   210
  3/3/2020     0026019-IN         3/3/2020                                              0.00       8,581.05       8,581.05                0.00             0.00              0.00                 0.00    28
  3/3/2020     0026020-IN         3/3/2020                                              0.00      26,019.28      26,019.28                0.00             0.00              0.00                 0.00    28
  3/3/2020     0026021-IN         3/3/2020                                              0.00       1,054.84       1,054.84                0.00             0.00              0.00                 0.00    28
  3/5/2020     1009696-IN         3/5/2020                                              0.00         669.30         669.30                0.00             0.00              0.00                 0.00    26
                                                   Customer CEME Totals:                0.00      32,968.63      36,324.47                0.00             0.00              0.00              3,355.84-

CEN            Centrocamiones                                        Contact:   Auri Jusino                          Phone:     787-784-8000          Extension:   1213    Credit Limit:                      0.00
  11/5/2019    1009473-IN         11/5/2019                                             0.00       1,251.03              0.00             0.00             0.00              0.00             1,251.03        147
                                                     Customer CEN Totals:               0.00       1,251.03              0.00             0.00             0.00              0.00              1,251.03

CERA           Ceramar                                               Contact:                                        Phone:     787-793-3360                               Credit Limit:                      0.00
  6/3/2014     0010941-IN         6/3/2014                                              0.00         120.56           0.00                0.00             0.00              0.00               120.56       2,128
  12/4/2018    0021355-IN         12/4/2018                                             0.00         269.91           0.00                0.00             0.00              0.00               269.91         483
  3/3/2020     0026022-IN         3/3/2020                                              0.00         324.87         324.87                0.00             0.00              0.00                 0.00          28
                                                   Customer CERA Totals:                0.00         715.34         324.87                0.00             0.00              0.00                390.47

CETRI          César Trinidad                                        Contact:                                        Phone:     787-637-2274                               Credit Limit:                      0.00
  3/3/2020     0026023-IN         3/3/2020                                              0.00          49.98          49.98                0.00             0.00              0.00                 0.00         28
                                                   Customer CETRI Totals:               0.00          49.98          49.98                0.00             0.00              0.00                     0.00

CFW            Puerto Rico Fleet Wash Service                        Contact:                                        Phone:     787-705-8420          Extension:   2       Credit Limit:                      0.00
  5/1/2018     0019421-IN         5/1/2018                                              0.00         119.96              0.00             0.00             0.00              0.00               119.96        700
  6/1/2018     0019708-IN         6/1/2018                                              0.00         119.96              0.00             0.00             0.00              0.00               119.96        669
  7/6/2018     0019972-IN         7/6/2018                                              0.00         119.96              0.00             0.00             0.00              0.00               119.96        634
  8/2/2018     0020245-IN         8/2/2018                                              0.00         119.96              0.00             0.00             0.00              0.00               119.96        607
  9/4/2018     0020516-IN         9/4/2018                                              0.00         119.96              0.00             0.00             0.00              0.00               119.96        574
  10/2/2018    0020791-IN         10/2/2018                                             0.00         119.96              0.00             0.00             0.00              0.00               119.96        546
  11/1/2018    0021069-IN         11/1/2018                                             0.00         119.96              0.00             0.00             0.00              0.00               119.96        516
  12/4/2018    0021357-IN         12/4/2018                                             0.00         119.96              0.00             0.00             0.00              0.00               119.96        483
  1/2/2019     0021645-IN         1/2/2019                                              0.00         119.96              0.00             0.00             0.00              0.00               119.96        454
  2/1/2019     0021940-IN         2/1/2019                                              0.00         119.96              0.00             0.00             0.00              0.00               119.96        424
  3/4/2019     0022232-IN         3/4/2019                                              0.00         119.96              0.00             0.00             0.00              0.00               119.96        393
                                                    Customer CFW Totals:                0.00       1,319.56              0.00             0.00             0.00              0.00              1,319.56

CIEX           Cidra Excavation                                      Contact:                                        Phone:     787-616-8375                               Credit Limit:                      0.00
  7/3/2017     0016916-IN         7/3/2017                                              0.00          49.98              0.00             0.00             0.00              0.00                49.98       1,002
  7/6/2018     0019973-IN         7/6/2018                                              0.00          49.98              0.00             0.00             0.00              0.00                49.98         634
  8/2/2018     0020246-IN         8/2/2018                                              0.00          49.98              0.00             0.00             0.00              0.00                49.98         607
  9/4/2018     0020517-IN         9/4/2018                                              0.00          49.98              0.00             0.00             0.00              0.00                49.98         574
                                                    Customer CIEX Totals:               0.00         199.92              0.00             0.00             0.00              0.00                199.92

COAGUSA        Coral A. Guadalupe Sánchez                            Contact:                                        Phone:     939-489-7606                               Credit Limit:                      0.00
  10/2/2018    0020793-IN         10/2/2018                                             0.00          24.99              0.00             0.00             0.00              0.00                24.99        546
  11/1/2018    0021071-IN         11/1/2018                                             0.00          24.99              0.00             0.00             0.00              0.00                24.99        516
  12/4/2018    0021359-IN         12/4/2018                                             0.00          24.99              0.00             0.00             0.00              0.00                24.99        483
  1/2/2019     0021646-IN         1/2/2019                                              0.00          24.99              0.00             0.00             0.00              0.00                24.99        454
  2/1/2019     0021941-IN         2/1/2019                                              0.00          24.99              0.00             0.00             0.00              0.00                24.99        424
                                               Customer COAGUSA Totals:                 0.00         124.95              0.00             0.00             0.00              0.00                124.95

COBRA          Cobra Transport Inc                                   Contact:                                        Phone:     787-612-0573                               Credit Limit:                      0.00
  1/12/2015    0012070-IN         1/12/2015                                             0.00          40.00              0.00             0.00             0.00              0.00                40.00       1,905
  2/3/2015     0012211-IN         2/3/2015                                              0.00         109.97              0.00             0.00             0.00              0.00               109.97       1,883
                                                  Customer COBRA Totals:                0.00         149.97              0.00             0.00             0.00              0.00                149.97

COMPAT         Compañía de Turismo                                   Contact:                                        Phone:     787-721-2400                               Credit Limit:                      0.00
  12/4/2019    0025025-IN         12/4/2019                                             0.00         168.00           0.00             0.00             0.00              168.00                  0.00        118
  1/9/2020     0025348-IN         1/9/2020                                              0.00         168.00           0.00             0.00           168.00                0.00                  0.00         82
  2/4/2020     0025682-IN         2/4/2020                                              0.00         168.00           0.00           168.00             0.00                0.00                  0.00         56
  3/3/2020     0026024-IN         3/3/2020                                              0.00         168.00         168.00             0.00             0.00                0.00                  0.00         28
                                                Customer COMPAT Totals:                 0.00         672.00         168.00           168.00           168.00              168.00                      0.00

CONAPO         Construcciones Aponte                                 Contact:                                        Phone:     787-637-4729                               Credit Limit:                      0.00
  1/2/2019     0021648-IN         1/2/2019                                              0.00          24.99           0.00             0.00                0.00              0.00                24.99        454
  2/4/2020     0025683-IN         2/4/2020                                              0.00          24.99           0.00            24.99                0.00              0.00                 0.00         56
  3/3/2020     0026025-IN         3/3/2020                                              0.00          24.99          24.99             0.00                0.00              0.00                 0.00         28


  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                             Page: 7
  A/R Date: 4/7/2020                                                                                                                                                                          User Logon: laura
          Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                             Desc: Main
Sorted by Customer Number           Document Page 29 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                          Skytec, Inc. (ST2)

Customer/      Invoice                      Due Dates          Job              Discount                                                                                                                          Days
Invoice Date   Number             Invoice           Discount   Number           Amount             Balance           Current          30 Days          60 Days           90 Days               120 Days           Delq


                                                Customer CONAPO Totals:                 0.00             74.97             24.99            24.99                0.00              0.00               24.99

CONSPRO        Conspro Corp                                          Contact:                                              Phone:     787-562-0204                             Credit Limit:                       0.00
  2/4/2020     0025684-IN         2/4/2020                                              0.00            124.95              0.00           124.95                0.00              0.00               0.00          56
  3/3/2020     0026026-IN         3/3/2020                                              0.00            124.95            124.95             0.00                0.00              0.00               0.00          28
                                               Customer CONSPRO Totals:                 0.00            249.90            124.95           124.95                0.00              0.00                   0.00

COSSIO         Alberto Cossio Soto                                   Contact:                                              Phone:     787-793-4957                             Credit Limit:                       0.00
  3/3/2014     0010508-IN         3/3/2014                                              0.00                 2.80-             0.00             0.00             0.00              0.00               2.80-
                                                 Customer COSSIO Totals:                0.00                 2.80-             0.00             0.00             0.00              0.00                   2.80-

CR             Caribbean Restaurants                                 Contact:   Eva Lopez                                  Phone:     787-474-7777                             Credit Limit:                       0.00
  10/27/2014   1006661-IN         10/27/2014                                            0.00            217.50-                0.00             0.00             0.00              0.00             217.50-
  11/21/2017   1008707-IN         11/21/2017                                            0.00             58.31-                0.00             0.00             0.00              0.00              58.31-
                                                      Customer CR Totals:               0.00            275.81-                0.00             0.00             0.00              0.00              275.81-

CRCP           CRC Power Generator                                   Contact:                                              Phone:     787-646-4398                             Credit Limit:                       0.00
  2/4/2020     0025686-IN         2/4/2020                                              0.00             75.45              0.00            75.45                0.00              0.00               0.00          56
  3/3/2020     0026028-IN         3/3/2020                                              0.00             79.96             79.96             0.00                0.00              0.00               0.00          28
                                                   Customer CRCP Totals:                0.00            155.41             79.96            75.45                0.00              0.00                   0.00

CS             Constructora Santiago                                 Contact:                                              Phone:     787-761-7171                             Credit Limit:                       0.00
  2/4/2020     0025687-IN         2/4/2020                                              0.00             89.96                 0.00         89.96                0.00              0.00               0.00          56
                                                      Customer CS Totals:               0.00             89.96                 0.00         89.96                0.00              0.00                   0.00

CSIL           Concilio Salud Integral Loíza                         Contact:                                              Phone:     787-876-2042                             Credit Limit:                       0.00
  5/31/2016    1007414-IN         5/31/2016                                             0.00              8.75-                0.00             0.00             0.00              0.00               8.75-
  5/31/2018    0019650-IN         5/31/2018                                             0.00            124.95-                0.00             0.00             0.00              0.00             124.95-
                                                    Customer CSIL Totals:               0.00            133.70-                0.00             0.00             0.00              0.00              133.70-

CWS            Consolidated Waste                                    Contact:                                              Phone:     787-273-7639          Extension:   225   Credit Limit:                       0.00
  8/3/2016     0014822-IN         8/3/2016                                              0.00            280.00                 0.00             0.00             0.00              0.00             280.00        1,336
  12/1/2016    0015557-IN         12/1/2016                                             0.00            196.00                 0.00             0.00             0.00              0.00             196.00        1,216
  12/1/2016    0015558-IN         12/1/2016                                             0.00            112.00                 0.00             0.00             0.00              0.00             112.00        1,216
  6/1/2017     0016722-IN         6/1/2017                                              0.00            196.00                 0.00             0.00             0.00              0.00             196.00        1,034
  6/1/2017     0016723-IN         6/1/2017                                              0.00            140.00                 0.00             0.00             0.00              0.00             140.00        1,034
  8/1/2017     0017140-IN         8/1/2017                                              0.00            196.00                 0.00             0.00             0.00              0.00             196.00          973
  8/1/2017     0017141-IN         8/1/2017                                              0.00             56.00-                0.00             0.00             0.00              0.00              56.00-
  9/4/2017     0017372-IN         9/4/2017                                              0.00            196.00                 0.00             0.00             0.00              0.00             196.00         939
  9/4/2017     0017373-IN         9/4/2017                                              0.00            140.00                 0.00             0.00             0.00              0.00             140.00         939
  11/3/2017    0017863-IN         11/3/2017                                             0.00            196.00                 0.00             0.00             0.00              0.00             196.00         879
  11/3/2017    0017864-IN         11/3/2017                                             0.00            140.00                 0.00             0.00             0.00              0.00             140.00         879
  12/1/2017    0018127-IN         12/1/2017                                             0.00            196.00                 0.00             0.00             0.00              0.00             196.00         851
  12/1/2017    0018128-IN         12/1/2017                                             0.00            140.00                 0.00             0.00             0.00              0.00             140.00         851
  1/5/2018     0018376-IN         1/5/2018                                              0.00            196.00                 0.00             0.00             0.00              0.00             196.00         816
  1/5/2018     0018377-IN         1/5/2018                                              0.00            140.00                 0.00             0.00             0.00              0.00             140.00         816
                                                    Customer CWS Totals:                0.00          2,408.00                 0.00             0.00             0.00              0.00            2,408.00

DAIVERE        Darwing I Vélez Reyes                                 Contact:   Darwin I Velez                             Phone:     787-923-1061                             Credit Limit:                       0.00
  6/4/2019     0023144-IN         6/4/2019                                              0.00             49.98              0.00                0.00             0.00           0.00                 49.98         301
  9/3/2019     0024085-IN         9/3/2019                                              0.00             49.98              0.00                0.00             0.00           0.00                 49.98         210
  12/26/2019   1009573-IN         12/26/2019                                            0.00             24.99              0.00                0.00             0.00          24.99                  0.00          96
  3/3/2020     0026030-IN         3/3/2020                                              0.00             74.97             74.97                0.00             0.00           0.00                  0.00          28
                                                Customer DAIVERE Totals:                0.00            199.92             74.97                0.00             0.00          24.99                  99.96

DALIA H        Daliane Hernandez                                     Contact:                                              Phone:     939-270-5085                             Credit Limit:                       0.00
  3/3/2020     0026031-IN         3/3/2020                                              0.00             24.99             24.99                0.00             0.00              0.00               0.00          28
                                                 Customer DALIA H Totals:               0.00             24.99             24.99                0.00             0.00              0.00                   0.00

DANNYS         Dannys Media Corp                                     Contact:                                              Phone:     787-624-3620                             Credit Limit:                       0.00
  3/3/2020     0026032-IN         3/3/2020                                              0.00             49.98             49.98                0.00             0.00              0.00               0.00          28
                                                Customer DANNYS Totals:                 0.00             49.98             49.98                0.00             0.00              0.00                   0.00

DANOSA         Danosa Caribbean Inc.                                 Contact:                                              Phone:     787-4545                                 Credit Limit:                       0.00
  4/25/2011    1004689-IN         4/25/2011                                             0.00            250.00              0.00             0.00                0.00              0.00             250.00        3,263
  2/4/2020     0025692-IN         2/4/2020                                              0.00             99.80              0.00            99.80                0.00              0.00               0.00           56
  3/3/2020     0026033-IN         3/3/2020                                              0.00             99.80             99.80             0.00                0.00              0.00               0.00           28
                                                Customer DANOSA Totals:                 0.00            449.60             99.80            99.80                0.00              0.00              250.00

DECOYRE        Dept. Corrección y Rehabilitac                        Contact:                                              Phone:     787-273-6464                             Credit Limit:                       0.00
  12/15/2017   1008313-IN         12/15/2017                                            0.00                 0.25-             0.00             0.00             0.00              0.00               0.25-
                                               Customer DECOYRE Totals:                 0.00                 0.25-             0.00             0.00             0.00              0.00                   0.25-

DER401         Dermatología 401                                      Contact:                                              Phone:     787-767-2244                             Credit Limit:                       0.00
  6/3/2016     0014481-IN         6/3/2016                                              0.00              8.40-                0.00             0.00             0.00              0.00               8.40-
  6/1/2018     0019719-IN         6/1/2018                                              0.00            119.97                 0.00             0.00             0.00              0.00             119.97         669
  7/2/2019     0023457-IN         7/2/2019                                              0.00            119.97                 0.00             0.00             0.00              0.00             119.97         273
                                                 Customer DER401 Totals:                0.00            231.54                 0.00             0.00             0.00              0.00              231.54

DIRIME         Dianmarie Rivera Meléndez                             Contact:   Dianmarie Rivera                           Phone:     787-344-7924                             Credit Limit:                       0.00
  3/2/2020     1009686-IN         3/2/2020                                              0.00             60.00             60.00                0.00             0.00              0.00               0.00          29

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                                 Page: 8
  A/R Date: 4/7/2020                                                                                                                                                                              User Logon: laura
        Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                             Desc: Main
Sorted by Customer Number         Document Page 30 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                           Skytec, Inc. (ST2)

Customer/      Invoice                        Due Dates          Job              Discount                                                                                                                         Days
Invoice Date   Number               Invoice           Discount   Number           Amount           Balance           Current          30 Days          60 Days           90 Days                120 Days           Delq


                                                    Customer DIRIME Totals:               0.00           60.00             60.00                0.00             0.00              0.00                    0.00

DNT            Day and Night Transport Inc.                            Contact:                                            Phone:     787-783-1598                              Credit Limit:                       0.00
  3/2/2018     0018895-IN           3/2/2018                                              0.00          369.83              0.00              0.00               0.00              0.00              369.83         760
  2/17/2020    1009638-IN           2/17/2020                                             0.00           24.99              0.00             24.99               0.00              0.00                0.00          43
  3/3/2020     0026035-IN           3/3/2020                                              0.00          444.80            444.80              0.00               0.00              0.00                0.00          28
                                                       Customer DNT Totals:               0.00          839.62            444.80             24.99               0.00              0.00               369.83

DORMAN         Dorman Concrete (Corozal Concr                          Contact:                                            Phone:     787-796-0553                              Credit Limit:                       0.00
  7/6/2018     0019985-IN           7/6/2018                                              0.00          359.82                 0.00             0.00             0.00              0.00              359.82         634
  8/2/2018     0020259-IN           8/2/2018                                              0.00          579.71                 0.00             0.00             0.00              0.00              579.71         607
  9/4/2018     0020530-IN           9/4/2018                                              0.00          579.71                 0.00             0.00             0.00              0.00              579.71         574
  2/4/2020     0025695-IN           2/4/2020                                              0.00            1.26                 0.00             1.26             0.00              0.00                0.00          56
                                                  Customer DORMAN Totals:                 0.00        1,520.50                 0.00             1.26             0.00              0.00             1,519.24

DROUYN         Drouyn & Co                                             Contact:                                            Phone:     (787) 765-6643                            Credit Limit:                       0.00
  12/3/2013    0010070-IN           12/3/2013                                             0.00          149.94                 0.00             0.00             0.00              0.00              149.94        2,310
  4/10/2014    1006132-IN           4/10/2014                                             0.00          198.50                 0.00             0.00             0.00              0.00              198.50        2,182
  2/1/2017     0015945-IN           2/1/2017                                              0.00          199.92                 0.00             0.00             0.00              0.00              199.92        1,154
  1/5/2018     0018382-IN           1/5/2018                                              0.00          199.92                 0.00             0.00             0.00              0.00              199.92          816
  2/1/2018     0018629-IN           2/1/2018                                              0.00          199.92                 0.00             0.00             0.00              0.00              199.92          789
  3/2/2018     0018896-IN           3/2/2018                                              0.00          199.92                 0.00             0.00             0.00              0.00              199.92          760
  4/1/2018     0019152-IN           4/1/2018                                              0.00          199.92                 0.00             0.00             0.00              0.00              199.92          730
  5/1/2018     0019436-IN           5/1/2018                                              0.00          199.92                 0.00             0.00             0.00              0.00              199.92          700
                                                  Customer DROUYN Totals:                 0.00        1,547.96                 0.00             0.00             0.00              0.00             1,547.96

DRT            Denside Rodriguez Tapia                                 Contact:                                            Phone:     787-206-9473                              Credit Limit:                       0.00
  3/3/2020     0026037-IN           3/3/2020                                              0.00           24.99             24.99                0.00             0.00              0.00                0.00          28
                                                       Customer DRT Totals:               0.00           24.99             24.99                0.00             0.00              0.00                    0.00

DTV            Direct TV                                               Contact:                                            Phone:     787-776-5200          Extension:   2188   Credit Limit:                       0.00
  9/2/2016     0015008-IN           9/2/2016                                              0.00           55.08-                0.00             0.00             0.00              0.00               55.08-
  8/1/2017     0017148-IN           8/1/2017                                              0.00          144.95-                0.00             0.00             0.00              0.00              144.95-
                                                       Customer DTV Totals:               0.00          200.03-                0.00             0.00             0.00              0.00               200.03-

DUFREE         Duty Free Shop Inc                                      Contact:   Vanessa Medina                           Phone:     787-749-9750                              Credit Limit:                       0.00
  2/4/2020     0025697-IN           2/4/2020                                              0.00           74.97              0.00             74.97               0.00              0.00                0.00          56
  3/3/2020     0026038-IN           3/3/2020                                              0.00           74.97             74.97              0.00               0.00              0.00                0.00          28
                                                   Customer DUFREE Totals:                0.00          149.94             74.97             74.97               0.00              0.00                    0.00

DUST           Dust Control Services Of PR                             Contact:   Elia Torres                              Phone:     787-755-7700          Extension:   232    Credit Limit:                       0.00
  3/3/2020     0026039-IN           3/3/2020                                              0.00          274.89            274.89                0.00             0.00              0.00                0.00          28
                                                     Customer DUST Totals:                0.00          274.89            274.89                0.00             0.00              0.00                    0.00

EAM            East A Mere                                             Contact:                                            Phone:     787-717-4675                              Credit Limit:                       0.00
  2/4/2020     0025699-IN           2/4/2020                                              0.00           19.99              0.00             19.99               0.00              0.00                0.00          56
  3/3/2020     0026040-IN           3/3/2020                                              0.00           19.99             19.99              0.00               0.00              0.00                0.00          28
                                                       Customer EAM Totals:               0.00           39.98             19.99             19.99               0.00              0.00                    0.00

EBJ            EBJ Orthotics & Medical Equip                           Contact:   Edna Diaz                                Phone:                                               Credit Limit:                       0.00
  3/3/2016     0014044-IN           3/3/2016                                              0.00               3.50-             0.00             0.00             0.00              0.00                3.50-
                                                       Customer EBJ Totals:               0.00               3.50-             0.00             0.00             0.00              0.00                    3.50-

ECO            EcoEléctrica, L.P.                                      Contact:                                            Phone:     787-836-2740          Extension:   229    Credit Limit:                       0.00
  1/29/2020    1009602-IN           1/29/2020                                             0.00          917.68                 0.00             0.00        917.68                 0.00                0.00          62
                                                       Customer ECO Totals:               0.00          917.68                 0.00             0.00        917.68                 0.00                    0.00

ECOLO          Ecologica Carmelo Inc.                                  Contact:   Edna Sanabria                            Phone:     787-251-9474                              Credit Limit:                       0.00
  7/2/2019     0023464-IN           7/2/2019                                              0.00          249.90              0.00              0.00               0.00              0.00              249.90         273
  8/15/2019    1009321-IN           8/15/2019                                             0.00           24.99              0.00              0.00               0.00              0.00               24.99         229
  2/4/2020     0025700-IN           2/4/2020                                              0.00          424.83              0.00            424.83               0.00              0.00                0.00          56
  3/3/2020     0026041-IN           3/3/2020                                              0.00          424.83            424.83              0.00               0.00              0.00                0.00          28
                                                    Customer ECOLO Totals:                0.00        1,124.55            424.83            424.83               0.00              0.00               274.89

ED CONT        ED Contractors Inc.                                     Contact:                                            Phone:     787-944-3702                              Credit Limit:                       0.00
  9/3/2019     0024096-IN           9/3/2019                                              0.00           19.99                 0.00           0.00            0.00               0.00                 19.99         210
  10/3/2019    0024412-IN           10/3/2019                                             0.00           19.99                 0.00           0.00            0.00               0.00                 19.99         180
  11/5/2019    0024727-IN           11/5/2019                                             0.00           19.99                 0.00           0.00            0.00               0.00                 19.99         147
  12/4/2019    0025043-IN           12/4/2019                                             0.00           19.99                 0.00           0.00            0.00              19.99                  0.00         118
  1/9/2020     0025366-IN           1/9/2020                                              0.00           19.99                 0.00           0.00           19.99               0.00                  0.00          82
  2/4/2020     0025701-IN           2/4/2020                                              0.00           19.99                 0.00          19.99            0.00               0.00                  0.00          56
                                                  Customer ED CONT Totals:                0.00          119.94                 0.00          19.99           19.99              19.99                  59.97

EFCAR          Efraín Carreras                                         Contact:                                            Phone:     787-632-8566                              Credit Limit:                       0.00
  3/3/2020     0026042-IN           3/3/2020                                              0.00           24.99             24.99                0.00             0.00              0.00                0.00          28
                                                    Customer EFCAR Totals:                0.00           24.99             24.99                0.00             0.00              0.00                    0.00

EFRA           Efraín Núñez                                            Contact:                                            Phone:                                               Credit Limit:                       0.00
  5/22/2012    1005317-IN           5/22/2012                                             0.00          374.49                 0.00             0.00             0.00              0.00              374.49        2,870
                                                      Customer EFRA Totals:               0.00          374.49                 0.00             0.00             0.00              0.00               374.49


  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                                  Page: 9
  A/R Date: 4/7/2020                                                                                                                                                                               User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                       Desc: Main
Sorted by Customer Number          Document Page 31 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                    Skytec, Inc. (ST2)

Customer/      Invoice                    Due Dates          Job              Discount                                                                                                                      Days
Invoice Date   Number           Invoice           Discount   Number           Amount            Balance         Current          30 Days          60 Days          90 Days               120 Days           Delq



EG             ESCALERA GAS                                        Contact:                                           Phone:     787-855-1670                            Credit Limit:                       0.00
  3/10/2014    1006090-IN       3/10/2014                                             0.00            155.44              0.00             0.00             0.00             0.00             155.44        2,213
  9/4/2017     0017386-IN       9/4/2017                                              0.00             79.96              0.00             0.00             0.00             0.00              79.96          939
                                                    Customer EG Totals:               0.00            235.40              0.00             0.00             0.00             0.00              235.40

ELIHER         Eliezer Hernández                                   Contact:   Enid Sanfelíz                           Phone:     787-400-3180                            Credit Limit:                       0.00
  2/4/2020     0025704-IN       2/4/2020                                              0.00            199.92           0.00           199.92                0.00             0.00               0.00          56
  2/17/2020    1009631-IN       2/17/2020                                             0.00             88.83           0.00            88.83                0.00             0.00               0.00          43
  3/3/2020     0026044-IN       3/3/2020                                              0.00            199.92         199.92             0.00                0.00             0.00               0.00          28
                                                Customer ELIHER Totals:               0.00            488.67         199.92           288.75                0.00             0.00                   0.00

ELMON          Elías Montalvo Rivera                               Contact:                                           Phone:     787-960-1920                            Credit Limit:                       0.00
  1/2/2019     0021667-IN       1/2/2019                                              0.00            105.77-          0.00             0.00                0.00             0.00             105.77-
  2/4/2020     0025705-IN       2/4/2020                                              0.00             24.99           0.00            24.99                0.00             0.00               0.00          56
  3/3/2020     0026045-IN       3/3/2020                                              0.00             24.99          24.99             0.00                0.00             0.00               0.00          28
                                                Customer ELMON Totals:                0.00             55.79-         24.99            24.99                0.00             0.00              105.77-

EMEMED         Emergency Medical Inc.                              Contact:                                           Phone:     787-762-0121                            Credit Limit:                       0.00
  3/4/2019     0022254-IN       3/4/2019                                              0.00            405.21           0.00             0.00             0.00                0.00             405.21         393
  3/4/2019     0022255-IN       3/4/2019                                              0.00            520.00           0.00             0.00             0.00                0.00             520.00         393
  3/13/2019    1009028-IN       3/13/2019                                             0.00             88.40           0.00             0.00             0.00                0.00              88.40         384
  7/2/2019     0023473-IN       7/2/2019                                              0.00              2.50           0.00             0.00             0.00                0.00               2.50         273
  1/9/2020     0025372-IN       1/9/2020                                              0.00            474.81           0.00             0.00           474.81                0.00               0.00          82
  1/9/2020     0025373-IN       1/9/2020                                              0.00            522.50           0.00             0.00           522.50                0.00               0.00          82
  2/4/2020     0025706-IN       2/4/2020                                              0.00            474.81           0.00           474.81             0.00                0.00               0.00          56
  2/4/2020     0025707-IN       2/4/2020                                              0.00            522.50           0.00           522.50             0.00                0.00               0.00          56
  3/3/2020     0026046-IN       3/3/2020                                              0.00            474.81         474.81             0.00             0.00                0.00               0.00          28
  3/3/2020     0026047-IN       3/3/2020                                              0.00            522.50         522.50             0.00             0.00                0.00               0.00          28
                                              Customer EMEMED Totals:                 0.00           4,008.04        997.31           997.31           997.31                0.00            1,016.11

EMNIPE         Emanuel Nieves Pérez                                Contact:                                           Phone:     939-630-4443                            Credit Limit:                       0.00
  2/4/2020     0025708-IN       2/4/2020                                              0.00             55.29-          0.00            55.29-               0.00             0.00               0.00
  3/3/2020     0026048-IN       3/3/2020                                              0.00             24.99          24.99             0.00                0.00             0.00               0.00          28
                                               Customer EMNIPE Totals:                0.00             30.30-         24.99            55.29-               0.00             0.00                   0.00

EMOR           Emilio Moreira                                      Contact:                                           Phone:     787-768-7334                            Credit Limit:                       0.00
  6/4/2019     0023166-IN       6/4/2019                                              0.00             27.86              0.00             0.00             0.00             0.00              27.86         301
                                                 Customer EMOR Totals:                0.00             27.86              0.00             0.00             0.00             0.00               27.86

EOB            Empresas Ortiz Brunett                              Contact:   Karl Córdova                            Phone:     787-798-1273                            Credit Limit:                       0.00
  12/1/2017    0018144-IN       12/1/2017                                             0.00             74.87           0.00             0.00             0.00                0.00              74.87         851
  5/3/2019     0022858-IN       5/3/2019                                              0.00             74.97           0.00             0.00             0.00                0.00              74.97         333
  1/9/2020     0025375-IN       1/9/2020                                              0.00             74.97           0.00             0.00            74.97                0.00               0.00          82
  2/4/2020     0025709-IN       2/4/2020                                              0.00             74.97           0.00            74.97             0.00                0.00               0.00          56
  3/3/2020     0026049-IN       3/3/2020                                              0.00             74.97          74.97             0.00             0.00                0.00               0.00          28
                                                   Customer EOB Totals:               0.00            374.75          74.97            74.97            74.97                0.00              149.84

EPDSI          Empacadora y Procesadora Sur                        Contact:                                           Phone:     787-364-7229                            Credit Limit:                       0.00
  10/1/2014    0011666-IN       10/1/2014                                             0.00             19.99           0.00                0.00             0.00             0.00              19.99        2,008
  5/3/2016     0014330-IN       5/3/2016                                              0.00             99.95           0.00                0.00             0.00             0.00              99.95        1,428
  12/1/2016    0015571-IN       12/1/2016                                             0.00              0.90           0.00                0.00             0.00             0.00               0.90        1,216
  5/1/2018     0019449-IN       5/1/2018                                              0.00            119.94           0.00                0.00             0.00             0.00             119.94          700
  3/3/2020     0026050-IN       3/3/2020                                              0.00            119.94         119.94                0.00             0.00             0.00               0.00           28
                                                 Customer EPDSI Totals:               0.00            360.72         119.94                0.00             0.00             0.00              240.78

ERGS           ER Generator Services                               Contact:                                           Phone:     787-763-9567                            Credit Limit:                       0.00
  2/11/2016    1007237-IN       2/11/2016                                             0.00              2.77-          0.00                0.00             0.00             0.00               2.77-
  3/3/2020     0026051-IN       3/3/2020                                              0.00            174.93         174.93                0.00             0.00             0.00               0.00          28
                                                 Customer ERGS Totals:                0.00            172.16         174.93                0.00             0.00             0.00                   2.77-

ERJDEJE        Eric J De Jesús Cruz                                Contact:   Johanna Correa Forty                    Phone:     787-364-9161                            Credit Limit:                       0.00
  1/5/2018     0018395-IN       1/5/2018                                              0.00             24.96              0.00             0.00             0.00             0.00              24.96         816
  2/1/2018     0018642-IN       2/1/2018                                              0.00             24.99              0.00             0.00             0.00             0.00              24.99         789
  3/2/2018     0018910-IN       3/2/2018                                              0.00             24.99              0.00             0.00             0.00             0.00              24.99         760
  4/1/2018     0019167-IN       4/1/2018                                              0.00             24.99              0.00             0.00             0.00             0.00              24.99         730
  5/1/2018     0019451-IN       5/1/2018                                              0.00             24.99              0.00             0.00             0.00             0.00              24.99         700
  6/1/2018     0019736-IN       6/1/2018                                              0.00             24.99              0.00             0.00             0.00             0.00              24.99         669
  7/6/2018     0020000-IN       7/6/2018                                              0.00             24.99              0.00             0.00             0.00             0.00              24.99         634
  8/2/2018     0020274-IN       8/2/2018                                              0.00             24.99              0.00             0.00             0.00             0.00              24.99         607
  9/4/2018     0020545-IN       9/4/2018                                              0.00             24.99              0.00             0.00             0.00             0.00              24.99         574
  10/2/2018    0020820-IN       10/2/2018                                             0.00             24.99              0.00             0.00             0.00             0.00              24.99         546
  11/1/2018    0021099-IN       11/1/2018                                             0.00             24.99              0.00             0.00             0.00             0.00              24.99         516
  12/4/2018    0021388-IN       12/4/2018                                             0.00             24.99              0.00             0.00             0.00             0.00              24.99         483
  1/2/2019     0021675-IN       1/2/2019                                              0.00             24.99              0.00             0.00             0.00             0.00              24.99         454
  2/1/2019     0021969-IN       2/1/2019                                              0.00             24.99              0.00             0.00             0.00             0.00              24.99         424
  3/4/2019     0022261-IN       3/4/2019                                              0.00             24.99              0.00             0.00             0.00             0.00              24.99         393
  4/1/2019     0022558-IN       4/1/2019                                              0.00             24.99              0.00             0.00             0.00             0.00              24.99         365
  5/3/2019     0022861-IN       5/3/2019                                              0.00             24.99              0.00             0.00             0.00             0.00              24.99         333
  6/4/2019     0023170-IN       6/4/2019                                              0.00             24.99              0.00             0.00             0.00             0.00              24.99         301
  7/2/2019     0023479-IN       7/2/2019                                              0.00             24.99              0.00             0.00             0.00             0.00              24.99         273

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                           Page: 10
  A/R Date: 4/7/2020                                                                                                                                                                        User Logon: laura
          Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                           Desc: Main
Sorted by Customer Number           Document Page 32 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                         Skytec, Inc. (ST2)

Customer/        Invoice                        Due Dates          Job              Discount                                                                                                                     Days
Invoice Date     Number               Invoice           Discount   Number           Amount          Balance        Current          30 Days          60 Days           90 Days                120 Days           Delq


     8/5/2019    0023791-IN           8/5/2019                                               0.00         24.99              0.00           0.00            0.00               0.00                 24.99         239
     9/3/2019    0024110-IN           9/3/2019                                               0.00         24.99              0.00           0.00            0.00               0.00                 24.99         210
     10/3/2019   0024425-IN           10/3/2019                                              0.00         24.99              0.00           0.00            0.00               0.00                 24.99         180
     11/5/2019   0024740-IN           11/5/2019                                              0.00         24.99              0.00           0.00            0.00               0.00                 24.99         147
     12/4/2019   0025057-IN           12/4/2019                                              0.00         24.99              0.00           0.00            0.00              24.99                  0.00         118
     1/9/2020    0025379-IN           1/9/2020                                               0.00         24.99              0.00           0.00           24.99               0.00                  0.00          82
     2/4/2020    0025713-IN           2/4/2020                                               0.00         24.99              0.00          24.99            0.00               0.00                  0.00          56
                                                    Customer ERJDEJE Totals:                 0.00        649.71              0.00          24.99           24.99              24.99                 574.74

ERPAAL           Eric Pacheco Almodóvar                                  Contact:                                        Phone:     787-543-6236                              Credit Limit:                       0.00
     1/9/2020    0025380-IN           1/9/2020                                               0.00         20.02           0.00              0.00           20.02                 0.00                0.00          82
     2/4/2020    0025714-IN           2/4/2020                                               0.00         99.96           0.00             99.96            0.00                 0.00                0.00          56
     3/3/2020    0026053-IN           3/3/2020                                               0.00         99.96          99.96              0.00            0.00                 0.00                0.00          28
                                                     Customer ERPAAL Totals:                 0.00        219.94          99.96             99.96           20.02                 0.00                    0.00

EVO AMB          Evolution Ambulance Inc.                                Contact:                                        Phone:     787-685-4246                              Credit Limit:                       0.00
     3/3/2020    0026054-IN           3/3/2020                                               0.00        522.50         522.50                0.00             0.00              0.00                0.00          28
                                                    Customer EVO AMB Totals:                 0.00        522.50         522.50                0.00             0.00              0.00                    0.00

EXCEL            Excel Gasoline & Foot Mart, Co                          Contact:                                        Phone:     787-266-3511                              Credit Limit:                       0.00
     2/1/2019    0021971-IN           2/1/2019                                               0.00          5.02-          0.00                0.00             0.00              0.00                5.02-
     3/3/2020    0026055-IN           3/3/2020                                               0.00         19.99          19.99                0.00             0.00              0.00                0.00          28
                                                      Customer EXCEL Totals:                 0.00         14.97          19.99                0.00             0.00              0.00                    5.02-

FAMDEL           Family Delivery                                         Contact:   Rafael Lopez                         Phone:     787-385-1901                              Credit Limit:                       0.00
     9/3/2019    0024114-IN           9/3/2019                                               0.00         12.95           0.00              0.00            0.00               0.00                 12.95         210
     10/3/2019   0024429-IN           10/3/2019                                              0.00        149.94           0.00              0.00            0.00               0.00                149.94         180
     11/5/2019   0024744-IN           11/5/2019                                              0.00        149.94           0.00              0.00            0.00               0.00                149.94         147
     12/4/2019   0025061-IN           12/4/2019                                              0.00        149.94           0.00              0.00            0.00             149.94                  0.00         118
     1/9/2020    0025383-IN           1/9/2020                                               0.00        149.94           0.00              0.00          149.94               0.00                  0.00          82
     2/4/2020    0025717-IN           2/4/2020                                               0.00        149.94           0.00            149.94            0.00               0.00                  0.00          56
     3/3/2020    0026056-IN           3/3/2020                                               0.00        149.94         149.94              0.00            0.00               0.00                  0.00          28
                                                     Customer FAMDEL Totals:                 0.00        912.59         149.94            149.94          149.94             149.94                 312.83

FERVILL          Fervill Company Inc.                                    Contact:                                        Phone:     787-761-8787                              Credit Limit:                       0.00
     3/3/2020    0026058-IN           3/3/2020                                               0.00         74.97          74.97                0.00             0.00              0.00                0.00          28
                                                     Customer FERVILL Totals:                0.00         74.97          74.97                0.00             0.00              0.00                    0.00

FF               FRANCISCO FLORES                                        Contact:                                        Phone:     (787) 617-3753                            Credit Limit:                       0.00
     3/3/2020    0026059-IN           3/3/2020                                               0.00         19.99          19.99                0.00             0.00              0.00                0.00          28
                                                          Customer FF Totals:                0.00         19.99          19.99                0.00             0.00              0.00                    0.00

FIVE             Five Star Quality Services                              Contact:                                        Phone:     787-624-9633                              Credit Limit:                       0.00
     3/3/2020    0026060-IN           3/3/2020                                               0.00        199.92         199.92                0.00             0.00              0.00                0.00          28
                                                        Customer FIVE Totals:                0.00        199.92         199.92                0.00             0.00              0.00                    0.00

FPC              Ferreterias Papo's Comercial                            Contact:                                        Phone:     787-738-0500                              Credit Limit:                       0.00
     9/3/2019    0024120-IN           9/3/2019                                               0.00         49.98           0.00                0.00             0.00              0.00               49.98         210
     3/3/2020    0026062-IN           3/3/2020                                               0.00         49.98          49.98                0.00             0.00              0.00                0.00          28
                                                         Customer FPC Totals:                0.00         99.96          49.98                0.00             0.00              0.00                49.98

FR               FR Construction                                         Contact:   Jose boiles                          Phone:     787-753-7010                              Credit Limit:                5,000.00
     3/13/2012   1005189-CM                                                                  0.00         73.83-             0.00             0.00             0.00              0.00               73.83-
                                                          Customer FR Totals:                0.00         73.83-             0.00             0.00             0.00              0.00                73.83-

FRC              F & R Contractors                                       Contact:                                        Phone:     787-753-7010                              Credit Limit:                       0.00
     1/18/2011   1004575-IN           1/18/2011                                              0.00         73.83              0.00             0.00             0.00              0.00               73.83        3,360
                                                         Customer FRC Totals:                0.00         73.83              0.00             0.00             0.00              0.00                73.83

FREAR            Freddy A Arias Herrera                                  Contact:                                        Phone:     (939) 218-1479                            Credit Limit:                       0.00
     2/4/2020    0025724-IN           2/4/2020                                               0.00         49.98           0.00             49.98               0.00              0.00                0.00          56
     3/3/2020    0026063-IN           3/3/2020                                               0.00         49.98          49.98              0.00               0.00              0.00                0.00          28
                                                      Customer FREAR Totals:                 0.00         99.96          49.98             49.98               0.00              0.00                    0.00

FREIJE           Freije Supply, Inc                                      Contact:   Luis Freije                          Phone:     787-768-8068                              Credit Limit:                       0.00
     3/3/2020    0026064-IN           3/3/2020                                               0.00         64.97          64.97                0.00             0.00              0.00                0.00          28
                                                      Customer FREIJE Totals:                0.00         64.97          64.97                0.00             0.00              0.00                    0.00

FRENCH           Frenchys Ambulance                                      Contact:                                        Phone:     787-599-1286                              Credit Limit:                       0.00
     1/9/2020    0025393-IN           1/9/2020                                               0.00         22.50           0.00              0.00           22.50                 0.00                0.00          82
     2/4/2020    0025726-IN           2/4/2020                                               0.00        547.49           0.00            547.49            0.00                 0.00                0.00          56
     3/3/2020    0026065-IN           3/3/2020                                               0.00        547.49         547.49              0.00            0.00                 0.00                0.00          28
                                                    Customer FRENCH Totals:                  0.00      1,117.48         547.49            547.49           22.50                 0.00                    0.00

FRESH            Freshmart                                               Contact:   Carmen Perez                         Phone:     (787) 762-8300        Extension:   236    Credit Limit:                       0.00
     3/2/2018    0018920-IN           3/2/2018                                               0.00         72.87           0.00              0.00               0.00              0.00               72.87         760
     4/1/2018    0019178-IN           4/1/2018                                               0.00         74.97           0.00              0.00               0.00              0.00               74.97         730
     10/7/2019   1009427-IN           10/7/2019                                              0.00         27.03           0.00              0.00               0.00              0.00               27.03         176
     2/4/2020    0025727-IN           2/4/2020                                               0.00        124.95           0.00            124.95               0.00              0.00                0.00          56
     3/3/2020    0026066-IN           3/3/2020                                               0.00        124.95         124.95              0.00               0.00              0.00                0.00          28


  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                                Page: 11
     A/R Date: 4/7/2020                                                                                                                                                                          User Logon: laura
        Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                         Desc: Main
Sorted by Customer Number         Document Page 33 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                      Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                      Days
Invoice Date   Number            Invoice           Discount   Number           Amount           Balance          Current          30 Days          60 Days           90 Days               120 Days          Delq


                                                 Customer FRESH Totals:               0.00           424.77           124.95            124.95               0.00              0.00              174.87

FUTE           Fusetelecom LLC                                      Contact:   Manuel Miranda                          Phone:     (787) 953-3873                           Credit Limit:                      0.00
  5/3/2019     0022875-IN        5/3/2019                                             0.00            99.96-            0.00                0.00             0.00              0.00              99.96-
  3/3/2020     0026067-IN        3/3/2020                                             0.00            49.98            49.98                0.00             0.00              0.00               0.00         28
                                                   Customer FUTE Totals:              0.00            49.98-           49.98                0.00             0.00              0.00               99.96-

GATEC          GATEC INC.                                           Contact:                                           Phone:     787-704-2771                             Credit Limit:                      0.00
  3/3/2020     0026068-IN        3/3/2020                                             0.00           209.93           209.93                0.00             0.00              0.00               0.00         28
                                                 Customer GATEC Totals:               0.00           209.93           209.93                0.00             0.00              0.00                   0.00

GENOFF         GENERAL OFFICE INDUSTRIES                            Contact:                                           Phone:     787-788-0557                             Credit Limit:                      0.00
  11/17/2016   1007688-IN        11/17/2016                                           0.00           221.30             0.00                0.00             0.00              0.00             221.30       1,230
  2/1/2018     0018654-IN        2/1/2018                                             0.00             0.03             0.00                0.00             0.00              0.00               0.03         789
  6/1/2018     0019750-IN        6/1/2018                                             0.00             0.03             0.00                0.00             0.00              0.00               0.03         669
  7/6/2018     0020014-IN        7/6/2018                                             0.00            49.98             0.00                0.00             0.00              0.00              49.98         634
  2/1/2019     0021985-IN        2/1/2019                                             0.00             0.03             0.00                0.00             0.00              0.00               0.03         424
  4/1/2019     0022574-IN        4/1/2019                                             0.00            49.98             0.00                0.00             0.00              0.00              49.98         365
  6/24/2019    1009194-IN        6/24/2019                                            0.00            24.99             0.00                0.00             0.00              0.00              24.99         281
  3/3/2020     0026069-IN        3/3/2020                                             0.00            49.98            49.98                0.00             0.00              0.00               0.00          28
                                                Customer GENOFF Totals:               0.00           396.32            49.98                0.00             0.00              0.00              346.34

GETO           Gerald Torres                                        Contact:                                           Phone:     787-704-2771                             Credit Limit:                      0.00
  2/4/2020     0025731-IN        2/4/2020                                             0.00            89.92             0.00             89.92               0.00              0.00               0.00         56
  3/3/2020     0026070-IN        3/3/2020                                             0.00            89.97            89.97              0.00               0.00              0.00               0.00         28
                                                  Customer GETO Totals:               0.00           179.89            89.97             89.92               0.00              0.00                   0.00

GLENN          Ignacio Diaz                                         Contact:                                           Phone:     787-565-5197                             Credit Limit:                      0.00
  1/5/2018     0018409-IN        1/5/2018                                             0.00           200.05-               0.00             0.00             0.00              0.00             200.05-
                                                 Customer GLENN Totals:               0.00           200.05-               0.00             0.00             0.00              0.00              200.05-

GLOSAN         Gloria Santo Santiago                                Contact:                                           Phone:     787-633-0446                             Credit Limit:                      0.00
  1/9/2020     0025400-IN        1/9/2020                                             0.00            24.99             0.00              0.00           24.99                 0.00               0.00         82
  2/4/2020     0025732-IN        2/4/2020                                             0.00            24.99             0.00             24.99            0.00                 0.00               0.00         56
  3/3/2020     0026071-IN        3/3/2020                                             0.00            24.99            24.99              0.00            0.00                 0.00               0.00         28
                                                Customer GLOSAN Totals:               0.00            74.97            24.99             24.99           24.99                 0.00                   0.00

GMT            GMT Corp                                             Contact:                                           Phone:     787-223-0319                             Credit Limit:                      0.00
  11/1/2019    0102919-PP        11/1/2019                                            0.00           114.19-            0.00                0.00             0.00              0.00             114.19-
  3/3/2020     0026072-IN        3/3/2020                                             0.00         1,519.24         1,519.24                0.00             0.00              0.00               0.00         28
                                                    Customer GMT Totals:              0.00         1,405.05         1,519.24                0.00             0.00              0.00              114.19-

GNPR           Guardia Nacional de Puerto Ric                       Contact:                                           Phone:                                              Credit Limit:                      0.00
  5/24/2013    1005780-IN        5/24/2013                                            0.00         4,441.32             0.00                0.00             0.00              0.00           4,441.32       2,503
  6/28/2019    1009216-IN        6/28/2019                                            0.00           660.00             0.00                0.00             0.00              0.00             660.00         277
  3/16/2020    1009730-IN        3/16/2020                                            0.00        14,403.25        14,403.25                0.00             0.00              0.00               0.00          15
                                                  Customer GNPR Totals:               0.00        19,504.57        14,403.25                0.00             0.00              0.00            5,101.32

GRAGRO         The Graphics Group Inc.                              Contact:                                           Phone:     787-784-3700                             Credit Limit:                      0.00
  4/4/2017     0016354-IN        4/4/2017                                             0.00            14.99                0.00             0.00             0.00              0.00              14.99       1,092
  6/4/2019     0023192-IN        6/4/2019                                             0.00            24.99                0.00             0.00             0.00              0.00              24.99         301
                                               Customer GRAGRO Totals:                0.00            39.98                0.00             0.00             0.00              0.00               39.98

GRE            Gas Repair Equipment                                 Contact:   Eileen Rosado                           Phone:     787-749-8055                             Credit Limit:                      0.00
  2/1/2013     0008657-IN        2/1/2013                                             0.00            90.86                0.00             0.00             0.00              0.00              90.86       2,615
  3/28/2016    1007307-IN        3/28/2016                                            0.00            89.97                0.00             0.00             0.00              0.00              89.97       1,464
  1/5/2017     0015775-IN        1/5/2017                                             0.00            49.98                0.00             0.00             0.00              0.00              49.98       1,181
  2/1/2017     0015970-IN        2/1/2017                                             0.00            49.98                0.00             0.00             0.00              0.00              49.98       1,154
  3/1/2017     0016158-IN        3/1/2017                                             0.00            49.98                0.00             0.00             0.00              0.00              49.98       1,126
  4/4/2017     0016355-IN        4/4/2017                                             0.00            49.98                0.00             0.00             0.00              0.00              49.98       1,092
  5/3/2017     0016553-IN        5/3/2017                                             0.00            49.98                0.00             0.00             0.00              0.00              49.98       1,063
  6/1/2017     0016754-IN        6/1/2017                                             0.00            49.98                0.00             0.00             0.00              0.00              49.98       1,034
  7/3/2017     0016959-IN        7/3/2017                                             0.00            49.98                0.00             0.00             0.00              0.00              49.98       1,002
                                                    Customer GRE Totals:              0.00           530.69                0.00             0.00             0.00              0.00              530.69

GRUPOSM        Grupo SM / Adm Sistemas                              Contact:                                           Phone:     787-625-9800          Extension:   137   Credit Limit:                      0.00
  3/2/2020     3022020-PP        3/2/2020                                             0.00         7,817.27-        7,817.27-               0.00             0.00              0.00               0.00
  3/9/2020     1009713-IN        3/9/2020                                             0.00         7,817.27         7,817.27                0.00             0.00              0.00               0.00         22
                                              Customer GRUPOSM Totals:                0.00                0.00             0.00             0.00             0.00              0.00                   0.00

GUGANE         Guillermo Gandía Negrón                              Contact:                                           Phone:     787-467-7797                             Credit Limit:                      0.00
  12/17/2019   1009558-IN        12/17/2019                                           0.00            58.62             0.00              0.00            0.00             58.62                  0.00        105
  1/9/2020     0025403-IN        1/9/2020                                             0.00           149.94             0.00              0.00          149.94              0.00                  0.00         82
  2/4/2020     0025735-IN        2/4/2020                                             0.00           149.94             0.00            149.94            0.00              0.00                  0.00         56
  3/3/2020     0026074-IN        3/3/2020                                             0.00           149.94           149.94              0.00            0.00              0.00                  0.00         28
                                                Customer GUGANE Totals:               0.00           508.44           149.94            149.94          149.94             58.62                      0.00

HCD            HC Diesel                                            Contact:                                           Phone:     787-526-4368                             Credit Limit:                      0.00
  3/3/2020     0026076-IN        3/3/2020                                             0.00            74.97            74.97                0.00             0.00              0.00               0.00         28
                                                    Customer HCD Totals:              0.00            74.97            74.97                0.00             0.00              0.00                   0.00


  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                             Page: 12
  A/R Date: 4/7/2020                                                                                                                                                                          User Logon: laura
        Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                              Desc: Main
Sorted by Customer Number         Document Page 34 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                            Skytec, Inc. (ST2)

Customer/      Invoice                        Due Dates           Job              Discount                                                                                                                        Days
Invoice Date   Number             Invoice             Discount    Number           Amount           Balance           Current          30 Days          60 Days           90 Days                120 Days          Delq



HECAMO         Héctor A Morales                                         Contact:                                            Phone:     787-528-9294                              Credit Limit:                      0.00
  9/23/2019    0092419-PP         9/23/2019                                                0.00             574.87-          0.00             0.00             0.00               0.00                574.87-
  11/5/2019    0024765-IN         11/5/2019                                                0.00              24.99           0.00             0.00             0.00               0.00                 24.99        147
  12/4/2019    0025082-IN         12/4/2019                                                0.00              24.99           0.00             0.00             0.00              24.99                  0.00        118
  1/9/2020     0025406-IN         1/9/2020                                                 0.00              24.99           0.00             0.00            24.99               0.00                  0.00         82
  2/4/2020     0025738-IN         2/4/2020                                                 0.00              24.99           0.00            24.99             0.00               0.00                  0.00         56
  3/3/2020     0026077-IN         3/3/2020                                                 0.00              24.99          24.99             0.00             0.00               0.00                  0.00         28
                                                  Customer HECAMO Totals:                  0.00             449.92-         24.99            24.99            24.99              24.99                 549.88-

HEGECO         Hernández General Contractor                             Contact:   Juan Caqrlos Hernández                   Phone:     787-485-0661                              Credit Limit:                      0.00
  3/3/2020     0026078-IN         3/3/2020                                                 0.00             199.92         199.92                0.00             0.00              0.00                0.00         28
                                                  Customer HEGECO Totals:                  0.00             199.92         199.92                0.00             0.00              0.00                    0.00

HEMGUSA        Heber M. Guadalupe Sánchez                               Contact:                                            Phone:     787-980-9526                              Credit Limit:                      0.00
  5/3/2019     0022886-IN         5/3/2019                                                 0.00              24.99              0.00             0.00             0.00              0.00               24.99        333
  6/4/2019     0023196-IN         6/4/2019                                                 0.00              24.99              0.00             0.00             0.00              0.00               24.99        301
  7/2/2019     0023505-IN         7/2/2019                                                 0.00              24.99              0.00             0.00             0.00              0.00               24.99        273
  8/5/2019     0023818-IN         8/5/2019                                                 0.00              24.99              0.00             0.00             0.00              0.00               24.99        239
  9/3/2019     0024137-IN         9/3/2019                                                 0.00              24.99              0.00             0.00             0.00              0.00               24.99        210
  10/3/2019    0024452-IN         10/3/2019                                                0.00              24.99              0.00             0.00             0.00              0.00               24.99        180
                                                 Customer HEMGUSA Totals:                  0.00             149.94              0.00             0.00             0.00              0.00               149.94

HERAFA         Héctor M Ramírez Fabián                                  Contact:                                            Phone:     787-299-0594                              Credit Limit:                      0.00
  3/21/2018    1008403-IN         3/21/2018                                                0.00              80.74              0.00          0.00             0.00               0.00                 80.74        741
  5/4/2018     1008463-IN         5/4/2018                                                 0.00              80.74              0.00          0.00             0.00               0.00                 80.74        697
  3/4/2019     0022288-IN         3/4/2019                                                 0.00              49.98              0.00          0.00             0.00               0.00                 49.98        393
  4/1/2019     0022585-IN         4/1/2019                                                 0.00              49.98              0.00          0.00             0.00               0.00                 49.98        365
  5/3/2019     0022887-IN         5/3/2019                                                 0.00              49.98              0.00          0.00             0.00               0.00                 49.98        333
  6/4/2019     0023197-IN         6/4/2019                                                 0.00              49.98              0.00          0.00             0.00               0.00                 49.98        301
  7/2/2019     0023506-IN         7/2/2019                                                 0.00              49.98              0.00          0.00             0.00               0.00                 49.98        273
  8/5/2019     0023819-IN         8/5/2019                                                 0.00              49.98              0.00          0.00             0.00               0.00                 49.98        239
  9/3/2019     0024138-IN         9/3/2019                                                 0.00              49.98              0.00          0.00             0.00               0.00                 49.98        210
  10/3/2019    0024453-IN         10/3/2019                                                0.00              49.98              0.00          0.00             0.00               0.00                 49.98        180
  11/5/2019    0024767-IN         11/5/2019                                                0.00              49.98              0.00          0.00             0.00               0.00                 49.98        147
  12/4/2019    0025084-IN         12/4/2019                                                0.00              49.98              0.00          0.00             0.00              49.98                  0.00        118
  1/9/2020     0025408-IN         1/9/2020                                                 0.00              49.98              0.00          0.00            49.98               0.00                  0.00         82
  2/4/2020     0025740-IN         2/4/2020                                                 0.00              49.98              0.00         49.98             0.00               0.00                  0.00         56
                                                   Customer HERAFA Totals:                 0.00             761.24              0.00         49.98            49.98              49.98                 611.30

HEROPE         Heriberto Rosa Pérez                                     Contact:                                            Phone:     787-903-0567                              Credit Limit:                      0.00
  2/4/2020     0025741-IN         2/4/2020                                                 0.00              49.98           0.00            49.98                0.00              0.00                0.00         56
  3/3/2020     0026079-IN         3/3/2020                                                 0.00              49.98          49.98             0.00                0.00              0.00                0.00         28
                                                  Customer HEROPE Totals:                  0.00              99.96          49.98            49.98                0.00              0.00                    0.00

HEVASP         Héctor Vázquez Spickers                                  Contact:                                            Phone:     787-783-1900                              Credit Limit:                      0.00
  2/4/2020     0025742-IN         2/4/2020                                                 0.00             149.94           0.00           149.94                0.00              0.00                0.00         56
  3/3/2020     0026080-IN         3/3/2020                                                 0.00             149.94         149.94             0.00                0.00              0.00                0.00         28
                                                   Customer HEVASP Totals:                 0.00             299.88         149.94           149.94                0.00              0.00                    0.00

HGR            HGR Paramedic Transport Inc                              Contact:                                            Phone:     939-2923074                               Credit Limit:                      0.00
  3/3/2020     0026081-IN         3/3/2020                                                 0.00             119.96         119.96                0.00             0.00              0.00                0.00         28
                                                      Customer HGR Totals:                 0.00             119.96         119.96                0.00             0.00              0.00                    0.00

HIDTA          Hidta Department                                         Contact:                                            Phone:     305-292-6832                              Credit Limit:                      0.00
  2/2/2017     1007790-IN         2/2/2017                                                 0.00            60.72             0.00                0.00             0.00              0.00               60.72       1,153
  4/1/2019     0022586-IN         4/1/2019                                                 0.00         1,210.00             0.00                0.00             0.00              0.00            1,210.00         365
  3/3/2020     0026082-IN         3/3/2020                                                 0.00         1,375.00         1,375.00                0.00             0.00              0.00                0.00          28
                                                     Customer HIDTA Totals:                0.00         2,645.72         1,375.00                0.00             0.00              0.00             1,270.72

HOBART         Hobart Sales & Service                                   Contact:                                            Phone:     787-783-6141                              Credit Limit:                      0.00
  9/10/2018    1008673-IN         9/10/2018                                                0.00              10.00              0.00             0.00             0.00              0.00               10.00        568
                                                  Customer HOBART Totals:                  0.00              10.00              0.00             0.00             0.00              0.00                10.00

HSAN           Héctor Santiago                                          Contact:                                            Phone:     787-946-7756                              Credit Limit:                      0.00
  1/2/2019     0021705-IN         1/2/2019                                                 0.00              24.99           0.00                0.00             0.00              0.00               24.99        454
  2/1/2019     0021999-IN         2/1/2019                                                 0.00              24.99           0.00                0.00             0.00              0.00               24.99        424
  6/4/2019     0023203-IN         6/4/2019                                                 0.00              24.99           0.00                0.00             0.00              0.00               24.99        301
  3/3/2020     0026085-IN         3/3/2020                                                 0.00              24.99          24.99                0.00             0.00              0.00                0.00         28
                                                     Customer HSAN Totals:                 0.00              99.96          24.99                0.00             0.00              0.00                74.97

IBC            Instituto de Banca y Comercio                            Contact:                                            Phone:     787-982-3000          Extension:   1081   Credit Limit:                      0.00
  5/28/2014    1006204-IN         5/28/2014                                                0.00              80.35              0.00             0.00             0.00              0.00               80.35       2,134
                                                        Customer IBC Totals:               0.00              80.35              0.00             0.00             0.00              0.00                80.35

IFV            Industrial Fittings & Valves                             Contact:   Lydia Torres                             Phone:     787-251-0840                              Credit Limit:                      0.00
  2/4/2020     0025748-IN         2/4/2020                                                 0.00             119.87           0.00           119.87                0.00              0.00                0.00         56
  2/17/2020    1009630-IN         2/17/2020                                                0.00              88.83           0.00            88.83                0.00              0.00                0.00         43
  2/26/2020    1009653-IN         2/26/2020                                                0.00              24.99           0.00            24.99                0.00              0.00                0.00         34
  3/3/2020     0026086-IN         3/3/2020                                                 0.00             144.86         144.86             0.00                0.00              0.00                0.00         28
                                                        Customer IFV Totals:               0.00             378.55         144.86           233.69                0.00              0.00                    0.00

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                                   Page: 13
  A/R Date: 4/7/2020                                                                                                                                                                                User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                        Desc: Main
Sorted by Customer Number          Document Page 35 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                     Skytec, Inc. (ST2)

Customer/      Invoice                      Due Dates           Job              Discount                                                                                                                    Days
Invoice Date   Number             Invoice           Discount    Number           Amount        Balance           Current          30 Days          60 Days          90 Days               120 Days           Delq



IMT            International MedicalTransport                         Contact:                                         Phone:     787-858-0101                            Credit Limit:                       0.00
  3/3/2020     0026087-IN         3/3/2020                                              0.00        522.50            522.50                0.00             0.00             0.00               0.00          28
                                                     Customer IMT Totals:               0.00        522.50            522.50                0.00             0.00             0.00                   0.00

INBUSE         Integrated Business Services                           Contact:   Jorge Chen                            Phone:     787-975-9003                            Credit Limit:                       0.00
  3/3/2020     0026088-IN         3/3/2020                                              0.00         74.97             74.97                0.00             0.00             0.00               0.00          28
                                                 Customer INBUSE Totals:                0.00         74.97             74.97                0.00             0.00             0.00                   0.00

INTBUS         Interbus                                               Contact:                                         Phone:     787-858-7581                            Credit Limit:                       0.00
  3/3/2020     0026089-IN         3/3/2020                                              0.00        524.85            524.85                0.00             0.00             0.00               0.00          28
                                                 Customer INTBUS Totals:                0.00        524.85            524.85                0.00             0.00             0.00                   0.00

IOP            Instituto de Ojos y Piel                               Contact:                                         Phone:     787-769-2477                            Credit Limit:                       0.00
  12/23/2014   1006701-IN         12/23/2014                                            0.00        358.75                 0.00             0.00             0.00             0.00             358.75        1,925
  2/5/2016     0013926-IN         2/5/2016                                              0.00        174.93                 0.00             0.00             0.00             0.00             174.93        1,516
  3/3/2016     0014068-IN         3/3/2016                                              0.00        174.93                 0.00             0.00             0.00             0.00             174.93        1,489
                                                     Customer IOP Totals:               0.00        708.61                 0.00             0.00             0.00             0.00              708.61

IRASAN         Irasema Sánchez Franco                                 Contact:                                         Phone:     787-240-2733                            Credit Limit:                       0.00
  12/4/2018    0021423-IN         12/4/2018                                             0.00         24.99                 0.00             0.00             0.00             0.00              24.99         483
  1/2/2019     0021710-IN         1/2/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99         454
  2/1/2019     0022004-IN         2/1/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99         424
  3/4/2019     0022297-IN         3/4/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99         393
  4/1/2019     0022594-IN         4/1/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99         365
  5/3/2019     0022897-IN         5/3/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99         333
  6/4/2019     0023208-IN         6/4/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99         301
  7/2/2019     0023517-IN         7/2/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99         273
  8/5/2019     0023830-IN         8/5/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99         239
  9/3/2019     0024149-IN         9/3/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99         210
                                                 Customer IRASAN Totals:                0.00        249.90                 0.00             0.00             0.00             0.00              249.90

ISCAS          Ismael Castro Figueroa                                 Contact:                                         Phone:     787-753-3127                            Credit Limit:                       0.00
  7/3/2017     1007978-IN         7/3/2017                                              0.00         80.74                 0.00             0.00             0.00             0.00              80.74        1,002
  8/1/2017     0017185-IN         8/1/2017                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99          973
  9/4/2017     0017421-IN         9/4/2017                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99          939
  10/5/2017    0017664-IN         10/5/2017                                             0.00         24.99                 0.00             0.00             0.00             0.00              24.99          908
  11/3/2017    0017911-IN         11/3/2017                                             0.00         24.99                 0.00             0.00             0.00             0.00              24.99          879
  12/1/2017    0018175-IN         12/1/2017                                             0.00         24.99                 0.00             0.00             0.00             0.00              24.99          851
  1/5/2018     0018424-IN         1/5/2018                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99          816
  2/1/2018     0018670-IN         2/1/2018                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99          789
  3/2/2018     0018939-IN         3/2/2018                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99          760
  4/1/2018     0019198-IN         4/1/2018                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99          730
  5/1/2018     0019481-IN         5/1/2018                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99          700
  6/1/2018     0019766-IN         6/1/2018                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99          669
  7/6/2018     0020031-IN         7/6/2018                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99          634
  8/2/2018     0020305-IN         8/2/2018                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99          607
  9/4/2018     0020577-IN         9/4/2018                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99          574
  10/2/2018    0020854-IN         10/2/2018                                             0.00         24.99                 0.00             0.00             0.00             0.00              24.99          546
  11/1/2018    0021134-IN         11/1/2018                                             0.00         24.99                 0.00             0.00             0.00             0.00              24.99          516
  12/4/2018    0021424-IN         12/4/2018                                             0.00         24.99                 0.00             0.00             0.00             0.00              24.99          483
  1/2/2019     0021711-IN         1/2/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99          454
  2/1/2019     0022005-IN         2/1/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99          424
  3/4/2019     0022298-IN         3/4/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99          393
  4/1/2019     0022595-IN         4/1/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99          365
  5/3/2019     0022898-IN         5/3/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99          333
                                                   Customer ISCAS Totals:               0.00        630.52                 0.00             0.00             0.00             0.00              630.52

ISD            Contech Of Puerto Rico Inc.                            Contact:                                         Phone:     787-722-1020                            Credit Limit:                       0.00
  3/3/2020     0026090-IN         3/3/2020                                              0.00        479.84            479.84                0.00             0.00             0.00               0.00          28
                                                      Customer ISD Totals:              0.00        479.84            479.84                0.00             0.00             0.00                   0.00

ISRIVI         Isnael Rivera Viera                                    Contact:                                         Phone:     787-209-5067                            Credit Limit:                       0.00
  11/15/2019   0151119-PP         11/15/2019                                            0.00             0.67-             0.00             0.00             0.00             0.00               0.67-
                                                   Customer ISRIVI Totals:              0.00             0.67-             0.00             0.00             0.00             0.00                   0.67-

ISRUVA         Ismael Ruiz Vargas                                     Contact:                                         Phone:     787-567-6662                            Credit Limit:                       0.00
  3/3/2020     0026091-IN         3/3/2020                                              0.00         24.99             24.99                0.00             0.00             0.00               0.00          28
                                                 Customer ISRUVA Totals:                0.00         24.99             24.99                0.00             0.00             0.00                   0.00

ITSSYS         ITS Systems Integrators Co.                            Contact:                                         Phone:     787-764-5858                            Credit Limit:                       0.00
  11/1/2016    0015403-IN         11/1/2016                                             0.00             2.80-             0.00             0.00             0.00             0.00               2.80-
                                                  Customer ITSSYS Totals:               0.00             2.80-             0.00             0.00             0.00             0.00                   2.80-

JAM            Pablo Vega/Jam Ambulance                               Contact:                                         Phone:     787-263-0914                            Credit Limit:                       0.00
  1/9/2020     0025422-IN         1/9/2020                                              0.00        282.42              0.00             0.00           282.42                0.00               0.00          82
  1/9/2020     0025423-IN         1/9/2020                                              0.00         89.97              0.00             0.00            89.97                0.00               0.00          82
  2/4/2020     0025754-IN         2/4/2020                                              0.00        522.50              0.00           522.50             0.00                0.00               0.00          56
  2/4/2020     0025755-IN         2/4/2020                                              0.00         89.97              0.00            89.97             0.00                0.00               0.00          56
  2/17/2020    1009636-IN         2/17/2020                                             0.00         59.98              0.00            59.98             0.00                0.00               0.00          43
  3/3/2020     0026092-IN         3/3/2020                                              0.00        522.50            522.50             0.00             0.00                0.00               0.00          28

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                            Page: 14
  A/R Date: 4/7/2020                                                                                                                                                                         User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                          Desc: Main
Sorted by Customer Number          Document Page 36 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                       Skytec, Inc. (ST2)

Customer/      Invoice                    Due Dates          Job              Discount                                                                                                                        Days
Invoice Date   Number           Invoice           Discount   Number           Amount            Balance           Current           30 Days          60 Days          90 Days               120 Days          Delq


  3/3/2020     0026093-IN       3/3/2020                                              0.00           149.95            149.95                 0.00             0.00             0.00               0.00         28
                                                   Customer JAM Totals:               0.00         1,717.29            672.45            672.45           372.39                0.00                   0.00

JAMALU         Jamalu Rental                                       Contact:   Ivette Martinez                           Phone:      787-795-2100                            Credit Limit:                      0.00
  3/16/2020    3162020-PP       3/16/2020                                             0.00                0.30-             0.30-             0.00             0.00             0.00               0.00
                                               Customer JAMALU Totals:                0.00                0.30-             0.30-             0.00             0.00             0.00                   0.00

JANBA          Jan C. Barada Santiago                              Contact:                                             Phone:      787-466-6076                            Credit Limit:                      0.00
  12/4/2018    0021427-IN       12/4/2018                                             0.00            34.43-                0.00              0.00             0.00             0.00              34.43-
  1/2/2019     0021714-IN       1/2/2019                                              0.00            24.99                 0.00              0.00             0.00             0.00              24.99        454
  1/7/2019     1008874-IN       1/7/2019                                              0.00           164.37                 0.00              0.00             0.00             0.00             164.37        449
  2/1/2019     0022008-IN       2/1/2019                                              0.00            49.98                 0.00              0.00             0.00             0.00              49.98        424
  3/4/2019     0022301-IN       3/4/2019                                              0.00            49.98                 0.00              0.00             0.00             0.00              49.98        393
  4/1/2019     0022599-IN       4/1/2019                                              0.00            49.98                 0.00              0.00             0.00             0.00              49.98        365
  5/3/2019     0022903-IN       5/3/2019                                              0.00            49.98                 0.00              0.00             0.00             0.00              49.98        333
  6/4/2019     0023214-IN       6/4/2019                                              0.00            49.98                 0.00              0.00             0.00             0.00              49.98        301
  7/2/2019     0023522-IN       7/2/2019                                              0.00            49.98                 0.00              0.00             0.00             0.00              49.98        273
  8/5/2019     0023836-IN       8/5/2019                                              0.00            49.98                 0.00              0.00             0.00             0.00              49.98        239
  9/3/2019     0024155-IN       9/3/2019                                              0.00            49.98                 0.00              0.00             0.00             0.00              49.98        210
  10/3/2019    0024469-IN       10/3/2019                                             0.00            49.98                 0.00              0.00             0.00             0.00              49.98        180
  11/5/2019    0024784-IN       11/5/2019                                             0.00            49.98                 0.00              0.00             0.00             0.00              49.98        147
                                                Customer JANBA Totals:                0.00           654.73                 0.00              0.00             0.00             0.00              654.73

JASA           JASA Construction                                   Contact:                                             Phone:      787-690-4141                            Credit Limit:                      0.00
  8/5/2019     0023837-IN       8/5/2019                                              0.00           114.91              0.00              0.00             0.00            0.00                 114.91        239
  9/3/2019     0024156-IN       9/3/2019                                              0.00           224.91              0.00              0.00             0.00            0.00                 224.91        210
  10/3/2019    0024470-IN       10/3/2019                                             0.00           224.91              0.00              0.00             0.00            0.00                 224.91        180
  11/5/2019    0024785-IN       11/5/2019                                             0.00           224.91              0.00              0.00             0.00            0.00                 224.91        147
  12/4/2019    0025100-IN       12/4/2019                                             0.00           224.91              0.00              0.00             0.00          224.91                   0.00        118
  1/9/2020     0025425-IN       1/9/2020                                              0.00           224.91              0.00              0.00           224.91            0.00                   0.00         82
  2/4/2020     0025757-IN       2/4/2020                                              0.00           224.91              0.00            224.91             0.00            0.00                   0.00         56
  3/3/2020     0026095-IN       3/3/2020                                              0.00           224.91            224.91              0.00             0.00            0.00                   0.00         28
                                                  Customer JASA Totals:               0.00         1,689.28            224.91            224.91           224.91           224.91                 789.64

JECA           Jesús Castro                                        Contact:   Jesús Castro                              Phone:      787-309-2046                            Credit Limit:                      0.00
  2/1/2018     0018675-IN       2/1/2018                                              0.00            24.95              0.00              0.00             0.00             0.00                 24.95        789
  3/2/2018     0018944-IN       3/2/2018                                              0.00            24.99              0.00              0.00             0.00             0.00                 24.99        760
  4/1/2018     0019202-IN       4/1/2018                                              0.00            24.99              0.00              0.00             0.00             0.00                 24.99        730
  5/1/2018     0019485-IN       5/1/2018                                              0.00            24.99              0.00              0.00             0.00             0.00                 24.99        700
  6/1/2018     0019770-IN       6/1/2018                                              0.00            24.99              0.00              0.00             0.00             0.00                 24.99        669
  7/6/2018     0020035-IN       7/6/2018                                              0.00            24.99              0.00              0.00             0.00             0.00                 24.99        634
  8/2/2018     0020309-IN       8/2/2018                                              0.00            24.99              0.00              0.00             0.00             0.00                 24.99        607
  9/4/2018     0020581-IN       9/4/2018                                              0.00            24.99              0.00              0.00             0.00             0.00                 24.99        574
  11/1/2018    0021139-IN       11/1/2018                                             0.00            24.99              0.00              0.00             0.00             0.00                 24.99        516
  12/4/2018    0021429-IN       12/4/2018                                             0.00            24.99              0.00              0.00             0.00             0.00                 24.99        483
  1/2/2019     0021716-IN       1/2/2019                                              0.00            24.99              0.00              0.00             0.00             0.00                 24.99        454
  2/1/2019     0022010-IN       2/1/2019                                              0.00            24.99              0.00              0.00             0.00             0.00                 24.99        424
  3/4/2019     0022303-IN       3/4/2019                                              0.00            24.99              0.00              0.00             0.00             0.00                 24.99        393
  4/1/2019     0022601-IN       4/1/2019                                              0.00            24.99              0.00              0.00             0.00             0.00                 24.99        365
  5/3/2019     0022905-IN       5/3/2019                                              0.00            24.99              0.00              0.00             0.00             0.00                 24.99        333
  6/4/2019     0023216-IN       6/4/2019                                              0.00            24.99              0.00              0.00             0.00             0.00                 24.99        301
  7/2/2019     0023524-IN       7/2/2019                                              0.00            24.99              0.00              0.00             0.00             0.00                 24.99        273
  8/5/2019     0023838-IN       8/5/2019                                              0.00            24.99              0.00              0.00             0.00             0.00                 24.99        239
  9/3/2019     0024157-IN       9/3/2019                                              0.00            24.99              0.00              0.00             0.00             0.00                 24.99        210
  10/3/2019    0024471-IN       10/3/2019                                             0.00            24.99              0.00              0.00             0.00             0.00                 24.99        180
  11/5/2019    0024786-IN       11/5/2019                                             0.00            24.99              0.00              0.00             0.00             0.00                 24.99        147
  12/4/2019    0025101-IN       12/4/2019                                             0.00            24.99              0.00              0.00             0.00            24.99                  0.00        118
  1/9/2020     0025426-IN       1/9/2020                                              0.00            24.99              0.00              0.00            24.99             0.00                  0.00         82
  2/4/2020     0025758-IN       2/4/2020                                              0.00            24.99              0.00             24.99             0.00             0.00                  0.00         56
  3/3/2020     0026096-IN       3/3/2020                                              0.00            24.99             24.99              0.00             0.00             0.00                  0.00         28
                                                  Customer JECA Totals:               0.00           624.71             24.99             24.99            24.99            24.99                 524.75

JEJUCRU        Jesús A Jusino Cruz                                 Contact:                                             Phone:      787-598-2059                            Credit Limit:                      0.00
  2/4/2020     0025759-IN       2/4/2020                                              0.00            24.99              0.00             24.99                0.00             0.00               0.00         56
  3/3/2020     0026097-IN       3/3/2020                                              0.00            24.99             24.99              0.00                0.00             0.00               0.00         28
                                              Customer JEJUCRU Totals:                0.00            49.98             24.99             24.99                0.00             0.00                   0.00

JFG            Juan F. García                                      Contact:                                             Phone:                                              Credit Limit:                      0.00
  3/3/2020     0026098-IN       3/3/2020                                              0.00           199.90            199.90                 0.00             0.00             0.00               0.00         28
                                                   Customer JFG Totals:               0.00           199.90            199.90                 0.00             0.00             0.00                   0.00

JLLS           Jones Lang LaSalle                                  Contact:                                             Phone:      787-777-5800                            Credit Limit:                      0.00
  9/2/2011     0006310-IN       9/2/2011                                              0.00            99.80                 0.00              0.00             0.00             0.00              99.80 3,133
  2/3/2015     0012251-IN       2/3/2015                                              0.00            99.80-                0.00              0.00             0.00             0.00              99.80-
                                                  Customer JLLS Totals:               0.00                0.00              0.00              0.00             0.00             0.00                   0.00

JMCAB          JM Caribbean Builders Corp                          Contact:                                             Phone:      787-798-7600                            Credit Limit:                      0.00
  9/3/2019     0024160-IN       9/3/2019                                              0.00           624.72                 0.00              0.00             0.00         0.00                 624.72        210
  10/3/2019    0024474-IN       10/3/2019                                             0.00           599.74                 0.00              0.00             0.00         0.00                 599.74        180
  11/5/2019    0024789-IN       11/5/2019                                             0.00           624.72                 0.00              0.00             0.00         0.00                 624.72        147
  12/4/2019    0025104-IN       12/4/2019                                             0.00           624.72                 0.00              0.00             0.00       624.72                   0.00        118

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                              Page: 15
  A/R Date: 4/7/2020                                                                                                                                                                           User Logon: laura
        Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                    Desc: Main
Sorted by Customer Number         Document Page 37 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                 Skytec, Inc. (ST2)

Customer/      Invoice                    Due Dates          Job              Discount                                                                                                                  Days
Invoice Date   Number           Invoice           Discount   Number           Amount          Balance        Current          30 Days          60 Days          90 Days               120 Days          Delq


  1/9/2020     0025429-IN       1/9/2020                                             0.00          624.72           0.00             0.00           624.72                0.00               0.00         82
  2/4/2020     0025761-IN       2/4/2020                                             0.00          624.72           0.00           624.72             0.00                0.00               0.00         56
  3/3/2020     0026099-IN       3/3/2020                                             0.00          624.72         624.72             0.00             0.00                0.00               0.00         28
                                                Customer JMCAB Totals:               0.00        4,348.06         624.72           624.72           624.72           624.72               1,849.18

JNAL           JN Alarms                                           Contact:   Nancy Rosario                        Phone:     787-649-3173                            Credit Limit:                      0.00
  3/3/2020     0026100-IN       3/3/2020                                             0.00           49.98          49.98                0.00             0.00             0.00               0.00         28
                                                  Customer JNAL Totals:              0.00           49.98          49.98                0.00             0.00             0.00                   0.00

JOAORSA        Jorge A Ortíz Santos                                Contact:                                        Phone:     787-315-6260                            Credit Limit:                      0.00
  3/3/2020     0026101-IN       3/3/2020                                             0.00           24.99          24.99                0.00             0.00             0.00               0.00         28
                                             Customer JOAORSA Totals:                0.00           24.99          24.99                0.00             0.00             0.00                   0.00

JOAPRO         José A Aponte Rodríguez                             Contact:                                        Phone:     787-940-2916                            Credit Limit:                      0.00
  2/4/2020     0025763-IN       2/4/2020                                             0.00           49.98           0.00            49.98                0.00             0.00               0.00         56
  3/3/2020     0026102-IN       3/3/2020                                             0.00           49.98          49.98             0.00                0.00             0.00               0.00         28
                                               Customer JOAPRO Totals:               0.00           99.96          49.98            49.98                0.00             0.00                   0.00

JOHCO          Johanna Correa Forty                                Contact:                                        Phone:     787-364-9161                            Credit Limit:                      0.00
  12/1/2017    0018183-IN       12/1/2017                                            0.00           49.94              0.00          0.00             0.00             0.00                 49.94        851
  1/5/2018     0018432-IN       1/5/2018                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        816
  2/1/2018     0018678-IN       2/1/2018                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        789
  3/2/2018     0018947-IN       3/2/2018                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        760
  4/1/2018     0019205-IN       4/1/2018                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        730
  5/1/2018     0019488-IN       5/1/2018                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        700
  6/1/2018     0019773-IN       6/1/2018                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        669
  7/6/2018     0020039-IN       7/6/2018                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        634
  8/2/2018     0020313-IN       8/2/2018                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        607
  9/4/2018     0020585-IN       9/4/2018                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        574
  10/2/2018    0020862-IN       10/2/2018                                            0.00           49.98              0.00          0.00             0.00             0.00                 49.98        546
  11/1/2018    0021143-IN       11/1/2018                                            0.00           49.98              0.00          0.00             0.00             0.00                 49.98        516
  12/4/2018    0021434-IN       12/4/2018                                            0.00           49.98              0.00          0.00             0.00             0.00                 49.98        483
  1/2/2019     0021720-IN       1/2/2019                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        454
  2/1/2019     0022014-IN       2/1/2019                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        424
  3/4/2019     0022307-IN       3/4/2019                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        393
  4/1/2019     0022605-IN       4/1/2019                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        365
  5/3/2019     0022910-IN       5/3/2019                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        333
  6/4/2019     0023221-IN       6/4/2019                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        301
  7/2/2019     0023530-IN       7/2/2019                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        273
  8/5/2019     0023844-IN       8/5/2019                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        239
  9/3/2019     0024163-IN       9/3/2019                                             0.00           49.98              0.00          0.00             0.00             0.00                 49.98        210
  10/3/2019    0024477-IN       10/3/2019                                            0.00           49.98              0.00          0.00             0.00             0.00                 49.98        180
  11/5/2019    0024792-IN       11/5/2019                                            0.00           49.98              0.00          0.00             0.00             0.00                 49.98        147
  12/4/2019    0025107-IN       12/4/2019                                            0.00           49.98              0.00          0.00             0.00            49.98                  0.00        118
  1/9/2020     0025432-IN       1/9/2020                                             0.00           49.98              0.00          0.00            49.98             0.00                  0.00         82
  2/4/2020     0025764-IN       2/4/2020                                             0.00           49.98              0.00         49.98             0.00             0.00                  0.00         56
                                                Customer JOHCO Totals:               0.00        1,349.42              0.00         49.98            49.98            49.98               1,199.48

JOHERE         José Hernández Revelo                               Contact:                                        Phone:     787-598-8508                            Credit Limit:                      0.00
  3/3/2020     0026103-IN       3/3/2020                                             0.00           24.99          24.99                0.00             0.00             0.00               0.00         28
                                               Customer JOHERE Totals:               0.00           24.99          24.99                0.00             0.00             0.00                   0.00

JOLUDAM        José Luis Dávila Mestre                             Contact:                                        Phone:     787-647-4676                            Credit Limit:                      0.00
  3/3/2020     0026104-IN       3/3/2020                                             0.00          124.95         124.95                0.00             0.00             0.00               0.00         28
                                             Customer JOLUDAM Totals:                0.00          124.95         124.95                0.00             0.00             0.00                   0.00

JOME           Jorge Mejía                                         Contact:                                        Phone:     787-3667726                             Credit Limit:                      0.00
  2/4/2020     0025767-IN       2/4/2020                                             0.00           24.99           0.00            24.99                0.00             0.00               0.00         56
  3/3/2020     0026105-IN       3/3/2020                                             0.00           24.99          24.99             0.00                0.00             0.00               0.00         28
                                                 Customer JOME Totals:               0.00           49.98          24.99            24.99                0.00             0.00                   0.00

JOMONTA        José Montañez Cruz                                  Contact:                                        Phone:     787-602-1288                            Credit Limit:                      0.00
  2/4/2020     0025768-IN       2/4/2020                                             0.00            0.02           0.00                0.02             0.00             0.00               0.00         56
  3/3/2020     0026106-IN       3/3/2020                                             0.00           49.98          49.98                0.00             0.00             0.00               0.00         28
                                             Customer JOMONTA Totals:                0.00           50.00          49.98                0.02             0.00             0.00                   0.00

JPA            Javier Perez Andreu                                 Contact:                                        Phone:     787-755-8756                            Credit Limit:                      0.00
  9/4/2018     0020589-IN       9/4/2018                                             0.00           24.95              0.00             0.00             0.00             0.00              24.95        574
  4/1/2019     0022610-IN       4/1/2019                                             0.00           24.95              0.00             0.00             0.00             0.00              24.95        365
  10/3/2019    0024483-IN       10/3/2019                                            0.00           24.95              0.00             0.00             0.00             0.00              24.95        180
                                                   Customer JPA Totals:              0.00           74.85              0.00             0.00             0.00             0.00               74.85

JRUSCBC        J Rodríguez US Customs Broker                       Contact:                                        Phone:     787-705-9136                            Credit Limit:                      0.00
  12/3/2013    0010103-IN       12/3/2013                                            0.00            2.80-             0.00             0.00             0.00             0.00               2.80-
  3/3/2014     0010546-IN       3/3/2014                                             0.00          106.74-             0.00             0.00             0.00             0.00             106.74-
  3/31/2014    1006111-IN       3/31/2014                                            0.00          403.42              0.00             0.00             0.00             0.00             403.42       2,192
  3/31/2014    1006112-IN       3/31/2014                                            0.00          250.00              0.00             0.00             0.00             0.00             250.00       2,192
  4/1/2014     0010696-IN       4/1/2014                                             0.00           20.00-             0.00             0.00             0.00             0.00              20.00-
  6/3/2014     0010988-IN       6/3/2014                                             0.00           59.98-             0.00             0.00             0.00             0.00              59.98-
  8/3/2016     0014867-IN       8/3/2016                                             0.00           59.98              0.00             0.00             0.00             0.00              59.98       1,336
  4/4/2017     0016371-IN       4/4/2017                                             0.00           59.98              0.00             0.00             0.00             0.00              59.98       1,092

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                        Page: 16
  A/R Date: 4/7/2020                                                                                                                                                                     User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                   Desc: Main
Sorted by Customer Number          Document Page 38 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                Days
Invoice Date   Number            Invoice           Discount   Number           Amount        Balance        Current          30 Days          60 Days          90 Days               120 Days          Delq


  6/1/2017     0016771-IN        6/1/2017                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98       1,034
  7/3/2017     0016976-IN        7/3/2017                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98       1,002
  8/1/2017     0017197-IN        8/1/2017                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         973
  9/4/2017     0017435-IN        9/4/2017                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         939
  10/5/2017    0017678-IN        10/5/2017                                            0.00         59.98              0.00             0.00             0.00             0.00              59.98         908
  11/3/2017    0017925-IN        11/3/2017                                            0.00         59.98              0.00             0.00             0.00             0.00              59.98         879
  12/1/2017    0018187-IN        12/1/2017                                            0.00         59.98              0.00             0.00             0.00             0.00              59.98         851
  1/5/2018     0018437-IN        1/5/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         816
  2/1/2018     0018683-IN        2/1/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         789
  3/2/2018     0018951-IN        3/2/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         760
  4/1/2018     0019209-IN        4/1/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         730
  5/1/2018     0019492-IN        5/1/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         700
  6/1/2018     0019777-IN        6/1/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         669
  7/6/2018     0020044-IN        7/6/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         634
  8/2/2018     0020318-IN        8/2/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         607
  9/4/2018     0020590-IN        9/4/2018                                             0.00         59.98              0.00             0.00             0.00             0.00              59.98         574
  10/2/2018    0020867-IN        10/2/2018                                            0.00         59.98              0.00             0.00             0.00             0.00              59.98         546
                                              Customer JRUSCBC Totals:                0.00      1,603.52              0.00             0.00             0.00             0.00            1,603.52

JUANCR         Juan Carlos Rodriguez Rivera                         Contact:                                      Phone:     787-251-5385                            Credit Limit:                      0.00
  2/4/2020     0025772-IN        2/4/2020                                             0.00        151.30           0.00           151.30                0.00             0.00               0.00         56
  3/3/2020     0026109-IN        3/3/2020                                             0.00        249.90         249.90             0.00                0.00             0.00               0.00         28
                                                Customer JUANCR Totals:               0.00        401.20         249.90           151.30                0.00             0.00                   0.00

JUBMOCA        Juan B Molina Canales                                Contact:                                      Phone:     787-460-7298                            Credit Limit:                      0.00
  2/17/2020    1009639-IN        2/17/2020                                            0.00         99.98           0.00            99.98                0.00             0.00               0.00         43
  3/3/2020     0026110-IN        3/3/2020                                             0.00         49.98          49.98             0.00                0.00             0.00               0.00         28
                                              Customer JUBMOCA Totals:                0.00        149.96          49.98            99.98                0.00             0.00                   0.00

JUGOPI         Juan M Gómez Pizarro                                 Contact:                                      Phone:     787-648-4797                            Credit Limit:                      0.00
  12/4/2019    0025116-IN        12/4/2019                                            0.00         49.98           0.00             0.00             0.00            49.98                  0.00        118
  1/9/2020     0025441-IN        1/9/2020                                             0.00         49.98           0.00             0.00            49.98             0.00                  0.00         82
  2/4/2020     0025773-IN        2/4/2020                                             0.00         49.98           0.00            49.98             0.00             0.00                  0.00         56
  3/3/2020     0026111-IN        3/3/2020                                             0.00         49.98          49.98             0.00             0.00             0.00                  0.00         28
                                                Customer JUGOPI Totals:               0.00        199.92          49.98            49.98            49.98            49.98                      0.00

JULMAN         Juan L Mantilla                                      Contact:                                      Phone:     787-405-8119                            Credit Limit:                      0.00
  6/1/2018     0019780-IN        6/1/2018                                             0.00          0.01-             0.00          0.00             0.00             0.00                  0.01-
  7/6/2018     0020047-IN        7/6/2018                                             0.00         24.99              0.00          0.00             0.00             0.00                 24.99        634
  8/2/2018     0020321-IN        8/2/2018                                             0.00         24.99              0.00          0.00             0.00             0.00                 24.99        607
  9/4/2018     0020593-IN        9/4/2018                                             0.00         24.99              0.00          0.00             0.00             0.00                 24.99        574
  10/2/2018    0020870-IN        10/2/2018                                            0.00         24.99              0.00          0.00             0.00             0.00                 24.99        546
  11/1/2018    0021150-IN        11/1/2018                                            0.00         24.99              0.00          0.00             0.00             0.00                 24.99        516
  12/4/2018    0021441-IN        12/4/2018                                            0.00         24.99              0.00          0.00             0.00             0.00                 24.99        483
  1/2/2019     0021727-IN        1/2/2019                                             0.00         24.99              0.00          0.00             0.00             0.00                 24.99        454
  2/1/2019     0022021-IN        2/1/2019                                             0.00         24.99              0.00          0.00             0.00             0.00                 24.99        424
  3/4/2019     0022315-IN        3/4/2019                                             0.00         24.99              0.00          0.00             0.00             0.00                 24.99        393
  4/1/2019     0022613-IN        4/1/2019                                             0.00         24.99              0.00          0.00             0.00             0.00                 24.99        365
  5/3/2019     0022917-IN        5/3/2019                                             0.00         24.99              0.00          0.00             0.00             0.00                 24.99        333
  6/4/2019     0023229-IN        6/4/2019                                             0.00         24.99              0.00          0.00             0.00             0.00                 24.99        301
  7/2/2019     0023538-IN        7/2/2019                                             0.00         24.99              0.00          0.00             0.00             0.00                 24.99        273
  8/5/2019     0023853-IN        8/5/2019                                             0.00         24.99              0.00          0.00             0.00             0.00                 24.99        239
  9/3/2019     0024172-IN        9/3/2019                                             0.00         24.99              0.00          0.00             0.00             0.00                 24.99        210
  10/3/2019    0024486-IN        10/3/2019                                            0.00         24.99              0.00          0.00             0.00             0.00                 24.99        180
  11/5/2019    0024801-IN        11/5/2019                                            0.00         24.99              0.00          0.00             0.00             0.00                 24.99        147
  12/4/2019    0025117-IN        12/4/2019                                            0.00         24.99              0.00          0.00             0.00            24.99                  0.00        118
  1/9/2020     0025442-IN        1/9/2020                                             0.00         24.99              0.00          0.00            24.99             0.00                  0.00         82
  2/4/2020     0025774-IN        2/4/2020                                             0.00         24.99              0.00         24.99             0.00             0.00                  0.00         56
                                                Customer JULMAN Totals:               0.00        499.79              0.00         24.99            24.99            24.99                 424.82

JUOVAPE        Juan J Ovalles Pérez                                 Contact:                                      Phone:     787-297-1487                            Credit Limit:                      0.00
  2/4/2020     0025775-IN        2/4/2020                                             0.00         49.98           0.00            49.98                0.00             0.00               0.00         56
  3/3/2020     0026112-IN        3/3/2020                                             0.00         49.98          49.98             0.00                0.00             0.00               0.00         28
                                              Customer JUOVAPE Totals:                0.00         99.96          49.98            49.98                0.00             0.00                   0.00

KRANE          Krane Solution Inc                                   Contact:                                      Phone:     787-858-7105                            Credit Limit:                      0.00
  3/3/2020     0026113-IN        3/3/2020                                             0.00        174.93         174.93                0.00             0.00             0.00               0.00         28
                                                 Customer KRANE Totals:               0.00        174.93         174.93                0.00             0.00             0.00                   0.00

LAMB           Lizardi Ambulance                                    Contact:                                      Phone:     787-258-7799                            Credit Limit:                      0.00
  3/3/2020     0026115-IN        3/3/2020                                             0.00         49.98          49.98                0.00             0.00             0.00               0.00         28
                                                  Customer LAMB Totals:               0.00         49.98          49.98                0.00             0.00             0.00                   0.00

LAU            Steven Lausell                                       Contact:                                      Phone:     787-381-8584                            Credit Limit:                      0.00
  12/13/2013   1006021-IN        12/13/2013                                           0.00        322.71-          0.00             0.00                0.00             0.00             322.71-
  7/29/2019    7292019-PP        7/29/2019                                            0.00         39.98-          0.00             0.00                0.00             0.00              39.98-
  2/4/2020     0025779-IN        2/4/2020                                             0.00         39.98           0.00            39.98                0.00             0.00               0.00         56
  3/3/2020     0026116-IN        3/3/2020                                             0.00         39.98          39.98             0.00                0.00             0.00               0.00         28
                                                    Customer LAU Totals:              0.00        282.73-         39.98            39.98                0.00             0.00              362.69-

LAUMAL         Laura Maldonado                                      Contact:                                      Phone:     787-513-3463                            Credit Limit:                      0.00

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                       Page: 17
  A/R Date: 4/7/2020                                                                                                                                                                    User Logon: laura
          Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                          Desc: Main
Sorted by Customer Number           Document Page 39 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                       Skytec, Inc. (ST2)

Customer/      Invoice                      Due Dates           Job              Discount                                                                                                                     Days
Invoice Date   Number             Invoice           Discount    Number           Amount           Balance          Current          30 Days          60 Days          90 Days               120 Days          Delq


  1/9/2020     0025448-IN         1/9/2020                                               0.00           24.99             0.00             0.00            24.99                0.00               0.00         82
  2/4/2020     0025780-IN         2/4/2020                                               0.00           24.99             0.00            24.99             0.00                0.00               0.00         56
  3/3/2020     0026117-IN         3/3/2020                                               0.00           24.99            24.99             0.00             0.00                0.00               0.00         28
                                                 Customer LAUMAL Totals:                 0.00           74.97            24.99            24.99            24.99                0.00                   0.00

LAYALAC        Luis Ayala Colón & Suc                                 Contact:                                           Phone:     787-792-9000                            Credit Limit:                      0.00
  12/20/2016   1007720-IN         12/20/2016                                             0.00          181.46                0.00             0.00             0.00             0.00             181.46       1,197
                                                Customer LAYALAC Totals:                 0.00          181.46                0.00             0.00             0.00             0.00              181.46

LAYAPA         Lázaro Yanes Padrón                                    Contact:                                           Phone:     787-613-7923                            Credit Limit:                      0.00
  11/1/2018    0021156-IN         11/1/2018                                              0.00           24.99                0.00          0.00             0.00             0.00                 24.99        516
  12/4/2018    0021447-IN         12/4/2018                                              0.00           24.99                0.00          0.00             0.00             0.00                 24.99        483
  1/2/2019     0021733-IN         1/2/2019                                               0.00           24.99                0.00          0.00             0.00             0.00                 24.99        454
  2/1/2019     0022027-IN         2/1/2019                                               0.00           24.99                0.00          0.00             0.00             0.00                 24.99        424
  3/4/2019     0022321-IN         3/4/2019                                               0.00           24.99                0.00          0.00             0.00             0.00                 24.99        393
  4/1/2019     0022619-IN         4/1/2019                                               0.00           24.99                0.00          0.00             0.00             0.00                 24.99        365
  5/3/2019     0022923-IN         5/3/2019                                               0.00           24.99                0.00          0.00             0.00             0.00                 24.99        333
  6/4/2019     0023235-IN         6/4/2019                                               0.00           24.99                0.00          0.00             0.00             0.00                 24.99        301
  7/2/2019     0023544-IN         7/2/2019                                               0.00           24.99                0.00          0.00             0.00             0.00                 24.99        273
  8/5/2019     0023859-IN         8/5/2019                                               0.00           24.99                0.00          0.00             0.00             0.00                 24.99        239
  9/3/2019     0024178-IN         9/3/2019                                               0.00           24.99                0.00          0.00             0.00             0.00                 24.99        210
  10/3/2019    0024493-IN         10/3/2019                                              0.00           24.99                0.00          0.00             0.00             0.00                 24.99        180
  11/5/2019    0024808-IN         11/5/2019                                              0.00           24.99                0.00          0.00             0.00             0.00                 24.99        147
  12/4/2019    0025124-IN         12/4/2019                                              0.00           24.99                0.00          0.00             0.00            24.99                  0.00        118
  1/9/2020     0025449-IN         1/9/2020                                               0.00           24.99                0.00          0.00            24.99             0.00                  0.00         82
  2/4/2020     0025781-IN         2/4/2020                                               0.00           24.99                0.00         24.99             0.00             0.00                  0.00         56
                                                 Customer LAYAPA Totals:                 0.00          399.84                0.00         24.99            24.99            24.99                 324.87

LCD            LC Distributors                                        Contact:                                           Phone:     787-704-1425                            Credit Limit:                      0.00
  2/4/2020     0025782-IN         2/4/2020                                               0.00           99.94             0.00            99.94                0.00             0.00               0.00         56
  3/3/2020     0026119-IN         3/3/2020                                               0.00          149.94           149.94             0.00                0.00             0.00               0.00         28
                                                     Customer LCD Totals:                0.00          249.88           149.94            99.94                0.00             0.00                   0.00

LHMC           La Hacienda Meat Center                                Contact:                                           Phone:     787-627-9551                            Credit Limit:                      0.00
  3/3/2020     0026120-IN         3/3/2020                                               0.00           49.98            49.98                0.00             0.00             0.00               0.00         28
                                                   Customer LHMC Totals:                 0.00           49.98            49.98                0.00             0.00             0.00                   0.00

LILIAM         Life Link Ambulance                                    Contact:   Wanda Santiago                          Phone:     787-708-4558                            Credit Limit:                      0.00
  3/3/2020     0026121-IN         3/3/2020                                               0.00           74.97            74.97                0.00             0.00             0.00               0.00         28
                                                   Customer LILIAM Totals:               0.00           74.97            74.97                0.00             0.00             0.00                   0.00

LILYV          Lily Veronica Aponte                                   Contact:                                           Phone:     787-314-3864                            Credit Limit:                      0.00
  2/4/2020     0025785-IN         2/4/2020                                               0.00          239.88                0.00        239.88                0.00             0.00               0.00         56
  2/4/2020     0025944-IN         2/4/2020                                               0.00          239.88-               0.00        239.88-               0.00             0.00               0.00
                                                   Customer LILYV Totals:                0.00               0.00             0.00             0.00             0.00             0.00                   0.00

LISHIAM        Life Shield Ambulance Inc                              Contact:   Brunilda Báez                           Phone:     787-698-2506                            Credit Limit:                      0.00
  5/3/2019     0022927-IN         5/3/2019                                               0.00           22.46             0.00             0.00             0.00             0.00                 22.46        333
  6/4/2019     0023239-IN         6/4/2019                                               0.00          622.46             0.00             0.00             0.00             0.00                622.46        301
  7/2/2019     0023548-IN         7/2/2019                                               0.00          622.46             0.00             0.00             0.00             0.00                622.46        273
  8/5/2019     0023863-IN         8/5/2019                                               0.00          622.46             0.00             0.00             0.00             0.00                622.46        239
  9/3/2019     0024182-IN         9/3/2019                                               0.00          622.46             0.00             0.00             0.00             0.00                622.46        210
  10/3/2019    0024497-IN         10/3/2019                                              0.00          622.46             0.00             0.00             0.00             0.00                622.46        180
  10/7/2019    1009421-IN         10/7/2019                                              0.00           88.83             0.00             0.00             0.00             0.00                 88.83        176
  11/5/2019    0024812-IN         11/5/2019                                              0.00           99.96             0.00             0.00             0.00             0.00                 99.96        147
  12/4/2019    0025128-IN         12/4/2019                                              0.00           99.96             0.00             0.00             0.00            99.96                  0.00        118
  1/9/2020     0025454-IN         1/9/2020                                               0.00           99.96             0.00             0.00            99.96             0.00                  0.00         82
  2/4/2020     0025786-IN         2/4/2020                                               0.00           99.96             0.00            99.96             0.00             0.00                  0.00         56
  3/3/2020     0026123-IN         3/3/2020                                               0.00           99.96            99.96             0.00             0.00             0.00                  0.00         28
                                                 Customer LISHIAM Totals:                0.00        3,723.39            99.96            99.96            99.96            99.96               3,323.55

LOBE CO        Lobe Construction                                      Contact:                                           Phone:     787-612-8753                            Credit Limit:                      0.00
  7/3/2013     0009382-IN         7/3/2013                                               0.00           23.24                0.00          0.00                0.00             0.00              23.24       2,463
  2/4/2020     0025787-IN         2/4/2020                                               0.00           24.99                0.00         24.99                0.00             0.00               0.00          56
                                                Customer LOBE CO Totals:                 0.00           48.23                0.00         24.99                0.00             0.00               23.24

LOUISM         Louis M. Estrada                                       Contact:                                           Phone:     787-410-7452                            Credit Limit:                      0.00
  3/3/2020     0026124-IN         3/3/2020                                               0.00           24.99            24.99                0.00             0.00             0.00               0.00         28
                                                 Customer LOUISM Totals:                 0.00           24.99            24.99                0.00             0.00             0.00                   0.00

LPDN           Laboratorio de Patología Dr.No                         Contact:                                           Phone:                                             Credit Limit:                      0.00
  4/4/2017     0016379-IN         4/4/2017                                               0.00          108.75             0.00                0.00             0.00             0.00             108.75       1,092
  3/3/2020     0026125-IN         3/3/2020                                               0.00          399.84           399.84                0.00             0.00             0.00               0.00          28
  3/11/2020    1009723-IN         3/11/2020                                              0.00           88.83            88.83                0.00             0.00             0.00               0.00          20
  3/12/2020    1009729-IN         3/12/2020                                              0.00           88.83            88.83                0.00             0.00             0.00               0.00          19
                                                    Customer LPDN Totals:                0.00          686.25           577.50                0.00             0.00             0.00              108.75

LPR            LOTERIA DE PUERTO RICO                                 Contact:                                           Phone:     787-759-8842                            Credit Limit:                      0.00
  7/3/2017     0016985-IN         7/3/2017                                               0.00          104.97                0.00             0.00             0.00             0.00             104.97       1,002
  7/2/2019     0023551-IN         7/2/2019                                               0.00          209.94                0.00             0.00             0.00             0.00             209.94         273
  8/5/2019     0023866-IN         8/5/2019                                               0.00          209.94                0.00             0.00             0.00             0.00             209.94         239

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                              Page: 18
  A/R Date: 4/7/2020                                                                                                                                                                           User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                       Desc: Main
Sorted by Customer Number          Document Page 40 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                    Skytec, Inc. (ST2)

Customer/      Invoice                        Due Dates          Job              Discount                                                                                                                 Days
Invoice Date   Number               Invoice           Discount   Number           Amount         Balance        Current          30 Days          60 Days          90 Days               120 Days          Delq


  8/7/2019     0024015-IN           8/7/2019                                              0.00        419.88-             0.00             0.00             0.00             0.00             419.88-
                                                       Customer LPR Totals:               0.00        104.97              0.00             0.00             0.00             0.00              104.97

LRO            Luis Rovira                                             Contact:                                       Phone:     787-922-1742                            Credit Limit:                      0.00
  10/2/2018    0020882-IN           10/2/2018                                             0.00        105.24-             0.00          0.00             0.00             0.00                105.24-
  11/1/2018    0021163-IN           11/1/2018                                             0.00         24.99              0.00          0.00             0.00             0.00                 24.99        516
  12/4/2018    0021453-IN           12/4/2018                                             0.00         24.99              0.00          0.00             0.00             0.00                 24.99        483
  1/2/2019     0021740-IN           1/2/2019                                              0.00         24.99              0.00          0.00             0.00             0.00                 24.99        454
  2/1/2019     0022033-IN           2/1/2019                                              0.00         24.99              0.00          0.00             0.00             0.00                 24.99        424
  3/4/2019     0022329-IN           3/4/2019                                              0.00         24.99              0.00          0.00             0.00             0.00                 24.99        393
  4/1/2019     0022627-IN           4/1/2019                                              0.00         24.99              0.00          0.00             0.00             0.00                 24.99        365
  5/3/2019     0022931-IN           5/3/2019                                              0.00         24.99              0.00          0.00             0.00             0.00                 24.99        333
  6/4/2019     0023243-IN           6/4/2019                                              0.00         24.99              0.00          0.00             0.00             0.00                 24.99        301
  7/2/2019     0023552-IN           7/2/2019                                              0.00         24.99              0.00          0.00             0.00             0.00                 24.99        273
  8/5/2019     0023867-IN           8/5/2019                                              0.00         24.99              0.00          0.00             0.00             0.00                 24.99        239
  9/3/2019     0024185-IN           9/3/2019                                              0.00         24.99              0.00          0.00             0.00             0.00                 24.99        210
  10/3/2019    0024500-IN           10/3/2019                                             0.00         24.99              0.00          0.00             0.00             0.00                 24.99        180
  11/5/2019    0024815-IN           11/5/2019                                             0.00         24.99              0.00          0.00             0.00             0.00                 24.99        147
  12/4/2019    0025131-IN           12/4/2019                                             0.00         24.99              0.00          0.00             0.00            24.99                  0.00        118
  1/9/2020     0025457-IN           1/9/2020                                              0.00         24.99              0.00          0.00            24.99             0.00                  0.00         82
  2/4/2020     0025789-IN           2/4/2020                                              0.00         24.99              0.00         24.99             0.00             0.00                  0.00         56
                                                       Customer LRO Totals:               0.00        294.60              0.00         24.99            24.99            24.99                 219.63

LTIRE          Luis Tire Services                                      Contact:                                       Phone:     787-778-8761                            Credit Limit:                      0.00
  8/3/2015     0013101-IN           8/3/2015                                              0.00         19.99              0.00             0.00             0.00             0.00              19.99       1,702
  2/5/2016     0013943-IN           2/5/2016                                              0.00          0.09              0.00             0.00             0.00             0.00               0.09       1,516
                                                     Customer LTIRE Totals:               0.00         20.08              0.00             0.00             0.00             0.00               20.08

LUAYRI         Luis Ayende Rivera                                      Contact:                                       Phone:     787-430-2473                            Credit Limit:                      0.00
  3/3/2020     0026126-IN           3/3/2020                                              0.00         24.99          24.99                0.00             0.00             0.00               0.00         28
                                                    Customer LUAYRI Totals:               0.00         24.99          24.99                0.00             0.00             0.00                   0.00

LUDISA         Luis Díaz Sanabria                                      Contact:                                       Phone:                                             Credit Limit:                      0.00
  3/2/2020     1009681-IN           3/2/2020                                              0.00         59.97          59.97                0.00             0.00             0.00               0.00         29
                                                    Customer LUDISA Totals:               0.00         59.97          59.97                0.00             0.00             0.00                   0.00

LUIS I         Luis Ivan Rosario                                       Contact:                                       Phone:     787-830-2500                            Credit Limit:                      0.00
  1/9/2020     0025459-IN           1/9/2020                                              0.00         80.00           0.00             0.00            80.00                0.00               0.00         82
  2/4/2020     0025791-IN           2/4/2020                                              0.00        120.00           0.00           120.00             0.00                0.00               0.00         56
  3/3/2020     0026127-IN           3/3/2020                                              0.00        120.00         120.00             0.00             0.00                0.00               0.00         28
                                                     Customer LUIS I Totals:              0.00        320.00         120.00           120.00            80.00                0.00                   0.00

LUVER          Luis A Verge Vergara                                    Contact:                                       Phone:     787-647-6113                            Credit Limit:                      0.00
  3/3/2020     0026128-IN           3/3/2020                                              0.00         49.98          49.98                0.00             0.00             0.00               0.00         28
                                                    Customer LUVER Totals:                0.00         49.98          49.98                0.00             0.00             0.00                   0.00

M ALERT        Medical Alert Ambulance                                 Contact:                                       Phone:     787-517-0411                            Credit Limit:                      0.00
  9/3/2019     0024190-IN           9/3/2019                                              0.00        452.49           0.00             0.00             0.00            0.00                 452.49        210
  9/11/2019    1009380-IN           9/11/2019                                             0.00         29.99           0.00             0.00             0.00            0.00                  29.99        202
  10/3/2019    0024504-IN           10/3/2019                                             0.00        239.92           0.00             0.00             0.00            0.00                 239.92        180
  10/3/2019    0024505-IN           10/3/2019                                             0.00        522.50           0.00             0.00             0.00            0.00                 522.50        180
  11/5/2019    0024819-IN           11/5/2019                                             0.00        239.92           0.00             0.00             0.00            0.00                 239.92        147
  11/5/2019    0024820-IN           11/5/2019                                             0.00        522.50           0.00             0.00             0.00            0.00                 522.50        147
  12/4/2019    0025135-IN           12/4/2019                                             0.00        239.92           0.00             0.00             0.00          239.92                   0.00        118
  12/4/2019    0025136-IN           12/4/2019                                             0.00        522.50           0.00             0.00             0.00          522.50                   0.00        118
  12/31/2019   1009581-IN           12/31/2019                                            0.00         59.98           0.00             0.00             0.00           59.98                   0.00         91
  1/9/2020     0025461-IN           1/9/2020                                              0.00        299.90           0.00             0.00           299.90            0.00                   0.00         82
  1/9/2020     0025462-IN           1/9/2020                                              0.00        522.50           0.00             0.00           522.50            0.00                   0.00         82
  2/4/2020     0025793-IN           2/4/2020                                              0.00        299.90           0.00           299.90             0.00            0.00                   0.00         56
  2/4/2020     0025794-IN           2/4/2020                                              0.00        522.50           0.00           522.50             0.00            0.00                   0.00         56
  2/26/2020    1009655-IN           2/26/2020                                             0.00         59.98           0.00            59.98             0.00            0.00                   0.00         34
  3/3/2020     0026129-IN           3/3/2020                                              0.00        329.89         329.89             0.00             0.00            0.00                   0.00         28
  3/3/2020     0026130-IN           3/3/2020                                              0.00        522.50         522.50             0.00             0.00            0.00                   0.00         28
                                                  Customer M ALERT Totals:                0.00      5,386.89         852.39           882.38           822.40           822.40               2,007.32

MAALVE         Mayaguez Alquiler y Ventas Inc                          Contact:                                       Phone:     787-728-6500                            Credit Limit:                      0.00
  2/1/2019     0022035-IN           2/1/2019                                              0.00        228.56-          0.00                0.00             0.00             0.00             228.56-
  3/3/2020     0026131-IN           3/3/2020                                              0.00         19.99          19.99                0.00             0.00             0.00               0.00         28
                                                   Customer MAALVE Totals:                0.00        208.57-         19.99                0.00             0.00             0.00              228.56-

MAEDIMO        Manuel E Díaz Monzón                                    Contact:   Jorge M Díaz                        Phone:     787-527-6232                            Credit Limit:                      0.00
  8/29/2017    1008083-IN           8/29/2017                                             0.00         80.74              0.00             0.00             0.00             0.00              80.74        945
  9/4/2017     0017451-IN           9/4/2017                                              0.00         24.99              0.00             0.00             0.00             0.00              24.99        939
  10/5/2017    0017694-IN           10/5/2017                                             0.00         24.99              0.00             0.00             0.00             0.00              24.99        908
  11/3/2017    0017941-IN           11/3/2017                                             0.00         24.99              0.00             0.00             0.00             0.00              24.99        879
  12/1/2017    0018203-IN           12/1/2017                                             0.00         24.99              0.00             0.00             0.00             0.00              24.99        851
  1/5/2018     0018454-IN           1/5/2018                                              0.00         24.99              0.00             0.00             0.00             0.00              24.99        816
                                                 Customer MAEDIMO Totals:                 0.00        205.69              0.00             0.00             0.00             0.00              205.69

MAGA SE        Magaly Serrano                                          Contact:                                       Phone:     787-659-1135                            Credit Limit:                      0.00
  1/31/2020    1312020-PP           1/31/2020                                             0.00        124.95-             0.00             0.00        124.95-               0.00               0.00

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                           Page: 19
  A/R Date: 4/7/2020                                                                                                                                                                        User Logon: laura
        Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                         Desc: Main
Sorted by Customer Number         Document Page 41 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                      Skytec, Inc. (ST2)

Customer/      Invoice                       Due Dates          Job              Discount                                                                                                                    Days
Invoice Date   Number              Invoice           Discount   Number           Amount         Balance           Current          30 Days          60 Days          90 Days               120 Days          Delq


  2/4/2020     0025796-IN          2/4/2020                                              0.00         24.99              0.00            24.99                0.00             0.00               0.00         56
  3/3/2020     0026132-IN          3/3/2020                                              0.00         24.99             24.99             0.00                0.00             0.00               0.00         28
                                                 Customer MAGA SE Totals:                0.00         74.97-            24.99            24.99           124.95-               0.00                   0.00

MANAMED        Manatí Medical                                         Contact:                                          Phone:     787-203-1066                            Credit Limit:                      0.00
  3/3/2020     0026133-IN          3/3/2020                                              0.00        179.94            179.94                0.00             0.00             0.00               0.00         28
                                                Customer MANAMED Totals:                 0.00        179.94            179.94                0.00             0.00             0.00                   0.00

MANGO          Red Mango                                              Contact:                                          Phone:     787-705-8420                            Credit Limit:                      0.00
  4/1/2018     0019229-IN          4/1/2018                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99        730
  5/1/2018     0019512-IN          5/1/2018                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99        700
  6/1/2018     0019796-IN          6/1/2018                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99        669
  7/6/2018     0020063-IN          7/6/2018                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99        634
  8/2/2018     0020337-IN          8/2/2018                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99        607
  9/4/2018     0020609-IN          9/4/2018                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99        574
  10/2/2018    0020886-IN          10/2/2018                                             0.00         24.99                 0.00             0.00             0.00             0.00              24.99        546
  11/1/2018    0021167-IN          11/1/2018                                             0.00         24.99                 0.00             0.00             0.00             0.00              24.99        516
  12/4/2018    0021456-IN          12/4/2018                                             0.00         24.99                 0.00             0.00             0.00             0.00              24.99        483
  1/2/2019     0021743-IN          1/2/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99        454
  2/1/2019     0022036-IN          2/1/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99        424
  3/4/2019     0022333-IN          3/4/2019                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99        393
                                                  Customer MANGO Totals:                 0.00        299.88                 0.00             0.00             0.00             0.00              299.88

MAPFRE         MAPFRE                                                 Contact:                                          Phone:     787-925-5734                            Credit Limit:                      0.00
  6/27/2013    1005813-IN          6/27/2013                                             0.00        350.00              0.00             0.00                0.00             0.00             350.00       2,469
  5/2/2014     0010853-IN          5/2/2014                                              0.00        713.31              0.00             0.00                0.00             0.00             713.31       2,160
  6/3/2014     0010996-IN          6/3/2014                                              0.00        959.68              0.00             0.00                0.00             0.00             959.68       2,128
  10/1/2014    0011703-IN          10/1/2014                                             0.00          1.00              0.00             0.00                0.00             0.00               1.00       2,008
  4/30/2015    1006818-IN          4/30/2015                                             0.00         77.46              0.00             0.00                0.00             0.00              77.46       1,797
  7/1/2015     0012957-IN          7/1/2015                                              0.00        959.68              0.00             0.00                0.00             0.00             959.68       1,735
  8/10/2015    1006964-IN          8/10/2015                                             0.00        119.96              0.00             0.00                0.00             0.00             119.96       1,695
  8/10/2015    1006965-IN          8/10/2015                                             0.00      1,417.59              0.00             0.00                0.00             0.00           1,417.59       1,695
  8/31/2015    1007001-IN          8/31/2015                                             0.00        236.27              0.00             0.00                0.00             0.00             236.27       1,674
  8/31/2015    1007002-IN          8/31/2015                                             0.00         29.99              0.00             0.00                0.00             0.00              29.99       1,674
  2/24/2016    1007275-IN          2/24/2016                                             0.00         29.99              0.00             0.00                0.00             0.00              29.99       1,497
  3/14/2017    0016275-IN          3/14/2017                                             0.00        116.94-             0.00             0.00                0.00             0.00             116.94-
  3/14/2017    1007847-IN          3/14/2017                                             0.00        189.55              0.00             0.00                0.00             0.00             189.55       1,113
  11/3/2017    0017943-IN          11/3/2017                                             0.00      1,169.61              0.00             0.00                0.00             0.00           1,169.61         879
  2/4/2020     0025798-IN          2/4/2020                                              0.00        779.74              0.00           779.74                0.00             0.00               0.00          56
  3/3/2020     0026134-IN          3/3/2020                                              0.00        779.74            779.74             0.00                0.00             0.00               0.00          28
                                                 Customer MAPFRE Totals:                 0.00      7,696.63            779.74           779.74                0.00             0.00            6,137.15

MARMA          Marilyn Márquez                                        Contact:                                          Phone:     787-359-2403                            Credit Limit:                      0.00
  8/15/2017    1008028-IN          8/15/2017                                             0.00         80.74                 0.00             0.00             0.00             0.00              80.74        959
  9/4/2017     0017454-IN          9/4/2017                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99        939
  10/5/2017    0017697-IN          10/5/2017                                             0.00         24.99                 0.00             0.00             0.00             0.00              24.99        908
  11/3/2017    0017944-IN          11/3/2017                                             0.00         24.99                 0.00             0.00             0.00             0.00              24.99        879
  12/1/2017    0018206-IN          12/1/2017                                             0.00         24.99                 0.00             0.00             0.00             0.00              24.99        851
  1/5/2018     0018457-IN          1/5/2018                                              0.00         24.99                 0.00             0.00             0.00             0.00              24.99        816
                                                  Customer MARMA Totals:                 0.00        205.69                 0.00             0.00             0.00             0.00              205.69

MARMAT         Martín Matos (Grúas)                                   Contact:                                          Phone:     787-579-2345                            Credit Limit:                      0.00
  3/3/2020     0026135-IN          3/3/2020                                              0.00         24.99             24.99                0.00             0.00             0.00               0.00         28
                                                 Customer MARMAT Totals:                 0.00         24.99             24.99                0.00             0.00             0.00                   0.00

MARTEL         Martel Inc.                                            Contact:                                          Phone:     787-792-2424                            Credit Limit:                      0.00
  2/26/2020    1009652-IN          2/26/2020                                             0.00         83.63              0.00            83.63                0.00             0.00               0.00         34
  2/27/2020    1009671-IN          2/27/2020                                             0.00        189.55              0.00           189.55                0.00             0.00               0.00         33
  3/3/2020     0026136-IN          3/3/2020                                              0.00        824.67            824.67             0.00                0.00             0.00               0.00         28
                                                  Customer MARTEL Totals:                0.00      1,097.85            824.67           273.18                0.00             0.00                   0.00

MASCORP        MAS Corporation                                        Contact:                                          Phone:     787-274-1100                            Credit Limit:                      0.00
  1/9/2020     0025469-IN          1/9/2020                                              0.00        599.76              0.00             0.00           599.76                0.00               0.00         82
  2/4/2020     0025801-IN          2/4/2020                                              0.00        599.76              0.00           599.76             0.00                0.00               0.00         56
  3/3/2020     0026137-IN          3/3/2020                                              0.00        599.76            599.76             0.00             0.00                0.00               0.00         28
                                                Customer MASCORP Totals:                 0.00      1,799.28            599.76           599.76           599.76                0.00                   0.00

MASTER         Master Link Corp.                                      Contact:                                          Phone:     787-846-7655                            Credit Limit:                      0.00
  10/2/2015    0013389-IN          10/2/2015                                             0.00          4.20-                0.00             0.00             0.00             0.00               4.20-
  2/5/2016     0013947-IN          2/5/2016                                              0.00         60.16                 0.00             0.00             0.00             0.00              60.16 1,516
  3/3/2016     0014090-IN          3/3/2016                                              0.00         59.98                 0.00             0.00             0.00             0.00              59.98 1,489
  4/4/2016     0014229-IN          4/4/2016                                              0.00         59.98                 0.00             0.00             0.00             0.00              59.98 1,457
                                                 Customer MASTER Totals:                 0.00        175.92                 0.00             0.00             0.00             0.00              175.92

MAXBI          Maxbilling                                             Contact:   Sheila Otero                           Phone:     787-387-5353                            Credit Limit:                      0.00
  3/3/2020     0026139-IN          3/3/2020                                              0.00         19.99             19.99                0.00             0.00             0.00               0.00         28
                                                    Customer MAXBI Totals:               0.00         19.99             19.99                0.00             0.00             0.00                   0.00

MAYFORD        Mayaguez Ford                                          Contact:                                          Phone:     787-512-1973                            Credit Limit:                      0.00
  4/28/2016    1007359-IN          4/28/2016                                             0.00             4.47-             0.00             0.00             0.00             0.00               4.47-


  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                             Page: 20
  A/R Date: 4/7/2020                                                                                                                                                                          User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                           Desc: Main
Sorted by Customer Number          Document Page 42 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                         Skytec, Inc. (ST2)

Customer/      Invoice                    Due Dates          Job              Discount                                                                                                                           Days
Invoice Date   Number           Invoice           Discount   Number           Amount             Balance           Current          30 Days          60 Days           90 Days                120 Days           Delq


                                             Customer MAYFORD Totals:                 0.00                 4.47-             0.00             0.00             0.00              0.00                    4.47-

MBAY           Municipio de Bayamón                                Contact:                                              Phone:     787-787-7878          Extension:   2316   Credit Limit:                       0.00
  9/10/2018    1008672-IN       9/10/2018                                             0.00             63.50-                0.00             0.00          0.00                 0.00               63.50-
  9/11/2019    1009385-IN       9/11/2019                                             0.00             47.46                 0.00             0.00          0.00                 0.00               47.46         202
  1/29/2020    1009607-IN       1/29/2020                                             0.00            200.00                 0.00             0.00        200.00                 0.00                0.00          62
                                                 Customer MBAY Totals:                0.00            183.96                 0.00             0.00        200.00                 0.00                16.04-

MC             Municipio de Carolina                               Contact:   Angel Perez                                Phone:     787-757-2626                              Credit Limit:                       0.00
  10/17/2013   1005957-IN       10/17/2013                                            0.00          2,380.00              0.00              0.00               0.00           0.00               2,380.00        2,357
  11/13/2019   1009509-IN       11/13/2019                                            0.00            201.00              0.00              0.00               0.00           0.00                 201.00          139
  11/13/2019   1009510-IN       11/13/2019                                            0.00          3,991.00              0.00              0.00               0.00           0.00               3,991.00          139
  12/4/2019    1009534-IN       12/4/2019                                             0.00         33,240.00              0.00              0.00               0.00      33,240.00                   0.00          118
  12/4/2019    1009535-IN       12/4/2019                                             0.00          2,947.50              0.00              0.00               0.00       2,947.50                   0.00          118
  2/10/2020    1009627-IN       2/10/2020                                             0.00          5,866.40              0.00          5,866.40               0.00           0.00                   0.00           50
  3/3/2020     0026140-IN       3/3/2020                                              0.00          4,840.00          4,840.00              0.00               0.00           0.00                   0.00           28
                                                    Customer MC Totals:               0.00         53,465.90          4,840.00          5,866.40               0.00      36,187.50                6,572.00

MCA            Municipio de Caguas                                 Contact:   Hector Reyes                               Phone:     787-746-6100                              Credit Limit:                       0.00
  8/29/2014    1006505-IN       8/29/2014                                             0.00          4,710.00              0.00              0.00            0.00              0.00               4,710.00        2,041
  10/30/2015   1007107-IN       10/30/2015                                            0.00            144.40              0.00              0.00            0.00              0.00                 144.40        1,614
  1/15/2017    1007764-IN       1/15/2017                                             0.00          1,680.00              0.00              0.00            0.00              0.00               1,680.00        1,171
  6/4/2019     0023256-IN       6/4/2019                                              0.00          2,790.00              0.00              0.00            0.00              0.00               2,790.00          301
  8/5/2019     0023883-IN       8/5/2019                                              0.00          2,400.00              0.00              0.00            0.00              0.00               2,400.00          239
  9/3/2019     0024200-IN       9/3/2019                                              0.00            167.40              0.00              0.00            0.00              0.00                 167.40          210
  9/3/2019     0024201-IN       9/3/2019                                              0.00          2,400.00              0.00              0.00            0.00              0.00               2,400.00          210
  10/3/2019    0024515-IN       10/3/2019                                             0.00          2,790.00              0.00              0.00            0.00              0.00               2,790.00          180
  10/3/2019    0024516-IN       10/3/2019                                             0.00          2,400.00              0.00              0.00            0.00              0.00               2,400.00          180
  11/5/2019    0024831-IN       11/5/2019                                             0.00          2,790.00              0.00              0.00            0.00              0.00               2,790.00          147
  11/5/2019    0024832-IN       11/5/2019                                             0.00          2,400.00              0.00              0.00            0.00              0.00               2,400.00          147
  12/4/2019    0025147-IN       12/4/2019                                             0.00          2,790.00              0.00              0.00            0.00          2,790.00                   0.00          118
  12/4/2019    0025148-IN       12/4/2019                                             0.00          2,400.00              0.00              0.00            0.00          2,400.00                   0.00          118
  12/4/2019    1009523-IN       12/4/2019                                             0.00            394.00              0.00              0.00            0.00            394.00                   0.00          118
  1/9/2020     0025473-IN       1/9/2020                                              0.00          2,790.00              0.00              0.00        2,790.00              0.00                   0.00           82
  1/9/2020     0025474-IN       1/9/2020                                              0.00          2,400.00              0.00              0.00        2,400.00              0.00                   0.00           82
  2/4/2020     0025805-IN       2/4/2020                                              0.00          2,790.00              0.00          2,790.00            0.00              0.00                   0.00           56
  2/4/2020     0025806-IN       2/4/2020                                              0.00          2,400.00              0.00          2,400.00            0.00              0.00                   0.00           56
  3/3/2020     0026141-IN       3/3/2020                                              0.00          2,790.00          2,790.00              0.00            0.00              0.00                   0.00           28
  3/3/2020     0026142-IN       3/3/2020                                              0.00          2,400.00          2,400.00              0.00            0.00              0.00                   0.00           28
                                                  Customer MCA Totals:                0.00         45,825.80          5,190.00          5,190.00        5,190.00          5,584.00               24,671.80

MCCAI          Mc QUAY CARIBE INC                                  Contact:                                              Phone:     787-275-1340                              Credit Limit:                       0.00
  6/4/2019     0023258-IN       6/4/2019                                              0.00             24.99              0.00                0.00             0.00              0.00               24.99         301
  3/3/2020     0026143-IN       3/3/2020                                              0.00            199.92            199.92                0.00             0.00              0.00                0.00          28
                                                Customer MCCAI Totals:                0.00            224.91            199.92                0.00             0.00              0.00                24.99

MCI            Muncipio de Ciales                                  Contact:                                              Phone:     787-871-3500                              Credit Limit:                       0.00
  2/17/2017    1007809-IN       2/17/2017                                             0.00            350.00                 0.00             0.00             0.00              0.00              350.00        1,138
  2/17/2017    1007810-IN       2/17/2017                                             0.00            148.00                 0.00             0.00             0.00              0.00              148.00        1,138
  11/20/2018   1008816-IN       11/20/2018                                            0.00            189.00                 0.00             0.00             0.00              0.00              189.00          497
                                                   Customer MCI Totals:               0.00            687.00                 0.00             0.00             0.00              0.00               687.00

MCOM           Municipio de Comerio                                Contact:                                              Phone:     787-875-5520                              Credit Limit:                       0.00
  2/27/2020    1009674-IN       2/27/2020                                             0.00            404.20                 0.00         404.20               0.00              0.00                0.00          33
                                                 Customer MCOM Totals:                0.00            404.20                 0.00         404.20               0.00              0.00                    0.00

MCOR           Municipio de Corozal                                Contact:                                              Phone:     787-859-3060                              Credit Limit:                       0.00
  5/23/2016    1007400-IN       5/23/2016                                             0.00            570.98                 0.00             0.00             0.00              0.00              570.98        1,408
  12/5/2016    1007700-IN       12/5/2016                                             0.00          5,975.88                 0.00             0.00             0.00              0.00            5,975.88        1,212
  8/29/2018    1008658-IN       8/29/2018                                             0.00            169.00                 0.00             0.00             0.00              0.00              169.00          580
                                                 Customer MCOR Totals:                0.00          6,715.86                 0.00             0.00             0.00              0.00             6,715.86

MEDEX          Medical Express Rental Equipme                      Contact:                                              Phone:     787-762-7558                              Credit Limit:                       0.00
  9/3/2013     0009683-IN       9/3/2013                                              0.00             20.10              0.00              0.00               0.00              0.00               20.10        2,401
  10/3/2016    0015243-IN       10/3/2016                                             0.00             49.98              0.00              0.00               0.00              0.00               49.98        1,275
  9/3/2019     0024203-IN       9/3/2019                                              0.00             74.97              0.00              0.00               0.00              0.00               74.97          210
  2/4/2020     0025808-IN       2/4/2020                                              0.00             74.97              0.00             74.97               0.00              0.00                0.00           56
  3/3/2020     0026144-IN       3/3/2020                                              0.00             74.97             74.97              0.00               0.00              0.00                0.00           28
                                                Customer MEDEX Totals:                0.00            294.99             74.97             74.97               0.00              0.00               145.05

MEDIPR         Medispec Puerto Rico Inc                            Contact:   Rodrigo Guerrero                           Phone:     787-545-5070                              Credit Limit:                       0.00
  12/4/2019    0025151-IN       12/4/2019                                             0.00             24.99              0.00              0.00            0.00              24.99                  0.00         118
  1/9/2020     0025477-IN       1/9/2020                                              0.00             24.99              0.00              0.00           24.99               0.00                  0.00          82
  2/4/2020     0025809-IN       2/4/2020                                              0.00             24.99              0.00             24.99            0.00               0.00                  0.00          56
  3/3/2020     0026145-IN       3/3/2020                                              0.00             24.99             24.99              0.00            0.00               0.00                  0.00          28
                                               Customer MEDIPR Totals:                0.00             99.96             24.99             24.99           24.99              24.99                      0.00

MEDTRAN        Medical Transport Ambulance                         Contact:                                              Phone:     (787) 258-3966                            Credit Limit:                       0.00
  6/4/2019     0023261-IN       6/4/2019                                              0.00            672.45                 0.00             0.00             0.00              0.00              672.45         301
  6/4/2019     0023262-IN       6/4/2019                                              0.00            522.50                 0.00             0.00             0.00              0.00              522.50         301
  10/3/2019    0024520-IN       10/3/2019                                             0.00            149.95                 0.00             0.00             0.00              0.00              149.95         180

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                                Page: 21
  A/R Date: 4/7/2020                                                                                                                                                                             User Logon: laura
          Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                        Desc: Main
Sorted by Customer Number           Document Page 43 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                     Skytec, Inc. (ST2)

Customer/      Invoice                       Due Dates          Job              Discount                                                                                                                   Days
Invoice Date   Number              Invoice           Discount   Number           Amount           Balance        Current          30 Days          60 Days          90 Days               120 Days          Delq


  11/5/2019    0024836-IN          11/5/2019                                             0.00          149.95           0.00                0.00          0.00            0.00                 149.95        147
  12/4/2019    0025152-IN          12/4/2019                                             0.00          149.95           0.00                0.00          0.00          149.95                   0.00        118
  1/9/2020     0025478-IN          1/9/2020                                              0.00          149.95           0.00                0.00        149.95            0.00                   0.00         82
  3/3/2020     0026146-IN          3/3/2020                                              0.00          149.95         149.95                0.00          0.00            0.00                   0.00         28
                                                Customer MEDTRAN Totals:                 0.00        1,944.70         149.95                0.00        149.95           149.95               1,494.85

MEMETRA        Medic Medical Transport                                Contact:   Harrison Ramos                        Phone:     787-612-0911                            Credit Limit:                      0.00
  1/2/2019     0021757-IN          1/2/2019                                              0.00           99.96              0.00             0.00             0.00             0.00              99.96        454
  2/1/2019     0022049-IN          2/1/2019                                              0.00          474.81              0.00             0.00             0.00             0.00             474.81        424
  2/1/2019     0022050-IN          2/1/2019                                              0.00          520.00              0.00             0.00             0.00             0.00             520.00        424
  3/4/2019     0022346-IN          3/4/2019                                              0.00          474.81              0.00             0.00             0.00             0.00             474.81        393
  3/4/2019     0022347-IN          3/4/2019                                              0.00          520.00              0.00             0.00             0.00             0.00             520.00        393
                                                Customer MEMETRA Totals:                 0.00        2,089.58              0.00             0.00             0.00             0.00            2,089.58

MERROBA        Mercyader A Rodrígez Barrios                           Contact:                                         Phone:     787-598-6426                            Credit Limit:                      0.00
  3/3/2020     0026147-IN          3/3/2020                                              0.00           24.99          24.99                0.00             0.00             0.00               0.00         28
                                                Customer MERROBA Totals:                 0.00           24.99          24.99                0.00             0.00             0.00                   0.00

MET DES        Met Designers Group Corp                               Contact:   Grisell Reyes                         Phone:     (787) 963-9437                          Credit Limit:                      0.00
  8/5/2019     0023888-IN          8/5/2019                                              0.00           49.98           0.00              0.00            0.00             0.00                 49.98        239
  9/3/2019     0024206-IN          9/3/2019                                              0.00           49.98           0.00              0.00            0.00             0.00                 49.98        210
  10/3/2019    0024521-IN          10/3/2019                                             0.00           49.98           0.00              0.00            0.00             0.00                 49.98        180
  11/5/2019    0024837-IN          11/5/2019                                             0.00           49.98           0.00              0.00            0.00             0.00                 49.98        147
  12/4/2019    0025153-IN          12/4/2019                                             0.00           49.98           0.00              0.00            0.00            49.98                  0.00        118
  1/9/2020     0025479-IN          1/9/2020                                              0.00           49.98           0.00              0.00           49.98             0.00                  0.00         82
  2/4/2020     0025812-IN          2/4/2020                                              0.00           49.98           0.00             49.98            0.00             0.00                  0.00         56
  3/3/2020     0026148-IN          3/3/2020                                              0.00           49.98          49.98              0.00            0.00             0.00                  0.00         28
                                                 Customer MET DES Totals:                0.00          399.84          49.98             49.98           49.98            49.98                 199.92

METRO          Metro Diesel, Inc                                      Contact:                                         Phone:     787-565-0144                            Credit Limit:                      0.00
  4/4/2016     0014232-IN          4/4/2016                                              0.00          199.90              0.00             0.00             0.00             0.00             199.90       1,457
  5/3/2016     0014375-IN          5/3/2016                                              0.00          199.90              0.00             0.00             0.00             0.00             199.90       1,428
  6/3/2016     0014536-IN          6/3/2016                                              0.00          199.90              0.00             0.00             0.00             0.00             199.90       1,397
  7/4/2016     0014712-IN          7/4/2016                                              0.00          199.90              0.00             0.00             0.00             0.00             199.90       1,366
  8/3/2016     0014882-IN          8/3/2016                                              0.00          199.90              0.00             0.00             0.00             0.00             199.90       1,336
  9/2/2016     0015064-IN          9/2/2016                                              0.00          199.90              0.00             0.00             0.00             0.00             199.90       1,306
  10/3/2016    0015244-IN          10/3/2016                                             0.00          199.90              0.00             0.00             0.00             0.00             199.90       1,275
  11/1/2016    0015428-IN          11/1/2016                                             0.00          199.90              0.00             0.00             0.00             0.00             199.90       1,246
  12/1/2016    0015619-IN          12/1/2016                                             0.00          199.90              0.00             0.00             0.00             0.00             199.90       1,216
  1/5/2017     0015808-IN          1/5/2017                                              0.00          199.90              0.00             0.00             0.00             0.00             199.90       1,181
                                                   Customer METRO Totals:                0.00        1,999.00              0.00             0.00             0.00             0.00            1,999.00

MF             Municipio de Florida                                   Contact:   Ramonita Colon                        Phone:     822-3514                                Credit Limit:                      0.00
  3/3/2020     0026149-IN          3/3/2020                                              0.00          116.00         116.00                0.00             0.00             0.00               0.00         28
                                                       Customer MF Totals:               0.00          116.00         116.00                0.00             0.00             0.00                   0.00

MFS            Master Facility Services                               Contact:                                         Phone:     787-963-1900                            Credit Limit:                      0.00
  5/3/2019     0022952-IN          5/3/2019                                              0.00          244.84              0.00             0.00             0.00             0.00             244.84        333
  6/4/2019     0023263-IN          6/4/2019                                              0.00          344.84              0.00             0.00             0.00             0.00             344.84        301
  7/2/2019     0023573-IN          7/2/2019                                              0.00          344.84              0.00             0.00             0.00             0.00             344.84        273
  8/5/2019     0023889-IN          8/5/2019                                              0.00          344.84              0.00             0.00             0.00             0.00             344.84        239
  9/3/2019     0024207-IN          9/3/2019                                              0.00          344.84              0.00             0.00             0.00             0.00             344.84        210
  10/3/2019    0024522-IN          10/3/2019                                             0.00          344.84              0.00             0.00             0.00             0.00             344.84        180
                                                      Customer MFS Totals:               0.00        1,969.04              0.00             0.00             0.00             0.00            1,969.04

MG             Municipio de Gurabo                                    Contact:                                         Phone:     787-737-8411                            Credit Limit:                      0.00
  3/16/2020    3172020-PP          3/16/2020                                             0.00        1,149.00-      1,149.00-               0.00             0.00             0.00               0.00
                                                       Customer MG Totals:               0.00        1,149.00-      1,149.00-               0.00             0.00             0.00                   0.00

MGUAYA         Municipio de Guayama                                   Contact:                                         Phone:     787-864-0600                            Credit Limit:                      0.00
  12/27/2019   1009577-IN          12/27/2019                                            0.00          176.00              0.00             0.00             0.00       176.00                   0.00         95
                                                 Customer MGUAYA Totals:                 0.00          176.00              0.00             0.00             0.00        176.00                      0.00

MIMAPE         Mickey Man Petroleum Inc                               Contact:   José Cerame                           Phone:     787-288-2662                            Credit Limit:                      0.00
  2/4/2020     0025813-IN          2/4/2020                                              0.00           24.99           0.00             24.99               0.00             0.00               0.00         56
  3/3/2020     0026150-IN          3/3/2020                                              0.00           24.99          24.99              0.00               0.00             0.00               0.00         28
                                                  Customer MIMAPE Totals:                0.00           49.98          24.99             24.99               0.00             0.00                   0.00

MIRONI         Miguel A Rosario Nieves                                Contact:                                         Phone:     787-922-8713                            Credit Limit:                      0.00
  2/4/2020     0025814-IN          2/4/2020                                              0.00           24.99           0.00             24.99               0.00             0.00               0.00         56
  3/3/2020     0026151-IN          3/3/2020                                              0.00           24.99          24.99              0.00               0.00             0.00               0.00         28
                                                   Customer MIRONI Totals:               0.00           49.98          24.99             24.99               0.00             0.00                   0.00

MISCELA        Misceláneas Ideal                                      Contact:                                         Phone:     787-382-2414                            Credit Limit:                      0.00
  1/9/2020     0025611-IN          1/9/2020                                              0.00          899.64              0.00             0.00        899.64                0.00               0.00         82
                                                 Customer MISCELA Totals:                0.00          899.64              0.00             0.00        899.64                0.00                   0.00

MISTOLI        Mistolin Caribe Inc.                                   Contact:                                         Phone:     787-785-6805                            Credit Limit:                      0.00
  3/3/2020     0026152-IN          3/3/2020                                              0.00           99.96          99.96                0.00             0.00             0.00               0.00         28
                                                  Customer MISTOLI Totals:               0.00           99.96          99.96                0.00             0.00             0.00                   0.00


  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                            Page: 22
  A/R Date: 4/7/2020                                                                                                                                                                         User Logon: laura
        Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                                  Desc: Main
Sorted by Customer Number         Document Page 44 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                               Skytec, Inc. (ST2)

Customer/      Invoice                      Due Dates          Job              Discount                                                                                                                              Days
Invoice Date   Number             Invoice           Discount   Number           Amount              Balance             Current          30 Days             60 Days          90 Days               120 Days          Delq



MM             Municipio de Manatí                                   Contact:   Yahaira Lozada                                Phone:     787-854-2024                               Credit Limit:                      0.00
  11/26/2012   1005582-IN         11/26/2012                                             0.00              562.64-                0.00             0.00                0.00             0.00             562.64-
                                                      Customer MM Totals:                0.00              562.64-                0.00             0.00                0.00             0.00              562.64-

MMAY           Municipio de Mayaguez                                 Contact:   Epifanio Trabal                               Phone:     787-834-8585                               Credit Limit:                      0.00
  2/6/2019     1008902-IN         2/6/2019                                               0.00                   0.04              0.00             0.00                0.00             0.00               0.04        419
                                                   Customer MMAY Totals:                 0.00                   0.04              0.00             0.00                0.00             0.00                   0.04

MMT            Medina Medical Transport                              Contact:                                                 Phone:     787-404-2220                               Credit Limit:                      0.00
  2/1/2019     0022054-IN         2/1/2019                                               0.00               40.00              0.00                0.00                0.00          0.00                 40.00        424
  2/11/2019    0022174-IN         2/11/2019                                              0.00              429.52              0.00                0.00                0.00          0.00                429.52        414
  4/10/2019    0022769-IN         4/10/2019                                              0.00              287.38              0.00                0.00                0.00          0.00                287.38        356
  10/3/2019    0024525-IN         10/3/2019                                              0.00              522.50              0.00                0.00                0.00          0.00                522.50        180
  12/4/2019    0025158-IN         12/4/2019                                              0.00               22.50              0.00                0.00                0.00         22.50                  0.00        118
  3/3/2020     0026153-IN         3/3/2020                                               0.00              569.50            569.50                0.00                0.00          0.00                  0.00         28
                                                    Customer MMT Totals:                 0.00            1,871.40            569.50                0.00                0.00         22.50               1,279.40

MONSANT        Monsanto Isabela                                      Contact:                                                 Phone:                                                Credit Limit:                      0.00
  10/4/2017    1008130-IN         10/4/2017                                              0.00                  97.17-             0.00             0.00                0.00             0.00              97.17-
                                               Customer MONSANT Totals:                  0.00                  97.17-             0.00             0.00                0.00             0.00               97.17-

MPWB           Millenium Pure Water Bottlers                         Contact:   Eileen Benitez                                Phone:     787-748-74782                              Credit Limit:                      0.00
  1/9/2020     0025485-IN         1/9/2020                                               0.00                  74.97           0.00              0.00              74.97                0.00               0.00         82
  2/4/2020     0025817-IN         2/4/2020                                               0.00                  24.99           0.00             24.99               0.00                0.00               0.00         56
  3/3/2020     0026154-IN         3/3/2020                                               0.00                  24.99          24.99              0.00               0.00                0.00               0.00         28
                                                   Customer MPWB Totals:                 0.00              124.95             24.99             24.99              74.97                0.00                   0.00

MRD            MR Drilling                                           Contact:   Ramos                                         Phone:     787-884-4433/9449                          Credit Limit:                      0.00
  5/1/2018     0019531-IN         5/1/2018                                               0.00                  99.62              0.00             0.00                0.00             0.00              99.62        700
  6/1/2018     0019814-IN         6/1/2018                                               0.00                  99.80              0.00             0.00                0.00             0.00              99.80        669
  7/6/2018     0020081-IN         7/6/2018                                               0.00                  99.80              0.00             0.00                0.00             0.00              99.80        634
  8/2/2018     0020355-IN         8/2/2018                                               0.00                  99.80              0.00             0.00                0.00             0.00              99.80        607
  9/4/2018     0020628-IN         9/4/2018                                               0.00                  99.80              0.00             0.00                0.00             0.00              99.80        574
  10/2/2018    0020905-IN         10/2/2018                                              0.00                  99.80              0.00             0.00                0.00             0.00              99.80        546
  11/1/2018    0021186-IN         11/1/2018                                              0.00                  99.80              0.00             0.00                0.00             0.00              99.80        516
  12/4/2018    0021476-IN         12/4/2018                                              0.00                  99.80              0.00             0.00                0.00             0.00              99.80        483
  1/2/2019     0021763-IN         1/2/2019                                               0.00                  99.80              0.00             0.00                0.00             0.00              99.80        454
  2/1/2019     0022056-IN         2/1/2019                                               0.00                  99.80              0.00             0.00                0.00             0.00              99.80        424
  3/4/2019     0022353-IN         3/4/2019                                               0.00                  99.80              0.00             0.00                0.00             0.00              99.80        393
  4/1/2019     0022650-IN         4/1/2019                                               0.00                  99.80              0.00             0.00                0.00             0.00              99.80        365
  5/3/2019     0022957-IN         5/3/2019                                               0.00                  99.80              0.00             0.00                0.00             0.00              99.80        333
                                                    Customer MRD Totals:                 0.00            1,297.22                 0.00             0.00                0.00             0.00            1,297.22

MSJ            Municipio de San Juan                                 Contact:   Servicio al Cliente/Directos                  Phone:     787-480-4000                               Credit Limit:                      0.00
  1/12/2012    0006785-IN         1/12/2012                                              0.00           2,817.65                  0.00             0.00                0.00             0.00           2,817.65       3,001
  3/12/2012    0007148-IN         3/12/2012                                              0.00           2,877.60                  0.00             0.00                0.00             0.00           2,877.60       2,941
  3/12/2012    1005186-IN         3/12/2012                                              0.00          15,600.00                  0.00             0.00                0.00             0.00          15,600.00       2,941
  4/2/2012     0007390-IN         4/2/2012                                               0.00           3,202.85                  0.00             0.00                0.00             0.00           3,202.85       2,920
  4/2/2012     0007392-IN         4/2/2012                                               0.00           2,877.60                  0.00             0.00                0.00             0.00           2,877.60       2,920
  4/9/2012     1005231-IN         4/9/2012                                               0.00           3,310.00                  0.00             0.00                0.00             0.00           3,310.00       2,913
  5/1/2012     0007391-IN         5/1/2012                                               0.00           3,202.85                  0.00             0.00                0.00             0.00           3,202.85       2,891
  5/1/2012     0007393-IN         5/1/2012                                               0.00           2,997.50                  0.00             0.00                0.00             0.00           2,997.50       2,891
  6/4/2012     0007521-IN         6/4/2012                                               0.00           2,997.50                  0.00             0.00                0.00             0.00           2,997.50       2,857
  6/4/2012     0007522-IN         6/4/2012                                               0.00           3,202.85                  0.00             0.00                0.00             0.00           3,202.85       2,857
  6/14/2012    1005346-IN         6/14/2012                                              0.00         143,139.00                  0.00             0.00                0.00             0.00         143,139.00       2,847
  7/2/2012     0008174-IN         7/2/2012                                               0.00           3,192.00                  0.00             0.00                0.00             0.00           3,192.00       2,829
  7/2/2012     0008178-IN         7/2/2012                                               0.00           3,079.48                  0.00             0.00                0.00             0.00           3,079.48       2,829
  7/11/2012    1005388-IN         7/11/2012                                              0.00             400.00                  0.00             0.00                0.00             0.00             400.00       2,820
  8/2/2012     0008175-IN         8/2/2012                                               0.00           3,192.00                  0.00             0.00                0.00             0.00           3,192.00       2,798
  8/2/2012     0008179-IN         8/2/2012                                               0.00           3,079.48                  0.00             0.00                0.00             0.00           3,079.48       2,798
  8/21/2012    1005457-CM                                                                0.00           5,530.00-                 0.00             0.00                0.00             0.00           5,530.00-
  8/31/2012    1005469-IN         8/31/2012                                              0.00           1,680.00                  0.00             0.00                0.00             0.00           1,680.00       2,769
  9/3/2012     0008180-IN         9/3/2012                                               0.00           3,079.48                  0.00             0.00                0.00             0.00           3,079.48       2,766
  9/28/2012    1005512-IN         9/28/2012                                              0.00           7,084.00                  0.00             0.00                0.00             0.00           7,084.00       2,741
  10/2/2012    0008176-IN         10/2/2012                                              0.00           3,192.00                  0.00             0.00                0.00             0.00           3,192.00       2,737
  10/2/2012    0008177-IN         10/2/2012                                              0.00           3,192.00                  0.00             0.00                0.00             0.00           3,192.00       2,737
  10/2/2012    0008181-IN         10/2/2012                                              0.00           3,079.48                  0.00             0.00                0.00             0.00           3,079.48       2,737
  10/31/2012   1005557-IN         10/31/2012                                             0.00             437.50                  0.00             0.00                0.00             0.00             437.50       2,708
  11/1/2012    0008449-IN         11/1/2012                                              0.00           3,192.00                  0.00             0.00                0.00             0.00           3,192.00       2,707
  11/1/2012    0008452-IN         11/1/2012                                              0.00           3,079.48                  0.00             0.00                0.00             0.00           3,079.48       2,707
  11/26/2012   1005578-IN         11/26/2012                                             0.00          77,350.00                  0.00             0.00                0.00             0.00          77,350.00       2,682
  12/5/2012    0008450-IN         12/5/2012                                              0.00           3,192.00                  0.00             0.00                0.00             0.00           3,192.00       2,673
  12/5/2012    0008451-IN         12/5/2012                                              0.00           3,079.48                  0.00             0.00                0.00             0.00           3,079.48       2,673
  12/6/2012    1005598-IN         12/6/2012                                              0.00             875.00                  0.00             0.00                0.00             0.00             875.00       2,672
  3/7/2013     1005711-IN         3/7/2013                                               0.00           2,319.00                  0.00             0.00                0.00             0.00           2,319.00       2,581
  5/3/2013     0009157-IN         5/3/2013                                               0.00               0.08-                 0.00             0.00                0.00             0.00               0.08-
  9/3/2013     0009685-IN         9/3/2013                                               0.00           2,747.25                  0.00             0.00                0.00             0.00           2,747.25       2,401
  9/3/2013     0009686-IN         9/3/2013                                               0.00           3,192.00                  0.00             0.00                0.00             0.00           3,192.00       2,401
  10/7/2013    1005930-IN         10/7/2013                                              0.00               0.40-                 0.00             0.00                0.00             0.00               0.40-
  8/5/2014     1006422-IN         8/5/2014                                               0.00             915.00                  0.00             0.00                0.00             0.00             915.00       2,065

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                                      Page: 23
  A/R Date: 4/7/2020                                                                                                                                                                                   User Logon: laura
        Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                  Desc: Main
Sorted by Customer Number         Document Page 45 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                               Skytec, Inc. (ST2)

Customer/      Invoice                    Due Dates          Job              Discount                                                                                                                Days
Invoice Date   Number           Invoice           Discount   Number           Amount        Balance        Current          30 Days          60 Days          90 Days               120 Days          Delq


  8/5/2014     1006424-IN       8/5/2014                                             0.00        915.00           0.00              0.00            0.00             0.00                915.00       2,065
  8/8/2014     1006444-IN       8/8/2014                                             0.00      1,995.00           0.00              0.00            0.00             0.00              1,995.00       2,062
  12/28/2015   1007179-IN       12/28/2015                                           0.00      8,500.04           0.00              0.00            0.00             0.00              8,500.04       1,555
  1/29/2016    1007225-IN       1/29/2016                                            0.00      7,340.00           0.00              0.00            0.00             0.00              7,340.00       1,523
  1/29/2016    1007226-IN       1/29/2016                                            0.00      6,960.18           0.00              0.00            0.00             0.00              6,960.18       1,523
  2/24/2016    1007269-IN       2/24/2016                                            0.00      5,439.00           0.00              0.00            0.00             0.00              5,439.00       1,497
  7/19/2016    1007472-IN       7/19/2016                                            0.00        284.00           0.00              0.00            0.00             0.00                284.00       1,351
  7/29/2016    1007494-IN       7/29/2016                                            0.00        197.00           0.00              0.00            0.00             0.00                197.00       1,341
  10/17/2016   1007613-IN       10/17/2016                                           0.00     20,908.33           0.00              0.00            0.00             0.00             20,908.33       1,261
  6/24/2019    1009186-IN       6/24/2019                                            0.00      7,775.00           0.00              0.00            0.00             0.00              7,775.00         281
  9/3/2019     0024214-IN       9/3/2019                                             0.00        946.80           0.00              0.00            0.00             0.00                946.80         210
  9/11/2019    1009372-IN       9/11/2019                                            0.00      7,312.00           0.00              0.00            0.00             0.00              7,312.00         202
  10/3/2019    0024527-IN       10/3/2019                                            0.00      3,200.00           0.00              0.00            0.00             0.00              3,200.00         180
  10/3/2019    0024529-IN       10/3/2019                                            0.00        946.80           0.00              0.00            0.00             0.00                946.80         180
  10/22/2019   1009461-IN       10/22/2019                                           0.00      1,250.00           0.00              0.00            0.00             0.00              1,250.00         161
  10/22/2019   1009470-IN       10/22/2019                                           0.00        750.00           0.00              0.00            0.00             0.00                750.00         161
  11/5/2019    0024843-IN       11/5/2019                                            0.00      3,200.00           0.00              0.00            0.00             0.00              3,200.00         147
  11/5/2019    0024844-IN       11/5/2019                                            0.00      9,000.00           0.00              0.00            0.00             0.00              9,000.00         147
  11/5/2019    0024845-IN       11/5/2019                                            0.00        946.80           0.00              0.00            0.00             0.00                946.80         147
  11/5/2019    1009490-IN       11/5/2019                                            0.00        750.00           0.00              0.00            0.00             0.00                750.00         147
  11/5/2019    1009491-IN       11/5/2019                                            0.00      1,250.00           0.00              0.00            0.00             0.00              1,250.00         147
  11/8/2019    1009498-IN       11/8/2019                                            0.00     32,118.45           0.00              0.00            0.00             0.00             32,118.45         144
  12/4/2019    0025160-IN       12/4/2019                                            0.00      3,200.00           0.00              0.00            0.00         3,200.00                  0.00         118
  12/4/2019    0025161-IN       12/4/2019                                            0.00      9,000.00           0.00              0.00            0.00         9,000.00                  0.00         118
  12/4/2019    0025162-IN       12/4/2019                                            0.00        946.80           0.00              0.00            0.00           946.80                  0.00         118
  12/4/2019    1009527-IN       12/4/2019                                            0.00      2,100.00           0.00              0.00            0.00         2,100.00                  0.00         118
  12/4/2019    1009537-IN       12/4/2019                                            0.00      5,764.00           0.00              0.00            0.00         5,764.00                  0.00         118
  12/4/2019    1009540-IN       12/4/2019                                            0.00        750.00           0.00              0.00            0.00           750.00                  0.00         118
  12/13/2019   1009552-IN       12/13/2019                                           0.00      2,165.00           0.00              0.00            0.00         2,165.00                  0.00         109
  1/9/2020     0025486-IN       1/9/2020                                             0.00      3,200.00           0.00              0.00        3,200.00             0.00                  0.00          82
  1/9/2020     0025487-IN       1/9/2020                                             0.00      9,000.00           0.00              0.00        9,000.00             0.00                  0.00          82
  1/9/2020     0025488-IN       1/9/2020                                             0.00        946.80           0.00              0.00          946.80             0.00                  0.00          82
  1/14/2020    1009584-IN       1/14/2020                                            0.00        750.00           0.00              0.00          750.00             0.00                  0.00          77
  1/14/2020    1009591-IN       1/14/2020                                            0.00     30,000.00           0.00              0.00       30,000.00             0.00                  0.00          77
  1/29/2020    1009608-IN       1/29/2020                                            0.00      3,150.00           0.00              0.00        3,150.00             0.00                  0.00          62
  2/4/2020     0025818-IN       2/4/2020                                             0.00      3,200.00           0.00          3,200.00            0.00             0.00                  0.00          56
  2/4/2020     0025819-IN       2/4/2020                                             0.00      9,000.00           0.00          9,000.00            0.00             0.00                  0.00          56
  2/4/2020     0025820-IN       2/4/2020                                             0.00        946.80           0.00            946.80            0.00             0.00                  0.00          56
  2/21/2020    1009646-IN       2/21/2020                                            0.00        750.00           0.00            750.00            0.00             0.00                  0.00          39
  2/27/2020    0025961-IN       2/27/2020                                            0.00      2,500.00           0.00          2,500.00            0.00             0.00                  0.00          33
  2/27/2020    0025962-IN       2/27/2020                                            0.00      1,250.00           0.00          1,250.00            0.00             0.00                  0.00          33
  2/27/2020    1009673-IN       2/27/2020                                            0.00     26,458.67           0.00         26,458.67            0.00             0.00                  0.00          33
  3/3/2020     0026155-IN       3/3/2020                                             0.00      3,200.00       3,200.00              0.00            0.00             0.00                  0.00          28
  3/3/2020     0026156-IN       3/3/2020                                             0.00      9,000.00       9,000.00              0.00            0.00             0.00                  0.00          28
  3/3/2020     0026157-IN       3/3/2020                                             0.00        946.80         946.80              0.00            0.00             0.00                  0.00          28
  3/9/2020     1009717-IN       3/9/2020                                             0.00        750.00         750.00              0.00            0.00             0.00                  0.00          22
  3/9/2020     1009719-IN       3/9/2020                                             0.00      1,250.00       1,250.00              0.00            0.00             0.00                  0.00          22
  3/17/2020    PKDH-PP          3/17/2020                                            0.00     13,450.60-     13,450.60-             0.00            0.00             0.00                  0.00
  3/17/2020    PPO12-PP         3/17/2020                                            0.00     12,583.00-     12,583.00-             0.00            0.00             0.00                  0.00
                                                   Customer MSJ Totals:              0.00    541,499.22      10,886.80-        44,105.47       47,046.80        23,925.80             437,307.95

MUG            Municipio de Guánica                                Contact:                                      Phone:     787-821-2079                            Credit Limit:                      0.00
  1/14/2020    1009587-IN       1/14/2020                                            0.00      6,791.00              0.00             0.00      6,791.00                0.00               0.00         77
                                                  Customer MUG Totals:               0.00      6,791.00              0.00             0.00      6,791.00                0.00                   0.00

MUNCABO        Municipio de Cabo Rojo                              Contact:                                      Phone:     787-851-0300                            Credit Limit:                      0.00
  6/11/2018    1008523-IN       6/11/2018                                            0.00        194.00              0.00             0.00             0.00             0.00             194.00        659
                                             Customer MUNCABO Totals:                0.00        194.00              0.00             0.00             0.00             0.00              194.00

MUNCAMU        Municipio de Camuy                                  Contact:                                      Phone:     787-898-2160                            Credit Limit:                      0.00
  5/15/2019    1009125-IN       5/15/2019                                            0.00        420.00              0.00             0.00             0.00             0.00             420.00        321
                                             Customer MUNCAMU Totals:                0.00        420.00              0.00             0.00             0.00             0.00              420.00

MUNCIDR        Municipio de Cidra                                  Contact:                                      Phone:                                             Credit Limit:                      0.00
  8/1/2017     0017227-IN       8/1/2017                                             0.00      1,620.00              0.00             0.00             0.00             0.00           1,620.00        973
  8/4/2017     1008012-IN       8/4/2017                                             0.00        371.00              0.00             0.00             0.00             0.00             371.00        970
  9/4/2017     0017469-IN       9/4/2017                                             0.00      1,620.00              0.00             0.00             0.00             0.00           1,620.00        939
  10/5/2017    0017712-IN       10/5/2017                                            0.00      1,620.00              0.00             0.00             0.00             0.00           1,620.00        908
  11/3/2017    0017960-IN       11/3/2017                                            0.00      1,620.00              0.00             0.00             0.00             0.00           1,620.00        879
  12/1/2017    0018222-IN       12/1/2017                                            0.00      1,620.00              0.00             0.00             0.00             0.00           1,620.00        851
  1/5/2018     0018476-IN       1/5/2018                                             0.00      1,620.00              0.00             0.00             0.00             0.00           1,620.00        816
  2/1/2018     0018723-IN       2/1/2018                                             0.00      1,620.00              0.00             0.00             0.00             0.00           1,620.00        789
  4/1/2018     0019252-IN       4/1/2018                                             0.00      1,620.00              0.00             0.00             0.00             0.00           1,620.00        730
  5/1/2018     0019535-IN       5/1/2018                                             0.00        120.00              0.00             0.00             0.00             0.00             120.00        700
  6/1/2018     0019818-IN       6/1/2018                                             0.00        160.00              0.00             0.00             0.00             0.00             160.00        669
                                             Customer MUNCIDR Totals:                0.00     13,611.00              0.00             0.00             0.00             0.00           13,611.00

MUNHUM         Municipio de Humacao                                Contact:                                      Phone:     787-852-3066                            Credit Limit:                      0.00
  3/4/2020     1009691-IN       3/4/2020                                             0.00      1,922.50       1,922.50                0.00             0.00             0.00               0.00         27
                                              Customer MUNHUM Totals:                0.00      1,922.50       1,922.50                0.00             0.00             0.00                   0.00


  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                      Page: 24
  A/R Date: 4/7/2020                                                                                                                                                                   User Logon: laura
        Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                            Desc: Main
Sorted by Customer Number         Document Page 46 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                           Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job             Discount                                                                                                                            Days
Invoice Date   Number            Invoice           Discount   Number          Amount              Balance        Current          30 Days             60 Days           90 Days                 120 Days          Delq



MUNJAY         Municipio de Jayuya                                 Contact:                                            Phone:     787-828-0900                                  Credit Limit:                      0.00
  2/14/2020    1009623-IN        2/14/2020                                            0.00           7,144.85              0.00       7,144.85                  0.00              0.00                 0.00         46
                                                Customer MUNJAY Totals:               0.00           7,144.85              0.00       7,144.85                  0.00              0.00                     0.00

MUNP           Municipio Ponce                                     Contact:   Eliezer Maldonado                        Phone:     (787)284-4141            Extension:   2106    Credit Limit:                      0.00
  3/29/2012    1005224-IN        3/29/2012                                            0.00             202.78           0.00              0.00               0.00                0.00                202.78       2,924
  4/30/2012    1005272-IN        4/30/2012                                            0.00           9,000.00           0.00              0.00               0.00                0.00              9,000.00       2,892
  8/7/2012     1005426-IN        8/7/2012                                             0.00           1,805.69           0.00              0.00               0.00                0.00              1,805.69       2,793
  12/29/2015   1007192-IN        12/29/2015                                           0.00             555.08           0.00              0.00               0.00                0.00                555.08       1,554
  2/11/2016    1007256-IN        2/11/2016                                            0.00             555.08           0.00              0.00               0.00                0.00                555.08       1,510
  6/27/2016    1007440-IN        6/27/2016                                            0.00           3,207.00           0.00              0.00               0.00                0.00              3,207.00       1,373
  5/23/2017    1007937-IN        5/23/2017                                            0.00             173.00           0.00              0.00               0.00                0.00                173.00       1,043
  1/5/2018     0018477-IN        1/5/2018                                             0.00              38.00           0.00              0.00               0.00                0.00                 38.00         816
  6/26/2018    1008553-IN        6/26/2018                                            0.00             190.43-          0.00              0.00               0.00                0.00                190.43-
  7/6/2018     0020085-IN        7/6/2018                                             0.00             539.00           0.00              0.00               0.00                0.00                539.00        634
  9/19/2018    1008695-IN        9/19/2018                                            0.00             675.80           0.00              0.00               0.00                0.00                675.80        559
  6/4/2019     0023273-IN        6/4/2019                                             0.00             257.00           0.00              0.00               0.00                0.00                257.00        301
  7/2/2019     0023582-IN        7/2/2019                                             0.00              32.00           0.00              0.00               0.00                0.00                 32.00        273
  7/2/2019     0023583-IN        7/2/2019                                             0.00             257.00           0.00              0.00               0.00                0.00                257.00        273
  7/10/2019    7102019-PP        7/10/2019                                            0.00             170.00-          0.00              0.00               0.00                0.00                170.00-
  8/5/2019     0023898-IN        8/5/2019                                             0.00              38.00           0.00              0.00               0.00                0.00                 38.00        239
  8/5/2019     0023899-IN        8/5/2019                                             0.00             257.00           0.00              0.00               0.00                0.00                257.00        239
  11/1/2019    0291019-PP        11/1/2019                                            0.00              20.07-          0.00              0.00               0.00                0.00                 20.07-
  12/4/2019    0025166-IN        12/4/2019                                            0.00             336.00           0.00              0.00               0.00              336.00                  0.00        118
  1/9/2020     0025490-IN        1/9/2020                                             0.00              38.00           0.00              0.00              38.00                0.00                  0.00         82
  1/9/2020     0025491-IN        1/9/2020                                             0.00             304.00           0.00              0.00             304.00                0.00                  0.00         82
  1/9/2020     0025492-IN        1/9/2020                                             0.00             336.00           0.00              0.00             336.00                0.00                  0.00         82
  2/4/2020     0025821-IN        2/4/2020                                             0.00             539.00           0.00            539.00               0.00                0.00                  0.00         56
  2/4/2020     0025822-IN        2/4/2020                                             0.00              38.00           0.00             38.00               0.00                0.00                  0.00         56
  2/4/2020     0025823-IN        2/4/2020                                             0.00             304.00           0.00            304.00               0.00                0.00                  0.00         56
  2/4/2020     0025824-IN        2/4/2020                                             0.00             336.00           0.00            336.00               0.00                0.00                  0.00         56
  3/3/2020     0026158-IN        3/3/2020                                             0.00             539.00         539.00              0.00               0.00                0.00                  0.00         28
  3/3/2020     0026159-IN        3/3/2020                                             0.00              38.00          38.00              0.00               0.00                0.00                  0.00         28
  3/3/2020     0026160-IN        3/3/2020                                             0.00             285.00         285.00              0.00               0.00                0.00                  0.00         28
  3/3/2020     0026161-IN        3/3/2020                                             0.00              19.00          19.00              0.00               0.00                0.00                  0.00         28
  3/3/2020     0026162-IN        3/3/2020                                             0.00             609.00         609.00              0.00               0.00                0.00                  0.00         28
  3/9/2020     3082020-PP        3/9/2020                                             0.00           1,092.00-      1,092.00-             0.00               0.00                0.00                  0.00
                                                  Customer MUNP Totals:               0.00          19,840.93         398.00          1,217.00             678.00              336.00              17,211.93

MUNSAL         Municipio de Salinas                                Contact:   Brenda Colón                             Phone:     787-824-3060                                  Credit Limit:                      0.00
  3/31/2016    1007324-IN        3/31/2016                                            0.00             340.00              0.00             0.00                0.00              0.00               340.00       1,461
                                               Customer MUNSAL Totals:                0.00             340.00              0.00             0.00                0.00              0.00                340.00

MUNSI          Municipio de Santa Isabel                           Contact:                                            Phone:     787-845-4040                                  Credit Limit:                      0.00
  3/23/2016    1007399-IN        3/23/2016                                            0.00             570.98              0.00             0.00                0.00              0.00               570.98       1,469
  8/12/2016    0014954-IN        8/12/2016                                            0.00             360.00              0.00             0.00                0.00              0.00               360.00       1,327
  9/2/2016     0015072-IN        9/2/2016                                             0.00              60.00              0.00             0.00                0.00              0.00                60.00       1,306
  10/3/2016    0015252-IN        10/3/2016                                            0.00              60.00              0.00             0.00                0.00              0.00                60.00       1,275
  11/1/2016    0015437-IN        11/1/2016                                            0.00              60.00              0.00             0.00                0.00              0.00                60.00       1,246
  12/1/2016    0015628-IN        12/1/2016                                            0.00              60.00              0.00             0.00                0.00              0.00                60.00       1,216
                                                 Customer MUNSI Totals:               0.00           1,170.98              0.00             0.00                0.00              0.00              1,170.98

MUNSL          Municipio de San Lorenzo                            Contact:                                            Phone:     787-736-3511                                  Credit Limit:                      0.00
  11/28/2014   1006678-IN        11/28/2014                                           0.00             795.80-          0.00              0.00               0.00                 0.00               795.80-
  10/7/2019    1009438-IN        10/7/2019                                            0.00           1,462.00           0.00              0.00               0.00                 0.00             1,462.00        176
  1/29/2020    1009603-IN        1/29/2020                                            0.00           1,976.00           0.00              0.00           1,976.00                 0.00                 0.00         62
  2/27/2020    1009676-IN        2/27/2020                                            0.00           3,682.00           0.00          3,682.00               0.00                 0.00                 0.00         33
  3/2/2020     1009684-IN        3/2/2020                                             0.00           1,976.00       1,976.00              0.00               0.00                 0.00                 0.00         29
                                                 Customer MUNSL Totals:               0.00           8,300.20       1,976.00          3,682.00           1,976.00                 0.00                666.20

MUNVILL        Municipio de Villalba                               Contact:                                            Phone:     787-847-0550/2816                             Credit Limit:                      0.00
  3/6/2020     1009706-IN        3/6/2020                                             0.00           1,748.40       1,748.40                0.00                0.00              0.00                 0.00         25
                                               Customer MUNVILL Totals:               0.00           1,748.40       1,748.40                0.00                0.00              0.00                     0.00

MUPA           Municipio de Patillas                               Contact:                                            Phone:     787-839-4120                                  Credit Limit:                      0.00
  3/9/2012     1005182-IN        3/9/2012                                             0.00           9,785.59              0.00             0.00             0.00                 0.00             9,785.59       2,944
  3/31/2014    1006114-IN        3/31/2014                                            0.00             500.00              0.00             0.00             0.00                 0.00               500.00       2,192
  1/27/2020    0012720-PP        1/27/2020                                            0.00           1,486.00-             0.00             0.00         1,486.00-                0.00                 0.00
  1/29/2020    1009605-IN        1/29/2020                                            0.00           1,486.00              0.00             0.00         1,486.00                 0.00                 0.00         62
                                                  Customer MUPA Totals:               0.00          10,285.59              0.00             0.00                0.00              0.00             10,285.59

MUTA           Municipio de Toa Alta                               Contact:   Waleska, Ana                             Phone:     787-870-1550                                  Credit Limit:                      0.00
  11/11/2016   1007669-IN        11/11/2016                                           0.00           8,113.32              0.00             0.00                0.00              0.00             8,113.32       1,236
  1/24/2017    7397B-IN          1/24/2017                                            0.00           1,800.00              0.00             0.00                0.00              0.00             1,800.00       1,162
                                                  Customer MUTA Totals:               0.00           9,913.32              0.00             0.00                0.00              0.00              9,913.32

MVB            Municipio de Vega Baja                              Contact:                                            Phone:     787-855-2500                                  Credit Limit:                      0.00
  2/24/2011    1004610-IN        2/24/2011                                            0.00              75.00              0.00             0.00                0.00              0.00                75.00       3,323
  6/1/2017     0016799-IN        6/1/2017                                             0.00             279.93              0.00             0.00                0.00              0.00               279.93       1,034
  7/6/2018     0020086-IN        7/6/2018                                             0.00             559.86              0.00             0.00                0.00              0.00               559.86         634

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                                  Page: 25
  A/R Date: 4/7/2020                                                                                                                                                                               User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                   Desc: Main
Sorted by Customer Number          Document Page 47 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                Days
Invoice Date   Number            Invoice           Discount   Number           Amount         Balance       Current          30 Days          60 Days          90 Days               120 Days          Delq


  8/2/2018     0020360-IN        8/2/2018                                              0.00        559.86          0.00             0.00             0.00            0.00                 559.86        607
  9/4/2018     0020633-IN        9/4/2018                                              0.00        559.86          0.00             0.00             0.00            0.00                 559.86        574
  12/4/2018    0021481-IN        12/4/2018                                             0.00        559.86          0.00             0.00             0.00            0.00                 559.86        483
  7/2/2019     0023585-IN        7/2/2019                                              0.00        559.86          0.00             0.00             0.00            0.00                 559.86        273
  8/5/2019     0023901-IN        8/5/2019                                              0.00        559.86          0.00             0.00             0.00            0.00                 559.86        239
  9/3/2019     0024219-IN        9/3/2019                                              0.00        559.86          0.00             0.00             0.00            0.00                 559.86        210
  10/3/2019    0024534-IN        10/3/2019                                             0.00        559.86          0.00             0.00             0.00            0.00                 559.86        180
  11/5/2019    0024850-IN        11/5/2019                                             0.00        559.86          0.00             0.00             0.00            0.00                 559.86        147
  12/4/2019    0025167-IN        12/4/2019                                             0.00        559.86          0.00             0.00             0.00          559.86                   0.00        118
  1/9/2020     0025493-IN        1/9/2020                                              0.00        559.86          0.00             0.00           559.86            0.00                   0.00         82
  2/4/2020     0025825-IN        2/4/2020                                              0.00        559.86          0.00           559.86             0.00            0.00                   0.00         56
  3/3/2020     0026163-IN        3/3/2020                                              0.00        559.86        559.86             0.00             0.00            0.00                   0.00         28
                                                    Customer MVB Totals:               0.00      7,633.11        559.86           559.86           559.86           559.86               5,393.67

MY             Municipio de Yauco                                   Contact:                                      Phone:     787-856-1274                            Credit Limit:                      0.00
  12/26/2019   1009562-IN        12/26/2019                                            0.00     33,275.90             0.00           0.00               0.00     33,275.90                  0.00         96
  2/10/2020    1009624-IN        2/10/2020                                             0.00      2,500.00             0.00       2,500.00               0.00          0.00                  0.00         50
  2/10/2020    1009625-IN        2/10/2020                                             0.00     14,045.95             0.00      14,045.95               0.00          0.00                  0.00         50
                                                     Customer MY Totals:               0.00     49,821.85             0.00      16,545.95               0.00     33,275.90                      0.00

NAMAGO         Nadja Martínez González                              Contact:                                      Phone:     787-661-8371                            Credit Limit:                      0.00
  11/1/2018    0021192-IN        11/1/2018                                             0.00         24.99             0.00             0.00             0.00             0.00              24.99        516
  12/4/2018    0021482-IN        12/4/2018                                             0.00         24.99             0.00             0.00             0.00             0.00              24.99        483
  1/2/2019     0021769-IN        1/2/2019                                              0.00         24.99             0.00             0.00             0.00             0.00              24.99        454
  2/1/2019     0022065-IN        2/1/2019                                              0.00         24.99             0.00             0.00             0.00             0.00              24.99        424
  3/4/2019     0022362-IN        3/4/2019                                              0.00         24.99             0.00             0.00             0.00             0.00              24.99        393
  4/1/2019     0022659-IN        4/1/2019                                              0.00         24.99             0.00             0.00             0.00             0.00              24.99        365
  5/3/2019     0022966-IN        5/3/2019                                              0.00         24.99             0.00             0.00             0.00             0.00              24.99        333
  6/4/2019     0023276-IN        6/4/2019                                              0.00         24.99             0.00             0.00             0.00             0.00              24.99        301
  7/2/2019     0023586-IN        7/2/2019                                              0.00         24.99             0.00             0.00             0.00             0.00              24.99        273
  8/5/2019     0023902-IN        8/5/2019                                              0.00         24.99             0.00             0.00             0.00             0.00              24.99        239
  9/3/2019     0024220-IN        9/3/2019                                              0.00         24.99             0.00             0.00             0.00             0.00              24.99        210
  10/3/2019    0024535-IN        10/3/2019                                             0.00         24.99             0.00             0.00             0.00             0.00              24.99        180
                                               Customer NAMAGO Totals:                 0.00        299.88             0.00             0.00             0.00             0.00              299.88

NECI           Neftalí Cintrón                                      Contact:                                      Phone:     787-473-0366                            Credit Limit:                      0.00
  12/4/2019    0025168-IN        12/4/2019                                             0.00        117.65          0.00             0.00             0.00          117.65                   0.00        118
  1/9/2020     0025494-IN        1/9/2020                                              0.00        239.92          0.00             0.00           239.92            0.00                   0.00         82
  2/4/2020     0025826-IN        2/4/2020                                              0.00         19.99          0.00            19.99             0.00            0.00                   0.00         56
  3/3/2020     0026164-IN        3/3/2020                                              0.00         19.99         19.99             0.00             0.00            0.00                   0.00         28
                                                   Customer NECI Totals:               0.00        397.55         19.99            19.99           239.92           117.65                      0.00

NEPTUNO        Neptuno Media                                        Contact:                                      Phone:     787-774-0018                            Credit Limit:                      0.00
  4/24/2019    1009090-IN        4/24/2019                                             0.00        239.37             0.00             0.00             0.00         0.00                 239.37        342
  4/24/2019    1009095-IN        4/24/2019                                             0.00      5,225.00             0.00             0.00             0.00         0.00               5,225.00        342
  9/11/2019    1009368-IN        9/11/2019                                             0.00      3,260.40             0.00             0.00             0.00         0.00               3,260.40        202
  9/18/2019    1009392-IN        9/18/2019                                             0.00     53,059.30             0.00             0.00             0.00         0.00              53,059.30        195
  10/4/2019    1009419-IN        10/4/2019                                             0.00      6,989.56             0.00             0.00             0.00         0.00               6,989.56        179
  10/7/2019    1009441-IN        10/7/2019                                             0.00        714.99             0.00             0.00             0.00         0.00                 714.99        176
  10/7/2019    1009448-IN        10/7/2019                                             0.00        620.36             0.00             0.00             0.00         0.00                 620.36        176
  12/31/2019   1009582-IN        12/31/2019                                            0.00        501.20             0.00             0.00             0.00       501.20                   0.00         91
                                              Customer NEPTUNO Totals:                 0.00     70,610.18             0.00             0.00             0.00        501.20              70,108.98

NEVAMB         Nevárez Ambulance                                    Contact:                                      Phone:     787-802-2727                            Credit Limit:                      0.00
  7/2/2019     0023588-IN        7/2/2019                                              0.00        167.50          0.00             0.00             0.00            0.00                 167.50        273
  8/5/2019     0023904-IN        8/5/2019                                              0.00        522.50          0.00             0.00             0.00            0.00                 522.50        239
  9/3/2019     0024222-IN        9/3/2019                                              0.00        522.50          0.00             0.00             0.00            0.00                 522.50        210
  10/3/2019    0024537-IN        10/3/2019                                             0.00        522.50          0.00             0.00             0.00            0.00                 522.50        180
  11/5/2019    0024852-IN        11/5/2019                                             0.00        522.50          0.00             0.00             0.00            0.00                 522.50        147
  12/4/2019    0025169-IN        12/4/2019                                             0.00        522.50          0.00             0.00             0.00          522.50                   0.00        118
  1/9/2020     0025495-IN        1/9/2020                                              0.00        522.50          0.00             0.00           522.50            0.00                   0.00         82
  2/4/2020     0025827-IN        2/4/2020                                              0.00        522.50          0.00           522.50             0.00            0.00                   0.00         56
  3/3/2020     0026165-IN        3/3/2020                                              0.00        522.50        522.50             0.00             0.00            0.00                   0.00         28
                                               Customer NEVAMB Totals:                 0.00      4,347.50        522.50           522.50           522.50           522.50               2,257.50

NEWCOM         Newcom International Inc                             Contact:   Dora Mejías                        Phone:     305-627-6000                            Credit Limit:                      0.00
  3/2/2020     1009687-IN        3/2/2020                                              0.00      1,384.63      1,384.63                0.00             0.00             0.00               0.00         29
                                              Customer NEWCOM Totals:                  0.00      1,384.63      1,384.63                0.00             0.00             0.00                   0.00

NIBA           NIBA International                                   Contact:                                      Phone:     787-523-2386                            Credit Limit:                      0.00
  2/4/2020     0025828-IN        2/4/2020                                              0.00        224.91          0.00           224.91                0.00             0.00               0.00         56
  3/3/2020     0026166-IN        3/3/2020                                              0.00        224.91        224.91             0.00                0.00             0.00               0.00         28
                                                   Customer NIBA Totals:               0.00        449.82        224.91           224.91                0.00             0.00                   0.00

NILODI         Nicolás López Díaz                                   Contact:                                      Phone:     787-448-0911                            Credit Limit:                      0.00
  9/3/2019     0024224-IN        9/3/2019                                              0.00         25.05          0.00             0.00             0.00                0.00              25.05        210
  1/9/2020     0025497-IN        1/9/2020                                              0.00         29.99          0.00             0.00            29.99                0.00               0.00         82
  2/4/2020     0025829-IN        2/4/2020                                              0.00        119.96          0.00           119.96             0.00                0.00               0.00         56
  2/4/2020     0025946-IN        2/4/2020                                              0.00        225.00          0.00           225.00             0.00                0.00               0.00         56
  3/3/2020     0026167-IN        3/3/2020                                              0.00         29.99         29.99             0.00             0.00                0.00               0.00         28


  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                       Page: 26
  A/R Date: 4/7/2020                                                                                                                                                                    User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                        Desc: Main
Sorted by Customer Number          Document Page 48 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                     Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                     Days
Invoice Date   Number            Invoice           Discount   Number           Amount            Balance        Current          30 Days          60 Days           90 Days               120 Days          Delq


                                                 Customer NILODI Totals:                 0.00         429.99          29.99           344.96            29.99                 0.00               25.05

NINE           Nilsa Negrón                                         Contact:                                          Phone:     787-547-3205                             Credit Limit:                      0.00
  7/3/2017     0017009-IN        7/3/2017                                                0.00          24.99              0.00             0.00             0.00              0.00              24.99       1,002
  8/1/2017     0017233-IN        8/1/2017                                                0.00          24.99              0.00             0.00             0.00              0.00              24.99         973
  9/4/2017     0017475-IN        9/4/2017                                                0.00          24.99              0.00             0.00             0.00              0.00              24.99         939
  10/5/2017    0017718-IN        10/5/2017                                               0.00          24.99              0.00             0.00             0.00              0.00              24.99         908
  11/3/2017    0017966-IN        11/3/2017                                               0.00          24.99              0.00             0.00             0.00              0.00              24.99         879
  12/1/2017    0018228-IN        12/1/2017                                               0.00          24.99              0.00             0.00             0.00              0.00              24.99         851
  1/5/2018     0018482-IN        1/5/2018                                                0.00          24.99              0.00             0.00             0.00              0.00              24.99         816
  2/1/2018     0018730-IN        2/1/2018                                                0.00          24.99              0.00             0.00             0.00              0.00              24.99         789
  3/2/2018     0018998-IN        3/2/2018                                                0.00          24.99              0.00             0.00             0.00              0.00              24.99         760
  4/1/2018     0019260-IN        4/1/2018                                                0.00          24.99              0.00             0.00             0.00              0.00              24.99         730
                                                   Customer NINE Totals:                 0.00         249.90              0.00             0.00             0.00              0.00              249.90

NM             New Modern                                           Contact:                                          Phone:     787-752-7000                             Credit Limit:                      0.00
  8/2/2018     0020365-IN        8/2/2018                                                0.00         149.94              0.00             0.00             0.00              0.00             149.94        607
  5/3/2019     0022971-IN        5/3/2019                                                0.00         149.94              0.00             0.00             0.00              0.00             149.94        333
                                                     Customer NM Totals:                 0.00         299.88              0.00             0.00             0.00              0.00              299.88

NORTHWS        Northwestern Selecta                                 Contact:                                          Phone:     787-781-1950                             Credit Limit:                      0.00
  6/5/2017     1007956-IN        6/5/2017                                                0.00          24.89           0.00                0.00             0.00              0.00              24.89 1,030
  3/4/2019     1009003-IN        3/4/2019                                                0.00         234.98           0.00                0.00             0.00              0.00             234.98   393
  10/9/2019    0091019-PP        10/9/2019                                               0.00           9.92-          0.00                0.00             0.00              0.00               9.92-
  3/3/2020     0026169-IN        3/3/2020                                                0.00       1,506.04       1,506.04                0.00             0.00              0.00               0.00    28
                                              Customer NORTHWS Totals:                   0.00       1,755.99       1,506.04                0.00             0.00              0.00              249.95

NSES           NSES INC                                             Contact:   SPINET                                 Phone:     787-774-0828                             Credit Limit:                      0.00
  5/15/2017    1007923-IN        5/15/2017                                               0.00          12.00              0.00             0.00             0.00              0.00              12.00       1,051
                                                   Customer NSES Totals:                 0.00          12.00              0.00             0.00             0.00              0.00               12.00

NST            New Service Transport                                Contact:                                          Phone:     787-263-1986                             Credit Limit:                      0.00
  11/3/2017    0017969-IN        11/3/2017                                               0.00         156.00-          0.00             0.00                0.00              0.00             156.00-
  2/4/2020     0025832-IN        2/4/2020                                                0.00         379.81           0.00           379.81                0.00              0.00               0.00         56
  2/26/2020    1009649-IN        2/26/2020                                               0.00          19.99           0.00            19.99                0.00              0.00               0.00         34
  3/3/2020     0026170-IN        3/3/2020                                                0.00         379.81         379.81             0.00                0.00              0.00               0.00         28
                                                    Customer NST Totals:                 0.00         623.61         379.81           399.80                0.00              0.00              156.00-

NVG            San Lorenzo Vending Machines                         Contact:                                          Phone:     787-462-1423                             Credit Limit:                      0.00
  9/3/2013     0009690-IN        9/3/2013                                                0.00          14.70-             0.00             0.00             0.00              0.00              14.70-
  12/3/2013    0010126-IN        12/3/2013                                               0.00         209.93              0.00             0.00             0.00              0.00             209.93 2,310
                                                    Customer NVG Totals:                 0.00         195.23              0.00             0.00             0.00              0.00              195.23

NYROMAR        Nydia E Rodríguez Martínez                           Contact:                                          Phone:     787-762-9292                             Credit Limit:                      0.00
  8/5/2019     0023911-IN        8/5/2019                                                0.00          24.99              0.00             0.00             0.00              0.00              24.99        239
                                              Customer NYROMAR Totals:                   0.00          24.99              0.00             0.00             0.00              0.00               24.99

OASP           Ofic Asuntos Seguridad Pública                       Contact:                                          Phone:     787-763-3424                             Credit Limit:                      0.00
  9/27/2012    1006134-IN        9/27/2012                                               0.00       2,471.38              0.00             0.00             0.00              0.00           2,471.38       2,742
  11/26/2012   1006136-IN        11/26/2012                                              0.00         104.34              0.00             0.00             0.00              0.00             104.34       2,682
                                                  Customer OASP Totals:                  0.00       2,575.72              0.00             0.00             0.00              0.00            2,575.72

OFICINA        Oficina del Contralor                                Contact:                                          Phone:     787756-6500           Extension:   270   Credit Limit:                      0.00
  2/4/2020     0025834-IN        2/4/2020                                                0.00         144.95           0.00           144.95                0.00              0.00               0.00         56
  3/3/2020     0026172-IN        3/3/2020                                                0.00         249.90         249.90             0.00                0.00              0.00               0.00         28
                                                Customer OFICINA Totals:                 0.00         394.85         249.90           144.95                0.00              0.00                   0.00

OLIVER         Oliver Ambulance LLC                                 Contact:   Rubén D Olivera                        Phone:     787-453-6012                             Credit Limit:                      0.00
  2/4/2020     0025835-IN        2/4/2020                                                0.00         119.96           0.00           119.96                0.00              0.00               0.00         56
  3/3/2020     0026173-IN        3/3/2020                                                0.00         119.96         119.96             0.00                0.00              0.00               0.00         28
                                                 Customer OLIVER Totals:                 0.00         239.92         119.96           119.96                0.00              0.00                   0.00

OLMORE         Olmo Refrigeration                                   Contact:                                          Phone:     787-993-1919                             Credit Limit:                      0.00
  8/21/2017    1008052-IN        8/21/2017                                               0.00          49.98              0.00             0.00             0.00              0.00              49.98        953
  9/4/2017     0017481-IN        9/4/2017                                                0.00          49.98              0.00             0.00             0.00              0.00              49.98        939
  10/5/2017    0017724-IN        10/5/2017                                               0.00          49.98              0.00             0.00             0.00              0.00              49.98        908
  11/3/2017    0017972-IN        11/3/2017                                               0.00          49.98              0.00             0.00             0.00              0.00              49.98        879
  12/1/2017    0018234-IN        12/1/2017                                               0.00          49.98              0.00             0.00             0.00              0.00              49.98        851
  1/5/2018     0018488-IN        1/5/2018                                                0.00          49.98              0.00             0.00             0.00              0.00              49.98        816
  2/1/2018     0018736-IN        2/1/2018                                                0.00          49.98              0.00             0.00             0.00              0.00              49.98        789
                                                Customer OLMORE Totals:                  0.00         349.86              0.00             0.00             0.00              0.00              349.86

OMI            PR Wireless, LLC.-RAUL HNDZ FO                       Contact:   Morales                                Phone:     787-972-7001                             Credit Limit:                      0.00
  3/3/2020     0026174-IN        3/3/2020                                                0.00       2,205.54       2,205.54                0.00             0.00              0.00               0.00         28
                                                    Customer OMI Totals:                 0.00       2,205.54       2,205.54                0.00             0.00              0.00                   0.00

ONEGON         Oneill González                                      Contact:                                          Phone:     787-312-6682                             Credit Limit:                      0.00
  2/4/2020     0025837-IN        2/4/2020                                                0.00          24.99           0.00            24.99                0.00              0.00               0.00         56
  3/3/2020     0026175-IN        3/3/2020                                                0.00          24.99          24.99             0.00                0.00              0.00               0.00         28
                                               Customer ONEGON Totals:                   0.00          49.98          24.99            24.99                0.00              0.00                   0.00


  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                            Page: 27
  A/R Date: 4/7/2020                                                                                                                                                                         User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                      Desc: Main
Sorted by Customer Number          Document Page 49 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                   Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates           Job              Discount                                                                                                                   Days
Invoice Date   Number            Invoice           Discount    Number           Amount        Balance          Current          30 Days          60 Days          90 Days               120 Days           Delq



ORO            La Orocoveña Biscuit                                  Contact:                                        Phone:     787-867-3310                            Credit Limit:                       0.00
  11/3/2017    0017974-IN        11/3/2017                                             0.00         55.48-               0.00             0.00             0.00             0.00              55.48-
                                                     Customer ORO Totals:              0.00         55.48-               0.00             0.00             0.00             0.00               55.48-

OSESOR         Oscar E Ortíz Guzmán                                  Contact:                                        Phone:     787-717-9211                            Credit Limit:                       0.00
  3/3/2020     0026177-IN        3/3/2020                                              0.00         49.98            49.98                0.00             0.00             0.00               0.00          28
                                                 Customer OSESOR Totals:               0.00         49.98            49.98                0.00             0.00             0.00                   0.00

OSLOCAR        Osvaldo López Cartagena                               Contact:                                        Phone:     939-397-6260                            Credit Limit:                       0.00
  3/3/2020     0026178-IN        3/3/2020                                              0.00         49.98            49.98                0.00             0.00             0.00               0.00          28
                                                Customer OSLOCAR Totals:               0.00         49.98            49.98                0.00             0.00             0.00                   0.00

PACEA          Pace Analytical                                       Contact:                                        Phone:     787-892-2650                            Credit Limit:                       0.00
  1/9/2020     0025509-IN        1/9/2020                                              0.00        144.93             0.00              0.00          144.93                0.00               0.00          82
  2/4/2020     0025841-IN        2/4/2020                                              0.00        144.93             0.00            144.93            0.00                0.00               0.00          56
  3/3/2020     0026179-IN        3/3/2020                                              0.00        144.93           144.93              0.00            0.00                0.00               0.00          28
                                                  Customer PACEA Totals:               0.00        434.79           144.93            144.93          144.93                0.00                   0.00

PACHECO        PACHECO PALLETS                                       Contact:                                        Phone:     787-637-7021                            Credit Limit:                       0.00
  3/3/2020     0026180-IN        3/3/2020                                              0.00        179.91           179.91                0.00             0.00             0.00               0.00          28
                                                Customer PACHECO Totals:               0.00        179.91           179.91                0.00             0.00             0.00                   0.00

PAX            Pax Chem                                              Contact:                                        Phone:     787-567-2436                            Credit Limit:                       0.00
  11/3/2015    0013545-IN        11/3/2015                                             0.00          0.04-            0.00              0.00            0.00                0.00               0.04-
  12/4/2019    0025185-IN        12/4/2019                                             0.00          0.10             0.00              0.00            0.00                0.10               0.00         118
  1/9/2020     0025511-IN        1/9/2020                                              0.00         24.99             0.00              0.00           24.99                0.00               0.00          82
  2/4/2020     0025843-IN        2/4/2020                                              0.00         24.99             0.00             24.99            0.00                0.00               0.00          56
  3/3/2020     0026181-IN        3/3/2020                                              0.00         24.99            24.99              0.00            0.00                0.00               0.00          28
                                                     Customer PAX Totals:              0.00         75.03            24.99             24.99           24.99                0.10                   0.04-

PEPSICO        Pepsi Cola Manufacturing                              Contact:                                        Phone:     787-739-8411                            Credit Limit:                       0.00
  8/1/2012     0007877-IN        8/1/2012                                              0.00         27.89                0.00             0.00             0.00             0.00              27.89        2,799
  9/5/2012     0008009-IN        9/5/2012                                              0.00         29.99                0.00             0.00             0.00             0.00              29.99        2,764
  2/3/2015     0012278-IN        2/3/2015                                              0.00         29.99                0.00             0.00             0.00             0.00              29.99        1,883
                                                Customer PEPSICO Totals:               0.00         87.87                0.00             0.00             0.00             0.00               87.87

PEST           Pest Master Exterminating                             Contact:                                        Phone:     787-376-1818                            Credit Limit:                       0.00
  6/1/2018     0019838-IN        6/1/2018                                              0.00         49.75                0.00             0.00             0.00             0.00              49.75         669
  7/6/2018     0020103-IN        7/6/2018                                              0.00         79.98                0.00             0.00             0.00             0.00              79.98         634
  8/2/2018     0020377-IN        8/2/2018                                              0.00         79.98                0.00             0.00             0.00             0.00              79.98         607
  9/4/2018     0020651-IN        9/4/2018                                              0.00         79.98                0.00             0.00             0.00             0.00              79.98         574
  10/2/2018    0020928-IN        10/2/2018                                             0.00         79.98                0.00             0.00             0.00             0.00              79.98         546
  11/1/2018    0021211-IN        11/1/2018                                             0.00         49.98                0.00             0.00             0.00             0.00              49.98         516
  12/4/2018    0021501-IN        12/4/2018                                             0.00         49.98                0.00             0.00             0.00             0.00              49.98         483
  1/2/2019     0021787-IN        1/2/2019                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98         454
  2/1/2019     0022083-IN        2/1/2019                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98         424
  3/4/2019     0022380-IN        3/4/2019                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98         393
  4/1/2019     0022677-IN        4/1/2019                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98         365
  5/3/2019     0022984-IN        5/3/2019                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98         333
  7/2/2019     0023604-IN        7/2/2019                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98         273
  8/5/2019     0023921-IN        8/5/2019                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98         239
  9/3/2019     0024238-IN        9/3/2019                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98         210
                                                    Customer PEST Totals:              0.00        869.47                0.00             0.00             0.00             0.00              869.47

PHABIO         Pharma-Bio Serv                                       Contact:                                        Phone:     787-278-2709                            Credit Limit:                       0.00
  11/21/2019   0201119-PP        11/21/2019                                            0.00         19.99-            0.00                0.00             0.00             0.00              19.99-
  3/3/2020     0026182-IN        3/3/2020                                              0.00         19.99            19.99                0.00             0.00             0.00               0.00          28
                                                  Customer PHABIO Totals:              0.00             0.00         19.99                0.00             0.00             0.00               19.99-

PHCS           Pre Hospital Care Solution Inc                        Contact:                                        Phone:     (787) 646-2124                          Credit Limit:                       0.00
  9/4/2014     0011577-IN        9/4/2014                                              0.00         79.98                0.00             0.00             0.00             0.00              79.98        2,035
  10/1/2014    0011720-IN        10/1/2014                                             0.00         79.98                0.00             0.00             0.00             0.00              79.98        2,008
  11/3/2014    0011861-IN        11/3/2014                                             0.00         79.98                0.00             0.00             0.00             0.00              79.98        1,975
  12/3/2014    0011999-IN        12/3/2014                                             0.00         79.98                0.00             0.00             0.00             0.00              79.98        1,945
  1/12/2015    0012140-IN        1/12/2015                                             0.00         79.98                0.00             0.00             0.00             0.00              79.98        1,905
  2/3/2015     0012280-IN        2/3/2015                                              0.00         79.98                0.00             0.00             0.00             0.00              79.98        1,883
  3/3/2015     0012416-IN        3/3/2015                                              0.00         79.98                0.00             0.00             0.00             0.00              79.98        1,855
  4/1/2015     0012557-IN        4/1/2015                                              0.00         79.98                0.00             0.00             0.00             0.00              79.98        1,826
  5/5/2015     0012695-IN        5/5/2015                                              0.00         79.98                0.00             0.00             0.00             0.00              79.98        1,792
                                                    Customer PHCS Totals:              0.00        719.82                0.00             0.00             0.00             0.00              719.82

PLHOL          PL Holdings, LLC                                      Contact:                                        Phone:     787-520-6136                            Credit Limit:                       0.00
  9/4/2018     0020653-IN        9/4/2018                                              0.00         24.99                0.00             0.00             0.00             0.00              24.99         574
                                                   Customer PLHOL Totals:              0.00         24.99                0.00             0.00             0.00             0.00               24.99

PMSER          Pereira Medical Service                               Contact:                                        Phone:     939-717-6840                            Credit Limit:                       0.00
  9/3/2019     0024240-IN        9/3/2019                                              0.00        222.50                0.00             0.00             0.00             0.00             222.50         210
  9/3/2019     0024241-IN        9/3/2019                                              0.00         49.98                0.00             0.00             0.00             0.00              49.98         210
  10/3/2019    0024554-IN        10/3/2019                                             0.00        522.50                0.00             0.00             0.00             0.00             522.50         180
  10/3/2019    0024555-IN        10/3/2019                                             0.00         49.98                0.00             0.00             0.00             0.00              49.98         180

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                          Page: 28
  A/R Date: 4/7/2020                                                                                                                                                                       User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                        Desc: Main
Sorted by Customer Number          Document Page 50 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                     Skytec, Inc. (ST2)

Customer/      Invoice                      Due Dates          Job              Discount                                                                                                                    Days
Invoice Date   Number             Invoice           Discount   Number           Amount          Balance          Current          30 Days          60 Days          90 Days               120 Days          Delq


  11/5/2019    0024870-IN         11/5/2019                                            0.00          522.50             0.00              0.00            0.00            0.00                 522.50        147
  11/5/2019    0024871-IN         11/5/2019                                            0.00           49.98             0.00              0.00            0.00            0.00                  49.98        147
  12/4/2019    0025187-IN         12/4/2019                                            0.00          522.50             0.00              0.00            0.00          522.50                   0.00        118
  12/4/2019    0025188-IN         12/4/2019                                            0.00           49.98             0.00              0.00            0.00           49.98                   0.00        118
  1/9/2020     0025513-IN         1/9/2020                                             0.00          522.50             0.00              0.00          522.50            0.00                   0.00         82
  1/9/2020     0025514-IN         1/9/2020                                             0.00           49.98             0.00              0.00           49.98            0.00                   0.00         82
  2/4/2020     0025845-IN         2/4/2020                                             0.00          522.50             0.00            522.50            0.00            0.00                   0.00         56
  2/4/2020     0025846-IN         2/4/2020                                             0.00           49.98             0.00             49.98            0.00            0.00                   0.00         56
  3/3/2020     0026183-IN         3/3/2020                                             0.00          522.50           522.50              0.00            0.00            0.00                   0.00         28
  3/3/2020     0026184-IN         3/3/2020                                             0.00           49.98            49.98              0.00            0.00            0.00                   0.00         28
                                                  Customer PMSER Totals:               0.00        3,707.36           572.48            572.48          572.48           572.48               1,417.44

PMT            PMT Service Inc.                                      Contact:                                          Phone:     787-859-3577                            Credit Limit:                      0.00
  9/4/2017     0017491-IN         9/4/2017                                             0.00           57.98             0.00              0.00            0.00             0.00                 57.98        939
  10/5/2017    0017734-IN         10/5/2017                                            0.00           57.98             0.00              0.00            0.00             0.00                 57.98        908
  2/1/2019     0022087-IN         2/1/2019                                             0.00           57.98             0.00              0.00            0.00             0.00                 57.98        424
  3/4/2019     0022384-IN         3/4/2019                                             0.00           57.98             0.00              0.00            0.00             0.00                 57.98        393
  4/1/2019     0022681-IN         4/1/2019                                             0.00           57.98             0.00              0.00            0.00             0.00                 57.98        365
  5/3/2019     0022988-IN         5/3/2019                                             0.00           57.98             0.00              0.00            0.00             0.00                 57.98        333
  6/4/2019     0023298-IN         6/4/2019                                             0.00           57.98             0.00              0.00            0.00             0.00                 57.98        301
  7/2/2019     0023608-IN         7/2/2019                                             0.00           57.98             0.00              0.00            0.00             0.00                 57.98        273
  8/5/2019     0023925-IN         8/5/2019                                             0.00           57.98             0.00              0.00            0.00             0.00                 57.98        239
  9/3/2019     0024242-IN         9/3/2019                                             0.00           57.98             0.00              0.00            0.00             0.00                 57.98        210
  10/3/2019    0024556-IN         10/3/2019                                            0.00           57.98             0.00              0.00            0.00             0.00                 57.98        180
  11/5/2019    0024872-IN         11/5/2019                                            0.00           57.98             0.00              0.00            0.00             0.00                 57.98        147
  12/4/2019    0025189-IN         12/4/2019                                            0.00           57.98             0.00              0.00            0.00            57.98                  0.00        118
  1/9/2020     0025515-IN         1/9/2020                                             0.00           57.98             0.00              0.00           57.98             0.00                  0.00         82
  2/4/2020     0025847-IN         2/4/2020                                             0.00           57.98             0.00             57.98            0.00             0.00                  0.00         56
  3/3/2020     0026185-IN         3/3/2020                                             0.00           57.98            57.98              0.00            0.00             0.00                  0.00         28
                                                     Customer PMT Totals:              0.00          927.68            57.98             57.98           57.98            57.98                 695.76

PORTOSA        Portosan Inc                                          Contact:                                          Phone:     787-257-7772                            Credit Limit:                      0.00
  2/1/2019     0022088-IN         2/1/2019                                             0.00          852.55-               0.00             0.00             0.00             0.00             852.55-
                                               Customer PORTOSA Totals:                0.00          852.55-               0.00             0.00             0.00             0.00              852.55-

POWNETL        PowerNetLine LLC                                      Contact:                                          Phone:     787-672-1488                            Credit Limit:                      0.00
  3/3/2020     0026187-IN         3/3/2020                                             0.00           49.98            49.98                0.00             0.00             0.00               0.00         28
                                               Customer POWNETL Totals:                0.00           49.98            49.98                0.00             0.00             0.00                   0.00

PRANG          PR Air National Guard                                 Contact:                                          Phone:     787-253-5238                            Credit Limit:                      0.00
  6/19/2013    1005803-IN         6/19/2013                                            0.00        2,188.00                0.00             0.00             0.00             0.00           2,188.00       2,477
                                                  Customer PRANG Totals:               0.00        2,188.00                0.00             0.00             0.00             0.00            2,188.00

PRDELIP        Puerto Rico Deli Provisions                           Contact:                                          Phone:     787-773-1998                            Credit Limit:                      0.00
  3/3/2020     0026188-IN         3/3/2020                                             0.00          184.93           184.93                0.00             0.00             0.00               0.00         28
                                                Customer PRDELIP Totals:               0.00          184.93           184.93                0.00             0.00             0.00                   0.00

PREVMAI        Preventive Maintenance                                Contact:                                          Phone:     787-754-6605                            Credit Limit:                      0.00
  4/27/2011    1004701-IN         4/27/2011                                            0.00          349.99                0.00             0.00             0.00             0.00             349.99       3,261
  3/1/2017     0016217-IN         3/1/2017                                             0.00          139.65                0.00             0.00             0.00             0.00             139.65       1,126
  6/1/2017     0016818-IN         6/1/2017                                             0.00          139.65                0.00             0.00             0.00             0.00             139.65       1,034
  7/3/2017     0017026-IN         7/3/2017                                             0.00          139.65                0.00             0.00             0.00             0.00             139.65       1,002
  8/1/2017     0017250-IN         8/1/2017                                             0.00          139.65                0.00             0.00             0.00             0.00             139.65         973
  9/4/2017     0017494-IN         9/4/2017                                             0.00          139.65                0.00             0.00             0.00             0.00             139.65         939
  10/5/2017    0017737-IN         10/5/2017                                            0.00          139.65                0.00             0.00             0.00             0.00             139.65         908
  11/3/2017    0017985-IN         11/3/2017                                            0.00          139.65                0.00             0.00             0.00             0.00             139.65         879
                                                Customer PREVMAI Totals:               0.00        1,327.54                0.00             0.00             0.00             0.00            1,327.54

PRIHEAC        Prime Health Care                                     Contact:   Mario A Ramos                          Phone:     787-238-2648                            Credit Limit:                      0.00
  3/3/2020     0026189-IN         3/3/2020                                             0.00           89.97            89.97                0.00             0.00             0.00               0.00         28
                                                Customer PRIHEAC Totals:               0.00           89.97            89.97                0.00             0.00             0.00                   0.00

PRIJAN         Prime Janitorial Services                             Contact:                                          Phone:     787-840-3942                            Credit Limit:                      0.00
  2/13/2014    1006048-IN         2/13/2014                                            0.00           76.21                0.00             0.00             0.00             0.00              76.21       2,238
  7/3/2019     1009218-IN         7/3/2019                                             0.00            8.92                0.00             0.00             0.00             0.00               8.92         272
                                                  Customer PRIJAN Totals:              0.00           85.13                0.00             0.00             0.00             0.00               85.13

PRIME          Prime Security                                        Contact:                                          Phone:     (787) 475-5432                          Credit Limit:                      0.00
  12/4/2019    0025193-IN         12/4/2019                                            0.00           49.98             0.00              0.00            0.00            49.98                  0.00        118
  1/9/2020     0025520-IN         1/9/2020                                             0.00           49.98             0.00              0.00           49.98             0.00                  0.00         82
  2/4/2020     0025852-IN         2/4/2020                                             0.00           49.98             0.00             49.98            0.00             0.00                  0.00         56
  3/3/2020     0026190-IN         3/3/2020                                             0.00           49.98            49.98              0.00            0.00             0.00                  0.00         28
                                                   Customer PRIME Totals:              0.00          199.92            49.98             49.98           49.98            49.98                      0.00

PRODEAG        Productora De Agregados Inc                           Contact:                                          Phone:     787-251-9474                            Credit Limit:                      0.00
  2/19/2020    0021920-PP         2/19/2020                                            0.00           24.99-            0.00             24.99-              0.00             0.00               0.00
  3/3/2020     0026191-IN         3/3/2020                                             0.00           24.99            24.99              0.00               0.00             0.00               0.00         28
                                               Customer PRODEAG Totals:                0.00               0.00         24.99             24.99-              0.00             0.00                   0.00

PROH           Pro Health Ambulance                                  Contact:                                          Phone:     787-212-4700                            Credit Limit:                      0.00
  2/6/2018     0018817-IN         2/6/2018                                             0.00          322.38                0.00             0.00             0.00             0.00             322.38        784

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                            Page: 29
  A/R Date: 4/7/2020                                                                                                                                                                         User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                      Desc: Main
Sorted by Customer Number          Document Page 51 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                      Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                      Days
Invoice Date   Number            Invoice           Discount   Number           Amount        Balance          Current          30 Days          60 Days           90 Days                  120 Days          Delq


  3/2/2018     0019017-IN        3/2/2018                                             0.00        520.00             0.00             0.00                0.00              0.00                520.00        760
  2/4/2020     0025854-IN        2/4/2020                                             0.00         49.98             0.00            49.98                0.00              0.00                  0.00         56
  3/3/2020     0026192-IN        3/3/2020                                             0.00        522.50           522.50             0.00                0.00              0.00                  0.00         28
                                                  Customer PROH Totals:               0.00      1,414.86           522.50            49.98                0.00              0.00                 842.38

PROMED         Promed Critical Care Corp                            Contact:                                        Phone:     787-539-2202                                Credit Limit:                      0.00
  2/4/2020     0025856-IN        2/4/2020                                             0.00         59.98             0.00            59.98                0.00              0.00                  0.00         56
  2/4/2020     0025857-IN        2/4/2020                                             0.00        522.50             0.00           522.50                0.00              0.00                  0.00         56
  3/3/2020     0026193-IN        3/3/2020                                             0.00         59.98            59.98             0.00                0.00              0.00                  0.00         28
  3/3/2020     0026194-IN        3/3/2020                                             0.00        522.50           522.50             0.00                0.00              0.00                  0.00         28
                                               Customer PROMED Totals:                0.00      1,164.96           582.48           582.48                0.00              0.00                      0.00

PROVIL         Provisiones Villafañe Inc                            Contact:                                        Phone:     787-894-5000                                Credit Limit:                      0.00
  9/3/2019     0024249-IN        9/3/2019                                             0.00         99.95                0.00             0.00             0.00              0.00                 99.95        210
                                                Customer PROVIL Totals:               0.00         99.95                0.00             0.00             0.00              0.00                  99.95

PRPR           Puerto Rico Pallet Recycling                         Contact:                                        Phone:     787-270-2198                                Credit Limit:                      0.00
  3/3/2020     0026196-IN        3/3/2020                                             0.00         74.97-           74.97-               0.00             0.00              0.00                  0.00
                                                  Customer PRPR Totals:               0.00         74.97-           74.97-               0.00             0.00              0.00                      0.00

PRS            Puerto Rico Supplies                                 Contact:                                        Phone:     787-780-4043          Extension:   276      Credit Limit:                      0.00
  3/3/2020     0026197-IN        3/3/2020                                             0.00        595.83           595.83                0.00             0.00              0.00                  0.00         28
                                                    Customer PRS Totals:              0.00        595.83           595.83                0.00             0.00              0.00                      0.00

PRSTAR         PR Star Logistic LLC                                 Contact:                                        Phone:     787-619-9162                                Credit Limit:                      0.00
  2/4/2020     0025861-IN        2/4/2020                                             0.00         49.98             0.00            49.98                0.00              0.00                  0.00         56
  3/3/2020     0026198-IN        3/3/2020                                             0.00         49.98            49.98             0.00                0.00              0.00                  0.00         28
                                                Customer PRSTAR Totals:               0.00         99.96            49.98            49.98                0.00              0.00                      0.00

PUEBLO         Pueblo Inc.                                          Contact:                                        Phone:     787-757-3131                                Credit Limit:                      0.00
  3/2/2018     0019020-IN        3/2/2018                                             0.00         37.19             0.00                0.00             0.00              0.00                 37.19        760
  3/3/2020     0026199-IN        3/3/2020                                             0.00         69.98            69.98                0.00             0.00              0.00                  0.00         28
                                                Customer PUEBLO Totals:               0.00        107.17            69.98                0.00             0.00              0.00                  37.19

QUALITY        Quality Care Ambulance                               Contact:                                        Phone:     787-507-3564                                Credit Limit:                      0.00
  3/3/2020     0026200-IN        3/3/2020                                             0.00         89.97            89.97                0.00             0.00              0.00                  0.00         28
                                               Customer QUALITY Totals:               0.00         89.97            89.97                0.00             0.00              0.00                      0.00

QUINGRI        Quintero Group/United Emergecy                       Contact:                                        Phone:     787-730-8666                                Credit Limit:                      0.00
  12/4/2019    0025204-IN        12/4/2019                                            0.00      1,906.07             0.00              0.00            0.00             1,906.07                  0.00        118
  12/9/2019    0025283-IN        12/9/2019                                            0.00        282.15             0.00              0.00            0.00               282.15                  0.00        113
  1/9/2020     0025532-IN        1/9/2020                                             0.00      2,391.92             0.00              0.00        2,391.92                 0.00                  0.00         82
  1/14/2020    0025622-IN        1/14/2020                                            0.00        220.50             0.00              0.00          220.50                 0.00                  0.00         77
  2/4/2020     0025864-IN        2/4/2020                                             0.00      2,752.17             0.00          2,752.17            0.00                 0.00                  0.00         56
  3/3/2020     0026201-IN        3/3/2020                                             0.00      2,916.42         2,916.42              0.00            0.00                 0.00                  0.00         28
  3/31/2020    0026281-IN        3/31/2020                                            0.00        360.00-          360.00-             0.00            0.00                 0.00                  0.00
                                               Customer QUINGRI Totals:               0.00     10,109.23         2,556.42          2,752.17        2,612.42             2,188.22                      0.00

RACAN          Ramón Canela Inc.                                    Contact:                                        Phone:     787-752-6975                                Credit Limit:                      0.00
  1/5/2018     0018507-IN        1/5/2018                                             0.00         39.98                0.00             0.00             0.00              0.00                 39.98        816
  2/2/2018     0018568-IN        2/2/2018                                             0.00        103.33                0.00             0.00             0.00              0.00                103.33        788
                                                 Customer RACAN Totals:               0.00        143.31                0.00             0.00             0.00              0.00                 143.31

RACARAZ        Rafael Carazo                                        Contact:                                        Phone:     787-708-1094                                Credit Limit:                      0.00
  9/3/2019     0024255-IN        9/3/2019                                             0.00         24.99                0.00             0.00             0.00              0.00                 24.99        210
                                              Customer RACARAZ Totals:                0.00         24.99                0.00             0.00             0.00              0.00                  24.99

RADTHE         Radiation Theraphy Cancer Cent                       Contact:                                        Phone:     787-771-7396                                Credit Limit:                      0.00
  2/7/2019     1008944-IN        2/7/2019                                             0.00         38.42                0.00             0.00             0.00             0.00                  38.42        418
  12/4/2019    0025205-IN        12/4/2019                                            0.00         24.99                0.00             0.00             0.00            24.99                   0.00        118
                                                Customer RADTHE Totals:               0.00         63.41                0.00             0.00             0.00             24.99                  38.42

RAINIER        Rainier Rivera                                       Contact:                                        Phone:     787-531-6161                                Credit Limit:                      0.00
  2/4/2020     0025866-IN        2/4/2020                                             0.00         19.99             0.00            19.99                0.00              0.00                  0.00         56
  3/3/2020     0026203-IN        3/3/2020                                             0.00         19.99            19.99             0.00                0.00              0.00                  0.00         28
                                                Customer RAINIER Totals:              0.00         39.98            19.99            19.99                0.00              0.00                      0.00

RAPRES         Rapid Response                                       Contact:                                        Phone:     787-946-1082                                Credit Limit:                      0.00
  1/9/2020     0025535-IN        1/9/2020                                             0.00         27.49             0.00             0.00            27.49                 0.00                  0.00         82
  2/4/2020     0025867-IN        2/4/2020                                             0.00        622.46             0.00           622.46             0.00                 0.00                  0.00         56
  3/3/2020     0026204-IN        3/3/2020                                             0.00        622.46           622.46             0.00             0.00                 0.00                  0.00         28
                                                Customer RAPRES Totals:               0.00      1,272.41           622.46           622.46            27.49                 0.00                      0.00

RAROTO         Ramón L Román Torres                                 Contact:                                        Phone:     787-942-1515                                Credit Limit:                      0.00
  1/9/2020     0025536-IN        1/9/2020                                             0.00         29.50             0.00             0.00            29.50                 0.00                  0.00         82
  2/4/2020     0025868-IN        2/4/2020                                             0.00         49.98             0.00            49.98             0.00                 0.00                  0.00         56
  3/3/2020     0026205-IN        3/3/2020                                             0.00         49.98            49.98             0.00             0.00                 0.00                  0.00         28
                                               Customer RAROTO Totals:                0.00        129.46            49.98            49.98            29.50                 0.00                      0.00

RAULRL         Raul Rivera Lopez                                    Contact:                                        Phone:     787-613-4184                                Credit Limit:                      0.00
  12/4/2019    0025209-IN        12/4/2019                                            0.00             9.98             0.00             0.00             0.00              9.98                  0.00        118

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                             Page: 30
  A/R Date: 4/7/2020                                                                                                                                                                          User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                            Desc: Main
Sorted by Customer Number          Document Page 52 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                           Skytec, Inc. (ST2)

Customer/      Invoice                    Due Dates          Job              Discount                                                                                                                            Days
Invoice Date   Number           Invoice           Discount   Number           Amount              Balance        Current          30 Days             60 Days           90 Days                 120 Days          Delq


  1/9/2020     0025537-IN       1/9/2020                                              0.00              49.98           0.00              0.00              49.98                 0.00                 0.00         82
  2/4/2020     0025869-IN       2/4/2020                                              0.00              49.98           0.00             49.98               0.00                 0.00                 0.00         56
  3/3/2020     0026206-IN       3/3/2020                                              0.00              49.98          49.98              0.00               0.00                 0.00                 0.00         28
                                               Customer RAULRL Totals:                0.00             159.92          49.98             49.98              49.98                 9.98                     0.00

RCIS           RC Insulation Services                              Contact:                                            Phone:     787-739-1696                                  Credit Limit:                      0.00
  11/1/2012    0008293-IN       11/1/2012                                             0.00              44.66           0.00                0.00                0.00             0.00                 44.66       2,707
  2/3/2015     0012287-IN       2/3/2015                                              0.00              99.80           0.00                0.00                0.00             0.00                 99.80       1,883
  3/3/2015     0012423-IN       3/3/2015                                              0.00             174.65           0.00                0.00                0.00             0.00                174.65       1,855
  12/3/2015    0013694-IN       12/3/2015                                             0.00             174.65           0.00                0.00                0.00             0.00                174.65       1,580
  12/28/2015   1007186-IN       12/28/2015                                            0.00              74.97           0.00                0.00                0.00             0.00                 74.97       1,555
  1/8/2016     0013831-IN       1/8/2016                                              0.00             174.65           0.00                0.00                0.00             0.00                174.65       1,544
  10/5/2017    0017748-IN       10/5/2017                                             0.00             224.55           0.00                0.00                0.00             0.00                224.55         908
  11/3/2017    0017996-IN       11/3/2017                                             0.00             224.55           0.00                0.00                0.00             0.00                224.55         879
  10/22/2018   1008752-IN       10/22/2018                                            0.00              24.99           0.00                0.00                0.00             0.00                 24.99         526
  10/3/2019    0024576-IN       10/3/2019                                             0.00             274.45           0.00                0.00                0.00             0.00                274.45         180
  10/7/2019    1009442-IN       10/7/2019                                             0.00             174.93           0.00                0.00                0.00             0.00                174.93         176
  12/9/2019    0091219-PP       12/9/2019                                             0.00             449.38-          0.00                0.00                0.00           449.38-                 0.00
  1/17/2020    1172020-PP       1/17/2020                                             0.00               0.10-          0.00                0.00                0.10-            0.00                  0.00
  3/3/2020     0026207-IN       3/3/2020                                              0.00             299.88         299.88                0.00                0.00             0.00                  0.00         28
                                                  Customer RCIS Totals:               0.00            1,517.25        299.88                0.00                0.10-          449.38-              1,666.85

RCM            Recinto Ciencias Medicas                            Contact:                                            Phone:     758-2525/548-0836        Extension:   1760    Credit Limit:                      0.00
  12/17/2019   1009553-IN       12/17/2019                                            0.00            9,096.00             0.00             0.00                0.00       9,096.00                    0.00        105
                                                  Customer RCM Totals:                0.00            9,096.00             0.00             0.00                0.00       9,096.00                        0.00

RDELM          La Rosa Del Monte                                   Contact:                                            Phone:     787-779-0009                                  Credit Limit:                      0.00
  11/3/2017    0017997-IN       11/3/2017                                             0.00               82.47             0.00             0.00                0.00              0.00                82.47        879
  1/30/2018    1008334-IN       1/30/2018                                             0.00               88.40             0.00             0.00                0.00              0.00                88.40        791
  12/4/2018    0021519-IN       12/4/2018                                             0.00            1,124.55             0.00             0.00                0.00              0.00             1,124.55        483
                                                Customer RDELM Totals:                0.00            1,295.42             0.00             0.00                0.00              0.00              1,295.42

REALLE         Real Legacy                                         Contact:   Odalys Cruz                              Phone:     787-275-8833                                  Credit Limit:                      0.00
  12/27/2017   1008279-IN       12/27/2017                                            0.00             630.20-             0.00             0.00                0.00              0.00               630.20-
                                               Customer REALLE Totals:                0.00             630.20-             0.00             0.00                0.00              0.00                630.20-

REPR           RE-PR Corp                                          Contact:                                            Phone:     787-439-0808                                  Credit Limit:                      0.00
  6/1/2017     0016831-IN       6/1/2017                                              0.00              19.99              0.00             0.00                0.00              0.00                19.99       1,034
  7/3/2017     0017039-IN       7/3/2017                                              0.00              19.99              0.00             0.00                0.00              0.00                19.99       1,002
  8/1/2017     0017264-IN       8/1/2017                                              0.00              19.99              0.00             0.00                0.00              0.00                19.99         973
  9/4/2017     0017508-IN       9/4/2017                                              0.00              19.99              0.00             0.00                0.00              0.00                19.99         939
  10/5/2017    0017750-IN       10/5/2017                                             0.00              19.99              0.00             0.00                0.00              0.00                19.99         908
  11/3/2017    0017998-IN       11/3/2017                                             0.00              19.99              0.00             0.00                0.00              0.00                19.99         879
  12/1/2017    0018259-IN       12/1/2017                                             0.00              19.99              0.00             0.00                0.00              0.00                19.99         851
  1/5/2018     0018513-IN       1/5/2018                                              0.00              19.99              0.00             0.00                0.00              0.00                19.99         816
  2/1/2018     0018760-IN       2/1/2018                                              0.00              19.99              0.00             0.00                0.00              0.00                19.99         789
  3/2/2018     0019027-IN       3/2/2018                                              0.00              19.99              0.00             0.00                0.00              0.00                19.99         760
  4/1/2018     0019291-IN       4/1/2018                                              0.00              19.99              0.00             0.00                0.00              0.00                19.99         730
  5/1/2018     0019573-IN       5/1/2018                                              0.00              19.99              0.00             0.00                0.00              0.00                19.99         700
  6/1/2018     0019856-IN       6/1/2018                                              0.00              19.99              0.00             0.00                0.00              0.00                19.99         669
  7/6/2018     0020122-IN       7/6/2018                                              0.00              19.99              0.00             0.00                0.00              0.00                19.99         634
  8/2/2018     0020396-IN       8/2/2018                                              0.00              19.99              0.00             0.00                0.00              0.00                19.99         607
  9/4/2018     0020670-IN       9/4/2018                                              0.00              19.99              0.00             0.00                0.00              0.00                19.99         574
  10/2/2018    0020946-IN       10/2/2018                                             0.00              19.99              0.00             0.00                0.00              0.00                19.99         546
                                                 Customer REPR Totals:                0.00             339.83              0.00             0.00                0.00              0.00                339.83

REROVAZ        Rey F Román Vázquez                                 Contact:                                            Phone:     787-562-3350                                  Credit Limit:                      0.00
  3/3/2020     0026208-IN       3/3/2020                                              0.00              24.99          24.99                0.00                0.00              0.00                 0.00         28
                                             Customer REROVAZ Totals:                 0.00              24.99          24.99                0.00                0.00              0.00                     0.00

RESA           Reimundo E. Santiago Díaz                           Contact:                                            Phone:     787-409-7743                                  Credit Limit:                      0.00
  2/25/2020    0025954-IN       2/25/2020                                             0.00             599.76              0.00         599.76                  0.00              0.00                 0.00         35
                                                 Customer RESA Totals:                0.00             599.76              0.00         599.76                  0.00              0.00                     0.00

RESAMB         Rescue Ambulance                                    Contact:   Anselmo Rodríguez                        Phone:     787-292-3360                                  Credit Limit:                      0.00
  10/3/2019    0024578-IN       10/3/2019                                             0.00             139.82           0.00              0.00               0.00                0.00                139.82        180
  11/5/2019    0024894-IN       11/5/2019                                             0.00             269.91           0.00              0.00               0.00                0.00                269.91        147
  12/4/2019    0025212-IN       12/4/2019                                             0.00             269.91           0.00              0.00               0.00              269.91                  0.00        118
  1/9/2020     0025540-IN       1/9/2020                                              0.00             269.91           0.00              0.00             269.91                0.00                  0.00         82
  2/4/2020     0025872-IN       2/4/2020                                              0.00             269.91           0.00            269.91               0.00                0.00                  0.00         56
  3/3/2020     0026209-IN       3/3/2020                                              0.00             269.91         269.91              0.00               0.00                0.00                  0.00         28
  3/17/2020    1009731-IN       3/17/2020                                             0.00              29.99          29.99              0.00               0.00                0.00                  0.00         14
                                              Customer RESAMB Totals:                 0.00            1,519.36        299.90            269.91             269.91              269.91                 409.73

RETOLO         Reinaldo Torres Lopez                               Contact:   Reinaldo Torres Lopez                    Phone:     (787) 319-7850                                Credit Limit:                      0.00
  11/5/2019    0024895-IN       11/5/2019                                             0.00              38.85           0.00              0.00               0.00                0.00                 38.85        147
  12/4/2019    0025213-IN       12/4/2019                                             0.00              49.98           0.00              0.00               0.00               49.98                  0.00        118
  12/17/2019   1009559-IN       12/17/2019                                            0.00             177.65           0.00              0.00               0.00              177.65                  0.00        105
  1/9/2020     0025541-IN       1/9/2020                                              0.00              49.98           0.00              0.00              49.98                0.00                  0.00         82
  2/4/2020     0025873-IN       2/4/2020                                              0.00              49.98           0.00             49.98               0.00                0.00                  0.00         56
  3/3/2020     0026210-IN       3/3/2020                                              0.00              49.98          49.98              0.00               0.00                0.00                  0.00         28

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                                  Page: 31
  A/R Date: 4/7/2020                                                                                                                                                                               User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                        Desc: Main
Sorted by Customer Number          Document Page 53 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                     Skytec, Inc. (ST2)

Customer/      Invoice                       Due Dates          Job              Discount                                                                                                                   Days
Invoice Date   Number              Invoice           Discount   Number           Amount        Balance        Current          30 Days             60 Days          90 Days               120 Days          Delq


                                                  Customer RETOLO Totals:               0.00        416.42          49.98             49.98              49.98           227.63                  38.85

RGE            RG Engineering                                         Contact:                                      Phone:     787-723-4623                               Credit Limit:                      0.00
  3/3/2020     0026211-IN          3/3/2020                                             0.00         39.99          39.99                0.00                0.00             0.00               0.00         28
                                                      Customer RGE Totals:              0.00         39.99          39.99                0.00                0.00             0.00                   0.00

RHARA          Rhandell Ramírez                                       Contact:                                      Phone:     787-399-1015                               Credit Limit:                      0.00
  1/9/2020     0025543-IN          1/9/2020                                             0.00         22.00           0.00              0.00              22.00                0.00               0.00         82
  2/4/2020     0025875-IN          2/4/2020                                             0.00         22.00           0.00             22.00               0.00                0.00               0.00         56
  3/3/2020     0026212-IN          3/3/2020                                             0.00         22.00          22.00              0.00               0.00                0.00               0.00         28
                                                   Customer RHARA Totals:               0.00         66.00          22.00             22.00              22.00                0.00                   0.00

RIAX           Riaxx Contractors                                      Contact:                                      Phone:     787-754-6420/6410                          Credit Limit:                      0.00
  6/1/2018     0019859-IN          6/1/2018                                             0.00         89.55           0.00             0.00                   0.00             0.00              89.55        669
  11/5/2019    0024898-IN          11/5/2019                                            0.00        124.95           0.00             0.00                   0.00             0.00             124.95        147
  2/4/2020     0025876-IN          2/4/2020                                             0.00        124.95           0.00           124.95                   0.00             0.00               0.00         56
  3/3/2020     0026213-IN          3/3/2020                                             0.00        124.95         124.95             0.00                   0.00             0.00               0.00         28
                                                     Customer RIAX Totals:              0.00        464.40         124.95           124.95                   0.00             0.00              214.50

RIMACO         Rimaco INC.                                            Contact:                                      Phone:                                                Credit Limit:                      0.00
  3/3/2020     0026214-IN          3/3/2020                                             0.00         74.85          74.85                0.00                0.00             0.00               0.00         28
                                                  Customer RIMACO Totals:               0.00         74.85          74.85                0.00                0.00             0.00                   0.00

RIMERO         Richard Meléndez Rodríguez                             Contact:                                      Phone:     939-732-6177                               Credit Limit:                      0.00
  3/3/2020     0026215-IN          3/3/2020                                             0.00         24.99          24.99                0.00                0.00             0.00               0.00         28
                                                  Customer RIMERO Totals:               0.00         24.99          24.99                0.00                0.00             0.00                   0.00

RIRITO         Ricardo L Rios Torres                                  Contact:                                      Phone:     787-565-9530                               Credit Limit:                      0.00
  11/5/2019    0024901-IN          11/5/2019                                            0.00         24.99           0.00              0.00               0.00             0.00                 24.99        147
  12/4/2019    0025219-IN          12/4/2019                                            0.00         24.99           0.00              0.00               0.00            24.99                  0.00        118
  1/9/2020     0025547-IN          1/9/2020                                             0.00         24.99           0.00              0.00              24.99             0.00                  0.00         82
  2/4/2020     0025879-IN          2/4/2020                                             0.00         24.99           0.00             24.99               0.00             0.00                  0.00         56
  3/3/2020     0026216-IN          3/3/2020                                             0.00         24.99          24.99              0.00               0.00             0.00                  0.00         28
                                                   Customer RIRITO Totals:              0.00        124.95          24.99             24.99              24.99            24.99                  24.99

RJNIDO         Rafael J. Nido                                         Contact:                                      Phone:     787-251-1000                               Credit Limit:                      0.00
  11/13/2014   1006666-IN          11/13/2014                                           0.00        335.04              0.00             0.00                0.00             0.00             335.04       1,965
  8/3/2015     0013132-IN          8/3/2015                                             0.00        149.94              0.00             0.00                0.00             0.00             149.94       1,702
                                                  Customer RJNIDO Totals:               0.00        484.98              0.00             0.00                0.00             0.00              484.98

RJT            RJ Towing                                              Contact:                                      Phone:     787-662-4552                               Credit Limit:                      0.00
  1/9/2020     0025548-IN          1/9/2020                                             0.00         68.83           0.00             0.00               68.83                0.00               0.00         82
  2/4/2020     0025880-IN          2/4/2020                                             0.00        199.92           0.00           199.92                0.00                0.00               0.00         56
  3/3/2020     0026217-IN          3/3/2020                                             0.00        199.92         199.92             0.00                0.00                0.00               0.00         28
                                                      Customer RJT Totals:              0.00        468.67         199.92           199.92               68.83                0.00                   0.00

RLSS           Respiratory Leasing & Sales Se                         Contact:                                      Phone:     787-604-3210                               Credit Limit:                      0.00
  9/3/2019     0090319-PP          9/3/2019                                             0.00        109.95-             0.00             0.00                0.00             0.00             109.95-
  10/29/2019   1009486-IN          10/29/2019                                           0.00         24.99              0.00             0.00                0.00             0.00              24.99        154
  11/5/2019    0024903-IN          11/5/2019                                            0.00        119.94              0.00             0.00                0.00             0.00             119.94        147
                                                     Customer RLSS Totals:              0.00         34.98              0.00             0.00                0.00             0.00               34.98

RME            Rivera Munich, Eliza & Hernand                         Contact:                                      Phone:     787-622-2323                               Credit Limit:                      0.00
  4/1/2015     0012569-IN          4/1/2015                                             0.00          0.80           0.00              0.00               0.00             0.00                  0.80       1,826
  9/3/2015     0013275-IN          9/3/2015                                             0.00         29.99           0.00              0.00               0.00             0.00                 29.99       1,671
  10/2/2015    0013419-IN          10/2/2015                                            0.00         29.99           0.00              0.00               0.00             0.00                 29.99       1,642
  11/3/2015    0013558-IN          11/3/2015                                            0.00         29.99           0.00              0.00               0.00             0.00                 29.99       1,610
  12/3/2015    0013697-IN          12/3/2015                                            0.00         29.99           0.00              0.00               0.00             0.00                 29.99       1,580
  12/14/2015   1007346-IN          12/14/2015                                           0.00        231.27           0.00              0.00               0.00             0.00                231.27       1,569
  10/5/2017    0017757-IN          10/5/2017                                            0.00         24.99           0.00              0.00               0.00             0.00                 24.99         908
  8/2/2018     0020405-IN          8/2/2018                                             0.00         24.99           0.00              0.00               0.00             0.00                 24.99         607
  12/4/2019    0025222-IN          12/4/2019                                            0.00         24.99           0.00              0.00               0.00            24.99                  0.00         118
  1/9/2020     0025550-IN          1/9/2020                                             0.00         24.99           0.00              0.00              24.99             0.00                  0.00          82
  2/4/2020     0025882-IN          2/4/2020                                             0.00         24.99           0.00             24.99               0.00             0.00                  0.00          56
  3/3/2020     0026219-IN          3/3/2020                                             0.00         24.99          24.99              0.00               0.00             0.00                  0.00          28
                                                     Customer RME Totals:               0.00        501.97          24.99             24.99              24.99            24.99                 402.01

ROBERTE        Robert G. Miller Eimen                                 Contact:                                      Phone:     787-735-8144                               Credit Limit:                      0.00
  2/1/2018     0018769-IN          2/1/2018                                             0.00        299.90-          0.00                0.00                0.00             0.00             299.90-
  3/3/2020     0026220-IN          3/3/2020                                             0.00        359.88         359.88                0.00                0.00             0.00               0.00         28
                                                Customer ROBERTE Totals:                0.00         59.98         359.88                0.00                0.00             0.00              299.90-

ROCOBU         Roanny Colón Burgos                                    Contact:                                      Phone:     787-923-9563                               Credit Limit:                      0.00
  7/21/2017    1007993-IN          7/21/2017                                            0.00         55.75              0.00             0.00                0.00             0.00              55.75        984
  9/4/2017     0017517-IN          9/4/2017                                             0.00         24.99              0.00             0.00                0.00             0.00              24.99        939
  10/5/2017    0017759-IN          10/5/2017                                            0.00         24.99              0.00             0.00                0.00             0.00              24.99        908
  11/3/2017    0018007-IN          11/3/2017                                            0.00         24.99              0.00             0.00                0.00             0.00              24.99        879
  12/1/2017    0018269-IN          12/1/2017                                            0.00         24.99              0.00             0.00                0.00             0.00              24.99        851
  1/5/2018     0018523-IN          1/5/2018                                             0.00         24.99              0.00             0.00                0.00             0.00              24.99        816
                                                 Customer ROCOBU Totals:                0.00        180.70              0.00             0.00                0.00             0.00              180.70


  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                            Page: 32
  A/R Date: 4/7/2020                                                                                                                                                                         User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                            Desc: Main
Sorted by Customer Number          Document Page 54 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                         Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                          Days
Invoice Date   Number            Invoice           Discount   Number           Amount              Balance           Current          30 Days          60 Days          90 Days               120 Days           Delq



ROMOAL         Roberto Montañez Alcázar                             Contact:                                               Phone:     787-403-2449                            Credit Limit:                       0.00
  3/3/2020     0026221-IN        3/3/2020                                              0.00              24.99             24.99                0.00             0.00             0.00               0.00          28
                                                Customer ROMOAL Totals:                0.00              24.99             24.99                0.00             0.00             0.00                   0.00

ROMOAY         Roberto Luis Morales Ayala                           Contact:                                               Phone:     787-317-8538                            Credit Limit:                       0.00
  10/3/2019    0024590-IN        10/3/2019                                             0.00              80.04              0.00             0.00             0.00             0.00                 80.04         180
  11/5/2019    0024907-IN        11/5/2019                                             0.00              99.96              0.00             0.00             0.00             0.00                 99.96         147
  12/4/2019    0025225-IN        12/4/2019                                             0.00              99.96              0.00             0.00             0.00            99.96                  0.00         118
  1/9/2020     0025553-IN        1/9/2020                                              0.00              99.96              0.00             0.00            99.96             0.00                  0.00          82
  2/4/2020     0025885-IN        2/4/2020                                              0.00              99.96              0.00            99.96             0.00             0.00                  0.00          56
  3/3/2020     0026222-IN        3/3/2020                                              0.00              99.96             99.96             0.00             0.00             0.00                  0.00          28
                                                Customer ROMOAY Totals:                0.00             579.84             99.96            99.96            99.96            99.96                 180.00

RPS            RPS Medical                                          Contact:                                               Phone:     787-854-1479                            Credit Limit:                       0.00
  6/3/2015     0012848-IN        6/3/2015                                              0.00              63.18                 0.00             0.00             0.00             0.00              63.18        1,763
                                                    Customer RPS Totals:               0.00              63.18                 0.00             0.00             0.00             0.00               63.18

RRHEAVY        RR Heavy Services, LLC                               Contact:   Ricardo Rodríguez                           Phone:     787-520-9978                            Credit Limit:                       0.00
  5/1/2018     0019585-IN        5/1/2018                                              0.00              62.81                 0.00             0.00             0.00             0.00              62.81         700
  7/6/2018     0020136-IN        7/6/2018                                              0.00             224.91                 0.00             0.00             0.00             0.00             224.91         634
  8/2/2018     0020409-IN        8/2/2018                                              0.00             224.91                 0.00             0.00             0.00             0.00             224.91         607
  9/4/2018     0020683-IN        9/4/2018                                              0.00             224.91                 0.00             0.00             0.00             0.00             224.91         574
  10/2/2018    0020959-IN        10/2/2018                                             0.00             224.91                 0.00             0.00             0.00             0.00             224.91         546
  11/1/2018    0021242-IN        11/1/2018                                             0.00             224.91                 0.00             0.00             0.00             0.00             224.91         516
  12/4/2018    0021534-IN        12/4/2018                                             0.00             224.91                 0.00             0.00             0.00             0.00             224.91         483
  1/2/2019     0021820-IN        1/2/2019                                              0.00             224.91                 0.00             0.00             0.00             0.00             224.91         454
  2/1/2019     0022116-IN        2/1/2019                                              0.00             224.91                 0.00             0.00             0.00             0.00             224.91         424
  3/4/2019     0022413-IN        3/4/2019                                              0.00             224.91                 0.00             0.00             0.00             0.00             224.91         393
  4/1/2019     0022712-IN        4/1/2019                                              0.00             224.91                 0.00             0.00             0.00             0.00             224.91         365
  5/3/2019     0023020-IN        5/3/2019                                              0.00             224.91                 0.00             0.00             0.00             0.00             224.91         333
  6/4/2019     0023330-IN        6/4/2019                                              0.00             224.91                 0.00             0.00             0.00             0.00             224.91         301
  7/2/2019     0023641-IN        7/2/2019                                              0.00             224.91                 0.00             0.00             0.00             0.00             224.91         273
  8/5/2019     0023957-IN        8/5/2019                                              0.00             224.91                 0.00             0.00             0.00             0.00             224.91         239
                                              Customer RRHEAVY Totals:                 0.00           3,211.55                 0.00             0.00             0.00             0.00            3,211.55

RSDIST         RS Distribution                                      Contact:                                               Phone:     787-922-0643                            Credit Limit:                       0.00
  9/3/2013     0009714-IN        9/3/2013                                              0.00              24.95                 0.00             0.00             0.00             0.00              24.95        2,401
                                                 Customer RSDIST Totals:               0.00              24.95                 0.00             0.00             0.00             0.00               24.95

RSOTO          Radamés Soto Bosques                                 Contact:                                               Phone:     787-896-2107                            Credit Limit:                       0.00
  10/1/2013    0009860-IN        10/1/2013                                             0.00              26.74                 0.00             0.00             0.00             0.00              26.74 2,373
  7/3/2017     0017049-IN        7/3/2017                                              0.00              29.15-                0.00             0.00             0.00             0.00              29.15-
                                                 Customer RSOTO Totals:                0.00                  2.41-             0.00             0.00             0.00             0.00                   2.41-

RTC            Radiation Therapy Cancer Insti                       Contact:                                               Phone:     787-774-5555                            Credit Limit:                       0.00
  6/4/2019     0023331-IN        6/4/2019                                              0.00             209.93-             0.00             0.00             0.00                0.00             209.93-
  1/9/2020     0025557-IN        1/9/2020                                              0.00             179.94              0.00             0.00           179.94                0.00               0.00          82
  2/4/2020     0025888-IN        2/4/2020                                              0.00             179.94              0.00           179.94             0.00                0.00               0.00          56
  3/3/2020     0026225-IN        3/3/2020                                              0.00             179.94            179.94             0.00             0.00                0.00               0.00          28
                                                    Customer RTC Totals:               0.00             329.89            179.94           179.94           179.94                0.00              209.93-

RVALU          RV Aluminum                                          Contact:   Victor Rodríguez                            Phone:     787-276-7175                            Credit Limit:                       0.00
  10/3/2019    0024595-IN        10/3/2019                                             0.00              49.98              0.00             0.00             0.00             0.00                 49.98         180
  11/5/2019    0024912-IN        11/5/2019                                             0.00              49.98              0.00             0.00             0.00             0.00                 49.98         147
  12/4/2019    0025230-IN        12/4/2019                                             0.00              49.98              0.00             0.00             0.00            49.98                  0.00         118
  1/9/2020     0025558-IN        1/9/2020                                              0.00              49.98              0.00             0.00            49.98             0.00                  0.00          82
  2/4/2020     0025889-IN        2/4/2020                                              0.00              49.98              0.00            49.98             0.00             0.00                  0.00          56
  2/17/2020    1009641-IN        2/17/2020                                             0.00              50.10              0.00            50.10             0.00             0.00                  0.00          43
  3/3/2020     0026226-IN        3/3/2020                                              0.00             249.90            249.90             0.00             0.00             0.00                  0.00          28
                                                  Customer RVALU Totals:               0.00             549.90            249.90           100.08            49.98            49.98                  99.96

SACAR          Samuel Carmona                                       Contact:                                               Phone:     787-536-8041                            Credit Limit:                       0.00
  11/5/2019    0024913-IN        11/5/2019                                             0.00              61.12              0.00             0.00             0.00             0.00                 61.12         147
  12/4/2019    0025231-IN        12/4/2019                                             0.00              99.96              0.00             0.00             0.00            99.96                  0.00         118
  1/9/2020     0025559-IN        1/9/2020                                              0.00              99.96              0.00             0.00            99.96             0.00                  0.00          82
  1/29/2020    1009597-IN        1/29/2020                                             0.00             177.65              0.00             0.00           177.65             0.00                  0.00          62
  2/4/2020     0025890-IN        2/4/2020                                              0.00              99.96              0.00            99.96             0.00             0.00                  0.00          56
  3/3/2020     0026227-IN        3/3/2020                                              0.00              99.96             99.96             0.00             0.00             0.00                  0.00          28
                                                 Customer SACAR Totals:                0.00             638.61             99.96            99.96           277.61            99.96                  61.12

SAFE           Safe Life Ambulance Inc.                             Contact:                                               Phone:     787-951-0858                            Credit Limit:                       0.00
  9/4/2018     0020687-IN        9/4/2018                                              0.00              49.98                 0.00             0.00             0.00             0.00              49.98         574
  10/2/2018    0020963-IN        10/2/2018                                             0.00              49.98                 0.00             0.00             0.00             0.00              49.98         546
  11/1/2018    0021246-IN        11/1/2018                                             0.00              49.98                 0.00             0.00             0.00             0.00              49.98         516
  12/4/2018    0021538-IN        12/4/2018                                             0.00              49.98                 0.00             0.00             0.00             0.00              49.98         483
  1/2/2019     0021824-IN        1/2/2019                                              0.00              49.98                 0.00             0.00             0.00             0.00              49.98         454
  2/1/2019     0022120-IN        2/1/2019                                              0.00              49.98                 0.00             0.00             0.00             0.00              49.98         424
  3/4/2019     0022417-IN        3/4/2019                                              0.00              49.98                 0.00             0.00             0.00             0.00              49.98         393
  4/1/2019     0022716-IN        4/1/2019                                              0.00              49.98                 0.00             0.00             0.00             0.00              49.98         365
  5/3/2019     0023024-IN        5/3/2019                                              0.00              49.98                 0.00             0.00             0.00             0.00              49.98         333

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                                Page: 33
  A/R Date: 4/7/2020                                                                                                                                                                             User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                           Desc: Main
Sorted by Customer Number          Document Page 55 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                        Skytec, Inc. (ST2)

Customer/      Invoice                       Due Dates          Job              Discount                                                                                                                      Days
Invoice Date   Number              Invoice           Discount   Number           Amount              Balance        Current          30 Days          60 Days          90 Days               120 Days          Delq


  6/4/2019     0023334-IN          6/4/2019                                              0.00              49.98              0.00             0.00             0.00             0.00              49.98        301
  7/2/2019     0023645-IN          7/2/2019                                              0.00              49.98              0.00             0.00             0.00             0.00              49.98        273
  8/5/2019     0023961-IN          8/5/2019                                              0.00              49.98              0.00             0.00             0.00             0.00              49.98        239
  9/3/2019     0024280-IN          9/3/2019                                              0.00              49.98              0.00             0.00             0.00             0.00              49.98        210
  10/3/2019    0024597-IN          10/3/2019                                             0.00              49.98              0.00             0.00             0.00             0.00              49.98        180
                                                     Customer SAFE Totals:               0.00             699.72              0.00             0.00             0.00             0.00              699.72

SAMSEG         Samuel A Segarra Rosario                               Contact:                                            Phone:     787-530-6548                            Credit Limit:                      0.00
  3/3/2020     0026228-IN          3/3/2020                                              0.00              49.98          49.98                0.00             0.00             0.00               0.00         28
  3/3/2020     1009688-IN          3/3/2020                                              0.00             164.37         164.37                0.00             0.00             0.00               0.00         28
                                                 Customer SAMSEG Totals:                 0.00             214.35         214.35                0.00             0.00             0.00                   0.00

SANADCA        Salud Natural Del Caribe                               Contact:   Eduardo Betancor                         Phone:     787-998-5808                            Credit Limit:                      0.00
  2/4/2020     0025892-IN          2/4/2020                                              0.00              49.98           0.00            49.98                0.00             0.00               0.00         56
  3/3/2020     0026229-IN          3/3/2020                                              0.00              49.98          49.98             0.00                0.00             0.00               0.00         28
                                                Customer SANADCA Totals:                 0.00              99.96          49.98            49.98                0.00             0.00                   0.00

SAVE           Save Green Corp.                                       Contact:                                            Phone:     787-790-2525                            Credit Limit:                      0.00
  3/4/2019     0022419-IN          3/4/2019                                              0.00             180.00-          0.00                0.00             0.00             0.00             180.00-
  3/3/2020     0026230-IN          3/3/2020                                              0.00             810.00         810.00                0.00             0.00             0.00               0.00         28
                                                     Customer SAVE Totals:               0.00             630.00         810.00                0.00             0.00             0.00              180.00-

SCIENZA        Scienza Lab, Inc.                                      Contact:                                            Phone:     787-278-2709                            Credit Limit:                      0.00
  5/1/2018     0019590-IN          5/1/2018                                              0.00              15.79           0.00                0.00             0.00             0.00              15.79        700
  11/1/2018    0021249-IN          11/1/2018                                             0.00              39.98           0.00                0.00             0.00             0.00              39.98        516
  7/2/2019     0023648-IN          7/2/2019                                              0.00              39.98           0.00                0.00             0.00             0.00              39.98        273
  9/3/2019     0024283-IN          9/3/2019                                              0.00              39.98           0.00                0.00             0.00             0.00              39.98        210
  3/3/2020     0026231-IN          3/3/2020                                              0.00              39.98          39.98                0.00             0.00             0.00               0.00         28
                                                 Customer SCIENZA Totals:                0.00             175.71          39.98                0.00             0.00             0.00              135.73

SDES           Super Destapes                                         Contact:                                            Phone:     787-268-6000                            Credit Limit:                      0.00
  6/4/2019     0023339-IN          6/4/2019                                              0.00              79.96              0.00             0.00             0.00             0.00              79.96        301
                                                    Customer SDES Totals:                0.00              79.96              0.00             0.00             0.00             0.00               79.96

SEALY          Sealy Mattress Company of PR                           Contact:   Enrique Caballero                        Phone:     787-769-0295                            Credit Limit:                      0.00
  12/3/2014    0012017-IN          12/3/2014                                             0.00              55.78           0.00                0.00             0.00             0.00              55.78       1,945
  5/3/2019     0023030-IN          5/3/2019                                              0.00              69.98           0.00                0.00             0.00             0.00              69.98         333
  3/3/2020     0026233-IN          3/3/2020                                              0.00              49.98          49.98                0.00             0.00             0.00               0.00          28
                                                   Customer SEALY Totals:                0.00             175.74          49.98                0.00             0.00             0.00              125.76

SECC           Superior Emergency Care, Corp                          Contact:                                            Phone:     787-297-8904                            Credit Limit:                      0.00
  12/4/2019    0025237-IN          12/4/2019                                             0.00             139.92           0.00             0.00             0.00          139.92                   0.00        118
  1/9/2020     0025566-IN          1/9/2020                                              0.00             239.92           0.00             0.00           239.92            0.00                   0.00         82
  2/4/2020     0025897-IN          2/4/2020                                              0.00             239.92           0.00           239.92             0.00            0.00                   0.00         56
  3/3/2020     0026234-IN          3/3/2020                                              0.00             239.92         239.92             0.00             0.00            0.00                   0.00         28
                                                    Customer SECC Totals:                0.00             859.68         239.92           239.92           239.92           139.92                      0.00

SEPTIX         SEPTIX                                                 Contact:                                            Phone:     787-840-9090                            Credit Limit:                      0.00
  3/3/2020     0026235-IN          3/3/2020                                              0.00             587.97         587.97                0.00             0.00             0.00               0.00         28
                                                   Customer SEPTIX Totals:               0.00             587.97         587.97                0.00             0.00             0.00                   0.00

SETAS          Setas de PR                                            Contact:                                            Phone:     787-294-6006                            Credit Limit:                      0.00
  7/6/2018     0020146-IN          7/6/2018                                              0.00              24.99           0.00             0.00                0.00             0.00              24.99        634
  2/4/2020     0025899-IN          2/4/2020                                              0.00              74.97           0.00            74.97                0.00             0.00               0.00         56
  3/3/2020     0026236-IN          3/3/2020                                              0.00              74.97          74.97             0.00                0.00             0.00               0.00         28
                                                   Customer SETAS Totals:                0.00             174.93          74.97            74.97                0.00             0.00               24.99

SHAFEB         Sharon S Febres Hernández                              Contact:                                            Phone:     787-248-1015                            Credit Limit:                      0.00
  3/3/2020     0026237-IN          3/3/2020                                              0.00              24.99          24.99                0.00             0.00             0.00               0.00         28
                                                  Customer SHAFEB Totals:                0.00              24.99          24.99                0.00             0.00             0.00                   0.00

SJDIST         San Juan Distillers LLC                                Contact:                                            Phone:     787-222-1633                            Credit Limit:                      0.00
  1/9/2020     0025569-IN          1/9/2020                                              0.00              49.98           0.00             0.00            49.98                0.00               0.00         82
  2/4/2020     0025900-IN          2/4/2020                                              0.00              49.98           0.00            49.98             0.00                0.00               0.00         56
  3/3/2020     0026238-IN          3/3/2020                                              0.00              49.98          49.98             0.00             0.00                0.00               0.00         28
                                                   Customer SJDIST Totals:               0.00             149.94          49.98            49.98            49.98                0.00                   0.00

SKS            SkyTrackers Sale                                       Contact:                                            Phone:                                             Credit Limit:                      0.00
  7/31/2015    1006955-IN          7/31/2015                                             0.00             278.75              0.00             0.00             0.00             0.00             278.75       1,705
                                                      Customer SKS Totals:               0.00             278.75              0.00             0.00             0.00             0.00              278.75

SN             Smith & Nephew                                         Contact:   jorge soto                               Phone:     787-764-5115                            Credit Limit:                      0.00
  7/1/2014     0011173-IN          7/1/2014                                              0.00             179.94              0.00             0.00             0.00             0.00             179.94       2,100
  11/3/2015    0013565-IN          11/3/2015                                             0.00             119.96              0.00             0.00             0.00             0.00             119.96       1,610
                                                       Customer SN Totals:               0.00             299.90              0.00             0.00             0.00             0.00              299.90

SOFCAM         Sofrito Campesino                                      Contact:   Lourdes Valentín                         Phone:     787-898-1165                            Credit Limit:                      0.00
  1/9/2020     0025570-IN          1/9/2020                                              0.00              79.92           0.00             0.00            79.92                0.00               0.00         82
  2/4/2020     0025901-IN          2/4/2020                                              0.00              99.96           0.00            99.96             0.00                0.00               0.00         56
  3/3/2020     0026239-IN          3/3/2020                                              0.00              99.96          99.96             0.00             0.00                0.00               0.00         28


  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                               Page: 34
  A/R Date: 4/7/2020                                                                                                                                                                            User Logon: laura
        Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                        Desc: Main
Sorted by Customer Number         Document Page 56 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                       Skytec, Inc. (ST2)

Customer/      Invoice                     Due Dates          Job              Discount                                                                                                                       Days
Invoice Date   Number           Invoice            Discount   Number           Amount            Balance        Current          30 Days          60 Days           90 Days                 120 Days          Delq


                                               Customer SOFCAM Totals:                0.00            279.84          99.96            99.96            79.92                 0.00                     0.00

SOP            Specialty Office Products                            Contact:                                          Phone:     305-342-4880                               Credit Limit:                      0.00
  10/2/2015    0013427-IN       10/2/2015                                             0.00             29.99              0.00             0.00             0.00              0.00                29.99       1,642
  11/3/2015    0013566-IN       11/3/2015                                             0.00             29.99              0.00             0.00             0.00              0.00                29.99       1,610
                                                    Customer SOP Totals:              0.00             59.98              0.00             0.00             0.00              0.00                 59.98

SOUTHWA        South West Ambulance                                 Contact:                                          Phone:     787-394-3297                               Credit Limit:                      0.00
  3/3/2020     0026240-IN       3/3/2020                                              0.00             99.96          99.96                0.00             0.00              0.00                 0.00         28
                                              Customer SOUTHWA Totals:                0.00             99.96          99.96                0.00             0.00              0.00                     0.00

SPECTRA        Specialty Training Group Inc                         Contact:   Alexandra Rodríguez                    Phone:     787-688-5712                               Credit Limit:                      0.00
  12/4/2018    0021550-IN       12/4/2018                                             0.00             13.43           0.00             0.00             0.00                0.00                 13.43        483
  12/26/2018   1008850-IN       12/26/2018                                            0.00             88.40           0.00             0.00             0.00                0.00                 88.40        461
  1/2/2019     0021836-IN       1/2/2019                                              0.00            149.94           0.00             0.00             0.00                0.00                149.94        454
  2/1/2019     0022132-IN       2/1/2019                                              0.00            149.94           0.00             0.00             0.00                0.00                149.94        424
  3/4/2019     0022429-IN       3/4/2019                                              0.00            149.94           0.00             0.00             0.00                0.00                149.94        393
  4/1/2019     0022728-IN       4/1/2019                                              0.00            149.94           0.00             0.00             0.00                0.00                149.94        365
  5/3/2019     0023036-IN       5/3/2019                                              0.00            149.94           0.00             0.00             0.00                0.00                149.94        333
  6/4/2019     0023347-IN       6/4/2019                                              0.00            149.94           0.00             0.00             0.00                0.00                149.94        301
  7/2/2019     0023658-IN       7/2/2019                                              0.00            149.94           0.00             0.00             0.00                0.00                149.94        273
  8/5/2019     0023974-IN       8/5/2019                                              0.00            149.94           0.00             0.00             0.00                0.00                149.94        239
  9/3/2019     0024293-IN       9/3/2019                                              0.00            149.94           0.00             0.00             0.00                0.00                149.94        210
  10/3/2019    0024610-IN       10/3/2019                                             0.00            149.94           0.00             0.00             0.00                0.00                149.94        180
  11/5/2019    0024925-IN       11/5/2019                                             0.00            149.94           0.00             0.00             0.00                0.00                149.94        147
  12/4/2019    0025243-IN       12/4/2019                                             0.00            149.94           0.00             0.00             0.00              149.94                  0.00        118
  1/9/2020     0025572-IN       1/9/2020                                              0.00            149.94           0.00             0.00           149.94                0.00                  0.00         82
  2/4/2020     0025903-IN       2/4/2020                                              0.00            149.94           0.00           149.94             0.00                0.00                  0.00         56
  3/3/2020     0026241-IN       3/3/2020                                              0.00            149.94         149.94             0.00             0.00                0.00                  0.00         28
                                              Customer SPECTRA Totals:                0.00           2,350.93        149.94           149.94           149.94              149.94               1,751.17

SPM            SP Management                                        Contact:                                          Phone:     787-758-6415                               Credit Limit:                      0.00
  8/30/2016    1007568-IN       8/30/2016                                             0.00            385.00           0.00             0.00             0.00                 0.00               385.00       1,309
  1/9/2020     0025573-IN       1/9/2020                                              0.00            980.00           0.00             0.00           980.00                 0.00                 0.00          82
  2/4/2020     0025904-IN       2/4/2020                                              0.00            980.00           0.00           980.00             0.00                 0.00                 0.00          56
  2/17/2020    1009629-IN       2/17/2020                                             0.00             88.83           0.00            88.83             0.00                 0.00                 0.00          43
  3/3/2020     0026242-IN       3/3/2020                                              0.00            980.00         980.00             0.00             0.00                 0.00                 0.00          28
                                                    Customer SPM Totals:              0.00           3,413.83        980.00          1,068.83          980.00                 0.00                385.00

SSS            TRIPLE SSS Propiedad                                 Contact:                                          Phone:     787-273-1110          Extension:   4720    Credit Limit:                      0.00
  8/5/2019     0023976-IN       8/5/2019                                              0.00              7.98           0.00                0.00             0.00              0.00                 7.98        239
  9/3/2019     0024295-IN       9/3/2019                                              0.00              7.98           0.00                0.00             0.00              0.00                 7.98        210
  10/3/2019    0024612-IN       10/3/2019                                             0.00              7.98           0.00                0.00             0.00              0.00                 7.98        180
  11/5/2019    0024927-IN       11/5/2019                                             0.00              7.98           0.00                0.00             0.00              0.00                 7.98        147
  12/4/2019    0025245-IN       12/4/2019                                             0.00              7.98           0.00                0.00             0.00              7.98                 0.00        118
  3/3/2020     0026243-IN       3/3/2020                                              0.00             79.80          79.80                0.00             0.00              0.00                 0.00         28
                                                    Customer SSS Totals:              0.00            119.70          79.80                0.00             0.00              7.98                 31.92

STERI          Stericycle                                           Contact:                                          Phone:     787-752-1377                               Credit Limit:                      0.00
  10/3/2019    0024613-IN       10/3/2019                                             0.00            527.79           0.00                0.00             0.00              0.00               527.79        180
  3/3/2020     0026244-IN       3/3/2020                                              0.00            569.78         569.78                0.00             0.00              0.00                 0.00         28
                                                  Customer STERI Totals:              0.00           1,097.57        569.78                0.00             0.00              0.00                527.79

STI            Sindiemar Transport Inc                              Contact:                                          Phone:     787-412-8356                               Credit Limit:                      0.00
  4/28/2016    1007364-IN       4/28/2016                                             0.00             74.97              0.00             0.00             0.00              0.00                74.97       1,433
  6/3/2016     0014580-IN       6/3/2016                                              0.00             74.97              0.00             0.00             0.00              0.00                74.97       1,397
  7/4/2016     0014758-IN       7/4/2016                                              0.00             74.97              0.00             0.00             0.00              0.00                74.97       1,366
  8/3/2016     0014929-IN       8/3/2016                                              0.00             74.97              0.00             0.00             0.00              0.00                74.97       1,336
  9/2/2016     0015114-IN       9/2/2016                                              0.00             74.97              0.00             0.00             0.00              0.00                74.97       1,306
  10/3/2016    0015294-IN       10/3/2016                                             0.00             74.97              0.00             0.00             0.00              0.00                74.97       1,275
  11/1/2016    0015481-IN       11/1/2016                                             0.00             74.97              0.00             0.00             0.00              0.00                74.97       1,246
  12/1/2016    0015672-IN       12/1/2016                                             0.00             74.97              0.00             0.00             0.00              0.00                74.97       1,216
                                                     Customer STI Totals:             0.00            599.76              0.00             0.00             0.00              0.00                599.76

STONE          Stone & Tile                                         Contact:                                          Phone:                                                Credit Limit:                      0.00
  11/1/2016    0015482-IN       11/1/2016                                             0.00             39.95           0.00             0.00                0.00              0.00                39.95       1,246
  8/2/2018     0020426-IN       8/2/2018                                              0.00             49.98           0.00             0.00                0.00              0.00                49.98         607
  2/4/2020     0025907-IN       2/4/2020                                              0.00             49.98           0.00            49.98                0.00              0.00                 0.00          56
  3/3/2020     0026245-IN       3/3/2020                                              0.00             49.98          49.98             0.00                0.00              0.00                 0.00          28
                                                 Customer STONE Totals:               0.00            189.89          49.98            49.98                0.00              0.00                 89.93

SUNCOOL        Suncool Air Conditioning                             Contact:                                          Phone:     787-791-6971                               Credit Limit:                      0.00
  1/3/2014     0010311-IN       1/3/2014                                              0.00             38.67              0.00             0.00             0.00              0.00                38.67       2,279
  9/2/2016     0015116-IN       9/2/2016                                              0.00             19.99              0.00             0.00             0.00              0.00                19.99       1,306
                                              Customer SUNCOOL Totals:                0.00             58.66              0.00             0.00             0.00              0.00                 58.66

SUNNY          Sunny Ambulance Inc                                  Contact:                                          Phone:     787-667-7753                               Credit Limit:                      0.00
  9/4/2018     0020702-IN       9/4/2018                                              0.00             40.00           0.00                0.00             0.00              0.00                40.00        574
  10/2/2018    0020978-IN       10/2/2018                                             0.00            520.00           0.00                0.00             0.00              0.00               520.00        546
  1/2/2019     0021841-IN       1/2/2019                                              0.00            520.00           0.00                0.00             0.00              0.00               520.00        454
  3/3/2020     0026246-IN       3/3/2020                                              0.00            522.50         522.50                0.00             0.00              0.00                 0.00         28

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                              Page: 35
  A/R Date: 4/7/2020                                                                                                                                                                           User Logon: laura
          Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                               Desc: Main
Sorted by Customer Number           Document Page 57 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                            Skytec, Inc. (ST2)

Customer/         Invoice                     Due Dates            Job              Discount                                                                                                                       Days
Invoice Date      Number            Invoice           Discount     Number           Amount            Balance           Current          30 Days          60 Days          90 Days               120 Days          Delq


                                                     Customer SUNNY Totals:                 0.00             1,602.50        522.50                0.00             0.00             0.00            1,080.00

SYSH              System Shred                                           Contact:                                             Phone:     787-397-8496                            Credit Limit:                      0.00
     11/1/2018    0021263-IN        11/1/2018                                               0.00               49.98           0.00             0.00                0.00             0.00              49.98        516
     12/4/2018    0021556-IN        12/4/2018                                               0.00               49.98           0.00             0.00                0.00             0.00              49.98        483
     2/4/2020     0025909-IN        2/4/2020                                                0.00               49.98           0.00            49.98                0.00             0.00               0.00         56
     3/3/2020     0026247-IN        3/3/2020                                                0.00               49.98          49.98             0.00                0.00             0.00               0.00         28
                                                       Customer SYSH Totals:                0.00              199.92          49.98            49.98                0.00             0.00               99.96

TARIRA            Taína Rivera Ramos                                     Contact:                                             Phone:     787-317-8538                            Credit Limit:                      0.00
     3/3/2020     0026248-IN        3/3/2020                                                0.00               24.99          24.99                0.00             0.00             0.00               0.00         28
                                                     Customer TARIRA Totals:                0.00               24.99          24.99                0.00             0.00             0.00                   0.00

TCSI              Trinidad Contractor Services I                         Contact:   Manuel Trinidad                           Phone:     787-273-6309                            Credit Limit:                      0.00
     10/29/2019   1009482-IN        10/29/2019                                              0.00               24.99           0.00             0.00             0.00            0.00                  24.99        154
     11/5/2019    0024933-IN        11/5/2019                                               0.00               99.96           0.00             0.00             0.00            0.00                  99.96        147
     12/4/2019    0025251-IN        12/4/2019                                               0.00              124.95           0.00             0.00             0.00          124.95                   0.00        118
     1/9/2020     0025580-IN        1/9/2020                                                0.00              124.95           0.00             0.00           124.95            0.00                   0.00         82
     2/4/2020     0025911-IN        2/4/2020                                                0.00              124.95           0.00           124.95             0.00            0.00                   0.00         56
     3/3/2020     0026249-IN        3/3/2020                                                0.00              124.95         124.95             0.00             0.00            0.00                   0.00         28
                                                       Customer TCSI Totals:                0.00              624.75         124.95           124.95           124.95           124.95                 124.95

TELCON            Telcon US                                              Contact:                                             Phone:     214-724-6978                            Credit Limit:                      0.00
     8/6/2014     1006434-IN        8/6/2014                                                0.00               50.00              0.00             0.00             0.00             0.00              50.00       2,064
                                                    Customer TELCON Totals:                 0.00               50.00              0.00             0.00             0.00             0.00               50.00

THODIA            Thomas Díaz                                            Contact:                                             Phone:     787-784-5606                            Credit Limit:                      0.00
     1/2/2019     0021845-IN        1/2/2019                                                0.00               49.98              0.00             0.00             0.00             0.00              49.98        454
                                                     Customer THODIA Totals:                0.00               49.98              0.00             0.00             0.00             0.00               49.98

THY               ThyssenKrupp Elevator Inc.                             Contact:   Gilda Reyes                               Phone:     787-708-5605                            Credit Limit:                      0.00
     11/16/2010   0005569-IN        11/16/2010                                              0.00               54.85-             0.00             0.00             0.00             0.00              54.85-
                                                        Customer THY Totals:                0.00               54.85-             0.00             0.00             0.00             0.00               54.85-

TINT              Tint Solutions Corp                                    Contact:                                             Phone:     787-705-7313                            Credit Limit:                      0.00
     3/3/2020     0026251-IN        3/3/2020                                                0.00               24.99          24.99                0.00             0.00             0.00               0.00         28
                                                        Customer TINT Totals:               0.00               24.99          24.99                0.00             0.00             0.00                   0.00

TL                Transcon Lighting System, Inc.                         Contact:                                             Phone:     787-755-2088                            Credit Limit:                      0.00
     12/4/2019    0025254-IN        12/4/2019                                               0.00               39.98           0.00             0.00             0.00            39.98                  0.00        118
     1/9/2020     0025583-IN        1/9/2020                                                0.00               39.98           0.00             0.00            39.98             0.00                  0.00         82
     2/4/2020     0025914-IN        2/4/2020                                                0.00               39.98           0.00            39.98             0.00             0.00                  0.00         56
     3/3/2020     0026252-IN        3/3/2020                                                0.00               39.98          39.98             0.00             0.00             0.00                  0.00         28
                                                          Customer TL Totals:               0.00              159.92          39.98            39.98            39.98            39.98                      0.00

TMAXX             Tire Maxx Puerto Rico LLC                              Contact:                                             Phone:     787-634-4716                            Credit Limit:                      0.00
     3/3/2020     0026253-IN        3/3/2020                                                0.00               24.99          24.99                0.00             0.00             0.00               0.00         28
                                                     Customer TMAXX Totals:                 0.00               24.99          24.99                0.00             0.00             0.00                   0.00

TOLIC             Tolic Inc.                                             Contact:                                             Phone:     787-620-2680                            Credit Limit:                      0.00
     2/4/2020     0025916-IN        2/4/2020                                                0.00               39.98           0.00            39.98                0.00             0.00               0.00         56
     3/3/2020     0026254-IN        3/3/2020                                                0.00               39.98          39.98             0.00                0.00             0.00               0.00         28
                                                      Customer TOLIC Totals:                0.00               79.96          39.98            39.98                0.00             0.00                   0.00

TOMAS             Tomás Cuerda                                           Contact:                                             Phone:     787-758-7830                            Credit Limit:                      0.00
     8/3/2016     0014935-IN        8/3/2016                                                0.00              120.96           0.00             0.00                0.00             0.00             120.96       1,336
     9/2/2016     0015121-IN        9/2/2016                                                0.00              199.92           0.00             0.00                0.00             0.00             199.92       1,306
     2/4/2020     0025917-IN        2/4/2020                                                0.00              199.92           0.00           199.92                0.00             0.00               0.00          56
     3/3/2020     0026255-IN        3/3/2020                                                0.00              199.92         199.92             0.00                0.00             0.00               0.00          28
                                                     Customer TOMAS Totals:                 0.00              720.72         199.92           199.92                0.00             0.00              320.88

TOTAL E           Total Equipment                                        Contact:                                             Phone:     787-748-0000                            Credit Limit:                      0.00
     3/3/2020     0026256-IN        3/3/2020                                                0.00              164.93         164.93                0.00             0.00             0.00               0.00         28
                                                    Customer TOTAL E Totals:                0.00              164.93         164.93                0.00             0.00             0.00                   0.00

TRANCRU           Transporte Cruz                                        Contact:   Gilberto Cruz González                    Phone:     787-429-7017                            Credit Limit:                      0.00
     11/5/2019    0024941-IN        11/5/2019                                               0.00               19.99           0.00             0.00             0.00             0.00                 19.99        147
     12/4/2019    0025259-IN        12/4/2019                                               0.00               19.99           0.00             0.00             0.00            19.99                  0.00        118
     1/9/2020     0025588-IN        1/9/2020                                                0.00               19.99           0.00             0.00            19.99             0.00                  0.00         82
     2/4/2020     0025919-IN        2/4/2020                                                0.00               19.99           0.00            19.99             0.00             0.00                  0.00         56
     3/3/2020     0026257-IN        3/3/2020                                                0.00               19.99          19.99             0.00             0.00             0.00                  0.00         28
                                                   Customer TRANCRU Totals:                 0.00               99.95          19.99            19.99            19.99            19.99                  19.99

TRANSME           Transmedic Ambulance Services                          Contact:   José A. Gautier                           Phone:     787-761-0911                            Credit Limit:                      0.00
     3/4/2019     0022445-IN        3/4/2019                                                0.00             1,942.91             0.00             0.00             0.00             0.00           1,942.91        393
     4/1/2019     0022744-IN        4/1/2019                                                0.00               520.00             0.00             0.00             0.00             0.00             520.00        365
     5/3/2019     0023053-IN        5/3/2019                                                0.00               522.50             0.00             0.00             0.00             0.00             522.50        333
     6/4/2019     0023364-IN        6/4/2019                                                0.00               522.50             0.00             0.00             0.00             0.00             522.50        301
     7/2/2019     0023675-IN        7/2/2019                                                0.00               522.50             0.00             0.00             0.00             0.00             522.50        273
     8/5/2019     0023991-IN        8/5/2019                                                0.00               522.50             0.00             0.00             0.00             0.00             522.50        239
     9/3/2019     0024310-IN        9/3/2019                                                0.00               522.50             0.00             0.00             0.00             0.00             522.50        210

     Run Date: 4/13/2020 11:51:23AM                                                                                                                                                                Page: 36
     A/R Date: 4/7/2020                                                                                                                                                                             User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                      Desc: Main
Sorted by Customer Number          Document Page 58 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                   Skytec, Inc. (ST2)

Customer/      Invoice                        Due Dates          Job              Discount                                                                                                                 Days
Invoice Date   Number               Invoice           Discount   Number           Amount        Balance        Current          30 Days          60 Days          90 Days               120 Days           Delq


  10/3/2019    0024627-IN           10/3/2019                                            0.00        522.50              0.00             0.00             0.00             0.00             522.50         180
                                                 Customer TRANSME Totals:                0.00      5,597.91              0.00             0.00             0.00             0.00            5,597.91

TRG            The Retail Group Inc.                                   Contact:                                      Phone:     787-622-9212                            Credit Limit:                       0.00
  3/3/2015     0012439-IN           3/3/2015                                             0.00         59.98           0.00              0.00               0.00             0.00              59.98        1,855
  12/1/2017    0018294-IN           12/1/2017                                            0.00         74.97           0.00              0.00               0.00             0.00              74.97          851
  7/6/2018     0020164-IN           7/6/2018                                             0.00         74.97           0.00              0.00               0.00             0.00              74.97          634
  9/28/2018    1008711-IN           9/28/2018                                            0.00         23.00           0.00              0.00               0.00             0.00              23.00          550
  10/3/2019    0024628-IN           10/3/2019                                            0.00         10.00           0.00              0.00               0.00             0.00              10.00          180
  11/5/2019    0024942-IN           11/5/2019                                            0.00         10.00           0.00              0.00               0.00             0.00              10.00          147
  2/4/2020     0025920-IN           2/4/2020                                             0.00         99.96           0.00             99.96               0.00             0.00               0.00           56
  3/3/2020     0026258-IN           3/3/2020                                             0.00         99.96          99.96              0.00               0.00             0.00               0.00           28
                                                       Customer TRG Totals:              0.00        452.84          99.96             99.96               0.00             0.00              252.92

UMDIST         UM Distributors                                         Contact:   Ulises Mayo                        Phone:     787-283-8765                            Credit Limit:                       0.00
  11/5/2019    0024943-IN           11/5/2019                                            0.00          0.04-          0.00                0.00             0.00             0.00               0.04-
  3/3/2020     0026259-IN           3/3/2020                                             0.00        149.94         149.94                0.00             0.00             0.00               0.00          28
                                                   Customer UMDIST Totals:               0.00        149.90         149.94                0.00             0.00             0.00                   0.04-

UNICAAM        Universal Care Ambulance                                Contact:                                      Phone:     787-975-2706                            Credit Limit:                       0.00
  8/5/2019     0023994-IN           8/5/2019                                             0.00        272.48           0.00              0.00            0.00            0.00                 272.48         239
  9/3/2019     0024313-IN           9/3/2019                                             0.00        572.48           0.00              0.00            0.00            0.00                 572.48         210
  10/3/2019    0024630-IN           10/3/2019                                            0.00        572.48           0.00              0.00            0.00            0.00                 572.48         180
  11/5/2019    0024944-IN           11/5/2019                                            0.00        572.48           0.00              0.00            0.00            0.00                 572.48         147
  12/4/2019    0025262-IN           12/4/2019                                            0.00        522.50           0.00              0.00            0.00          522.50                   0.00         118
  1/9/2020     0025591-IN           1/9/2020                                             0.00        522.50           0.00              0.00          522.50            0.00                   0.00          82
  2/4/2020     0025922-IN           2/4/2020                                             0.00        522.50           0.00            522.50            0.00            0.00                   0.00          56
  3/3/2020     0026260-IN           3/3/2020                                             0.00        522.50         522.50              0.00            0.00            0.00                   0.00          28
  3/31/2020    0026282-IN           3/31/2020                                            0.00        250.00-        250.00-             0.00            0.00            0.00                   0.00
                                                  Customer UNICAAM Totals:               0.00      3,829.92         272.50            522.50          522.50           522.50               1,989.92

VALEN          Valenciano Ambulance Services                           Contact:                                      Phone:     787-568-4079                            Credit Limit:                       0.00
  8/5/2019     0023995-IN           8/5/2019                                             0.00         24.99              0.00             0.00             0.00             0.00              24.99         239
  9/3/2019     0024314-IN           9/3/2019                                             0.00         24.99              0.00             0.00             0.00             0.00              24.99         210
  10/3/2019    0024631-IN           10/3/2019                                            0.00         24.99              0.00             0.00             0.00             0.00              24.99         180
                                                    Customer VALEN Totals:               0.00         74.97              0.00             0.00             0.00             0.00               74.97

VARISAN        Vanessa Rivera Santiago                                 Contact:                                      Phone:     787-870-6124                            Credit Limit:                       0.00
  5/3/2017     0016660-IN           5/3/2017                                             0.00         24.99              0.00             0.00             0.00             0.00              24.99        1,063
  6/1/2017     0016864-IN           6/1/2017                                             0.00         24.99              0.00             0.00             0.00             0.00              24.99        1,034
  7/3/2017     0017072-IN           7/3/2017                                             0.00         24.99              0.00             0.00             0.00             0.00              24.99        1,002
  8/1/2017     0017298-IN           8/1/2017                                             0.00         24.99              0.00             0.00             0.00             0.00              24.99          973
  9/4/2017     0017544-IN           9/4/2017                                             0.00         24.99              0.00             0.00             0.00             0.00              24.99          939
  10/5/2017    0017786-IN           10/5/2017                                            0.00         24.99              0.00             0.00             0.00             0.00              24.99          908
  11/3/2017    0018034-IN           11/3/2017                                            0.00         24.99              0.00             0.00             0.00             0.00              24.99          879
  12/1/2017    0018296-IN           12/1/2017                                            0.00         24.99              0.00             0.00             0.00             0.00              24.99          851
  1/5/2018     0018550-IN           1/5/2018                                             0.00         24.99              0.00             0.00             0.00             0.00              24.99          816
  2/1/2018     0018796-IN           2/1/2018                                             0.00         24.99              0.00             0.00             0.00             0.00              24.99          789
  3/2/2018     0019062-IN           3/2/2018                                             0.00         24.99              0.00             0.00             0.00             0.00              24.99          760
  4/1/2018     0019331-IN           4/1/2018                                             0.00         24.99              0.00             0.00             0.00             0.00              24.99          730
                                                  Customer VARISAN Totals:               0.00        299.88              0.00             0.00             0.00             0.00              299.88

VEGANO         Vegano Don Juan Imports                                 Contact:                                      Phone:     787--281-0466                           Credit Limit:                       0.00
  8/1/2012     0007903-IN           8/1/2012                                             0.00        199.95              0.00             0.00             0.00             0.00             199.95        2,799
                                                  Customer VEGANO Totals:                0.00        199.95              0.00             0.00             0.00             0.00              199.95

VENTO          Vento Distributors                                      Contact:                                      Phone:     787-783-1074                            Credit Limit:                       0.00
  3/3/2020     0026262-IN           3/3/2020                                             0.00        179.91         179.91                0.00             0.00             0.00               0.00          28
                                                    Customer VENTO Totals:               0.00        179.91         179.91                0.00             0.00             0.00                   0.00

VENTURE        Venture Distributors                                    Contact:                                      Phone:     787-793-5750                            Credit Limit:                       0.00
  5/3/2017     0016663-IN           5/3/2017                                             0.00        150.00              0.00             0.00             0.00             0.00             150.00        1,063
                                                 Customer VENTURE Totals:                0.00        150.00              0.00             0.00             0.00             0.00              150.00

VESAN          Verónica Sánchez                                        Contact:                                      Phone:     787-466-8668                            Credit Limit:                       0.00
  1/2/2019     0021860-IN           1/2/2019                                             0.00         24.99              0.00           0.00            0.00             0.00                 24.99         454
  2/1/2019     0022156-IN           2/1/2019                                             0.00         24.99              0.00           0.00            0.00             0.00                 24.99         424
  3/4/2019     0022453-IN           3/4/2019                                             0.00         24.99              0.00           0.00            0.00             0.00                 24.99         393
  4/1/2019     0022752-IN           4/1/2019                                             0.00         24.99              0.00           0.00            0.00             0.00                 24.99         365
  5/3/2019     0023061-IN           5/3/2019                                             0.00         24.99              0.00           0.00            0.00             0.00                 24.99         333
  6/4/2019     0023372-IN           6/4/2019                                             0.00         24.99              0.00           0.00            0.00             0.00                 24.99         301
  7/2/2019     0023683-IN           7/2/2019                                             0.00         24.99              0.00           0.00            0.00             0.00                 24.99         273
  8/5/2019     0023999-IN           8/5/2019                                             0.00         24.99              0.00           0.00            0.00             0.00                 24.99         239
  9/3/2019     0024318-IN           9/3/2019                                             0.00         24.99              0.00           0.00            0.00             0.00                 24.99         210
  10/3/2019    0024635-IN           10/3/2019                                            0.00         24.99              0.00           0.00            0.00             0.00                 24.99         180
  11/5/2019    0024948-IN           11/5/2019                                            0.00         24.99              0.00           0.00            0.00             0.00                 24.99         147
  12/4/2019    0025266-IN           12/4/2019                                            0.00         24.99              0.00           0.00            0.00            24.99                  0.00         118
  1/9/2020     0025595-IN           1/9/2020                                             0.00         24.99              0.00           0.00           24.99             0.00                  0.00          82
  2/4/2020     0025926-IN           2/4/2020                                             0.00         24.99              0.00          24.99            0.00             0.00                  0.00          56
                                                    Customer VESAN Totals:               0.00        349.86              0.00          24.99           24.99            24.99                 274.89


  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                          Page: 37
  A/R Date: 4/7/2020                                                                                                                                                                       User Logon: laura
          Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                               Desc: Main
Sorted by Customer Number           Document Page 59 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                            Skytec, Inc. (ST2)

Customer/        Invoice                       Due Dates          Job               Discount                                                                                                                       Days
Invoice Date     Number              Invoice           Discount   Number            Amount               Balance        Current          30 Days          60 Days          90 Days               120 Days          Delq



VF               Vista Farms, SE                                         Contact:                                             Phone:     787-837-9077                            Credit Limit:                      0.00
  2/4/2020       0025927-IN          2/4/2020                                               0.00              149.94           0.00           149.94                0.00             0.00               0.00         56
  3/3/2020       0026264-IN          3/3/2020                                               0.00              149.94         149.94             0.00                0.00             0.00               0.00         28
                                                         Customer VF Totals:                0.00              299.88         149.94           149.94                0.00             0.00                   0.00

VICCA            Victor M Cachola                                        Contact:                                             Phone:     939-270-5892                            Credit Limit:                      0.00
  8/15/2017      1008026-IN          8/15/2017                                              0.00               80.74              0.00             0.00             0.00             0.00              80.74        959
  9/4/2017       0017550-IN          9/4/2017                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99        939
  10/5/2017      0017792-IN          10/5/2017                                              0.00               24.99              0.00             0.00             0.00             0.00              24.99        908
  11/3/2017      0018040-IN          11/3/2017                                              0.00               24.99              0.00             0.00             0.00             0.00              24.99        879
  12/1/2017      0018302-IN          12/1/2017                                              0.00               24.99              0.00             0.00             0.00             0.00              24.99        851
  1/5/2018       0018556-IN          1/5/2018                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99        816
  2/1/2018       0018802-IN          2/1/2018                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99        789
  3/2/2018       0019068-IN          3/2/2018                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99        760
  4/1/2018       0019337-IN          4/1/2018                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99        730
  5/1/2018       0019621-IN          5/1/2018                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99        700
  6/1/2018       0019904-IN          6/1/2018                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99        669
  7/6/2018       0020171-IN          7/6/2018                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99        634
  8/2/2018       0020446-IN          8/2/2018                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99        607
  9/4/2018       0020721-IN          9/4/2018                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99        574
  11/1/2018      0021282-IN          11/1/2018                                              0.00               24.99              0.00             0.00             0.00             0.00              24.99        516
  12/4/2018      0021576-IN          12/4/2018                                              0.00               24.99              0.00             0.00             0.00             0.00              24.99        483
  1/2/2019       0021862-IN          1/2/2019                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99        454
                                                      Customer VICCA Totals:                0.00              480.58              0.00             0.00             0.00             0.00              480.58

VICRIV           Victor Rivera Vázquez                                   Contact:                                             Phone:     787-486-5112                            Credit Limit:                      0.00
  3/3/2020       0026265-IN          3/3/2020                                               0.00               49.98          49.98                0.00             0.00             0.00               0.00         28
                                                     Customer VICRIV Totals:                0.00               49.98          49.98                0.00             0.00             0.00                   0.00

VIFA             Viviana Falcón                                          Contact:                                             Phone:     787-565-2838                            Credit Limit:                      0.00
  5/3/2016       0014430-IN          5/3/2016                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99       1,428
  6/3/2016       0014594-IN          6/3/2016                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99       1,397
  7/4/2016       0014773-IN          7/4/2016                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99       1,366
  8/3/2016       0014944-IN          8/3/2016                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99       1,336
  9/2/2016       0015130-IN          9/2/2016                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99       1,306
  10/3/2016      0015310-IN          10/3/2016                                              0.00               24.99              0.00             0.00             0.00             0.00              24.99       1,275
  11/1/2016      0015498-IN          11/1/2016                                              0.00               24.99              0.00             0.00             0.00             0.00              24.99       1,246
  12/1/2016      0015689-IN          12/1/2016                                              0.00               24.99              0.00             0.00             0.00             0.00              24.99       1,216
  1/5/2017       0015879-IN          1/5/2017                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99       1,181
  3/1/2017       0016264-IN          3/1/2017                                               0.00               24.99              0.00             0.00             0.00             0.00              24.99       1,126
                                                       Customer VIFA Totals:                0.00              249.90              0.00             0.00             0.00             0.00              249.90

VIP              VIP Ambulance Corp                                      Contact:   Wanda Santiago                            Phone:     787-708-4558                            Credit Limit:                      0.00
  2/27/2020      1009661-IN          2/27/2020                                              0.00               52.71           0.00            52.71                0.00             0.00               0.00         33
  3/3/2020       0026266-IN          3/3/2020                                               0.00              224.91         224.91             0.00                0.00             0.00               0.00         28
                                                         Customer VIP Totals:               0.00              277.62         224.91            52.71                0.00             0.00                   0.00

VITAL            Vital Emergency Response LLC                            Contact:   Juan C Ramos                              Phone:     787-479-9494                            Credit Limit:                      0.00
  3/3/2020       0026267-IN          3/3/2020                                               0.00              209.93         209.93                0.00             0.00             0.00               0.00         28
                                                      Customer VITAL Totals:                0.00              209.93         209.93                0.00             0.00             0.00                   0.00

VIVISU           Vivianette Suárez                                       Contact:                                             Phone:     787-929-0349                            Credit Limit:                      0.00
  10/3/2019      0024638-IN          10/3/2019                                              0.00               24.99           0.00                0.00             0.00             0.00              24.99        180
  3/3/2020       0026268-IN          3/3/2020                                               0.00               24.99          24.99                0.00             0.00             0.00               0.00         28
  3/3/2020       3032020-PP          3/3/2020                                               0.00                0.09-          0.09-               0.00             0.00             0.00               0.00
                                                     Customer VIVISU Totals:                0.00               49.89          24.90                0.00             0.00             0.00               24.99

VOLT             Fred Voltagio                                           Contact:                                             Phone:     787-221-1814                            Credit Limit:                      0.00
  3/3/2020       0026269-IN          3/3/2020                                               0.00               19.99          19.99                0.00             0.00             0.00               0.00         28
                                                       Customer VOLT Totals:                0.00               19.99          19.99                0.00             0.00             0.00                   0.00

VPNET            VP NET                                                  Contact:                                             Phone:     787-620-5950                            Credit Limit:                      0.00
  12/4/2019      0025273-IN          12/4/2019                                              0.00              194.93           0.00             0.00             0.00          194.93                   0.00        118
  1/9/2020       0025602-IN          1/9/2020                                               0.00              199.93           0.00             0.00           199.93            0.00                   0.00         82
  2/4/2020       0025933-IN          2/4/2020                                               0.00              199.93           0.00           199.93             0.00            0.00                   0.00         56
  2/27/2020      1009672-IN          2/27/2020                                              0.00              220.04           0.00           220.04             0.00            0.00                   0.00         33
  3/3/2020       0026270-IN          3/3/2020                                               0.00              199.92         199.92             0.00             0.00            0.00                   0.00         28
                                                     Customer VPNET Totals:                 0.00            1,014.75         199.92           419.97           199.93           194.93                      0.00

WAL              Walmart                                                 Contact:                                             Phone:     787-788-8800                            Credit Limit:                      0.00
  1/31/2020      1009618-IN          1/31/2020                                              0.00            2,277.60              0.00             0.00      2,277.60                0.00               0.00         60
                                                        Customer WAL Totals:                0.00            2,277.60              0.00             0.00      2,277.60                0.00                   0.00

WAR              Warco Corporation                                       Contact:                                             Phone:     787-760-5000                            Credit Limit:                      0.00
  12/14/2015     1007345-IN          12/14/2015                                             0.00              110.03           0.00             0.00                0.00             0.00             110.03       1,569
  2/4/2020       0025934-IN          2/4/2020                                               0.00               99.96           0.00            99.96                0.00             0.00               0.00          56
  3/3/2020       0026271-IN          3/3/2020                                               0.00               99.96          99.96             0.00                0.00             0.00               0.00          28
                                                       Customer WAR Totals:                 0.00              309.95          99.96            99.96                0.00             0.00              110.03

WARCH            WARNER CHILCOTT                                         Contact:   Juan Rivera Alicea                        Phone:     787-621-4253                            Credit Limit:                      0.00


  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                                   Page: 38
     A/R Date: 4/7/2020                                                                                                                                                                             User Logon: laura
        Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                        Desc: Main
Sorted by Customer Number         Document Page 60 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                        Skytec, Inc. (ST2)

Customer/      Invoice                    Due Dates          Job              Discount                                                                                                                         Days
Invoice Date   Number           Invoice           Discount   Number           Amount           Balance          Current          30 Days          60 Days           90 Days                  120 Days          Delq


  5/30/2016    1007403-IN       5/30/2016                                             0.00          103.56-               0.00             0.00             0.00              0.00                103.56-
                                                Customer WARCH Totals:                0.00          103.56-               0.00             0.00             0.00              0.00                 103.56-

WET            Waste Enviromental Technologie                      Contact:                                           Phone:     787-836-8912                                Credit Limit:                      0.00
  12/1/2017    0018307-IN       12/1/2017                                             0.00          156.00             0.00             0.00                0.00              0.00                156.00        851
  2/1/2018     0018807-IN       2/1/2018                                              0.00          179.94             0.00             0.00                0.00              0.00                179.94        789
  3/2/2018     0019073-IN       3/2/2018                                              0.00          179.94             0.00             0.00                0.00              0.00                179.94        760
  5/3/2019     0023068-IN       5/3/2019                                              0.00          179.94             0.00             0.00                0.00              0.00                179.94        333
  9/3/2019     0024325-IN       9/3/2019                                              0.00          179.94             0.00             0.00                0.00              0.00                179.94        210
  2/4/2020     0025935-IN       2/4/2020                                              0.00          179.94             0.00           179.94                0.00              0.00                  0.00         56
  3/3/2020     0026272-IN       3/3/2020                                              0.00          179.94           179.94             0.00                0.00              0.00                  0.00         28
                                                  Customer WET Totals:                0.00        1,235.64           179.94           179.94                0.00              0.00                 875.76

WH             Wyndham Rio Mar Beach Resort                        Contact:   Ruth Rodriguez                          Phone:     787-888-6000          Extension:   11430    Credit Limit:                      0.00
  12/4/2015    1007151-IN       12/4/2015                                             0.00          528.07             0.00              0.00               0.00              0.00                528.07       1,579
  2/25/2019    1008972-IN       2/25/2019                                             0.00           70.70             0.00              0.00               0.00              0.00                 70.70         400
  2/25/2019    1008973-IN       2/25/2019                                             0.00          461.30             0.00              0.00               0.00              0.00                461.30         400
  3/28/2019    1009041-IN       3/28/2019                                             0.00           89.29             0.00              0.00               0.00              0.00                 89.29         369
  4/29/2019    1009112-IN       4/29/2019                                             0.00          675.80             0.00              0.00               0.00              0.00                675.80         337
  6/24/2019    1009191-IN       6/24/2019                                             0.00          144.60             0.00              0.00               0.00              0.00                144.60         281
  7/22/2019    1009247-IN       7/22/2019                                             0.00          109.90             0.00              0.00               0.00              0.00                109.90         253
  7/31/2019    1009264-IN       7/31/2019                                             0.00          168.68             0.00              0.00               0.00              0.00                168.68         244
  9/23/2019    1009398-IN       9/23/2019                                             0.00          269.94             0.00              0.00               0.00              0.00                269.94         190
  10/29/2019   1009484-IN       10/29/2019                                            0.00          270.38             0.00              0.00               0.00              0.00                270.38         154
  12/13/2019   1009551-IN       12/13/2019                                            0.00          115.20             0.00              0.00               0.00            115.20                  0.00         109
  12/26/2019   1009568-IN       12/26/2019                                            0.00          339.00             0.00              0.00               0.00            339.00                  0.00          96
  12/26/2019   1009575-IN       12/26/2019                                            0.00           85.65             0.00              0.00               0.00             85.65                  0.00          96
  2/27/2020    1009662-IN       2/27/2020                                             0.00        1,868.00             0.00          1,868.00               0.00              0.00                  0.00          33
  2/27/2020    1009663-IN       2/27/2020                                             0.00        2,598.00             0.00          2,598.00               0.00              0.00                  0.00          33
  2/27/2020    1009664-IN       2/27/2020                                             0.00           68.00             0.00             68.00               0.00              0.00                  0.00          33
  2/27/2020    1009665-IN       2/27/2020                                             0.00          750.00             0.00            750.00               0.00              0.00                  0.00          33
  2/27/2020    1009666-IN       2/27/2020                                             0.00          123.79             0.00            123.79               0.00              0.00                  0.00          33
  2/27/2020    1009667-IN       2/27/2020                                             0.00          206.21             0.00            206.21               0.00              0.00                  0.00          33
  3/20/2020    1009733-IN       3/20/2020                                             0.00          124.88           124.88              0.00               0.00              0.00                  0.00          11
                                                    Customer WH Totals:               0.00        9,067.39           124.88          5,614.00               0.00            539.85               2,788.66

WJAUTO         WJ Automation                                       Contact:   Steven Otero                            Phone:     787-365-8604                                Credit Limit:                      0.00
  2/4/2020     0025936-IN       2/4/2020                                              0.00           74.97             0.00            74.97                0.00              0.00                  0.00         56
  3/3/2020     0026273-IN       3/3/2020                                              0.00           74.97            74.97             0.00                0.00              0.00                  0.00         28
                                              Customer WJAUTO Totals:                 0.00          149.94            74.97            74.97                0.00              0.00                      0.00

WMST           West Medical Services Transpor                      Contact:   Emily Torres                            Phone:     787-255-2929                                Credit Limit:                      0.00
  9/3/2019     0024327-IN       9/3/2019                                              0.00           52.49             0.00             0.00             0.00                 0.00                 52.49        210
  10/3/2019    0024644-IN       10/3/2019                                             0.00          552.49             0.00             0.00             0.00                 0.00                552.49        180
  11/5/2019    0024957-IN       11/5/2019                                             0.00          552.49             0.00             0.00             0.00                 0.00                552.49        147
  12/4/2019    0025277-IN       12/4/2019                                             0.00          552.49             0.00             0.00             0.00               552.49                  0.00        118
  1/9/2020     0025606-IN       1/9/2020                                              0.00          552.49             0.00             0.00           552.49                 0.00                  0.00         82
  2/4/2020     0025937-IN       2/4/2020                                              0.00          552.49             0.00           552.49             0.00                 0.00                  0.00         56
  3/3/2020     0026274-IN       3/3/2020                                              0.00          552.49           552.49             0.00             0.00                 0.00                  0.00         28
                                                 Customer WMST Totals:                0.00        3,367.43           552.49           552.49           552.49               552.49               1,157.47

WRRE           WR Recycling Inc.                                   Contact:                                           Phone:     787-254-4328                                Credit Limit:                      0.00
  3/4/2019     0022463-IN       3/4/2019                                              0.00          174.93-               0.00             0.00             0.00              0.00                174.93-
  4/1/2019     0022762-IN       4/1/2019                                              0.00          174.93                0.00             0.00             0.00              0.00                174.93        365
                                                 Customer WRRE Totals:                0.00               0.00             0.00             0.00             0.00              0.00                      0.00

WSONT          William Son Transport                               Contact:                                           Phone:     787-568-2400                                Credit Limit:                      0.00
  11/7/2016    1007653-IN       11/7/2016                                             0.00           44.21                0.00             0.00             0.00              0.00                 44.21       1,240
  11/17/2016   1007675-IN       11/17/2016                                            0.00          236.45                0.00             0.00             0.00              0.00                236.45       1,230
  11/17/2016   1007676-IN       11/17/2016                                            0.00           24.99                0.00             0.00             0.00              0.00                 24.99       1,230
  9/4/2018     0020730-IN       9/4/2018                                              0.00          249.90                0.00             0.00             0.00              0.00                249.90         574
  10/2/2018    0021006-IN       10/2/2018                                             0.00          249.90                0.00             0.00             0.00              0.00                249.90         546
  11/1/2018    0021291-IN       11/1/2018                                             0.00          249.90                0.00             0.00             0.00              0.00                249.90         516
  12/4/2018    0021585-IN       12/4/2018                                             0.00          249.90                0.00             0.00             0.00              0.00                249.90         483
  1/2/2019     0021871-IN       1/2/2019                                              0.00          249.90                0.00             0.00             0.00              0.00                249.90         454
  2/1/2019     0022168-IN       2/1/2019                                              0.00          249.90                0.00             0.00             0.00              0.00                249.90         424
  3/4/2019     0022464-IN       3/4/2019                                              0.00          249.90                0.00             0.00             0.00              0.00                249.90         393
  4/1/2019     0022763-IN       4/1/2019                                              0.00          249.90                0.00             0.00             0.00              0.00                249.90         365
  5/3/2019     0023071-IN       5/3/2019                                              0.00          249.90                0.00             0.00             0.00              0.00                249.90         333
  6/4/2019     0023382-IN       6/4/2019                                              0.00          249.90                0.00             0.00             0.00              0.00                249.90         301
  7/2/2019     0023693-IN       7/2/2019                                              0.00          249.90                0.00             0.00             0.00              0.00                249.90         273
  8/5/2019     0024009-IN       8/5/2019                                              0.00          249.90                0.00             0.00             0.00              0.00                249.90         239
  9/3/2019     0024328-IN       9/3/2019                                              0.00          249.90                0.00             0.00             0.00              0.00                249.90         210
  10/3/2019    0024645-IN       10/3/2019                                             0.00          249.90                0.00             0.00             0.00              0.00                249.90         180
                                                Customer WSONT Totals:                0.00        3,804.25                0.00             0.00             0.00              0.00               3,804.25

WWTI           World Wide Tires Inc.                               Contact:                                           Phone:     787-781-8260                                Credit Limit:                      0.00
  6/4/2019     0023383-IN       6/4/2019                                              0.00          324.35                0.00             0.00             0.00              0.00                324.35        301
  7/2/2019     0023694-IN       7/2/2019                                              0.00          324.35                0.00             0.00             0.00              0.00                324.35        273
  8/5/2019     0024010-IN       8/5/2019                                              0.00          324.35                0.00             0.00             0.00              0.00                324.35        239
  8/22/2019    1009330-IN       8/22/2019                                             0.00           88.83                0.00             0.00             0.00              0.00                 88.83        222

  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                               Page: 39
  A/R Date: 4/7/2020                                                                                                                                                                            User Logon: laura
         Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19
Accounts Receivable Aged Invoice Report                                                                                                                                      Desc: Main
Sorted by Customer Number          Document Page 61 of 75
All Open Invoices - Aged as of 3/31/2020
                                                                                                                                                                                   Skytec, Inc. (ST2)

Customer/      Invoice                    Due Dates             Job              Discount                                                                                                                 Days
Invoice Date   Number           Invoice           Discount      Number           Amount           Balance        Current          30 Days        60 Days          90 Days               120 Days          Delq


  9/3/2019     0024329-IN       9/3/2019                                                 0.00          299.40              0.00          0.00           0.00            0.00                 299.40        210
  10/2/2019    1009417-IN       10/2/2019                                                0.00           88.83              0.00          0.00           0.00            0.00                  88.83        181
  10/3/2019    0024646-IN       10/3/2019                                                0.00          299.40              0.00          0.00           0.00            0.00                 299.40        180
  11/5/2019    0024958-IN       11/5/2019                                                0.00          274.45              0.00          0.00           0.00            0.00                 274.45        147
  11/13/2019   1009513-IN       11/13/2019                                               0.00           88.83              0.00          0.00           0.00            0.00                  88.83        139
  12/4/2019    0025278-IN       12/4/2019                                                0.00          224.55              0.00          0.00           0.00          224.55                   0.00        118
  1/9/2020     0025607-IN       1/9/2020                                                 0.00          224.55              0.00          0.00         224.55            0.00                   0.00         82
  2/4/2020     0025938-IN       2/4/2020                                                 0.00          224.55              0.00        224.55           0.00            0.00                   0.00         56
                                                  Customer WWTI Totals:                  0.00        2,786.44              0.00        224.55         224.55           224.55               2,112.79

YAHRI          Yahaira Rivera                                         Contact:   Yahaira Rivera                        Phone:     787-632-5720                          Credit Limit:                      0.00
  2/1/2019     0022170-IN       2/1/2019                                                 0.00           24.99              0.00          0.00           0.00             0.00                 24.99        424
  3/4/2019     0022466-IN       3/4/2019                                                 0.00           24.99              0.00          0.00           0.00             0.00                 24.99        393
  4/1/2019     0022765-IN       4/1/2019                                                 0.00           24.99              0.00          0.00           0.00             0.00                 24.99        365
  5/3/2019     0023073-IN       5/3/2019                                                 0.00           24.99              0.00          0.00           0.00             0.00                 24.99        333
  6/4/2019     0023384-IN       6/4/2019                                                 0.00           24.99              0.00          0.00           0.00             0.00                 24.99        301
  7/2/2019     0023695-IN       7/2/2019                                                 0.00           24.99              0.00          0.00           0.00             0.00                 24.99        273
  8/5/2019     0024011-IN       8/5/2019                                                 0.00           24.99              0.00          0.00           0.00             0.00                 24.99        239
  9/3/2019     0024330-IN       9/3/2019                                                 0.00           24.99              0.00          0.00           0.00             0.00                 24.99        210
  10/3/2019    0024647-IN       10/3/2019                                                0.00           24.99              0.00          0.00           0.00             0.00                 24.99        180
  11/5/2019    0024959-IN       11/5/2019                                                0.00           24.99              0.00          0.00           0.00             0.00                 24.99        147
  12/4/2019    0025279-IN       12/4/2019                                                0.00           24.99              0.00          0.00           0.00            24.99                  0.00        118
  1/9/2020     0025608-IN       1/9/2020                                                 0.00           24.99              0.00          0.00          24.99             0.00                  0.00         82
  2/4/2020     0025939-IN       2/4/2020                                                 0.00           24.99              0.00         24.99           0.00             0.00                  0.00         56
                                                 Customer YAHRI Totals:                  0.00          324.87              0.00         24.99          24.99            24.99                 249.90

YAMILR         Yamil A. Ramos Ocasio                                  Contact:                                         Phone:     787-412-0223                          Credit Limit:                      0.00
  2/17/2020    1009633-IN       2/17/2020                                                0.00           88.83           0.00            88.83              0.00             0.00               0.00         43
  3/3/2020     0026275-IN       3/3/2020                                                 0.00           24.99          24.99             0.00              0.00             0.00               0.00         28
                                                Customer YAMILR Totals:                  0.00          113.82          24.99            88.83              0.00             0.00                   0.00

ZERO           Zero Medical Waste                                     Contact:                                         Phone:     787-914-2791                          Credit Limit:                      0.00
  4/1/2019     0022767-IN       4/1/2019                                                 0.00           24.99           0.00             0.00           0.00                0.00              24.99        365
  1/9/2020     0025610-IN       1/9/2020                                                 0.00          174.93           0.00             0.00         174.93                0.00               0.00         82
  2/4/2020     0025941-IN       2/4/2020                                                 0.00          174.93           0.00           174.93           0.00                0.00               0.00         56
  3/3/2020     0026276-IN       3/3/2020                                                 0.00          174.93         174.93             0.00           0.00                0.00               0.00         28
                                                  Customer ZERO Totals:                  0.00          549.78         174.93           174.93         174.93                0.00               24.99


                                                             Report Totals:              0.00     1,272,846.51    148,589.01        122,825.04     83,843.39       128,883.03             788,706.04
                                          Number of Customers:         433




  Run Date: 4/13/2020 11:51:23AM                                                                                                                                                          Page: 40
  A/R Date: 4/7/2020                                                                                                                                                                       User Logon: laura
 Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                                                               Desc: Main
                           Document Page 62 of 75

                                      SKYTEC,INC.
                                  BANK RECONCILIATION
                                        3/31/2020
                                                    SKYTEC,INC.
                                                    BANK RECONCILIATION
                                   OPERATING ACCOUNT3/31/2020

ACCG/L                                                         1031-000-00
                                                               3004965123


                                           BANK CODE           V                            BANCO SANTANDER

                                                                                            BOOK                  BANK

                                          Ending balance                                        1,073,892.39             1,077,540.24

                                         Pending in Bank
10/9/2018                      VIP Ambulance Corp CHK: AMEX2                                                                   383.84
0/2019                          World Wide Tires I CHK: AMEX                                                                   574.84
10/15/2018                        Rapid Response CHK: AMEX                                                                     667.13
10/23/2018                      Auto Servicios Pad CHK: AMEX                                                                    236.4
10/29/2018                      Ricardo L Rios Tor CHK: AMEX                                                                    68.47
11/1/2018                            City Comm CHK: AMEX                                                                        20.45
11/1/2018                          Conspro Corp CHK: AMEX                                                                      116.45
11/5/2018                        International Safe CHK: AMEX                                                                  610.13
11/21/2018                      Eliezer Hernández CHK: AMEX                                                                    215.91
12/14/2018                 dif dep wilma entiendo es super destape                                       79.96
2/5/2019                           Pereira Medical o trasmedic                                            -520
3/25/2019                                   Merchant                                                    149.94

2/29/2020                                        teleck                                              (189.92)
2/21/2020                               telepagos                                                      909.83
2/21/2020                               Neftalí Cintrón CHK: TELECHECK
                                                              Neftalí Cintrón CHK: TELECHECK           117.65                            CR-004543

2/21/2020                           Eric M Perea Flore CHK: TELECHECK                                                           24.99    CR-004544
2/21/2020                           Eric Pacheco Almod CHK: TELECHECK                                                          139.93    CR-004544
2/21/2020                           Five Star Quality CHK: TELECHECK                                                           199.92    CR-004544
2/21/2020                           Rapid Response CHK: TELECHECK                                                              619.96    CR-004544
3/5/2020                            CHEQUE DEV                                                          812.47-
3/4/2020                            TELECHECK                                                           319.91-
3/6/2020                            telecheck                                                           249.90-
3/20/2020                           teleck                                                               94.75-
3/20/2020                           transfer to payroll  dif                                             18.00-
                          3/31/2020 dif no ident                                                          0.52-
                                                                                                                  ok
3/11/2020                               Roberto ramos                                                   486.00

                                        Oustanding check                                                                    (7,988.36)

                                        Reconciled balance                                      1,073,430.30             1,073,430.30

                                                                                                                                  -



                                                               SKYTEC,INC.
DATE                                          check #          OUSTANDING CKS                  Amount




                        9/1/2019                       123 PR Coffee Roasters                          24.75
                      12/18/2019                    997114 Autoridad de Energía Eléctrica               0.01
                       3/25/2020                    997262 Autoridad de Energía Eléctrica               0.01
                            3/31/2020                   997266 AT&T Mobility-EOD                    7,963.59


                                                                                                    7,988.36




Reconcile by :Ana Colon
 Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                             Desc: Main
                           Document Page 63 of 75

                              SKYTEC,INC.
                              BANK RECONCILIATION
                                                3/31/2020

                              1010-000-00                              A
                              Taxes
  BANK CODE                   Santander                                    TAXES

       BANK ACC.                                          3004965107

                                                                                    BOOK              Bank
                              Ending balance                                               3,166.14   3,166.14

        3/31/2020             ps itax pay 2-28 pay 3-10                                (2,010.53)     (2,010.53)     2,010.53
        3/31/2020             suta                                                         (957.65)   (957.65)        957.65
        3/31/2020             futa                                                         (130.60)   (130.60)        130.60
        3/31/2020             sinot                                                         (67.36)    (67.36)         67.36
                              Oustandig check                                                             0.00

                              Reconciled balance                                             $0.00        (0.00)

                                                                                                           0.00


                              OUSTANDING CK.
Date                check #   DESCRIPTION                                  AMOUNT




                                                                                               0.00

                              Reconcile by :Ana Colon
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19          Desc: Main
                          Document Page 64 of 75

                                  SKYTEC,INC.
                                  BANCO SANTANDER
                                  BANK RECONCILIATION
                                  PAYROLL
                                         3/31/2020

                      G/L ACC 1041-000-00
                   BANK CODE y
                    BANK ACC. 3004965115
                                        BOOK                       BANK

             Ending balance                                 0.00     502.93

  3/31/2020 sobregiro                                  (0.11)
  3/31/2020 adp fee                                   441.80
            transferido demas




             Oustanding check                                        (61.24)

             Reconciled balance                       441.69         441.69

                                                                        -

             Oustanding check

             SKYTEC,INC.
   Date          check #          OUSTANDING CKS                   Amount

11/26/2019          8959          Jose Castillo                        0.02
11/21/2018          1119          Daniel Perez                        61.22




                                                                      61.24


                                  Reconcile by :Ana Colon
        Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                        Desc: Main
                                  Document Page 65 of 75

                                                          ESTADO DE CUENTA

18
                                                                                                                                 10809661185

                              CHAPTER II DEBTOR IN POSESION                                                Página                         1
20091                         SKYTEC INC                                                                   Número de cuenta     3004965123
                              CASO 180528811                                                               Desde                28 Feb 2020
                              500 ROYAL IND PARK STE E1                                                    Hasta                31 Mar 2020
                              CATANO PR 00962-6346
10
601       Caso #
          180528811                                                   Total de depósitos en el Banco                    $1,077,540.24
                                                                      Total de préstamos en el Banco                            $0.00



                          Para preguntas llamar a BANCO EN CASA: 787-281-2000 o 1-800-726-8263 | PYMES: 787-777-4100


                                 Acceda a nuestra Política de Privacidad a través de www.santander.pr o
                                visitando una de nuestras sucursales. No aplica para clientes comerciales.
          DEBTOR IN POSSESSION COME                                                               Número de cuenta 3004965123

          Balance inicial                                                                                       $                 676,246.19
          Depósitos y otros créditos                           54                                               +                 671,225.60
          Cheques pagados y otros retiros                      55                                               -                 269,931.55
          Balance final                                                                                         $               1,077,540.24



          Información de intereses

          Intereses ganados $      0.00 basado en un período de 32 Días.
          Con una tasa anual de rendimiento devengado de 0.00 %.



          Resumen de depósitos

          Fecha              Cantidad                                               Fecha               Cantidad

          03/02              7,942.27
                                                                                    03/03                  812.47
          03/03                969.50
                                                                                    03/03                  994.06
          03/03              1,368.00
                                                                                    03/05                  324.87
          03/05             34,450.00
                                                                                    03/06                  579.76
          03/06             23,117.64
                                                                                    03/09                  734.66
          03/09              3,294.52
                                                                                    03/11                  486.00
          03/11             19,117.80
                                                                                    03/12                1,355.36
          03/12              2,246.20
                                                                                    03/13              230,563.88               78
          03/16                684.70
                                                                                    03/16                3,639.14
          03/17                 40.49
                                                                                    03/17                  269.89
          03/17                344.87
                                                                                    03/17                  989.13
          03/17              1,544.30
                                                                                    03/17                1,637.51
          03/17             26,033.60

          Resumen de créditos

          Fecha              Descripción                                                                                             Cantidad

          02/28              Balance Cobrado - 673,215.21
          02/28              Bal. Compens.          0.00
          02/28              Tasa de int. nominal 0.000 %
          03/02              Balance Cobrado - 681,871.22
          03/02              ACH RECEIVED TRANSACTION CR                                                                               471.42
                             01/MTOT DEP BANKCARD 1572
          03/02              ACH RECEIVED TRANSACTION CR                                                                               959.68
                             01/ePay      MAPFRE PRAICO IN
          03/02              ACH RECEIVED TRANSACTION CR                                                                             1,778.98
                             01/BTOT DEP BANKCARD 1572
          03/02              ACH RECEIVED TRANSACTION CR                                                                             4,126.29
                             01/TELECHECK SKYTEC, INC.
          03/03              Balance Cobrado - 671,446.17
          03/03              ACH RECEIVED TRANSACTION CR                                                                                99.96
                             01/MTOT DEP BANKCARD 1572

                                               PO Box 362589, San Juan, Puerto Rico 00936-2589                          Miembro FDIC
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                         Desc: Main
                          Document Page 66 of 75




                        CHAPTER II DEBTOR IN POSESION                               Página                       2
                                                                                    Número de cuenta   3004965123
                                                                                    Desde              28 Feb 2020
                                                                                    Hasta              31 Mar 2020


  Resumen de créditos

  Fecha           Descripción                                                                            Cantidad

  03/03           ACH RECEIVED TRANSACTION CR                                                               164.93
                  01/PAYMENTS TOTAL EQUIPMENT
  03/03           ACH RECEIVED TRANSACTION CR                                                             3,034.48
                  01/TELECHECK SKYTEC, INC.
  03/04           Balance Cobrado - 674,531.32
  03/05           Balance Cobrado - 671,736.15
  03/06           Balance Cobrado - 642,306.91
  03/06           ACH RECEIVED TRANSACTION CR                                                               199.90
                  01/REMITTANCE JUAN F GARCIA
                  SKYTEC INC 2644
                  RMR*****0**\
  03/06           ACH RECEIVED TRANSACTION CR                                                            35,655.17
                  01/EFT PAY DSP
  03/09           Balance Cobrado - 631,160.15
  03/09           ACH RECEIVED TRANSACTION CR                                                               234.00
                  01/PAYMENTS OFICINA DEL CONT
  03/09           ACH RECEIVED TRANSACTION CR                                                             3,231.58
                  01/TELECHECK SKYTEC, INC.
  03/10           Balance Cobrado - 637,656.26
  03/11           Balance Cobrado - 629,322.51
  03/11           ACH RECEIVED TRANSACTION CR                                                                74.97
                  01/PAYMENTS PUERTO RICO PALL
  03/12           Balance Cobrado - 646,221.90
  03/12           ACH RECEIVED TRANSACTION CR                                                               179.93
                  01/DISBURSMNT AEROSTAR
                  SKYTEC INC
                  PO# 17708 - 19848
  03/13           Balance Cobrado - 654,879.82
  03/13           ACH RECEIVED TRANSACTION CR                                                             3,423.63
                  01/PAYMENTS PRWIRELESS INC
                  SKYTECH INC. SKYTECH
                  RMR******\
  03/13           ACH RECEIVED TRANSACTION CR                                                             4,840.00
                  01/PAYMENTS MUNICIPIO CAROLI
  03/16           Balance Cobrado - 914,647.23
  03/16           ACH RECEIVED TRANSACTION CR                                                               129.94
                  01/BTOT DEP BANKCARD 1572
  03/16           ACH RECEIVED TRANSACTION CR                                                             1,397.50
                  01/65431     AUTORIDAD DE CAR
  03/16           ACH RECEIVED TRANSACTION CR                                                            27,304.09
                  01/65432     AUTORIDAD DE CAR
  03/17           Balance Cobrado - 1,121,295.71
  03/17           ACH RECEIVED TRANSACTION CR                                                             1,124.45
                  01/MTOT DEP BANKCARD 1572
  03/17           ACH RECEIVED TRANSACTION CR                                                             1,929.90
                  01/PAYMENTS OFICINA DEL CONT
  03/17           ACH RECEIVED TRANSACTION CR                                                            11,200.00
                  01/DEPOSIT E-SOURCE CAPITAL
                  SKYTEC INC DP74584831
                  REFUND INV20200147 GCP CONSUMPTION CALCULATION ERROR
  03/17           ACH RECEIVED TRANSACTION CR                                                           187,210.68
                  01/EFT PAY DSP
  03/18           Balance Cobrado - 1,088,322.39
  03/19           Balance Cobrado - 1,087,306.97
  03/20           Balance Cobrado - 1,086,484.10
  03/20           ACH RECEIVED TRANSACTION CR                                                               413.70
                  01/REMITTANCE DUST CONTROL
                  SKYTEC INC SKYTEC INC
                  RMR*PO**IK*0.00**\
  03/20           ACH RECEIVED TRANSACTION CR                                                               881.51
                  01/EFT PAY DSP
  03/20           ACH RECEIVED TRANSACTION CR                                                             2,200.00
                  01/EFT PAY DSP
  03/20           ACH RECEIVED TRANSACTION CR                                                             3,723.51
                  01/PAYMENTS PRWIRELESS INC
                  SKYTECH INC. SKYTECH
                  RMR******\
  03/23           Balance Cobrado - 1,076,599.26
  03/23           ACH RECEIVED TRANSACTION CR                                                                49.98
                  01/PAYMENTS PUERTO RICO PALL
  03/24           Balance Cobrado - 1,072,321.21
  03/25           Balance Cobrado - 1,071,668.67
  03/26           Balance Cobrado - 1,067,389.96
  03/30           Balance Cobrado - 1,066,820.36

                                  PO Box 362589, San Juan, Puerto Rico 00936-2589                Miembro FDIC
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                            Desc: Main
                          Document Page 67 of 75

                                               ESTADO DE CUENTA


                          CHAPTER II DEBTOR IN POSESION                               Página                         3
                                                                                      Número de cuenta     3004965123
                                                                                      Desde                28 Feb 2020
                                                                                      Hasta                31 Mar 2020


  Resumen de créditos

  Fecha              Descripción                                                                              Cantidad

  03/30              ACH RECEIVED TRANSACTION CR                                                                 24.92
                     01/BTOT DEP BANKCARD 1572
  03/31              Balance Cobrado - 1,077,540.24
  03/31              ACH RECEIVED TRANSACTION CR                                                             11,619.88
                     02/ MISC PAY     TREAS 310
                     SKYTEC, INC. 660564236210043

  Resumen de cheques pagados

  Número de                                 Día                          Número de                           Día
                            Cantidad                                                      Cantidad
  Cheque                                    pagado                       Cheque                              Pagado

          817                 7,006.25           03/06                         819*          427.08              03/04
          820                   279.15           03/03                         821         7,687.50              03/11
          822                12,786.49           03/10                         823        10,104.17              03/03
          824                 1,003.00           03/16                         825           150.00              03/19
          826                 1,000.00           03/05                         827           900.00              03/31
          828                 7,924.19           03/10                         829           191.90              03/04
          831*               20,436.40           03/06                         832        13,679.05              03/09
          833                 2,509.37           03/12                         834         1,081.29              03/13
          835                   509.92           03/11                         836           200.00              03/13
  * Indica un cambio en la secuencia del número de cheque en el estado

  Resumen de débitos

  Fecha              Descripción                                                                              Cantidad

  03/02              ACH RECEIVED TRANSACTION DB                                                                461.34
                     01/MTOT DISC BANKCARD 1572
  03/03              ACH RECEIVED TRANSACTION DB                                                                624.72
                     01/TELECHECK SKYTEC, INC.
  03/03              ACH RECEIVED TRANSACTION DB                                                             12,008.65
                     01/ACH PMT AMEX EPAYMENT
  03/04              ACH RECEIVED TRANSACTION DB                                                                319.91
                     01/TELECHECK SKYTEC, INC.
  03/05              ACH RECEIVED TRANSACTION DB                                                                 55.74
                     01/LEASE PYMT FDGL
  03/05              INTER. TRANS: 3004965115                                                                   364.47
                     030520140825
  03/05              ACH RECEIVED TRANSACTION DB                                                                582.48
                     01/TELECHECK SKYTEC, INC.
  03/05              Cheque depositado devuelto                                                                 812.47
                     CARGO DEVOLUCION DE CHEQUES NÃ#O CUENTA: 00040977003004965123 DIV:
                     NÃ#O LOTE: 00002 NÃ#O CHEQUE: 0000025 MOTIVO DEV:01
  03/06              ACH RECEIVED TRANSACTION DB                                                                249.90
                     01/TELECHECK SKYTEC, INC.
  03/06              ACH RECEIVED TRANSACTION DB                                                                359.73
                     01/UPS BILL U. P. S.
  03/06              ACH RECEIVED TRANSACTION DB                                                                410.00
                     01/PAYMENT FIRSTBANK CRCARD
  03/06              INTER. TRANS: 3004965107                                                                10,710.17
                     030620114833
  03/06              INTER. TRANS: 3004965115                                                                61,136.63
                     030620114720
  03/09              ACH RECEIVED TRANSACTION DB                                                              1,203.18
                     01/PAYMENT MASTERCARD
  03/11              IVU BANK CHARGE AA                                                                          10.40
                     ACCOUNT ANALYSIS FEE/ACCOUNT ANALYSIS FEE: 2020-03-11
  03/11              Cargo analisis cuenta febrero                                                              200.90
  03/12              Pagos ACH de cta cheques                                                                   172.33
                     01/ASUME       SKYTEC
  03/12              ACH RECEIVED TRANSACTION DB                                                                277.61
                     01/TELECHECK SKYTEC, INC.
  03/13              INTER. TRANS: 3004965115                                                                    16.41
                     031320105529
                                        PO Box 362589, San Juan, Puerto Rico 00936-2589               Miembro FDIC
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                           Desc: Main
                          Document Page 68 of 75




                          CHAPTER II DEBTOR IN POSESION                                               Página                       4
                                                                                                      Número de cuenta   3004965123
                                                                                                      Desde              28 Feb 2020
                                                                                                      Hasta              31 Mar 2020


  Resumen de débitos

  Fecha              Descripción                                                                                            Cantidad

  03/13              INTER. TRANS: 3004965115                                                                                 459.60
                     031320150525
  03/18              INTER. TRANS: 3004965115                                                                              62,403.72
                     031820161454
  03/19              INTER. TRANS: 3004965115                                                                                 703.54
                     031920151834
  03/19              INTER. TRANS: 3004965115                                                                                 731.66
                     031920114000
  03/20              ACH RECEIVED TRANSACTION DB                                                                               94.75
                     01/INV032020D Telecheck
  03/20              INTER. TRANS: 3004965107                                                                                 114.91
                     032020142842
  03/20              INTER. TRANS: 3004965115                                                                                 425.39
                     032020141104
  03/20              INTER. TRANS: 3004965107                                                                                1,816.87
                     032020140554
  03/20              INTER. TRANS: 3004965107                                                                                5,589.67
                     032020140431
  03/23              Pagos ACH de cta cheques                                                                                 172.33
                     01/ASUME    SKYTEC
  03/23              ACH RECEIVED TRANSACTION DB                                                                             1,859.70
                     01/INSURANCE AFLAC
  03/23              Pagos ACH de cta cheques                                                                                7,902.79
                     01/CINGULAR W SKYTEC
  03/24              ACH RECEIVED TRANSACTION DB                                                                             4,278.05
                     01/TELEPAGOBP TELEPAGO BPPR
  03/25              INTER. TRANS: 3004965107                                                                                  17.71
                     032520104101
  03/25              INTER. TRANS: 3004965107                                                                                 634.83
                     032520102834
  03/26              ACH RECEIVED TRANSACTION DB                                                                             4,278.71
                     01/TEL PMTS IVR_AEE INTERACT
  03/30              INTER. TRANS: 3004965115                                                                                  85.65
                     033020072946
  03/30              INTER. TRANS: 3004965115                                                                                 508.87
                     033020073036

  Resumen de balance diario de la cuenta

  Fecha               Balance                            Fecha              Balance                            Fecha         Balance

  03/02             691,063.49                            03/11           648,926.31                            03/20    1,086,484.10
  03/03             675,490.20                            03/12           649,748.49                            03/23    1,076,599.26
  03/04             674,551.31                            03/13           886,818.70                            03/24    1,072,321.21
  03/05             706,511.02                            03/16           918,971.07                            03/25    1,071,668.67
  03/06             665,754.41                            03/17         1,151,295.89                            03/26    1,067,389.96
  03/09             658,366.94                            03/18         1,088,892.17                            03/30    1,066,820.36
  03/10             637,656.26                            03/19         1,087,306.97                            03/31    1,077,540.24

  Resumen de cargos por sobregiro y efectos devueltos:
                                                     Total del período          Total acumulado
                                                                                durante el año 2020

  Total de intereses por sobregiro                            $0.00                    $0.00
  Total de cargos diarios por sobregiro                       $0.00                    $0.00
  Total de cargos por efectos pagados                         $0.00                    $0.00
  Total de cargos por efectos devueltos                       $0.00                    $0.00




                                          PO Box 362589, San Juan, Puerto Rico 00936-2589                          Miembro FDIC
Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                               Desc: Main
                          Document Page 69 of 75
                                                                                                              5
                                                                                                     3004965123
                                            ESTADO DE CUENTA


  Banco Santander Puerto Rico certifica que estas son copias fieles y exactas de sus cheques u otros
  efectos procesados en este estado.




  817            $-7,006.25      03/06/20                819               $-427.08      03/04/20




  820            $-279.15        03/03/20                821               $-7,687.50    03/11/20




  822            $-12,786.49     03/10/20                823               $-10,104.17   03/03/20




  824            $-1,003.00      03/16/20                825               $-150.00      03/19/20




  826            $-1,000.00      03/05/20                827               $-900.00      03/31/20



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Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                               Desc: Main
                          Document Page 70 of 75
                                                                                                              6
                                                                                                     3004965123
                                            ESTADO DE CUENTA


  Banco Santander Puerto Rico certifica que estas son copias fieles y exactas de sus cheques u otros
  efectos procesados en este estado.




  828            $-7,924.19      03/10/20                829               $-191.90      03/04/20




  831            $-20,436.40     03/06/20                832               $-13,679.05   03/09/20




  833            $-2,509.37      03/12/20                834               $-1,081.29    03/13/20




  835            $-509.92        03/11/20                836               $-200.00      03/13/20




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        Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                        Desc: Main
                                  Document Page 71 of 75

                                                          ESTADO DE CUENTA

0
                                                                                                                                10809661185

                              CHAPER II DEBTOR IN POSESION                                                 Página                         1
20091                         SKYTEC INC                                                                   Número de cuenta     3004965107
                              CASO 180528811                                                               Desde                28 Feb 2020
                              500 ROYAL IND PARK STE E1                                                    Hasta                31 Mar 2020
                              CATANO PR 00962-6346
10
601       Caso #
          180528811                                                   Total de depósitos en el Banco                          $3,166.14
                                                                      Total de préstamos en el Banco                              $0.00



                          Para preguntas llamar a BANCO EN CASA: 787-281-2000 o 1-800-726-8263 | PYMES: 787-777-4100


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                                visitando una de nuestras sucursales. No aplica para clientes comerciales.
          DEBTOR IN POSSESSION COME                                                               Número de cuenta 3004965107

          Balance inicial                                                                                       $                      0.00
          Depósitos y otros créditos                            6                                               +                 18,884.16
          Cheques pagados y otros retiros                       7                                               -                 15,718.02
          Balance final                                                                                         $                  3,166.14



          Información de intereses

          Intereses ganados $      0.00 basado en un período de 32 Días.
          Con una tasa anual de rendimiento devengado de 0.00 %.



          Resumen de créditos

          Fecha              Descripción                                                                                           Cantidad

          02/28              Balance Cobrado -        0.00
          02/28              Bal. Compens.           0.00
          02/28              Tasa de int. nominal 0.000 %
          03/06              Balance Cobrado -    10,710.17
          03/06              INTER. TRANS: 3004965123                                                                             10,710.17
                             030620114833
          03/09              Balance Cobrado -     8,954.35
          03/12              Balance Cobrado -     3,166.14
          03/20              Balance Cobrado -    10,687.59
          03/20              INTER. TRANS: 3004965123                                                                                114.91
                             032020142842
          03/20              INTER. TRANS: 3004965123                                                                              1,816.87
                             032020140554
          03/20              INTER. TRANS: 3004965123                                                                              5,589.67
                             032020140431
          03/25              Balance Cobrado -    11,340.13
          03/25              INTER. TRANS: 3004965123                                                                                 17.71
                             032520104101
          03/25              INTER. TRANS: 3004965123                                                                                634.83
                             032520102834
          03/26              Balance Cobrado -     3,166.14

          Resumen de débitos

          Fecha              Descripción                                                                                           Cantidad

          03/09              ACH RECEIVED TRANSACTION DB                                                                           1,755.82
                             01/PR TAX DEPT DE HACIENDA
                             SKYTEC INC 675756544
                             TXP*300006177140531*SLT *200331*T*0000175582*405312*200306*
                             0003* \
          03/12              ACH RECEIVED TRANSACTION DB                                                                           5,788.21
                             02/USATAXPYMT IRS




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Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                           Desc: Main
                          Document Page 72 of 75




                          CHAPER II DEBTOR IN POSESION                                                Página                       2
                                                                                                      Número de cuenta   3004965107
                                                                                                      Desde              28 Feb 2020
                                                                                                      Hasta              31 Mar 2020


  Resumen de débitos

  Fecha              Descripción                                                                                           Cantidad

  03/26              ACH RECEIVED TRANSACTION DB                                                                                  0.01
                     01/PR IVU SUT DEPT DE HACIENDA
                     SKYTEC INC 956987904
                     TXP*550002177140531*SLT *991231*T*0000000001*405312*200325*
                     0003* \
  03/26              ACH RECEIVED TRANSACTION DB                                                                               17.71
                     01/PAGOIVUMUN COFIM
                     SKYTEC INC 300200850013
                     TXP*00533930014 *SLT *200229*T*0000001771*930014*200325*103
                     7*033 \
  03/26              ACH RECEIVED TRANSACTION DB                                                                              634.82
                     01/PR IVU SUT DEPT DE HACIENDA
                     SKYTEC INC 104823296
                     TXP*550002177140531*SLT *991231*T*0000063482*405312*200325*
                     0003* \
  03/26              ACH RECEIVED TRANSACTION DB                                                                            1,816.87
                     01/PR TAX DEPT DE HACIENDA
                     SKYTEC INC 1801419264
                     TXP*300006177140531*SLT *200331*T*0000181687*405312*200325*
                     0003* \
  03/26              ACH RECEIVED TRANSACTION DB                                                                            5,704.58
                     02/USATAXPYMT IRS

  Resumen de balance diario de la cuenta

  Fecha               Balance                            Fecha              Balance                            Fecha        Balance

  03/06              10,710.17
                                                          03/20           10,687.59                             03/26       3,166.14
  03/09               8,954.35
                                                          03/25           11,340.13                             03/31       3,166.14
  03/12               3,166.14

  Resumen de cargos por sobregiro y efectos devueltos:
                                                     Total del período          Total acumulado
                                                                                durante el año 2020

  Total de intereses por sobregiro                            $0.00                   $0.00
  Total de cargos diarios por sobregiro                       $0.00                   $0.00
  Total de cargos por efectos pagados                         $0.00                   $0.00
  Total de cargos por efectos devueltos                       $0.00                   $0.00




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        Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                        Desc: Main
                                  Document Page 73 of 75

                                                          ESTADO DE CUENTA

10
                                                                                                                                 10809661185

                              CHAPTER II DEBTOR IN POSESION                                                Página                         1
20091                         SKYTEC INC                                                                   Número de cuenta     3004965115
                              CASO 180528811                                                               Desde                28 Feb 2020
                              500 ROYAL IND PARK STE E1                                                    Hasta                31 Mar 2020
                              CATANO PR 00962-6346
10
601       Caso #
          180528811                                                   Total de depósitos en el Banco                            $502.93
                                                                      Total de préstamos en el Banco                              $0.00



                          Para preguntas llamar a BANCO EN CASA: 787-281-2000 o 1-800-726-8263 | PYMES: 787-777-4100


                                 Acceda a nuestra Política de Privacidad a través de www.santander.pr o
                                visitando una de nuestras sucursales. No aplica para clientes comerciales.
          DEBTOR IN POSSESSION COME                                                               Número de cuenta 3004965115

          Balance inicial                                                                                       $                  1,298.29
          Depósitos y otros créditos                           10                                               +                126,835.94
          Cheques pagados y otros retiros                      23                                               -                127,631.30
          Balance final                                                                                         $                    502.93



          Información de intereses

          Intereses ganados $      0.00 basado en un período de 32 Días.
          Con una tasa anual de rendimiento devengado de 0.00 %.



          Resumen de créditos

          Fecha              Descripción                                                                                           Cantidad

          02/28              Balance Cobrado -     1,298.29
          02/28              Bal. Compens.           0.00
          02/28              Tasa de int. nominal 0.000 %
          03/02              Balance Cobrado -      776.07
          03/03              Balance Cobrado -      347.74-
          03/04              Balance Cobrado -      362.74-
          03/05              Balance Cobrado -        0.00
          03/05              INTER. TRANS: 3004965123                                                                                364.47
                             030520140825
          03/06              Balance Cobrado -    61,136.63
          03/06              INTER. TRANS: 3004965123                                                                             61,136.63
                             030620114720
          03/10              Balance Cobrado -     2,275.28
          03/11              Balance Cobrado -     1,107.40
          03/12              Balance Cobrado -       16.41-
          03/13              Balance Cobrado -       62.65
          03/13              INTER. TRANS: 3004965123                                                                                 16.41
                             031320105529
          03/13              INTER. TRANS: 3004965123                                                                                459.60
                             031320150525
          03/16              Balance Cobrado -       60.92
          03/18              Balance Cobrado -    62,464.64
          03/18              INTER. TRANS: 3004965123                                                                             62,403.72
                             031820161454
          03/19              Balance Cobrado -    63,899.84
          03/19              INTER. TRANS: 3004965123                                                                                703.54
                             031920151834
          03/19              INTER. TRANS: 3004965123                                                                                731.66
                             031920114000
          03/20              Balance Cobrado -     2,861.78
          03/20              INTER. TRANS: 3004965123                                                                                425.39
                             032020141104
          03/24              Balance Cobrado -      503.04
          03/27              Balance Cobrado -       91.48-
          03/30              Balance Cobrado -      503.04
          03/30              INTER. TRANS: 3004965123                                                                                 85.65
                             033020072946
          03/30              INTER. TRANS: 3004965123                                                                                508.87
                             033020073036

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Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                                           Desc: Main
                          Document Page 74 of 75




                          CHAPTER II DEBTOR IN POSESION                                               Página                        2
                                                                                                      Número de cuenta    3004965115
                                                                                                      Desde               28 Feb 2020
                                                                                                      Hasta               31 Mar 2020


  Resumen de cheques pagados

  Número de                                   Día                           Número de                                       Día
                             Cantidad                                                                    Cantidad
  Cheque                                      pagado                        Cheque                                          Pagado

         1352                   272.25           03/10                            1354*                     245.25              03/10
         8993*                  522.22           03/02                            8994                    1,123.81              03/03
         8995                   629.83           03/11                            8996                      538.05              03/11
         8997                 1,123.81           03/12                            8998                      531.39              03/24
         8999                 1,123.81           03/24                            9000                      703.54              03/24
  * Indica un cambio en la secuencia del número de cheque en el estado

  Resumen de débitos

  Fecha              Descripción                                                                                             Cantidad

  03/04              Cargo por sobregiro 000000008994                                                                           15.00
  03/05              IVU BANK CHARGE                                                                                             1.73
                     CARGO POR SOBREGIRO: 2020-03-04
  03/10              Pagos ACH de cta cheques                                                                               18,753.17
                     01/PAYROLL SKYTEC
  03/10              Pagos ACH de cta cheques                                                                               39,590.68
                     01/PAYROLL SKYTEC
  03/13              Cargo por sobregiro 000000008997                                                                           15.00
  03/13              ACH RECEIVED TRANSACTION DB                                                                                69.84
                     01/ADP - FEES ADP PAYROLL FEES
  03/13              ACH RECEIVED TRANSACTION DB                                                                               312.11
                     01/ADP - FEES ADP PAYROLL FEES
  03/16              IVU BANK CHARGE                                                                                                1.73
                     CARGO POR SOBREGIRO: 2020-03-13
  03/20              Pagos ACH de cta cheques                                                                               22,370.52
                     01/PAYROLL SKYTEC
  03/20              Pagos ACH de cta cheques                                                                               39,092.93
                     01/PAYROLL SKYTEC
  03/27              ACH RECEIVED TRANSACTION DB                                                                                85.65
                     01/ADP - FEES ADP PAYROLL FEES
  03/27              ACH RECEIVED TRANSACTION DB                                                                               508.87
                     01/ADP - FEES ADP PAYROLL FEES
  03/31              Cargo de interes en sobregiro                                                                                  0.11

  Resumen de balance diario de la cuenta

  Fecha               Balance                            Fecha              Balance                            Fecha          Balance

  03/02                 776.07                            03/11            1,107.40
                                                                                                                03/20        2,861.78
  03/03                -347.74                            03/12              -16.41
                                                                                                                03/24          503.04
  03/04                -362.74                            03/13               62.65
                                                                                                                03/27          -91.48
  03/05                   0.00                            03/16               60.92
                                                                                                                03/30          503.04
  03/06              61,136.63                            03/18           62,464.64
                                                                                                                03/31          502.93
  03/10               2,275.28                            03/19           63,899.84

  Resumen de cargos por sobregiro y efectos devueltos:
                                                     Total del período          Total acumulado
                                                                                durante el año 2020

  Total de intereses por sobregiro                            $0.11                    $0.11
  Total de cargos diarios por sobregiro                       $0.00                    $0.00
  Total de cargos por efectos pagados                        $30.00                   $30.00
  Total de cargos por efectos devueltos                       $0.00                    $0.00




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Case:18-05288-EAG11 Doc#:348 Filed:04/20/20 Entered:04/20/20 18:09:19                              Desc: Main
                          Document Page 75 of 75
                                                                                                             3
                                                                                                    3004965115
                                            ESTADO DE CUENTA


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  efectos procesados en este estado.




  1352           $-272.25        03/10/20                1354              $-245.25     03/10/20




  8993           $-522.22        03/02/20                8994              $-1,123.81   03/03/20




  8995           $-629.83        03/11/20                8996              $-538.05     03/11/20




  8997           $-1,123.81      03/12/20                8998              $-531.39     03/24/20




  8999           $-1,123.81      03/24/20                9000              $-703.54     03/24/20



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